1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 1 of 145




        1                                                                The Honorable Ricardo S. Martinez

        2

        3

        4

        5

        6
                                           UNITED STATES DISTRICT COURT
        7                                 WESTERN DISTRICT OF WASHINGTON
                                                    AT SEATTLE
        8
          J. A., through his guardian, TARA ALLEN, et
        9 al., individually and on behalf of all others
          similarly situated,                                      No. 20-cv-00640-RSM-MAT
       10
                                     Plaintiffs,                   DECLARATION OF ANDREAS
       11                                                          HOLBROOK IN SUPPORT OF
                   v.                                              MICROSOFT’S MOTION TO
       12                                                          COMPEL ARBITRATION AND
          MICROSOFT CORPORATION,                                   STAY CLAIMS
       13
                                     Defendant.
       14

       15            I, Andreas K. Holbrook, declare as follows:

       16            1.      Qualifications of Declarant. I am a Principal Program Manager, Xbox Safety, at

       17 Microsoft Corporation. I have worked at Microsoft since 1998. My current employment

       18 responsibilities include managing aspects of the Xbox Safety Team. As a result of my work, I am
       19 familiar with the system through which Xbox Live subscribers sign into and accept the Microsoft

       20 Services Agreement (as well as the process through which Xbox Live subscribers accepted the

       21 Xbox Live Terms of Use before August 2015), and I understand how to run queries through that

       22 system. I make this declaration based on my personal knowledge and experience, discussions

       23 with appropriate personnel, and Microsoft’s records kept in the ordinary course of business,

       24 which I have reviewed. Except where otherwise stated, I have personal knowledge of the

       25 following facts, all of which I believe to be true and correct. I am in all ways competent to give

       26 this declaration.

       27
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 1                    Davis Wright Tremaine LLP
                                                                                              L AW O FFICE S
                                                                                        920 Fifth Avenue, Suite 3300
                                                                                          Seattle, WA 98104-1610
                                                                                   206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 2 of 145




        1            2.      Xbox Live. Xbox Live is an online gaming service provided by Microsoft for use

        2 with Microsoft Xbox consoles and accessories. Subscribers to Xbox Live can connect their

        3 Xbox consoles to the Internet to play interactive video games with other Xbox Live subscribers,

        4 among other things. Subscribers connect Xbox consoles to televisions or other devices with a

        5 viewing screen to play games. To subscribe to Xbox Live and use Xbox Live services, a user

        6 must first create a Microsoft account, and then create an Xbox Live profile within that account,

        7 which together are sometimes referred to as an “Xbox Live account.”

        8            3.      Xbox Live Terms of Use. Before August 1, 2015, Xbox Live users were required

        9 to manifest assent to the Xbox Live Terms of Use (“TOU”) before they could access and use

       10 Xbox Live services.

       11            a.      Xbox Live TOU Acceptance Via the Console. If a subscriber decided to accept

       12        the Xbox Live TOU while using an Xbox console, the subscriber was required to click

       13        “Accept” on a screen that displayed the Xbox Live TOU. In this way, the subscriber had the

       14        opportunity to review the full Xbox Live TOU before deciding whether to click “Accept.”

       15        If the subscriber clicked “Decline,” or failed to click either “Accept” or “Decline,” Microsoft

       16        would not process the registration and the subscriber could not access Xbox Live.

       17            b.      Xbox Live TOU Acceptance Via a Personal Computer. If the subscriber decided

       18        to accept the terms of the Xbox Live TOU while using a personal computer, on the other

       19        hand, the subscriber was required to check a box next to the text “I accept the Xbox Live

       20        Terms of Use agreement” and click “I Accept” on a screen displaying the Xbox Live TOU.

       21        Once again, the subscriber had the opportunity to review the full Xbox Live TOU before

       22        deciding whether to check the box and click “I Accept.” If the subscriber using a personal

       23        computer clicked “Cancel,” or failed to click the box next to “I accept the Xbox Live Terms

       24        of Use agreement,” and/or failed to click “I Accept” or instead clicked “Cancel,” Microsoft

       25        would not process the subscription and the subscriber could not access Xbox Live.

       26            c.      Subsequent TOU Updates. When Microsoft released new versions of the TOU,

       27        existing users automatically were required to accept the new TOU when they next logged
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 2                       Davis Wright Tremaine LLP
                                                                                                 L AW O FFICE S
                                                                                           920 Fifth Avenue, Suite 3300
                                                                                             Seattle, WA 98104-1610
                                                                                      206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 3 of 145




        1        into Xbox Live; if they failed to accept the TOU, they could not access or use the Xbox Live

        2        service. The acceptance process was the same as described above for new subscriptions: in

        3        each instance of a revised TOU, the subscriber had the opportunity to review the revised

        4        TOU on the same page as the acceptance button before clicking “I Accept.”

        5            4.      Xbox Live TOU Arbitration Provisions. Ever since the version of the TOU

        6 introduced in December 2011, the Xbox Live TOU has included an arbitration agreement

        7 providing for individual arbitration of disputes with Microsoft. I am attaching as Exhibit A a

        8 true and correct copy of the December 2011 TOU, which includes the arbitration agreement in
        9 Section 18.1. Every version of the Xbox Live TOU after December 2011 contained a materially

       10 identical arbitration agreement and class action waiver.

       11            5.      Microsoft Services Agreement. Effective August 1, 2015, the Microsoft Services

       12 Agreement (“MSA”) replaced the Xbox Live TOU as the agreement governing the use of Xbox

       13 Live and Xbox Live accounts. I am attaching as Exhibit B a true and correct copy of the August

       14 1, 2015, MSA. Like the TOU before it, the August 1, 2015, MSA contained an arbitration

       15 agreement and class action waiver, as well as a conspicuous notice in capitalized letters on the

       16 first page alerting customers to the arbitration agreement and identifying where customers may

       17 find the arbitration terms (Section 15 of the MSA). Xbox Live subscribers could not access or

       18 use the Xbox Live service after August 1, 2015, unless and until they first logged into their
       19 accounts and affirmatively accepted the MSA. Xbox Live subscribers could agree to the MSA

       20 either through their Xbox consoles or their personal computers through the same processes

       21 described in Paragraph 3, above. In either scenario, the subscriber had the opportunity to review

       22 the full MSA, including the agreement to arbitrate, before deciding whether to click “I Accept”

       23 and proceed. As with the Xbox Live TOU in earlier years, a subscriber could not access or use

       24 an Xbox Live account or access Xbox Live services without first accepting the MSA.

       25            6.      MSA Updates. I am attaching as Exhibit C a true and correct copy of the version

       26 of the MSA effective September 15, 2016; as Exhibit D a true and correct copy of the version of

       27 the MSA effective May 1, 2018; as Exhibit E a true and correct copy of the version of MSA
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 3                     Davis Wright Tremaine LLP
                                                                                               L AW O FFICE S
                                                                                         920 Fifth Avenue, Suite 3300
                                                                                           Seattle, WA 98104-1610
                                                                                    206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 4 of 145




        1 effective August 30, 2019; and as Exhibit F a true and correct copy of the version of the MSA

        2 effective October 1, 2020. These are the only four updates to the MSA since it replaced the

        3 Xbox Live TOU in August 2015. When Microsoft updates the MSA, it provides notice of the

        4 update to users who have already accepted the MSA through emails and pop-up notices (known

        5 as “interrupt” notices) that appear when the user logs in to a Microsoft service while an interrupt

        6 notice is active. As an example, I am attaching as Exhibit G a true and correct copy of the

        7 interrupt notice posted from August 17, 2020, to August 31, 2020, in connection with the

        8 October 1, 2020, update to the MSA. A user logging on to Microsoft services through a browser
        9 while this interrupt was active would have encountered this screen and would not have been able

       10 to access the Microsoft services without clicking “Next” to acknowledge the update notice. I am

       11 attaching as Exhibit H a true and correct example of the email notification Microsoft sent to

       12 inform users of the update to the MSA.

       13            7.      MSA Acceptance and Update Records. After the MSA replaced the TOU as the

       14 agreement governing Xbox Live accounts, new Xbox Live users were required to manifest assent

       15 to the MSA before they could access and use Xbox Live services. New Xbox Live subscribers

       16 must affirmatively accept the MSA by clicking a button adjacent to a hyperlink to the MSA

       17 terms. Early versions of the acceptance page required the user to click “I accept” next to the

       18 hyperlink; since 2019, the MSA acceptance page requires the user to click “Next” immediately
       19 below or adjacent to text explaining “Choosing Next means that you agree to the Microsoft

       20 Services Agreement,” with the underscored language linking to the MSA terms. I am attaching

       21 as Exhibits I and J examples of these acceptance screens from 2017; I am attaching as Exhibit

       22 K and L examples of the acceptance screens as they exist today. Once the user has accepted the

       23 MSA, information reflecting the date and time of acceptance is automatically entered into a table

       24 in Microsoft’s Xbox Live User and Offering database. Similarly, when a user acknowledges an

       25 MSA update by clicking on an interrupt notice, that same table is automatically updated with the

       26 date and time the subscriber acknowledged the updated MSA. Microsoft maintains and relies on

       27 the Xbox Live User and Offering database as part of its regularly conducted business.
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 4                    Davis Wright Tremaine LLP
                                                                                              L AW O FFICE S
                                                                                        920 Fifth Avenue, Suite 3300
                                                                                          Seattle, WA 98104-1610
                                                                                   206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 5 of 145




        1            8.      Plaintiffs’ Acceptance of Xbox Live TOU and MSA. I have briefly reviewed the

        2 Amended Complaint in this action and understand that eight Plaintiffs assert claims against

        3 Microsoft based on alleged “drift” in Xbox standard and Elite controllers, which Plaintiffs claim

        4 affect their Xbox game play. Counsel for Plaintiffs has provided Microsoft with the “gamertags”

        5 these eight Plaintiffs use to play Xbox. A gamertag is a unique name Xbox Live subscribers

        6 select and use, and Microsoft maintains records of Xbox Live TOU and MSA acceptance linked

        7 to gamertags.

        8            a.      Plaintiff J.A. I understand Plaintiff J.A. has used three gamertag accounts on

        9        Xbox, as follows: V*************4; t*********s; P************3. I am informed that

       10        J.A. currently uses the gamertag t*********s, so this declaration provides information

       11        related to that account. According to Microsoft’s records, however, users of each account

       12        associated with J.A. have agreed to the applicable account agreements, including the TOU

       13        and MSA, and Microsoft has records of those agreements as well. Microsoft’s records show

       14        the gamertag t*********s is associated with Tara Allen, J.A.’s guardian. Ms. Allen or J.A.

       15        registered the account and gamertag in January 2020, and the account remains in active use.

       16        J.A. (or Ms. Allen) was sent email notification of Microsoft’s MSA for the October 1, 2020,

       17        update. On August 24, 2020, at 4:28:17 PM UTC, the t*********s user clicked an interrupt

       18        notice to acknowledge the MSA update effective October 1, 2020. Microsoft’s records

       19        further show active use of this account and gamertag into October 2020.

       20            b.      Plaintiff C.C. I understand Plaintiff C.C. uses an Xbox Live account with the

       21        gamertag R****g. Microsoft’s Xbox Live records show this gamertag account was

       22        registered in December 2014, and it remains active on Xbox Live today. The account

       23        associated with gamertag R****g necessarily accepted the Xbox Live TOU through one of

       24        the processes described above, which afforded the opportunity for review of the full Xbox

       25        Live TOU before the user decided whether to accept. Microsoft’s records show that on

       26        August 30, 2015, at 13:24:59 UTC, the MSA that had gone into effect as of August 1, 2015

       27        was accepted. Microsoft sent email notification of the October 1, 2020, MSA update to the
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 5                      Davis Wright Tremaine LLP
                                                                                                L AW O FFICE S
                                                                                          920 Fifth Avenue, Suite 3300
                                                                                            Seattle, WA 98104-1610
                                                                                     206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 6 of 145




        1        email address associated with R****g (C**********5@outlook.com). On August 22, 2020,

        2        at 9:41:32 PM UTC, C.C. clicked an interrupt notice to acknowledge the MSA update

        3        effective October 1, 2020. Microsoft’s records further show the gamertag R****g has

        4        remained active on Xbox Live into October 2020.

        5            c.      Plaintiff A.D. I understand Plaintiff A.D. has an Xbox Live account using the

        6        gamertag S***********1, formerly L***********1. Microsoft’s Xbox Live records show

        7        that A.D. registered his account and gamertag in August 2019 and remains an active Xbox

        8        Live user today. Because A.D. did not have an account before August 1, 2015, the MSA has

        9        always been the operative user agreement for A.D.’s account. As an active Xbox Live user,

       10        A.D. necessarily accepted the MSA through one of the processes described above, which

       11        afforded him the opportunity to review the full MSA before deciding whether to accept.

       12        Microsoft’s records show that A.D. most recently affirmatively accepted the MSA on August

       13        8, 2019, at 5:33:10 AM UTC, by clicking an interrupt notice to acknowledge the MSA

       14        update effective August 30, 2019. Microsoft also sent A.D. email notification of Microsoft’s

       15        MSA for the October 1, 2020, update. Microsoft’s records show A.D. has continued actively

       16        to use Xbox Live through August 2020.

       17            d.      Plaintiff A.H. I understand Plaintiff A.H. has an Xbox Live account using the

       18        gamertag S******z. Microsoft’s Xbox Live records show that A.H. registered his account

       19        and gamertag in April 2020 and remains an active Xbox Live user today. Because A.H. did

       20        not have an account before August 1, 2015, the MSA has always been the operative user

       21        agreement for A.H.’s account. As an active Xbox Live user, A.H. necessarily accepted the

       22        MSA through one of the processes described above, which afforded him the opportunity to

       23        review the full MSA before deciding whether to accept. On August 29, 2020, at 5:53:39 PM

       24        UTC, A.H. clicked an interrupt notice to acknowledge the MSA update effective October 1,

       25        2020. (I am informed that A.H., unlike all other Plaintiffs, was not sent email notification of

       26        the October 1, 2020, MSA update because the Microsoft email address he provided when

       27        opening his account has never been provisioned, i.e., he has never logged in at that email
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 6                       Davis Wright Tremaine LLP
                                                                                                 L AW O FFICE S
                                                                                           920 Fifth Avenue, Suite 3300
                                                                                             Seattle, WA 98104-1610
                                                                                      206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 7 of 145




        1        address.) Microsoft’s records show A.H. has continued to actively use Xbox Live into

        2        October 2020.

        3            e.      Plaintiff J.H. I understand Plaintiff J.H. has an Xbox Live account using the

        4        gamertag s*************8. Microsoft’s Xbox Live records show J.H. registered his

        5        account and this gamertag in June 2014, and he remains an active Xbox Live user today. As

        6        an active Xbox Live user, J.H. necessarily accepted the Xbox Live TOU through one of the

        7        processes described above, which afforded him the opportunity to review the full Xbox Live

        8        TOU before deciding whether to accept. Most recently, on May 26, 2018, at 9:34:28 AM

        9        UTC, J.H. clicked an interrupt notice to acknowledge the MSA update effective May 1,

       10        2018. Further, Microsoft sent J.H. email notification of Microsoft’s MSA for the October 1,

       11        2020, update. Microsoft’s records show J.H. has continued to actively use Xbox Live into

       12        October 2020.

       13            f.      Plaintiff Donald McFadden. According to Microsoft’s Xbox Live subscriber

       14        records, Mr. McFadden has an Xbox Live account using the gamertag S************t.

       15        Microsoft’s Xbox Live records show Mr. McFadden registered his account and this gamertag

       16        in December 2006, and he remains an active Xbox Live user today. As an active Xbox Live

       17        user, Mr. McFadden necessarily accepted the Xbox Live TOU through one of the processes

       18        described above, which afforded him the opportunity to review the full Xbox Live TOU

       19        before deciding whether to accept. Microsoft’s records show that on August 25, 2015, at

       20        17:01:03 GMT, Mr. McFadden accepted the MSA that had gone into effect as of August 1,

       21        2015. On June 5, 2018, at 08:37:53 UTC, Mr. McFadden clicked an interrupt notice to

       22        acknowledge the MSA update effective May 1, 2018. Microsoft’s records further show Mr.

       23        McFadden has continued to actively use Xbox Live after receiving and clicking on the

       24        interrupt notice. Microsoft sent Mr. McFadden email notification of Microsoft’s MSA for

       25        the October 1, 2020, update. Microsoft’s records show Mr. McFadden has continued to

       26        actively use Xbox Live into November 2020.

       27
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 7                      Davis Wright Tremaine LLP
                                                                                                L AW O FFICE S
                                                                                          920 Fifth Avenue, Suite 3300
                                                                                            Seattle, WA 98104-1610
                                                                                     206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 8 of 145




        1            g.      Plaintiff Brandon Petti. I understand Mr. Petti has an Xbox Live account using

        2        the gamertag G*************7. Microsoft’s Xbox Live records show Mr. Petti registered

        3        his account and this gamertag in September 2009, and he remains an active Xbox Live user

        4        today. As an active Xbox Live user, Mr. Petti necessarily accepted the Xbox Live TOU

        5        through one of the processes described above, which afforded him the opportunity to review

        6        the full Xbox Live TOU before deciding whether to accept. Microsoft’s records show that on

        7        January 29, 2016, at 2:53:09 GMT, Mr. Petti accepted the MSA that had gone into effect as

        8        of August 1, 2015. On August 21, 2019, at 6:56:10 PM UTC, Mr. Petti clicked to

        9        acknowledge notice of the MSA update effective August 30, 2019. Microsoft sent Mr. Petti

       10        email notification of Microsoft’s MSA for the October 1, 2020, update. Microsoft’s records

       11        show Mr. Petti continued to actively use Xbox Live as recently as September 2020.

       12            h.      Plaintiff Samuel Whisnant. I understand Mr. Whisnant has an Xbox Live

       13        account using the gamertag B********X. Microsoft’s Xbox Live records show

       14        Mr. Whisnant registered his account and this gamertag in February 2015, and he remains an

       15        active Xbox Live user today. As an active Xbox Live user, Mr. Whisnant necessarily

       16        accepted the Xbox Live TOU through one of the processes described above, which afforded

       17        him the opportunity to review the full Xbox Live TOU before deciding whether to accept.

       18        Microsoft’s records show that on December 5, 2015, at 23:23:02 UTC, Mr. Whisnant

       19        accepted the MSA that had gone into effect as of August 1, 2015. On August 24, 2019, at

       20        6:06:23 PM UTC, Mr. Whisnant clicked an interrupt notice to acknowledge the MSA update

       21        effective August 30, 2019. Microsoft sent Mr. Whisnant email notification of Microsoft’s

       22        MSA for the October 1, 2020, update. Microsoft’s records further show Mr. Whisnant has

       23        continued to actively use Xbox Live into October 2020.

       24

       25

       26

       27
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 8                    Davis Wright Tremaine LLP
                                                                                              L AW O FFICE S
                                                                                        920 Fifth Avenue, Suite 3300
                                                                                          Seattle, WA 98104-1610
                                                                                   206.622.3150 main · 206.757.7700 fax
1<6>598;"2;?7:<=7"41-"&%,,'1,*#+0')#(++,#,,0/#+1$'300%,'(.
                  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 9 of 145




        1            I declare under penalty of perjury under penalty of perjury under the laws of the United

        2 States of America that the foregoing is true and correct.

        3
                                            "#
                     Executed on November ______, 2020.
        4

        5                                                    ___________________________________
                                                             Andreas Holbrook
        6

        7                                                    * Due to COVID-19 pandemic, original signature
                                                             unattainable.
        8
        9

       10

       11

       12

       13

       14

       15

       16

       17

       18
       19

       20

       21

       22

       23

       24

       25

       26

       27
            DECL. OF A. HOLBROOK ISO MOT. TO
            COMPEL ARBITRATION & STAY – (20-cv-00640-RSM-MAT) - 9                      Davis Wright Tremaine LLP
                                                                                                L AW O FFICE S
                                                                                          920 Fifth Avenue, Suite 3300
                                                                                            Seattle, WA 98104-1610
                                                                                     206.622.3150 main · 206.757.7700 fax
    Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 10 of 145




                 Exhibit A




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 10
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 11 of 145



                                                                                                                   Free.
                                                                                                           My Account   Join Now     Sign In




    Xbox 360 + Kinect          Xbox LIVE           Social         Games           Video          Music   Support        Search All




Xbox LIVE Terms of Use
Updated November 2011                                                                                          Related Links
Effective December 2011
                                                                                                                   • Xbox.com Terms of Use
Thank you for choosing Microsoft!                                                                                  • Code of Conduct

Please note we do not provide warranties for the Service. This contract also limits our
liability. These terms are in Sections 15 and 16. We ask that you read them carefully.

IF YOU LIVE IN THE UNITED STATES, SECTION 18.1 AND ITS SUBSECTIONS, CONTAIN A
BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER. THEY AFFECT YOUR
RIGHTS CONCERNING THE RESOLUTION OF ANY "DISPUTE" (AS DEFINED IN SECTION
18.1.1 ) BETWEEN YOU AND MICROSOFT. PLEASE READ IT.

Please read this contract carefully. This contract governs your use of Xbox LIVE, Games for
Windows Live, Zune, and Windows Phone Marketplace services or software that display or link
to this contract (including marketplace services provided under the brand of a Windows Phone
device manufacturer), including services or software that allow you to stream, download, view or
use certain digital content, such as music, video, games, mobile applications and other content
that Microsoft makes available from time to time (the "Service"). The Service may be accessed
from the Xbox 360 console, a personal computer, Windows Phone 7.x mobile phone, portable
media player, other devices authorized by Microsoft (each an "Authorized Device"), or the World
Wide Web. Microsoft may update this contract by posting new terms and conditions. If you do
not agree to the changes, you must stop using the Service. Your continued use of the Service is
your acceptance of the changed contract, except that Section 18.1.11 permits you to reject
changes to Section 18.1 (arbitration agreement) within 30 days of the change. If you use or
receive software from us as part of the Service, its use is governed by one of two sets of license
terms: If you're presented with a license for the software, the terms of that license apply; if no
license is presented to you, the terms of this contract apply. You can view the most current
version of this contract by clicking the "Terms of Use" link at the bottom of the web page. Your
use of certain parts of the Service may be subject to additional guidelines, posted notices or
codes of conduct. These are incorporated by reference into this contract.

1. What the Contract Covers.

This is a contract between you and the Microsoft company listed in Section 19 ("Microsoft," "we,"
"us," or "our") for use of the Service. Sections 1-5 and 8-20 apply across the Service. Sections 6
and 7 only apply if the Service involves payments to or from Microsoft. Sections 21-23 only apply
if you use the Services identified in those Sections. Some of these Services may not be fully
available in your country or region or on your device.

By creating an account or otherwise accepting this contract, you represent that you are at least
18 years old or have reached the age of "majority" where you live. Your parent or legal guardian
must set up an account on your behalf and accept this contract if you are under 18 or have not
reached the age of "majority". You can use your Windows Live ID to register for the Service. A
Windows Live ID will be automatically created for you if you do not have one. However, an
automatically created Windows Live ID will only function with the Service. If you wish to use it for
other Microsoft services, you must also agree to the applicable terms of use or terms of service
for a general-purpose Windows Live ID.

2. Additional Terms.

Certain games, content offerings, features, services or events (for example, sweepstakes and
tournaments) that are available via the Service ("Third-Party Features") may contain additional
terms, codes of conduct, or guidelines that govern your use of those Third-Party Features
( collectively "Additional Terms"). Any dealings between you and such a third party are solely



    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 11
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 12 of 145


between you and the third party. Except as otherwise provided herein, the Additional Terms
govern your use of the Third-Party Features. We do not endorse and are not responsible or
liable for any aspect of any such dealings. Moreover, the Additional Terms do not apply to the
Service or to your legal relationship with Microsoft. The terms in this contract limiting our liability
also apply to your use of Third-Party Features to the extent that such terms are not covered in
the Additional Terms. Nothing in any Additional Terms increases our liability or changes your
relationship with us. Certain Third-Party Features may not be available for use by people under a
certain age. Please review the privacy controls provided by Third-Party Features and be aware
that those controls affect how you share your personal information when using that Third-Party
Feature.

3. Using the Service.

You must comply with this contract, all applicable laws, and the Microsoft Anti-spam Policy
( http://go.microsoft.com/fwlink/?LinkId=117951) when using the Service. You must also obey
any policies, codes of conduct and notices we provide, including the Code of Conduct
( http://www.xbox.com/legal/codeofconduct and its successors) ("Code of Conduct"). You agree
that the Service is only for your personal use, and you will not use the Service, any content
available on the Service, or your account, for any commercial purpose. You may be unable to
use the Service outside the country associated with your account ("Territory").

You must not use the Service to harm others or the Service. For example, you must not:

    • use the Service to harm, threaten, or harass another person, organization, or Microsoft;
    • damage, disable, overburden, or impair the Service (or any network or Authorized Device
      connected to the Service);
    • resell or redistribute any part of the Service or access to the Service;
    • use or attempt to use any unauthorized means to modify, reroute, or gain access to the
      Service;
    • use any automated process or service (such as a bot, a spider, periodic caching of
      information stored by Microsoft, or metasearching) to access or use the Service, or to
      copy or scrape data from the Service;
    • obtain (or try to obtain) any data from the Service or related hardware, except the data
      that we intend to make available to you; or
    • use the Service or related hardware to design, develop, or update unauthorized software.

4. Your Service Account, Associated Accounts and Accounts from Third Parties.

Except as provided in this Section, only you may use your Service account. You must keep your
accounts and passwords confidential and not authorize any third party to access or use the
Service on your behalf unless we provide an approved mechanism for that. You must contact
Customer Support immediately if you suspect misuse of your accounts or any security breach in
the Service. For some parts of the Service, you may be able to set up additional accounts that
are dependent on your account ("associated accounts"). You are responsible for all activity that
takes place with your Service account and any associated accounts. We may limit who may use
your Service account or any associated accounts or the number of devices from which you may
access the Service.

If you allow or enable a minor to use your Service account or an associated account, then:

    • You represent that you are the parent or legal guardian of such minor;
    • You acknowledge that some features of the Service, and some content available through
      the Service, may contain or expose users to material that is unsuitable for minors. You
      agree to supervise usage by minors whom you permit or enable to use the Service. The
      Service is not intended for use by children under 13 without adult supervision;
    • You acknowledge that we offer "Parental Controls" to help you restrict purchases and limit
      access to material that may be unsuitable for minors. For example, we offer "Family
      Settings" on the Xbox 360 console and on the Service. You may view or revise your
      Parental Controls by logging into your account on http://www.xbox.com. Additional
      information about Parental Controls is available at http://www.xbox.com/support; and
    • You are responsible for any material that a user of your Service account accesses or is
      denied access to (including as a result of your use or non-use of Parental Controls). You
      acknowledge that use of Parental Controls is not a substitute for your personal supervision
      of minors that use your Service account.

If you use an associated account, you acknowledge that the holder of the Service account has
full control over your associated account. This control includes the right to: (i) end the Service;
(ii) close or alter your associated account at any time; (iii) access and modify Parental Controls
for your associated account; and (iv) receive notices from us. In some cases, this control also
includes the control of purchasing options from your associated account and the ability to
request and receive device and Service usage information related to your associated account.
We collect profile, usage and activity data related to your associated account and deliver it to the



    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 12
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 13 of 145


Service account holder. If you are an associated account user, this contract applies to your use
of the Service, except for the following Sections: 4 (excluding this paragraph); 6 (If You Pay
Microsoft); and Section 18.6 (Notices to Parties).

5. Internet Access May Be Required.

To access the Service by means of a cellular data connection on a portable device (such as a
Windows Phone), you will need a data access plan from your wireless carrier. In order to access
the Service via WiFi or Internet connection, you will need a compatible device, software, browser
and Internet access. You may incur charges related to Internet access and data transfer for such
uses. Microsoft may change the requirements for accessing the Service from time to time and
you are responsible for adhering to the requirements. If you do not agree with the changes, you
must cancel and stop using the Service.

6. Payment.

6.1 Charges.

If there is a charge associated with a Service, you agree to pay that charge. Prices for the
Service exclude all applicable taxes and currency exchange settlements, unless stated
otherwise. You may still incur charges incidental to using the Service even if the service itself is
free. For example, charges for Internet access, text messaging, or other data transmission. You
are solely responsible for the payment of such taxes or other charges related to your use of the
Service.

6.2. Your Billing Account.

You must provide a payment method at the time you sign up for a Service. You can access and
modify your billing account information (including changing your payment method) on the Billing
and Account Management website (https://billing.microsoft.com). You agree to keep your billing
account information current at all times. We may cancel your Service if we do not receive
payment from you. Changes made to your billing account will not affect charges we submit to
your billing account before we reasonably could act on your request.

6.3. Billing.

By providing Microsoft with a payment method, you: (i) represent that you are authorized to use
the payment method that you provided; (ii) authorize Microsoft to charge you for the Service
using your payment method; and (iii) authorize Microsoft to charge you for any paid feature of
the Service that you choose to sign up for or use while this contract is in force. We may bill you:
(a) in advance; (b) at the time of purchase; (c) shortly after purchase; or (d) on a recurring basis
for subscription Services. We may charge you up to the amount you've approved. We will notify
you in advance of any prices changes for recurring subscription Services. We may bill you for
more than one of your prior billing periods at the same time.

6.4 Automatic Renewal.

We may automatically renew your Service (provided that automatic renewals are allowed in your
country) at the then current price for the Service. We will inform you by e-mail prior to the
renewal and remind you that your designated payment method will be billed. We will also provide
you with instructions on how to cancel the Service. You must cancel the Service (see Section
6.10 below) prior to the renewal date to avoid being billed for the renewal.

6.5. Online Statement and Errors.

We will provide you with an online billing statement on the Billing and Account Management
website (https://billing.microsoft.com), where you can view and print your statement. If we make
an error on your bill, you must tell us within 120 days after the error first appears on your bill. We
will then promptly investigate the charge. Subject to applicable laws, if you do not tell us within
that time, you release us from all liability and claims of loss resulting from the error and we will
not be required to fix the error or provide a refund. If we identify a billing error, we will either fix
that error within 60 days or notify you that the correction will take longer.

6.6. Cooling Off Period.




    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 13
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 14 of 145


We may begin to provide the Service immediately when you request a Service from us. There is
no cancellation or "cooling off" period, except if required by law. You may cancel the Service as
provided in Section 6.10.

6.7. Trial Period Offers.

If you are participating in any trial period offer, you must cancel the Service by the end of the trial
period to avoid incurring new charges unless we notify you otherwise. If you do not cancel your
Service and we have told you the service will convert to a paid subscription at the end of the trial
period, you authorize us to charge you for the Service.

6.8. Price Changes.

We reserve the right to change our prices at any time. We will notify you at least 30 days in
advance if we change the price of the Service. Any price change will be effective at the next
renewal or billing period for your Service. If you do not agree to the price change, you must
cancel and stop using the Service before the price change takes effect. If you cancel, your
Service ends at the end of your current service period or, if we bill your account on a periodic
basis, at the end of the period in which you canceled.

6.9. Refund Policies.

All sales are final and nonrefundable unless otherwise provided by law or by a particular Service
offer.

6.10. Canceling the Service.

You may cancel the Service at any time, with or without cause. Go to the Billing and Account
Management website (https://billing.microsoft.com) for information and direction on how to
cancel your Service. You should also review the offer describing the Service as: (i) you may not
receive a refund at the time of cancellation; (ii) you may be required to pay cancellation fees; and
(iii) you may be required to pay all charges made to your account for the Service prior to the date
of cancellation.

6.11. Late Payments.

To the extent permitted by law, you must pay for all reasonable costs we incur to collect any past
due amounts, including reasonable attorneys' fees and other legal fees and costs. We reserve
the right to suspend or cancel the Service if we do not receive an on time, full payment
from you.

6.12. Internet Access Service.

If the Service doesn't include Internet access, you're responsible for paying the fees charged by
your Internet access provider. Those fees are in addition to the fees you pay us for the Service.

The rest of this Section 6.12 applies only if your Service includes Internet access. This Service
may not be available in your country or region. If you use a dial-up modem, you may incur toll,
roaming, or other access charges, depending on the number you are calling and from where you
are calling. You should check with your local telephone company first to determine if the number
you plan to use will incur such charges. You may still incur charges, depending on your local
provider, calling location, and phone plan even if we suggest a phone number for you to call. We
will not reimburse you for such charges.

7. Payments to You.

Your right to any payment due under a Service depends on your promptly providing us with all
information we require to properly make the payment. Subject to applicable laws, you must
provide us with the information we request before your right to receive the payment accrues. You
are responsible for the accuracy of the information you provide and for any taxes and charges
you may incur. You must also comply with any other conditions we place on your right to any
payment. If you receive a payment in error, we may reverse or seek return of the payment. You
will cooperate with us in our efforts to do this. We may also reduce your account balance without
notice to adjust for the previous overpayment.

8. Available Content.




    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 14
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 15 of 145


The Service may consist of specific content, features and functions that vary depending on your
Territory and the type of device from which you access the Service. For example, the Service
may include access to music, video, games, or mobile applications that are available in certain
countries or for certain devices only.

Some content available in the Service may be unavailable from time to time or may only be
offered for a limited time due to contractual or other limitations. As such, you may not be able to
re-download or re-stream certain content that you have purchased. We have no obligation to
provide a re-download or replacement of any content previously purchased. To the extent we
receive information from the content owners indicating the date their content will be unavailable,
we will endeavor to share this information with you.

Your ability to access the Service and obtain certain content is restricted to your Territory. If you
change your account to a different Territory, you may not be able to re-download or re-stream
content that was available to you in your previous Territory. You may be required to purchase
and pay for content in your new Territory even though you have already paid for that content in
the previous Territory.

9. Your Content.

We do not claim ownership of the content you provide on the Service. Your content remains your
content. We do not control, verify, or endorse the content that you and others make available on
the Service.

You control who may access your content. If you share content in public areas of the Service or
in shared areas available to others you have chosen, then anyone you have shared content with
may use that content. When you give others access to your content on the Service, you grant
them free, nonexclusive permission to use, reproduce, distribute, display, transmit, and
communicate to the public the content solely in connection with the Service and other products
and services made available by Microsoft. If the submission is a photograph or other digital
image, you also expressly waive any and all rights of privacy and publicity with respect to the
image. If you do not want others to have those rights, do not use the Service to share your
content.

You understand that Microsoft may need, and you hereby grant to Microsoft and its affiliates,
resellers, distributors, service providers, partners, and/or suppliers the right, to use, modify,
adapt, reproduce, distribute, publish and display content posted on the Service. These include
your name, gamertag, motto, avatar, or other information you supply in connection with the
content. These rights apply solely to the extent necessary to provide the Service.

You must respect the rights of artists, authors, inventors and creators. Content may be protected
by copyright. People appearing in content may have a right to control the use of their image. If
you share content on the Service in a way that infringes others' copyrights, other intellectual
property or proprietary rights, or publicity or privacy rights, you are breaching this contract (and
violating other rights and possibly the law). You represent and warrant that you have all the
rights necessary for you to grant the rights in this Section and that the use of the content does
not violate any law. We will not pay you for your content. We may refuse to publish your content
for any or no reason. We may remove your content from the Service at any time and for any
reason, including if: (i) you breach this contract; (ii) the content exceeds limits on storage or file
size; or (iii) we cancel or suspend the Service.

You are responsible for backing up the data and content that you store on the Service. We
may permanently delete your data from our servers if the Service is suspended or
canceled. We do not have any obligation to return data to you after the Service is
suspended or canceled. If data is stored with an expiration date, we may also delete the
data as of that date. Data that is deleted may be irretrievable.

10. Online Forums.

The Xbox LIVE Forums, Games for Windows Live Forums, and the Zune Forums (each an
"Online Forum" and collectively the "Online Forums") are sites available at:
http://forums.xbox.com, http://forums.xbox.com/gfw/default.aspx and
http://answers.microsoft.com/zune, respectively. The Online Forums are where users can get
help and support with certain Authorized Devices and related software and services. You can
browse the Online Forums without signing in. But you must sign into your Service account to
post a message or reply to one. Anything that you post to the Online Forums is public. All posts
you make to the Online Forums must comply with the Code of Conduct and the other terms of


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 15
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 16 of 145


this contract. Any post that does not comply may be removed by Microsoft and result in, among
other things, termination or suspension of your rights to use the Service. Although we have no
obligation to screen, edit, monitor or remove any of the content posted by users in the Online
Forums or elsewhere on or through the Service, we reserve the right to do so without notice in
our sole discretion. You can report abuse or violations of the Code of Conduct in an Online
Forum by clicking on the "report" button and completing the web form. We are not responsible or
liable for any statements, representations or content provided by users in the Online Forums or
elsewhere in connection with the Service. Your use of Online Forums and the Service is at your
own risk.

11. Privacy.

We collect certain information about you to operate and provide the Service. We may also
automatically upload information about your computer, your use of the Service, and Service
performance as part of the Service. We use and protect that information as described in the
Microsoft Online Privacy Statement (http://go.microsoft.com/fwlink/?LinkId=81184), the Windows
Phone 7 Privacy Statement (http://go.microsoft.com/fwlink/?LinkId=187032), and their
successors. In particular, we may access or disclose information about you, including the
content of your communications, in order to: (a) comply with the law or respond to lawful
requests or legal process; (b) protect the rights or property of Microsoft or our customers,
including the enforcement of our agreements or policies governing your use of the Service; and
(c) act on a good faith belief that such access or disclosure is necessary to protect the personal
safety of Microsoft employees, customers, or the public.

We may use technology or other means to protect the Service, protect our customers, or stop
you from breaching this contract. These means may include, for example, filtering to stop spam
or increase security. These means may interfere with your use of the Service and hinder or
interrupt your use of the Service. We reserve the right to enforce and verify compliance with any
part of this contract. This includes Microsoft's right to cooperate with any legal process relating to
your use of the Service, and a third party claim that your use of the Service is unlawful or
infringes such third party's rights.

Personal information collected by Microsoft may be stored and processed in the United States or
any other country or region in which Microsoft or its affiliates, subsidiaries, or service providers
maintain facilities. You consent to any such transfer of information outside of your country or
region. Microsoft abides by the safe harbor framework as set forth by the U.S. Department of
Commerce regarding the collection, use, and retention of data from the European Union,
European Economic Area and Switzerland.

We may collect certain information about Service performance, your Authorized Device, and
your use of the Service and Authorized Device to provide you the Service and improve the
Service and Authorized Devices. We may automatically upload this information from your
Authorized Device. Such data may include Xbox console hardware and operating performance
data, unique identifiers on game discs, network performance data, and Service quality data. If
you use the Xbox console with Kinect, we may also collect data about the way in which you
interact with the console and the Service to improve Microsoft products and services. Any
software or hardware errors which occur while you are connected to the Service or are offline
may be uploaded and reported. All such data may be stored with the Xbox console's unique
identifier, and may be associated with other personally identifiable information. You may read
about this data collection in more detail in the Microsoft Online Privacy Statement at
http://go.microsoft.com/fwlink/?LinkId=81184.

12. Intellectual Property.

We may automatically check your version of the software. We may also automatically download
upgrades to the software to your Authorized Device to update, enhance, and further develop the
Service.

Any software or content (e.g., text, images, video, graphics, music, sound, or games) (for
purposes of this Section 12, we refer to all of these, as applicable, as "Software") we provide as
part of the Service is licensed and not sold. We reserve all other rights not expressly granted in
this contract. The Software license ends when your Service ends unless we notify you otherwise.
You must then uninstall the Software, or we may disable it. You must not work around any
technical limitations in the Software.

Microsoft Products and Services are subject to United States export laws and regulations. You
must comply with all domestic and international export laws and regulations that apply to the


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 16
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 17 of 145


products and services. These laws include restrictions on destinations, end users and end use.
For additional information, see http://www.microsoft.com/exporting. If you use the Software to
access content that has been protected with Microsoft Digital Rights Management (DRM), the
Software may automatically request media usage rights from an online rights server and
download and install DRM updates in order to let you play the content. See the DRM information
in the Microsoft Silverlight Privacy Statement (http://go.microsoft.com/fwlink/?LinkId=178857) for
more information.

13. Microsoft Points.

Microsoft Points is a Service under which you can acquire Points and redeem those Points for
certain online services and digital products. You can see how many Points you have by checking
your Points balance at https://billing.microsoft.com. You can obtain selected Services or digital
products that we offer in exchange for Points. You can do this by redeeming your Points as
described in the messaging for those offers.

You can acquire Points in a variety of ways. For example, you can purchase Points, or certain
Services may give you Points for using the Service or specific features of the Service (also
known as "Promotion Points"). You can earn Promotion Points only for actions you actually
complete. You are responsible for any taxes that may result from your participation in the Points
Service.

When you obtain Points, you have obtained a limited license to a digital product. Points have no
monetary value. You may not exchange Points for cash or money, regardless of how you
acquired those Points. Points are not your personal property. Your only recourse for using Points
is to obtain the specific online Services or digital products that we offer for Points redemption.
Points are sold in a few denominations only. Unused Points are not refundable. We may further
restrict our Points redemption offers based on your country of residence. We encourage you to
redeem your Points. Points redemption offers may be limited in time and scope. The scope,
variety, and type of online Services and digital products offered can change at any time. We
have no obligation to continue making offers available for Points redemption.

Promotion Points may expire at any time, as set forth in the messages related to that promotion.
We may cancel, suspend, or otherwise limit your access to your Points if we suspect fraudulent,
abusive, or unlawful activity. Once we delete Points from a balance, we will not reinstate them,
except at our discretion. When we cancel, suspend, or otherwise limit access to your Points,
your right to use your Points immediately ceases. We will use reasonable efforts to investigate
Points that are subject to access limitations and to reach a final decision on the limitations
promptly. In addition, we may limit your use of the Points service. This includes applying limits to:
(i) the number of Points you may have credited to your Points balance at one time; (ii) the
number of Points you may redeem within a given time period (for example, one day); and (iii) the
number of Promotion Points you may obtain in a single event.

If we post Points to your balance for activity that is subsequently voided, canceled or that
involves a returned item, we will remove those Points from your balance. You must ensure that
we properly post your Points to your Points balance. If you believe that you have validly acquired
Points that we have not posted to your Points balance, subject to applicable laws, we will not
post these Points unless you contact us within 12 months after the date you claim to have
acquired those Points. We may require reasonable documentation to support your claim.

14. Service Operation and Equipment.

You may only access the Service with an Authorized Device or by logging into your account via
the World Wide Web. You agree that: (i) you are using only authorized software and hardware to
access the Service; (ii) your software and hardware have not been modified in any unauthorized
way (e.g., through unauthorized repairs, unauthorized upgrades, or unauthorized downloads);
and (iii) we have the right to send data, applications or other content to any software or hardware
that you are using to access the Service for the express purpose of detecting an unauthorized
modification. You must not attempt to disassemble, decompile, create derivative works of,
reverse engineer, modify, further sublicense, distribute, or use for other purposes the Service,
any game, application, or other content available or accessible through the Service, or any
hardware associated with the Service or with an Authorized Device. If you do so, we may cancel
your account and your ability to access the Service, and pursue other legal remedies. We may
take any legal action we deems appropriate against users who violate our systems or network
security, this contract or any additional terms incorporated or referenced in this contract. Such
users may also incur criminal or civil liability.



    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 17
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 18 of 145


We reserve complete and sole discretion with respect to the operation of the Service. We may,
among other things: (i) restrict or limit access to the Service; (ii) retrieve information from the
Authorized Device and any connected peripheral device used to log onto the Service as
necessary to operate and protect the security of the Service, and to enforce this contract; and
(iii) upgrade, modify, withdraw, suspend, or discontinue any functionality or feature of the
Service, any game or other content available or accessible through the Service, or any hardware
or software associated with the Service or with an Authorized Device, from time to time without
notice. We may do so by the automatic download of related software directly to your Authorized
Device, including software that prevents you from accessing the Service, playing pirated games,
or using unauthorized hardware peripheral devices.

15. WE MAKE NO WARRANTY.

We provide the Service "as-is," "with all faults," and "as available." We do not guarantee
the suitability, reliability, availability, accuracy or timeliness of information available from
the Service, or that the Service will be uninterrupted, secure, error-free or that data loss
will not occur. You acknowledge that computer and telecommunications systems are not
fault-free and occasional periods of downtime will occur. We give no express warranties,
guarantees, or conditions. We disclaim all warranties with regard to the Service, including
any implied warranties (e.g., those of merchantability, fitness for a particular purpose,
workmanlike effort, title and non-infringement). You may have additional consumer rights
under your local laws that this contract cannot change.

15A. Australian Consumer Guarantees

If you live in Australia, there are consumer guarantees which are implied under the Australian
Consumer Law which will apply to the goods and services supplied to you as part of the
Services. Clause 15 above is modified by the inclusion of those guarantees.

For such of the Service that comprises services (rather than goods) should we breach any of
these consumer guarantees your remedy is limited to receiving the supply of the service again,
or the payment of the cost of having the services supplied again.

For such of the Service that comprises goods (which includes computer software) the following
applies:

Our goods come with guarantees that cannot be excluded under the Australian Consumer Law.
You are entitled to a replacement or refund for a major failure and compensation for any other
reasonably foreseeable loss or damage. You are also entitled to have the goods repaired or
replaced if the goods fail to be of acceptable quality and the failure does not amount to a major
failure.

In the case of software, the repair of goods may not be practicable, and a replacement will be
provided if this is the case. For any warranty or consumer guarantee issue, please contact the
Xbox Call Centre at (02) 8031-8186 (if you are in Sydney) or 1800 555 741.

16. LIABILITY LIMITATION.

You can recover from us for all successful claims only direct damages up to a total
amount equal to your Service fee for one month. You cannot recover any other damages,
including consequential, special, indirect, incidental, or punitive damages and lost profits.

This limitation applies to anything related to this contract, for example:

    • the Service;
    • loss of data;
    • your content, third party content (including code), third party programs, or third party
      conduct;
    • viruses or other disabling features that affect your access to or use of the Service;
    • incompatibility between the Service and other services, software, or hardware;
    • delays or failures you may have in initiating, conducting, or completing any transmissions
      or transactions in connection with the Service in an accurate or timely manner; and
    • claims for breach of contract; breach of warranty, guarantee, or condition;
      misrepresentation; omission; strict liability; negligence; or other tort.

It also applies even if this remedy does not fully compensate you for any losses, fails of its
essential purpose or we knew or should have known about the possibility of the damages.




    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 18
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 19 of 145


Nothing in these terms except the agreement to arbitrate and class action waiver in
Section 18.1 will affect the statutory rights of any consumer. Nothing in these terms will
exclude or restrict liability for death or personal injury arising from our negligence, fraud,
gross negligence or willful intent. Some or all of these limitations or exclusions may not
apply to you if your state, province, or country does not allow the exclusion or limitation
of incidental, consequential or other damages.

17. Changes to the Service; If We Cancel the Service.

We may change the Service or delete features of the Service at any time for any reason. If you
do not agree to these changes, then you must cancel and stop using the Service.

A particular feature may be a pre-release version - a beta, for example - and may not work
correctly or in the way a final version might work. We may significantly change the final version
or decide not to release a final version.

We may cancel or suspend your use of the Service at any time without notice and for any
reason. Upon Service cancellation, your right to use the Service stops right away. Your ability to
access and use Third-Party Features also stops right away. Our cancellation of the Service will
not change your obligation to pay all charges made to your billing account. If we cancel the
Service in its entirety without cause, then we will refund to you on a pro-rata basis the amount of
your payment for the portion of your Service remaining at the time of cancellation. Sections 6 (for
amounts incurred before termination), Section 11, Sections 15-18 and those Sections of this
contract that by their terms apply after termination of this contract will survive any termination of
this contract. If you have confidentiality obligations related to the Service, those obligations
remain in force (for example, you may have been a beta tester).

18. General Legal Terms, Including Binding Arbitration.

18.1. BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER FOR U.S.
RESIDENTS. PLEASE READ THIS SECTION CAREFULLY. IT AFFECTS YOUR LEGAL
RIGHTS CONCERNING ANY DISPUTES BETWEEN YOU AND MICROSOFT IF YOU LIVE IN
THE UNITED STATES FOR PURPOSES OF SECTION 18.1 AND ITS SUBSECTIONS,
"MICROSOFT" MEANS MICROSOFT CORPORATION AND ITS SUBSIDIARIES,
AFFILIATES, OFFICERS, DIRECTORS, EMPLOYEES, AND AGENTS.

18.1.1. DISPUTE. As used in this contract, "Dispute" means any dispute, claim, demand, action,
proceeding, or other controversy between you and Microsoft concerning the Service and your or
Microsoft's obligations and performance under this contract or with respect to the Service,
whether based in contract, warranty, tort (including, without limitation, fraud, misrepresentation,
fraudulent inducement, concealment, omission, negligence, conversion, trespass, strict liability,
and product liability), statute (including, without limitation, consumer protection and unfair
competition statutes), regulation, ordinance, or any other legal or equitable basis or theory.
"Dispute" will be given the broadest possible meaning allowable under law.

18.1.2. INFORMAL NEGOTIATION OF DISPUTES. You and Microsoft agree to attempt in good
faith to resolve any Dispute before commencing arbitration. Unless you and Microsoft otherwise
agree in writing, the time for informal negotiation will be 60 days from the date on which you or
Microsoft mails a notice of the Dispute ("Notice of Dispute") as specified in Section 18.1.3. You
and Microsoft agree that neither will commence arbitration before the end of the time for informal
negotiation.

18.1.3. NOTICE OF DISPUTE. If you give a Notice of Dispute to Microsoft, you must send by
U.S. Mail to Microsoft Corporation, ATTN: LCA ARBITRATION, One Microsoft Way,
Redmond, WA 98052-6399, a written statement setting forth (a) your name, address, and
contact information, (b) your Windows Live ID or gamertag, if you have one, (c) the facts giving
rise to the Dispute, and (d) the relief you seek. A form is available at www.xbox.com/notice. If
Microsoft gives a Notice of Dispute to you, we will send by U.S. Mail to your billing address if we
have it, or otherwise to your e-mail address, a written statement setting forth (a) Microsoft's
contact information for purposes of efforts to resolve the Dispute, (b) the facts giving rise to the
Dispute, and (c) the relief Microsoft seeks.

18.1.4. BINDING ARBITRATION. IF YOU LIVE IN THE UNITED STATES, YOU AND
MICROSOFT AGREE THAT IF YOU AND MICROSOFT DO NOT RESOLVE ANY DISPUTE
BY INFORMAL NEGOTIATION UNDER SECTION 18.1.2 ABOVE, ANY EFFORT TO
RESOLVE THE DISPUTE WILL BE CONDUCTED EXCLUSIVELY BY BINDING
ARBITRATION IN ACCORDANCE WITH THE ARBITRATION PROCEDURES IN SECTION


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 19
http://www.xbox.com/en-US/legal/livetou
           Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 20 of 145


18.1.7 BELOW. YOU UNDERSTAND AND ACKNOWLEDGE THAT BY AGREEING TO
BINDING ARBITRATION, YOU ARE GIVING UP THE RIGHT TO LITIGATE (OR
PARTICIPATE IN AS A PARTY OR CLASS MEMBER) ALL DISPUTES IN COURT BEFORE A
JUDGE OR JURY. INSTEAD, YOU UNDERSTAND AND AGREE THAT ALL DISPUTES WILL
BE RESOLVED BEFORE A NEUTRAL ARBITRATOR, WHOSE AWARD (DECISION) WILL
BE BINDING AND FINAL, EXCEPT FOR A LIMITED RIGHT OF APPEAL UNDER THE
FEDERAL ARBITRATION ACT. ANY COURT WITH JURISDICTION OVER THE PARTIES
MAY ENFORCE THE ARBITRATOR'S AWARD.

THE ONLY DISPUTES NOT COVERED BY THE AGREEMENT IN SECTION 18.1 TO
NEGOTIATE INFORMALLY AND ARBITRATE ARE DISPUTES ENFORCING, PROTECTING,
OR CONCERNING THE VALIDITY OF ANY OF YOUR OR MICROSOFT'S (OR ANY OF
YOUR OR MICROSOFT'S LICENSORS') INTELLECTUAL PROPERTY RIGHTS.

18.1.5. AVAILABILITY OF SMALL CLAIMS COURT. Notwithstanding Section 18.1.4 , you
have the right to litigate any Dispute in small claims court, if all requirements of the small
claims court, including any limitations on jurisdiction and the amount at issue in the
Dispute, are satisfied. Notwithstanding Section 19, you agree to bring a Dispute in small
claims court only in your county of residence or King County, Washington .

18.1.6. CLASS ACTION WAIVER. YOU AND MICROSOFT AGREE THAT ANY PROCEED-
INGS TO RESOLVE OR LITIGATE ANY DISPUTE, WHETHER IN ARBITRATION, IN COURT,
OR OTHERWISE, WILL BE CONDUCTED SOLELY ON AN INDIVIDUAL BASIS, AND THAT
NEITHER YOU NOR MICROSOFT WILL SEEK TO HAVE ANY DISPUTE HEARD AS A
CLASS ACTION, A REPRESENTATIVE ACTION, A COLLECTIVE ACTION, A PRIVATE
ATTORNEY-GENERAL ACTION, OR IN ANY PROCEEDING IN WHICH YOU OR
MICROSOFT ACTS OR PROPOSES TO ACT IN A REPRESENTATIVE CAPACITY. YOU AND
MICROSOFT FURTHER AGREE THAT NO ARBITRATION OR PROCEEDING WILL BE
JOINED, CONSOLIDATED, OR COMBINED WITH ANOTHER ARBITRATION OR
PROCEEDING WITHOUT THE PRIOR WRITTEN CONSENT OF YOU, MICROSOFT, AND
ALL PARTIES TO ANY SUCH ARBITRATION OR PROECCEDING.

18.1.7. ARBITRATION PROCEDURE. The arbitration of any Dispute will be conducted by,
and according to the rules and procedures of, the American Arbitration Association (the
"AAA"). Information about the AAA, and how to commence arbitration before it, is
available at www.adr.org or by calling 1-800-778-7879. A form is available at
www.xbox.com/arbitration. The Commercial Arbitration Rules of the AAA will govern the
arbitration. If you are an individual consumer and use the Service for personal or
household use, or if the value of the Dispute is $75,000 or less, the Supplementary
Procedures for Consumer-Related Disputes of the AAA will also apply. If the AAA rules or
procedures conflict with the provisions of this contract, the provisions of this contract
will govern. You may request a telephonic or in-person hearing by following the AAA
rules and procedures. Where the value of a Dispute is $10,000 or less, any hearing will be
telephonic unless the arbitrator finds good cause to hold an in-person hearing instead.
The arbitrator has the power to make any award of damages to the individual party
asserting a claim that would be available to a court of law. The arbitrator may award
declaratory or injunctive relief only in favor of the individual party asserting a claim, and
only to the extent required to provide relief on that party's individual claim.

18.1.8. ARBITRATION LOCATION. You agree to commence arbitration only in your county of
residence or in King County, Washington. Microsoft agrees to commence arbitration only in your
county of residence.

18.1.9. COSTS AND ATTORNEY'S FEES. In a dispute involving $75,000 or less, Microsoft will
promptly reimburse your filing fees, and pay the AAA administrative fees and the arbitrator's fees
and expenses, incurred in any arbitration you commence against Microsoft unless the arbitrator
finds it frivolous or brought for an improper purpose. Microsoft will pay all filing and AAA
administrative fees, and the arbitrator's fees and expenses, incurred in any arbitration Microsoft
commences against you. If a Dispute involving $75,000 or less proceeds to an award at the
arbitration after you reject the last written settlement offer Microsoft made before the arbitrator
was appointed ("Microsoft's Last Written Offer"), and the arbitrator makes an award in your favor
greater than Microsoft's Last Written Offer, Microsoft will pay you the greater of the award or
$1,000, plus twice your reasonable attorney's fees, if any, and reimburse any expenses
(including expert witness fees and costs) that your attorney reasonably accrues for investigating,
preparing, and pursuing your claim in arbitration, as determined by the arbitrator or agreed to by
you and Microsoft. In any arbitration you commence, Microsoft will seek its AAA administrative



    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 20
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 21 of 145


fees or arbitrator's fees and expenses, or your filing fees it reimbursed, only if the arbitrator finds
the arbitration frivolous or brought for an improper purpose. Microsoft will not seek its attorney's
fees or expenses from you. In a Dispute involving more than $75,000, the AAA rules will govern
payment of filing and AAA administrative fees and arbitrator's fees and expenses. Fees and
expenses are not counted in determining how much a Dispute involves.

18.1.10. IF CLASS ACTION WAIVER ILLEGAL OR UNENFORCEABLE. If the class action
waiver (which includes a waiver of private attorney-general actions) in Section 18.1.6 is found to
be illegal or unenforceable as to all or some parts of a Dispute, whether by judicial, legislative, or
other action, then Section 18.1 and its subsections will not apply to those parts. Instead, those
parts of the Dispute will be severed and proceed in a court of law, with the remaining parts
proceeding in arbitration. The definition of "Dispute" in Section 18.1.1 will still apply to this
contract. You and Microsoft irrevocably consent to the exclusive jurisdiction and venue of the
state or federal courts in King County, Washington, USA, for all proceedings in court under this
Section 18.1.10.

18.1.11. YOUR RIGHT TO REJECT CHANGES TO ARBITRATION AGREEMENT.
Notwithstanding anything to the contrary in this contract, Microsoft agrees that if it makes any
change to Section 18.1 (other than a change to the notice address in Section 18.1.3) while you
are authorized to use the Service, you may reject the change by sending us written notice within
30 days of the change by U.S. Mail to the address in Section 18.1.3. By rejecting the change,
you agree that you will informally negotiate and arbitrate any Dispute between us in accordance
with the most recent version of Section 18.1 before the change you rejected.

18.1.12. SEVERABILITY. If any provision of Section 18.1 and its subsections, other than
Section 18.1.6 (class action waiver), is found to be illegal or unenforceable, that provision will be
severed from Section 18.1, but the remainder of Section 18.1 will remain in full force and effect.
Section 18.1.10 says what happens if Section 18.1.6 (class action waiver) is found to be illegal
or unenforceable.

18.1.13. SURVIVAL OF PROVISIONS. The provisions of Section 18.1 will survive termination of
the contract or the provision of the Service to you.

18.2. Interpreting the Contract. All parts of this contract apply to the maximum extent permitted
by law. A court may hold that we cannot enforce a part of this contract as written. If this happens,
we will replace that part with terms that most closely match the intent of the part that we cannot
enforce. The rest of this contract won't change. Sections 18.1.10 and 18.1.12 say what happens
if parts of Section 18.1 (arbitration and class action waiver) are found to be illegal or
unenforceable. Sections 18.1.10 and 18.1.12 prevail over this Section 18.2 if inconsistent with
this Section 18.2. This is the entire contract between you and us regarding your use of the
Service. It supersedes any prior contract or oral or written statements regarding your use of the
Service. The Section titles in this contract do not limit the other terms of this contract. If you are
accessing the Service within Germany, the agreement located at http://www.xbox.com/de-
DE/legal/LiveTOU applies instead of this contract.

18.3. Assignment and Transfer. Microsoft may assign, transfer, sell, rent or lend or otherwise
dispose our rights and obligations under this contract, in whole or part, at any time without notice
to you. You may not assign this contract or any part of it, or any rights to use the Service or any
part of the Service, either temporarily or permanently, to any other party. Any attempt to do so is
void.

18.4. No Third Party Beneficiaries; Microsoft Affiliates. This contract is solely for your and
our benefit, except for certain Sections of this contract which are for the benefit of Microsoft's
affiliates and owners of content available through the Service. As a result, Microsoft's affiliates
and owners of content available through the Service are entitled to enforce this contract. Except
as stated above, this contract does not create any enforceable rights by anyone other than you
and Microsoft and permitted successors.

18.5. No Waiver. We enforce this contract, the Code of Conduct and other user content and
conduct rules set forth in this contract, and exercise our rights and remedies at our sole
discretion. If we fail to enforce such rules, rights, or remedies in some instances it is not a waiver
of our right to do so in other instances. These rules do not create any private right of action for
you or any third party or any reasonable expectation that the Service will not contain any content
that is prohibited by such rules.

18.6. Claims and Disputes Must Be Filed Within One Year in Arbitration or Court. To the
extent permitted by law, any claim or Dispute (see Section 18.1.1 for definition of Dispute)


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 21
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 22 of 145


arising out of or relating to this contract or the Service must be filed within one year (i) in an
arbitration proceeding under Section 18.1, (ii) in small claims court, or (iii) in court if Section 18.1
permits the Dispute to be filed in court instead of arbitration. The one-year period begins on the
date when the claim or Dispute first could be filed. Any claim or Dispute that is not filed in an
arbitration proceeding or court within that time is permanently barred. This Section applies to you
and your successors and assigns. It also applies to us and our successors and assigns.

18.7. Notices to Parties. You may notify us as stated in customer support for the Service. We
do not accept e-mail notices. This contract is in electronic form. We may send you information
about the Service, additional information, and information the law requires us to provide in
electronic form. We may provide required information to you: (i) by e-mail at the address you
specified when you signed up for the Service; (ii) by access to a Microsoft web site we identify;
or (iii) by access to a pre-designated Microsoft web site. Notices e-mailed to you will be deemed
given and received when the e-mail is sent. As long as you can access and use the Service, you
will be able to receive such notices. If you do not consent to receive any notices electronically,
you must stop using the Service.

18.8. Other Notices.

Copyright and Trademark Notices. All contents of the Service except user-generated and third
party content are Copyright © 2011 Microsoft and/or its suppliers, One Microsoft Way, Redmond,
Washington 98052-6399 U.S.A. All rights reserved. We or our suppliers own the title, copyright
and other intellectual property rights in the Service, software, and content. Microsoft, Windows,
Windows Live, Windows logo, MSN, MSN logo (butterfly), Bing, Xbox, Xbox 360, Xbox LIVE,
Kinect, the Xbox logos and other Microsoft products and services may also be either trademarks
or registered trademarks of Microsoft in the United States and other countries. The names of
actual companies and products mentioned in this contract may be the trademarks of their
respective owners. Any rights not expressly granted in this contract are reserved. Certain
software used in certain Microsoft web site servers is based in part on the work of the
Independent JPEG Group. Copyright © 1991-1996 Thomas G. Lane. All rights reserved.
"gnuplot" software which may be used in certain Microsoft web site servers is copyright © 1986-
1993 Thomas Williams, Colin Kelley. All rights reserved.

Notices and Procedure for Making Claims of Copyright Infringement. Notifications of
claimed copyright infringement should be sent to Microsoft's Designated Agent pursuant to Title
17, United States Code, Section 512(c)(2). WE WILL NOT RESPOND TO INQUIRIES THAT
ARE NOT RELEVANT TO THE FOLLOWING PROCEDURE. For details and contact
information see Notice and Procedure for Making Claims of Copyright Infringement at
http://www.microsoft.com/info/cpyrtInfrg.htm .

Financial Notice. Microsoft is not a broker/dealer or registered investment advisor under U.S.
federal securities law or securities laws of other jurisdictions. Microsoft does not advise
individuals as to the advisability of investing in, purchasing, or selling securities or other financial
products or services. Nothing contained in the Service constitutes an offer or solicitation to buy
or sell any security. Neither Microsoft nor its licensors of stock quotes or index data endorse or
recommend any particular financial products or services. Nothing contained in the Service is
intended to constitute professional advice, including but not limited to, investment or tax advice.

Notice about the H.264/AVC Visual Standard and the VC-1 Video Standard. Software
provided with the Service may include H.264/MPEG-4 AVC and/or VC-1 decoding technology.
MPEG LA, L.L.C. requires this notice:

THIS PRODUCT IS LICENSED UNDER THE AVC AND THE VC-1 PATENT PORTFOLIO
LICENSES FOR THE PERSONAL AND NON-COMMERCIAL USE OF A CONSUMER TO (A)
ENCODE VIDEO IN COMPLIANCE WITH THE ABOVE STANDARDS ("VIDEO STANDARDS")
AND/OR (B) DECODE AVC AND VC-1 VIDEO THAT WAS ENCODED BY A CONSUMER
ENGAGED IN A PERSONAL AND NON-COMMERCIAL ACTIVITY AND/OR WAS OBTAINED
FROM A VIDEO PROVIDER LICENSED TO PROVIDE SUCH VIDEO. NONE OF THE
LICENSES EXTEND TO ANY OTHER PRODUCT REGARDLESS OF WHETHER SUCH
PRODUCT IS INCLUDED WITH THIS SOFTWARE IN A SINGLE ARTICLE. NO LICENSE IS
GRANTED OR SHALL BE IMPLIED FOR ANY OTHER USE. ADDITIONAL INFORMATION
MAY BE OBTAINED FROM MPEG LA, L.L.C. SEE http://www.mpegla.com

For clarification purposes only, this notice does not limit or inhibit the use of the software
provided under this contract for normal business uses that are personal to that business which
do not include: (i) redistribution of the software to third parties; or (ii) creation of content with the
VIDEO STANDARDS compliant technologies for distribution to third parties.


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 22
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 23 of 145


19. Choice of Law and Location for Resolving Disputes.

If you live in the United States, you are contracting with Microsoft Corp., One Microsoft Way,
Redmond, WA 98052, USA. The laws of the state where you live govern the interpretation of this
contract, claims for breach of it, and all other claims (including consumer protection, unfair
competition, and tort claims), regardless of conflict of law principles. You and we irrevocably
consent to the exclusive jurisdiction and venue of the state or federal courts in King County,
Washington, for all Disputes arising out of or relating to this contract or the Service that are
heard in court (not arbitration and not small claims court).

If you live in Canada, you are contracting with Microsoft Corp., One Microsoft Way, Redmond,
WA 98052, USA. The laws of the province where you live govern the interpretation of this
contract, claims for breach of it, and all other claims (including consumer protection, unfair
competition, and tort claims), regardless of choice of law principles. You and we irrevocably
consent to the exclusive jurisdiction and venue of the courts in Ontario for all Disputes arising out
of or relating to this contract or the Service.

If you live in North or South America Outside the United States and Canada, you are
contracting with Microsoft Corp., One Microsoft Way, Redmond, WA 98052, USA. Washington
State law governs the interpretation of this contract and applies to claims for breach of it,
regardless of choice of law principles. All other claims, including claims regarding consumer
protection laws, unfair competition laws, and in tort, will be subject to the laws of the country to
which we direct your service.

If you live in Europe, you are contracting with Microsoft Luxembourg S.à.r.l., 20 Rue Eugene
Ruppert, Immeuble Laccolith, 1st Floor, L-2543 Luxembourg. All claims, including claims
regarding consumer protection laws, unfair competition laws, and in tort, will be subject to the
laws of Luxembourg or of the country in which you reside. With respect to jurisdiction, you may
choose the responsible court in Luxembourg or in the country in which you reside for all Disputes
arising out of or relating to this contract or the Service.

If you live in the Middle East or Africa, you are contracting with Microsoft Luxembourg S.à.r.l.,
20 Rue Eugene Ruppert, Immeuble Laccolith, 1st Floor, L-2543 Luxembourg. The laws of
Luxembourg govern the interpretation of this contract and apply to claims for breach of it,
regardless of conflict of laws principles. All other claims, including claims regarding consumer
protection laws, unfair competition laws, and in tort, will be subject to the laws of the country to
which we direct your Service. You and we irrevocably agree to the exclusive jurisdiction and
venue of the Luxembourg courts for all Disputes arising out of or relating to this contract or the
Service.

If you live in Asia or the South Pacific (other than the countries called out below), you are
contracting with Microsoft Regional Sales Corp. ("MRS"). MRS is a corporation organized under
the laws of the State of Nevada, USA. MRS has a branch in Singapore located at 438B
Alexandra Road, #04-09/12, Block B, Alexandra Technopark, Singapore, 119968. The laws of
Washington govern this contract. Any Dispute arising out of or related to this contract or the
Service will be referred to and finally resolved by arbitration in Singapore according to the
Arbitration Rules of the Singapore International Arbitration Center (SIAC. These rules are
incorporated by reference into this clause. The tribunal will consist of one arbitrator appointed by
the Chairman of SIAC. The language of arbitration will be English. The decision of the arbitrator
will be final, binding, and incontestable. The decision may be used as a basis for judgment in
any country or region.

If you live in China, you are contracting with Microsoft Corp., One Microsoft Way, Redmond, WA
98052, USA. Washington State law governs this contract, regardless of conflict of laws
principles. The jurisdiction of the state or federal courts in King County, Washington, USA, is
nonexclusive.

If you live in Japan, you are contracting with Microsoft Japan Co., Ltd (MSKK), Shinagawa
Grand Central Tower, 2-16-3 Konan Minato-ku, Tokyo 108-0075. The laws of Japan govern this
contract and any matters arising out of or relating to it. You and we irrevocably agree to the
exclusive original jurisdiction and venue of the Tokyo District Court for all Disputes arising out of
or relating to this contract or the Service.

If you live in Korea, you are contracting with Microsoft Korea, Inc., 6th Floor, POSCO Center,
892 Daechi-Dong, Kangnam-Gu, Seoul, 135-777, Korea. The laws of the Republic of Korea
govern this contract. You and we irrevocably agree to exclusive original jurisdiction and venue of
the Seoul District Court for all Disputes arising out of or relating to this contract or the Service.


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 23
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 24 of 145


If you live in Taiwan, you are contracting with Microsoft Taiwan Corp., 8F, No 7 Sungren Road,
Shinyi Chiu, Taipei, Taiwan 110. The laws of Taiwan govern this contract. You and we
irrevocably designate the Taipei District Court as the court of first instance having jurisdiction
over all Disputes arising out of or in connection with this contract or the Service.

20. Support.

We do not offer customer support for the Service unless provided otherwise in this contract or
the materials we publish in connection with a particular component of the Service. For more
information on customer support, please go to http://www.xbox.com/support.

21. Xbox LIVE and Games for Windows LIVE.

The following additional terms apply to Xbox LIVE and Games for Windows Live:

21.1. Additional Privacy Terms for Xbox LIVE and Games for Windows Live. We require
certain permissions in order for you to evaluate and for us to enable the features and functions of
the Xbox LIVE/Games for Windows Live Service. These features and functions include
leaderboards, live-hosted gameplay, achievements, tournaments, and gamer profile sharing. If
you evaluate or we enable these features and functions, you grant Microsoft and its affiliates,
resellers, distributors, service providers, partners, and/or suppliers (each, a "Microsoft party") the
following permissions: Microsoft parties may use, track, store, copy, distribute, broadcast,
transmit, publicly display and perform, and reproduce: (i) your game scores; (ii) your game play
sessions; (iii) your presence on the Xbox LIVE/Games for Windows Live Service; (iv) the time
that you spend on or within particular portions of the Xbox LIVE/Games for Windows Live
Service; (v) portions of the Xbox LIVE/Games for Windows Live Service that are displayed on
your monitor or screen and the duration of that display; (vi) rankings, statistics, gamer profiles,
avatars, and content that you may submit; and (vii) other usage information. These permissions
apply with or without attribution to you, your gamertag or avatar. We may use these permissions
without notice or compensation to you of any kind. To avoid any confusion, we have the right to
make information pertaining to your use of, and gameplay on, Xbox LIVE available through
Games for Windows Live, and vice versa.

You should not expect any level of privacy concerning your use of the live communication
features (for example, voice chat, video and communications in live-hosted gameplay sessions)
offered through the Xbox LIVE/Games for Windows Live Service. We may monitor these
communications to the extent permitted by law. However, we cannot monitor the entire Service
and make no attempt to do so. You understand that others can record and use these
communications. Communications in live-hosted gameplay sessions may also be broadcast to
others. Some games may use game managers and hosts. Game managers and hosts are not
authorized Microsoft spokespersons. Their views do not necessarily reflect those of Microsoft.

When you use Voice Search, all voice commands are sent to Microsoft and stored to provide the
Voice Search Service and improve Microsoft products. If you use Voice Search, you consent to
Microsoft recording and collecting your voice input to provide the Voice Search Service and
improve Microsoft products. We will treat any voice input according to the Microsoft Online
Privacy Statement (http://go.microsoft.com/fwlink/?LinkId=81184).

22. Zune.

The following additional terms apply to Zune:

22.1 Zune Pass Subscription. You can choose to sign up for a Zune Pass subscription if
available in your Territory. The Zune Pass allows you to stream or download as many songs as
you want from the Zune Service on a subscription basis for a flat monthly fee. If you do not pay
your subscription fee or your Zune Pass subscription terminates for any other reason, you will no
longer have access to any content you downloaded under your Zune Pass subscription.

22.2 Non-Commercial Use. Music and video content may only be used for personal, non-
commercial use and may not be used as a musical "ringer" or ringtone for a mobile phone
without the prior written consent of the copyright owner.

22.3 Content Usage Rules for Music and Music Video. All music and music video content you
purchase, rent or acquire on a subscription basis from the Zune Service in your Territory is
subject to this contract and any other applicable terms and conditions. These include: (i)
limitations imposed by copyright owners; (ii) use of digital rights management (DRM) technology;
and (iii) the usage rules, located at http://www.xbox.com/usagerules.


    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 24
http://www.xbox.com/en-US/legal/livetou
             Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 25 of 145


22.4. Storage. Any burning or exporting capabilities (if applicable) are solely an accommodation
to you. They do not constitute a grant or waiver (or other limitation or implication) of any rights of
the copyright owners of any audio or video content, sound recording, underlying musical
composition or artwork embodied in any purchased content.

22.5. Video Content (Film or Television). We may offer video content in your Territory ("Video
Content") for download, streaming or both, on: (i) a limited time-based video-on-demand basis
("VOD Content"); or (ii) a retained license basis ("Retained Rights Content"). You may only
stream Video Content to the extent this feature is authorized under the Service. Resolution of
Video Content purchased in high definition may vary depending on the content you chose, the
device or hardware that you use, and the bandwidth of your Internet connection.

22.5.1. VOD Content. Notwithstanding anything to the contrary in this contract, we grant you a
personal, non-exclusive, non-transferable, limited right and license to view and privately display
the VOD Content in your Territory for personal, non-commercial purposes only via an Authorized
Device. This limited right and license is subject to the terms of this contract and the usage rules,
located at http://www.xbox.com/usagerules and is effective on payment of the required fees.

22.5.2. Retained Rights Content. Notwithstanding anything to the contrary in this contract, we
grant you, a personal, non-exclusive, non-transferable, limited right and license to view and
privately display any Retained Rights Content you obtain via the Service in your Territory. This
limited right and license is: (i) subject to the terms of this contract; (ii) for personal, non-
commercial purposes only, for and during your authorized use of the Zune Service; and (iii)
effective on payment of the required fees. Once you obtain a license to an item of Retained
Rights Content, you may download or stream a copy of it to one or more Authorized Devices, as
set forth in the usage rules, located at http://www.xbox.com/usagerules.

23. Windows Phone 7.x.

The Service available in your Territory may enable you to browse, search, download and
purchase applications for your Windows® Phone running a version 7.x of the Windows Phone
operating system ("Windows Phone Applications").

We will identify the provider of each Windows Phone Application. It may be Microsoft ("Microsoft
applications") or a third party ("Third Party applications"). Your use of Windows Phone
Applications is governed by the Standard Application License Terms at the end of these Terms
of Use. If a Third Party application provides you with separate terms those apply instead.

We are not a party to the license between you and a Third Party application provider. Except in
the country(s) listed in Section 22.3 below, we act as an agent of the application provider in
providing any Third Party application to you. Regardless of whether Microsoft acts as an agent
or reseller, we do not license any Microsoft intellectual property to you as part of any Third Party
application made available through the Service, and we are not responsible, unless otherwise
required by law, for:

    •   the Third Party application;
    •   your use of the Third Party application;
    •   the content of the Third Party application;
    •   customer support for the Third Party application; or
    •   any warranties or claims relating to the Third Party application.

23.1. Removing or Disabling Windows Phone Applications . We may disable the Windows
Phone applications contained in your service account for any reason. We may also remove any
Windows Phone application or disable copies of any Windows Phone application on your
Marketplace enabled device in order to protect the Service, application providers, wireless
carriers over whose network you access the Service or any other affected or potentially affected
parties.

23.2. Privacy Policy for Windows Phone Applications . The privacy policies that apply to
Third Party applications will be provided to you with such Third Party applications, and
Microsoft's Terms of Use and privacy policies will not apply to your use of a Third Party
application.

                     Standard Windows Phone Application License Terms

STANDARD APPLICATION LICENSE TERMS (UPDATED JUNE 2011)

WINDOWS PHONE APPLICATIONS



    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 25
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 26 of 145


These license terms are an agreement between Application Provider and you. Please read
them. They apply to the software application you download from the Windows Phone
Marketplace ("Application"), unless the Application comes with separate terms ("Third Party
License"). In that case, the terms of the Third Party License will apply. This agreement also
applies to any updates and supplements for the Application, unless other terms accompany
those items. If so, those terms apply.

BY DOWNLOADING OR USING THE APPLICATION, YOU ACCEPT THESE TERMS. IF YOU
DO NOT ACCEPT THEM, DO NOT DOWNLOAD OR USE THE APPLICATION.

Except for the foregoing, if the Application enables access to any Internet-based services, your
use of those services will be subject to the separately-provided terms of use.

In this agreement "Application Provider" means the entity licensing the Application to you, as
identified in the Windows Phone Marketplace. If the Application is provided by Microsoft, then
the Application Provider is Microsoft (or based on where you live, one of its affiliates).

If you comply with these license terms, you have the rights below.

INSTALLATION AND USE RIGHTS.

Installation and Use. You may install and use one copy of the Application on up to five (5) mobile
devices you personally own or control and which are affiliated with the Windows Live ID
associated with your Windows Phone Marketplace account. You may not install or use a copy of
the Application on a device you do not own or control.

INTERNET-BASED SERVICES. Application Provider may provide Internet-based services with
the Application. In addition to the following, your use of such services is subject to the terms
provided to you by the Application Provider and/or your wireless carrier.

Consent for Internet-Based or Wireless Services. The Application may connect to computer
systems over an Internet-based wireless network. In some cases, you will not receive a separate
notice when they connect. Using the application operates as your consent to the transmission of
standard device information (including but not limited to technical information about your device,
system and application software, and peripherals) for Internet-based or wireless services.

Misuse of Internet-based Services. You may not use any Internet-based service in any way that
could harm it or impair anyone else's use of it or the wireless network. You may not use the
service to try to gain unauthorized access to any service, data, account or network by any
means.

Scope of License. The Application is licensed, not sold. This agreement only gives you some
rights to use the Application. Application Provider reserves all other rights. Unless applicable law
gives you more rights despite this limitation, you may use the Application only as expressly
permitted in this agreement. In doing so, you must comply with any technical limitations in the
Application that only allow you to use it in certain ways. You may not:

    • work around any technical limitations in the Application;
    • reverse engineer, decompile or disassemble the Application, except and only to the extent
      that applicable law expressly permits, despite this limitation;
    • make more copies of the Application than specified in this agreement or allowed by
      applicable law, despite this limitation;
    • publish or otherwise make the Application available for others to copy;
    • rent, lease or lend the Application; or
    • transfer the Application or this agreement to any third party.

Documentation. If documentation is provided with the Application, you may copy and use the
documentation for your internal, reference purposes.

Export Restrictions. The Application is subject to United States export laws and regulations. You
must comply with all domestic and international export laws and regulations that apply to the
Application. These laws include restrictions on destinations, end users and end use. For
additional information, see www.microsoft.com/exporting.

Support Services. The Application is provided "as is." Contact the Application Provider to
determine if any support services are available. Microsoft (unless Microsoft is the Application
Provider), your phone manufacturer, and your wireless carrier are not responsible for providing
support services for the Application.




    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 26
http://www.xbox.com/en-US/legal/livetou
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 27 of 145


Entire Agreement. This agreement, and the terms for supplements and updates are the entire
agreement for the Application.

Applicable Law.

United States. If you acquired the Application in the United States, he laws of the state where
you live govern the interpretation of this agreement, claims for breach of it, and all other claims
(including consumer protection unfair competition, and tort claims), regardless of conflict of law
principles.

Outside the United States. If you acquired the Application in any other country, the laws of that
country apply.

Legal Effect. This agreement describes certain legal rights. You may have other rights under the
laws of your country. This agreement does not change your rights under the laws of your country
if the laws of your country do not permit it to do so.

Disclaimer of Warranty. THE APPLICATION IS LICENSED "AS-IS," "WITH ALL FAULTS," AND
"AS AVAILABLE." YOU BEAR THE RISK OF USING IT. THE APPLICATION PROVIDER, ON
BEHALF OF ITSELF, MICROSOFT, WIRELESS CARRIERS OVER WHOSE NETWORK THE
APPLICATION IS PROVIDED, AND EACH OF OUR RESPECTIVE AFFILIATES, AND
SUPPLIERS ("COVERED PARTIES"), GIVES NO EXPRESS WARRANTIES, GUARANTEES,
OR CONDITIONS UNDER OR IN RELATION TO THE APPLICATION. YOU MAY HAVE
ADDITIONAL CONSUMER RIGHTS UNDER YOUR LOCAL LAWS WHICH THIS AGREEMENT
CANNOT CHANGE. TO THE EXTENT PERMITTED UNDER YOUR LOCAL LAWS, COVERED
PARTIES EXCLUDE ANY IMPLIED WARRANTIES OR CONDITIONS, INCLUDING THOSE OF
MERCHANTABILITY, FITNESS FOR A PARTICULAR PURPOSE AND NON-INFRINGEMENT.

Limitation on and Exclusion of Remedies and Damages.

TO THE EXTENT NOT PROHIBITED BY LAW, YOU CAN RECOVER FROM THE
APPLICATION PROVIDER ONLY DIRECT DAMAGES UP TO THE AMOUNT YOU PAID FOR
THE APPLICATION. YOU AGREE NOT TO SEEK TO RECOVER ANY OTHER DAMAGES,
INCLUDING CONSEQUENTIAL, LOST PROFITS, SPECIAL, INDIRECT, INCIDENTAL, OR
PUNITIVE DAMAGES FROM ANY COVERED PARTIES.

This limitation applies to

    • anything related to the Application, services made available through the Application, or
      content (including code) on third party Internet sites; and
    • claims for breach of contract, breach of warranty, guarantee or condition, strict liability,
      negligence, or other tort to the extent permitted by applicable law.
    • It also applies even if
    • repair, replacement or a refund for the Application does not fully compensate you for any
      losses; or
    • Covered Party knew or should have known about the possibility of the damages.

If you live in Australia, the above "Disclaimer of Warranty" and "Limitation on and Exclusion of
Remedies and Damages" clauses are subject to the consumer guarantee provisions of the
Australian Consumer Law.

Our goods (the Application) come with guarantees that cannot be excluded under the Australian
Consumer Law. You are entitled to a replacement or refund for a major failure and compensation
for any other reasonably foreseeable loss or damage. You are also entitled to have the goods
repaired or replaced if the goods fail to be of acceptable quality and the failure does not amount
to a major failure.




 Support     Press     For Developers     Jobs    Feedback

 United States    Mobile version   Privacy Statement   Xbox.com Terms of Use    Code of Conduct     About Our Ads
                                                                                                                    © 2012 Microsoft




    DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
    ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 27
http://www.xbox.com/en-US/legal/livetou
    Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 28 of 145




                  Exhibit B




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 28
          Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 29 of 145




Microsoft Services Agreement
FAQ       Microsoft Services Agreement               Microsoft Privacy Statement

Published: June 4, 2015
Effective: August 1, 2015

                                                                                                              Print


Microsoft Services Agreement
IF YOU LIVE IN ﴾OR YOUR PRINCIPAL PLACE OF BUSINESS IS IN﴿ THE UNITED STATES, PLEASE READ THE BINDING
ARBITRATION CLAUSE AND CLASS ACTION WAIVER IN SECTION 15. IT AFFECTS HOW DISPUTES ARE RESOLVED.
These terms ﴾“Terms”﴿ cover the use of those Microsoft’s consumer products, websites, and services listed here ﴾the
“Services”﴿. Many of these products previously had separate terms that were called different names, such as “Xbox
Live Terms of Use” or “Skype Terms of Use,” and these Terms replace those separate terms. You accept these Terms
by creating a Microsoft account or Skype account, through your use of the Services, or by continuing to use the
Services after being notified of a change to these Terms.



 Your Privacy
                                      Your Privacy
 Your Content
                            1. Your Privacy. Your privacy is important to us. Please read the Microsoft Privacy
 Code of Conduct            Statement, the Microsoft Health Privacy Statement, and the HealthVault Privacy
                            Statement ﴾collectively "Privacy Statements"﴿ as they describe the types of data we
 Using the Services &       collect from you and your devices ﴾"Data"﴿ and how we use your Data. The Privacy
 Support                    Statements also describe how Microsoft uses your content, which is your
                            communications with others; postings or feedback submitted by you to Microsoft via
                            the Services; and the files, photos, documents, audio, digital works, and videos that you
 Using Third‐Party
                            upload, store or share through the Services ﴾"Your Content"﴿. By using the Services or
 Apps and Services          agreeing to these Terms, you consent to Microsoft’s collection, use and disclosure of
                            Your Content and Data as described in the Privacy Statements.
 Service Availability

 Updates to the
 Services or Software,
 and Changes to                       Your Content
 These Terms

                            2. Your Content. Many of our Services allow you to store or share Your Content or
 Software License
                            receive material from others. We don’t claim ownership of Your Content. Your Content
                            remains Your Content and you are responsible for it.
 Payment Terms
                             a. When you share Your Content with other people, you understand that they may
                             be able to, on a worldwide basis, use, save, record, reproduce, transmit, display
 Contracting entity,
                             ﴾and on HealthVault delete﴿ Your Content without compensating you. If you do not
 choice of law,              want others to have that ability, do not use the Services to share Your Content. You
 jurisdiction
       DECL. OF. A. HOLBROOK represent
                              ISO MOT. and  warrant that for the duration of these Terms, you have ﴾and will
                                       TO COMPEL
       ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 29
        Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 30 of 145
                              have﴿ all the rights necessary for Your Content that is uploaded, stored or shared
Warranties                    on or through the Services and that the collection, use, and retention of Your
                              Content will not violate any law or rights of others. Microsoft cannot be held
Limitation of Liability       responsible for Your Content or the material others upload, store or share using the
                              Services.
Service‐Specific
                              b. To the extent necessary to provide the Services to you and others, to protect you
Terms
                              and the Services, and to improve Microsoft products and services, you grant to
                              Microsoft a worldwide and royalty‐free intellectual property license to use Your
Xbox Live and                 Content, for example, to make copies of, retain, transmit, reformat, display, and
Microsoft Studios             distribute via communication tools Your Content on the Services. If you publish
Games and                     Your Content in areas of the Service where it is available broadly online without
Applications                  restrictions, Your Content may appear in demonstrations or materials that promote
                              the Service. Controls for how Microsoft personalizes advertising are available on
Store                         the Security & privacy page of the Microsoft account management website. We do
                              not use what you say in email, chat, video calls or voice mail, or your documents,
                              photos or other personal files to target advertising to you. Our advertising policies
Microsoft Family
                              are covered in detail in the Privacy Statements.

Skype                      Top of page

Bing and MSN

Bing Rewards
                                   Code of Conduct
Cortana                   3. Code of Conduct.
                              a. By agreeing to these Terms, you’re agreeing that, when using the Services, you
Outlook.com                   will follow these rules:

Office‐based                      i. Don’t do anything illegal.
Services                          ii. Don’t engage in any activity that exploits, harms, or threatens to harm
                                  children.
HealthVault                       iii. Don’t send spam. Spam is unwanted or unsolicited bulk email, postings,
                                  contact requests, SMS ﴾text messages﴿, or instant messages.
                                  iv. Don’t publicly display or use the Services to share inappropriate Content or
Binding Arbitration
                                  material ﴾involving, for example, nudity, bestiality, pornography, graphic
and Class Action                  violence, or criminal activity﴿.
Waiver                            v. Don’t engage in activity that is false or misleading ﴾e.g., asking for money
                                  under false pretenses, impersonating someone else, manipulating the Services
Miscellaneous                     to increase play count, or affect rankings, ratings, or comments﴿.
                                  vi. Don’t circumvent any restrictions on access to or availability of the Services.
NOTICES                           vii. Don’t engage in activity that is harmful to you, the Services, or others ﴾e.g.,
                                  transmitting viruses, stalking, communicating hate speech, or advocating
STANDARD                          violence against others﴿.
                                  viii. Don’t infringe upon the rights of others ﴾e.g., unauthorized sharing of
APPLICATION
                                  copyrighted music or other copyrighted material, resale or other distribution
LICENSE TERMS                     of Bing maps, or photographs﴿.
                                  ix. Don’t engage in activity that violates the privacy of others.
Covered Services                  x. Don’t help others break these rules.

                           b. Enforcement. If you violate these Terms, we may stop providing Services to you
                           or we may close your Microsoft account or Skype account. We may also block
                           delivery of a communication ﴾like email or instant message﴿ to or from the Services
                           in an effort to enforce these Terms or we may remove or refuse to publish Your
     DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
     ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 30
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 31 of 145
                         Content for any reason. When investigating alleged violations of these Terms,
                         Microsoft reserves the right to review Your Content in order to resolve the issue.
                         However, we cannot monitor the entire Services and make no attempt to do so.

                      Top of page



                               Using the Services & Support
                     4. Using the Services & Support.

                         a. Microsoft account or Skype account. You’ll need a Microsoft account to access
                         many of the Services. Your Microsoft account lets you sign in to products, websites
                         and services provided by Microsoft and some Microsoft partners. To access Skype
                         on certain platforms, you have the option of using a Skype account or a Microsoft
                         account.
                              i. Creating an Account. You can create a Microsoft account or a Skype account
                              by signing up online. You agree not to use any false, inaccurate or misleading
                              information when signing up for your Microsoft account or Skype account. In
                              some cases, a third party, like your Internet service provider, may have
                              assigned a Microsoft account to you. If you received your Microsoft account
                              from a third party, the third party may have additional rights over your
                              account, like the ability to access or delete your Microsoft account. Please
                              review any additional terms the third party provided you, as Microsoft has no
                              responsibility regarding these additional terms. If you create a Microsoft
                              account on behalf of an entity, such as your business or employer, you
                              represent that you have the legal authority to bind that entity to these Terms.
                              You cannot transfer your Microsoft account or Skype account to another user
                              or entity. To protect your account, keep your account details and password
                              confidential. You are responsible for all activity that occurs under your
                              Microsoft account or Skype account.

                              ii. Account Use. You must use your Microsoft account to keep it active. This
                              means you must sign in at least once in a five‐year period to keep your
                              Microsoft account, and associated Services, active, unless provided otherwise
                              in an offer for a paid portion of the Services. If you don’t sign in during this
                              time, we will assume your Microsoft account is inactive and will close it for you.
                              Please see section 4﴾a﴿﴾iv﴿﴾2﴿ for the consequences of a closed Microsoft
                              account. You must sign into your Outlook.com inbox and your OneDrive
                              ﴾separately﴿ at least once in a one‐year period, otherwise we will close your
                              Outlook.com inbox and your OneDrive for you. If we reasonably suspect that
                              your Microsoft account or Skype account is being used by a third party
                              fraudulently ﴾for example, as a result of an account compromise﴿, Microsoft
                              may suspend your account until you can reclaim ownership. If you are having
                              trouble accessing your Microsoft account, please visit this website:
                              http://go.microsoft.com/fwlink/?LinkId=238656. To manage your Skype
                              account, you must "Sign In" at www.skype.com.

                          iii. Kids and Accounts. By using the Services, you represent that you have either
                          reached the age of "majority" where you live or have valid parent or legal
                          guardian consent to be bound by these Terms. If you do not know whether
                          you have reached the age of majority where you live, or do not understand
                          this section, please ask your parent or legal guardian for help before you
DECL. OF. A. HOLBROOK ISO create
                          MOT. TO  a Microsoft
                                      COMPEL account or Skype account. If you are the parent or legal
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 31
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 32 of 145
                             guardian of a minor that creates a Microsoft account or Skype account, you
                             accept these Terms on the minor’s behalf and are responsible for all use of the
                             Microsoft account, Skype account, or Services, including purchases, whether
                             the minor’s account is now open or created later.

                             iv. Closing Your Account.

                                  1. You can cancel specific Services or close your Microsoft account or
                                  Skype account at any time and for any reason. To close your Microsoft
                                  account, please visit http://go.microsoft.com/fwlink/p/?linkid=618278.
                                  When you ask us to close your Microsoft account, we will put it in a
                                  suspended state for 60 days just in case you change your mind. After that
                                  60 day period, your Microsoft account will be closed. See section 4﴾a﴿﴾iv﴿
                                  ﴾2﴿ below for a detailed explanation as to what happens when your
                                  Microsoft account is closed. Logging back in during that 60 day period will
                                  reactivate your Microsoft account. To cancel your Skype account please
                                  submit a support request to http://go.microsoft.com/fwlink/p/?
                                  linkid=618280.

                                  2. If your Services are canceled or your Microsoft account or Skype
                                  account is closed ﴾whether by you or us﴿, a few things happen. First, your
                                  right to use the Services stops immediately and your license to use the
                                  software related to the Services ends. Second, we’ll delete Data or Your
                                  Content associated with your Microsoft account or Skype account or will
                                  otherwise disassociate it from you and your Microsoft account or Skype
                                  account ﴾unless we are required by law to keep it﴿. You should have a
                                  regular backup plan as Microsoft won’t be able to retrieve Your Content
                                  or Data once your account is closed. Third, you may lose access to
                                  material or products you’ve acquired.

                         b. Additional Equipment/Data Plans. To use many of the Services, you’ll need an
                         internet connection and/or data/cellular plan. You might also need additional
                         equipment, like a headset, camera or microphone. You are responsible for
                         providing all connections, plans, and/or equipment needed to use the Services and
                         for paying the fees charged by the provider﴾s﴿ of your connections, plans, and
                         equipment. Those fees are in addition to any fees you pay us for the Services and
                         we will not reimburse you for such fees. Check with your provider﴾s﴿ to determine if
                         there are any such fees that may apply to you.

                         c. Service Notifications. When there’s something important to tell you about a
                         Service you use, we’ll send you Service notifications to the email associated with
                         your Microsoft account or, for Skype notifications, your Skype account. If you
                         authorized use of your phone number for your Microsoft account or Skype
                         account, then we may send Service notifications to you via SMS ﴾text message﴿.
                         Data or messaging rates may apply when receiving notifications via SMS.

                         d. Support. Customer support             for   the   Services    is   available   at
                         http://support.microsoft.com.

                      Top of page



                              Using Third‐Party Apps and Services
                  5. Using Third‐Party Apps and Services. Our Services may allow you to access or acquire
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 32
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 33 of 145
                    products, services, websites, links, content, material, games or applications from third
                    parties ﴾companies or people who aren’t Microsoft﴿ ﴾"Third‐Party Apps and Services"﴿.
                    Many of our Services also help you find Third‐Party Apps and Services, and you
                    understand that you are directing our Services to provide Third‐Party Apps and Services
                    to you. The Third‐Party Apps and Services may also allow you to store Your Content or
                    Data with the publisher, provider, or operator of the Third‐Party Apps and Services. The
                    Third‐Party Apps and Services may present you with a privacy policy or require you to
                    accept additional terms of use before you can install or use the Third‐Party App or
                    Service. See section 14﴾b﴿ for additional terms for applications acquired through the
                    Office Store, the Xbox Store or the Windows Store. You should review any additional
                    terms and privacy policies before acquiring or using any Third‐Party Apps and Services.
                    Any additional terms do not modify any of these Terms. You are responsible for your
                    dealings with third parties. Microsoft does not license any intellectual property to you
                    as part of any Third‐Party Apps and Services and is not responsible for information
                    provided by third parties.

                     Top of page



                               Service Availability
                    6. Service Availability.

                         a. The Services, Third‐Party Apps and Services, or material or products offered
                         through the Services may be unavailable from time to time, may be offered for a
                         limited time, or may vary depending on your region or device. If you change the
                         location associated with your Microsoft account, you may need to re‐acquire the
                         material or applications that were available to you and paid for in your previous
                         region.

                         b. We strive to keep the Services up and running; however, all online services suffer
                         occasional disruptions and outages, and Microsoft is not liable for any disruption or
                         loss you may suffer as a result. In the event of an outage, you may not be able to
                         retrieve Your Content or Data that you’ve stored. We recommend that you
                         regularly backup Your Content that you store on the Services or store using Third‐
                         Party Apps and Services.

                     Top of page



                               Updates to the Services or Software,
                               and Changes to These Terms
                    7. Updates to the Services or Software, and Changes to These Terms.
                         a. We may change these Terms at any time, and we’ll tell you when we do. Using
                         the Services after the changes become effective means you agree to the new terms.
                         If you don’t agree to the new terms, you must stop using the Services, close your
                         Microsoft account and/or Skype account and, if you are a parent or guardian, help
                         your minor child close his or her Microsoft account or Skype account.

                      b. Sometimes you’ll need software updates to keep using the Services. We may
DECL. OF. A. HOLBROOK automatically
                      ISO MOT. TO check
                                    COMPELyour version of the software and download software updates
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 33
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 34 of 145
                           or configuration changes, including those that prevent you from accessing the
                           Services, playing counterfeit games, or using unauthorized hardware peripheral
                           devices. You may also be required to update the software to continue using the
                           Services. Such updates are subject to these Terms unless other terms accompany
                           the updates, in which case, those other terms apply. Microsoft isn’t obligated to
                           make any updates available and we don’t guarantee that we will support the
                           version of the system for which you licensed the software.

                           c. Additionally, there may be times when we need to remove or change features or
                           functionality of the Service or stop providing a Service or access to Third‐Party
                           Apps and Services altogether. Except to the extent required by applicable law, we
                           have no obligation to provide a re‐download or replacement of any material,
                           Digital Goods ﴾defined in section 14﴾b﴿﴾v﴿﴿, or applications previously purchased.
                           We may release the Services or their features in a beta version, which may not work
                           correctly or in the same way the final version may work.

                           d. So that you can use material protected with digital rights management ﴾DRM﴿,
                           like some music, games, movies and more, DRM software may automatically
                           contact an online rights server and download and install DRM updates.

                       Top of page




                                Software License
                      8. Software License. Unless accompanied by a separate Microsoft license agreement ﴾for
                      example, if you are using a Microsoft application that is included with and a part of
                      Windows, then the Windows Software License Terms govern such software﴿, and except
                      as provided in section 14﴾b﴿﴾i﴿ below for applications available through the Office Store,
                      the Windows Store or the Xbox Store, any software provided by us to you as part of the
                      Services is subject to these Terms.

                           a. If you comply with these Terms, we grant you the right to install and use one
                           copy of the software per device on a worldwide basis for use by only one person at
                           a time as part of your use of the Services. The software or website that is part of the
                           Services may include third‐party code. Any third‐party scripts or code, linked to or
                           referenced from the software or website, are licensed to you by the third parties
                           that own such code, not by Microsoft. Notices, if any, for the third‐party code are
                           included for your information only.

                           b. The software is licensed, not sold, and Microsoft reserves all rights to the
                           software not expressly granted by Microsoft, whether by implication, estoppel, or
                           otherwise. This license does not give you any right to, and you may not:

                          i. circumvent or bypass any technological protection measures in or relating to
                          the software or Services;
                          ii. disassemble, decompile, decrypt, hack, emulate, exploit, or reverse engineer
                          any software or other aspect of the Services that is included in or accessible
                          through the Services, except and only to the extent that the applicable
                          copyright law expressly permits doing so;
                          iii. separate components of the software or Services for use on different
                          devices;
                          iv. publish, copy, rent, lease, sell, export, import, distribute, or lend the software
                          or the Services, unless Microsoft expressly authorizes you to do so;
                          v. transfer the software, any software licenses, or any rights to access or use
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 34
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 35 of 145
                            the Services;
                            vi. use the Services in any unauthorized way that could interfere with anyone
                            else’s use of them or gain access to any service, data, account, or network;
                            vii. enable access to the Services or modify any Microsoft‐authorized device
                            ﴾e.g., Xbox One, Xbox 360, Microsoft Surface, etc.﴿ by unauthorized third‐party
                            applications.

                     Top of page




                             Payment Terms
                    9. Payment Terms. If you purchase a Service, then these payment terms apply to your
                    purchase and you agree to them.

                        a. Charges. If there is a charge associated with a portion of the Services, you agree
                        to pay that charge. The price stated for the Services excludes all applicable taxes
                        and currency exchange settlements, unless stated otherwise. The price for Skype
                        paid products includes a charge for the product and a charge for taxes. You are
                        solely responsible for paying such taxes or other charges. Taxes are calculated
                        based on your location at the time your Microsoft or Skype account was registered.
                        We may suspend or cancel the Services if we do not receive an on time, full
                        payment from you. Suspension or cancellation of the Services for non‐payment
                        could result in a loss of access to and use of your account and its content.
                        Connecting to the Internet via a corporate or other private network which masks
                        your location may cause charges to be different from those displayed for your
                        actual location.

                        b. Your Billing Account. To pay the charges for a Service, you will be asked to
                        provide a payment method at the time you sign up for that Service. You can access
                        and change your billing information and payment method on the Microsoft
                        account management website and for your Skype billing account by signing into
                        your account at www.skype.com. Additionally, you agree to permit Microsoft to use
                        any updated account information regarding your selected payment method
                        provided by your issuing bank or the applicable payment network. You agree to
                        keep your billing account and contact information current at all times. Changes
                        made to your billing account will not affect charges we submit to your billing
                        account before we could reasonably act on your changes to your billing account.

                        c. Billing. By providing Microsoft with a payment method, you ﴾i﴿ represent that you
                        are authorized to use the payment method that you provided and that any
                        payment information you provide is true and accurate; ﴾ii﴿ authorize Microsoft to
                        charge you for the Services or available content using your payment method; and
                        ﴾iii﴿ authorize Microsoft to charge you for any paid feature of the Services that you
                        choose to sign up for or use while these Terms are in force. We may bill you ﴾a﴿ in
                        advance; ﴾b﴿ at the time of purchase; ﴾c﴿ shortly after purchase; or ﴾d﴿ on a recurring
                        basis for subscription Services. Also, we may charge you up to the amount you
                        have approved, and we will notify you in advance of any change in the amount to
                        be charged for recurring subscription Services. We may bill you at the same time
                        for more than one of your prior billing periods for amounts that haven't previously
                        been processed.

                      d. Recurring Payments. When you purchase the Services on a subscription basis
                      ﴾e.g., monthly, every 3 months or annually ﴾as applicable﴿﴿, you acknowledge and
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 35
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 36 of 145
                          agree that you are authorizing recurring payment, and payments shall be made to
                          Microsoft by the method you have chosen at the recurring intervals chosen by you,
                          until the subscription for that Service is terminated by you or by Microsoft. By
                          authorizing recurring payments, you are authorizing Microsoft to process such
                          payments as either electronic debits or fund transfers, or as electronic drafts from
                          your designated account ﴾in the case of Automated Clearing House or similar
                          payments﴿, or as charges to your designated account ﴾in the case of credit card or
                          similar payments﴿ ﴾collectively, "Electronic Payments"﴿. Subscription fees are
                          generally billed or charged in advance of the applicable subscription period. If any
                          payment is returned unpaid or if any credit card or similar transaction is rejected or
                          denied, Microsoft or its service providers reserve the right to collect any applicable
                          return item, rejection or insufficient funds fee and to process any such payment as
                          an Electronic Payment.

                          e. Automatic Renewal. Provided that automatic renewals are allowed in your state,
                          we will inform you by email before automatically renewing your Services, unless
                          purchased on a subscription basis. Once we have informed you that the Services
                          will be automatically renewed, we may automatically renew your Services and
                          charge you the then current price for the renewal term. We will also remind you
                          that we will bill your chosen payment method for the Services renewal, whether it
                          was on file on the renewal date or provided later. We will also provide you with
                          instructions on how you may cancel the Services. You must cancel the Services
                          before the renewal date to avoid being billed for the renewal.

                          f. Online Statement and Errors. Microsoft will provide you with an online billing
                          statement on the Microsoft account management website, where you can view and
                          print your statement. For Skype accounts you can access your online statement by
                          signing into your account at www.skype.com. This is the only billing statement that
                          we provide. If we make an error on your bill, you must tell us within 90 days after
                          the error first appears on your bill. We will then promptly investigate the charge. If
                          you do not tell us within that time, you release us from all liability and claims of
                          loss resulting from the error and we won't be required to correct the error or
                          provide a refund. If Microsoft has identified a billing error, we will correct that error
                          within 90 days.

                          g. Refund Policy. Unless otherwise provided by law or by a particular Service offer,
                          all purchases are final and non‐refundable. If you believe that Microsoft has
                          charged you in error, you must contact us within 90 days of such charge. No
                          refunds will be given for any charges more than 90 days old. We reserve the right
                          to issue refunds or credits at our sole discretion. If we issue a refund or credit, we
                          are under no obligation to issue the same or similar refund in the future. This
                          refund policy does not affect any statutory rights that may apply. For more refund
                          information, please visit our help topic.

                      h. Canceling the Services. You may cancel a Service at any time, with or without
                      cause. To cancel a Service and request a refund, if you are entitled to one, visit the
                      Microsoft account management website. You can request a refund from Skype
                      using the Cancellation and Refund form. You should refer back to the offer
                      describing the Services as ﴾i﴿ you may not receive a refund at the time of
                      cancellation; ﴾ii﴿ you may be obligated to pay cancellation charges; ﴾iii﴿ you may be
                      obligated to pay all charges made to your billing account for the Services before
                      the date of cancellation; or ﴾iv﴿ you may lose access to and use of your account
                      when you cancel the Services. If you cancel, your access to the Services ends at the
                      end of your current Service period or, if we bill your account on a periodic basis, at
                      the end of the period in which you canceled.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 36
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 37 of 145
                      i. Trial‐Period Offers. If you are taking part in any trial‐period offer, you must cancel
                      the trial Service﴾s﴿ by the end of the trial period to avoid incurring new charges,
                      unless we notify you otherwise. If you do not cancel the trial Service﴾s﴿ by the end
                      of the trial period, we may charge you for the Service﴾s﴿.

                      j. Promotional Offers. From time to time, Microsoft may offer Services for a trial
                      period during which Microsoft will not charge you for the Services. Microsoft
                      reserves the right to charge you for such Services ﴾at the normal rate﴿ in the event
                      that Microsoft determines ﴾in its reasonable discretion﴿ that you are breaching the
                      terms and conditions of the offer.

                      k. Price Changes. We may change the price of the Services at any time and if you
                      have a recurring purchase, we will notify you by email at least 15 days before the
                      price change. If you do not agree to the price change, you must cancel and stop
                      using the Services before the price change takes effect. If there is a fixed term and
                      price for your Service offer, that price will remain in force for the fixed term.

                      l. Payments to You. If we owe you a payment, then you agree to timely and
                      accurately provide us with any information we need to get that payment to you.
                      You are responsible for any taxes and charges you may incur as a result of this
                      payment to you. You must also comply with any other conditions we place on your
                      right to any payment. If you receive a payment in error, we may reverse or require
                      return of the payment. You agree to cooperate with us in our efforts to do this. We
                      may also reduce the payment to you without notice to adjust for any previous
                      overpayment.

                      m. Gift Cards. Redemption and use of gift cards ﴾other than Skype gift cards﴿ are
                      governed by the Microsoft Gift Card Terms and Conditions. Information on Skype
                      gift cards is available on Skype’s Help page.

                   Top of page



                            Contracting entity, choice of law,
                            jurisdiction
                  10. Contracting Entity. For use of free, consumer Skype‐branded Services, you're
                  contracting with, and all references to "Microsoft" in these Terms shall mean, Skype
                  Software S.à.r.l, 23 – 29 Rives de Clausen, L‐2165 Luxembourg, and for paid, consumer
                  Skype‐branded Services, you’re contracting with, and all references to "Microsoft" in
                  these Terms shall mean, Skype Communications S.à.r.l, 23 – 29 Rives de Clausen, L‐2165
                  Luxembourg. For all other Services, you're contracting with Microsoft Corporation, One
                  Microsoft Way, Redmond, WA 98052, U.S.A.

                  11. Choice of Law and Place to Resolve Disputes. If you live in ﴾or, if a business, your
                  principal place of business is in﴿ the United States, the laws of the state where you live
                  govern all claims, regardless of conflict of law principles, except that the Federal
                  Arbitration Act governs all provisions relating to arbitration. You and we irrevocably
                  consent to the exclusive jurisdiction and venue of the state or federal courts in King
                  County, Washington, for all disputes arising out of or relating to these Terms or the
                  Services that are heard in court ﴾excluding arbitration and small claims court﴿.

                   Top of page
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 37
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 38 of 145


                            Warranties
                  12. Warranties. MICROSOFT, AND OUR AFFILIATES, RESELLERS, DISTRIBUTORS, AND
                  VENDORS, MAKE NO WARRANTIES, EXPRESS OR IMPLIED, GUARANTEES OR
                  CONDITIONS WITH RESPECT TO YOUR USE OF THE SERVICES. YOU UNDERSTAND
                  THAT USE OF THE SERVICES IS AT YOUR OWN RISK AND THAT WE PROVIDE THE
                  SERVICES ON AN "AS IS" BASIS "WITH ALL FAULTS" AND "AS AVAILABLE." YOU BEAR
                  THE ENTIRE RISK OF USING THE SERVICES. MICROSOFT DOESN'T GUARANTEE THE
                  ACCURACY OR TIMELINESS OF INFORMATION AVAILABLE FROM THE SERVICES. TO
                  THE EXTENT PERMITTED UNDER YOUR LOCAL LAW, WE EXCLUDE ANY IMPLIED
                  WARRANTIES, INCLUDING FOR MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS
                  FOR A PARTICULAR PURPOSE, WORKMANLIKE EFFORT, AND NON‐INFRINGEMENT.
                  YOU MAY HAVE CERTAIN RIGHTS UNDER YOUR LOCAL LAW. NOTHING IN THESE
                  TERMS IS INTENDED TO AFFECT THOSE RIGHTS, IF THEY ARE APPLICABLE. YOU
                  ACKNOWLEDGE THAT COMPUTER AND TELECOMMUNICATIONS SYSTEMS ARE NOT
                  FAULT‐FREE AND OCCASIONAL PERIODS OF DOWNTIME OCCUR. WE DO NOT
                  GUARANTEE THE SERVICES WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR‐
                  FREE OR THAT CONTENT LOSS WON'T OCCUR, NOR DO WE GUARANTEE ANY
                  CONNECTION TO OR TRANSMISSION FROM THE COMPUTER NETWORKS.

                   Top of page




                            Limitation of Liability
                  13. Limitation of Liability. If you have any basis for recovering damages ﴾including
                  breach of these Terms﴿, you agree that your exclusive remedy is to recover, from
                  Microsoft or any affiliates, resellers, distributors, Third‐Party Apps and Services
                  providers, and vendors, direct damages up to an amount equal to your Services fee for
                  the month during which the breach occurred ﴾or up to $10.00 if the Services are free﴿.
                  You can't recover any other damages or losses, including, without limitation, direct,
                  consequential, lost profits, special, indirect, incidental, or punitive. These limitations and
                  exclusions apply even if this remedy doesn't fully compensate you for any losses or fails
                  of its essential purpose or if we knew or should have known about the possibility of the
                  damages. To the maximum extent permitted by law, these limitations and exclusions
                  apply to anything or any claims related to these Terms, the Services, or the software
                  related to the Services.

                   Top of page




                            Service‐Specific Terms
                  14. Service‐Specific Terms. The terms before and after section 14 apply generally to all
                  Services. This section contains service‐specific terms that are in addition to the general
                  terms.

                   Top of page


DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 38
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 39 of 145

                               Xbox Live and Microsoft Studios Games
                               and Applications
                         a. Xbox Live and Microsoft Studios Games and Applications.
                              i. Personal Noncommercial Use. Xbox Live, Games for Windows Live and
                              Microsoft Studios games, applications, services and content provided by
                              Microsoft ﴾collectively, the "Xbox Services"﴿ are only for your personal and
                              noncommercial use.

                              ii. Sharing Limited Account Information. As part of delivering the Xbox
                              Services, we make information pertaining to your gamertag, gameplay, Your
                              Content that you make public, and activity on and usage of any Xbox Service
                              available for the operation and delivery of ﴾a﴿ other Xbox Services and ﴾b﴿
                              third‐party games that use Xbox Services. If you choose to link your Microsoft
                              Xbox Services account with your account on a non‐Microsoft service ﴾for
                              example, a non‐Microsoft game publisher of Third‐Party Apps and Services﴿,
                              you agree that: ﴾a﴿ Microsoft may share limited account information ﴾including
                              without limitation gamertag, gamerscore, game score, game history, and
                              friends list﴿, with that non‐Microsoft party as stated in the Microsoft Privacy
                              Statement, and ﴾b﴿ if allowed by your Xbox privacy settings, the non‐Microsoft
                              party may also have access to Your Content from in‐game communications
                              when you are signed into your account with that non‐Microsoft party. Also, if
                              allowed by your Xbox privacy settings, Microsoft can publish your gamertag
                              and games that you’ve played in email to people on your Xbox friends list.

                              iii. Your Content. As part of building the Xbox Services community, you grant
                              to Microsoft, its affiliates and sublicensees the right to use, modify, reproduce,
                              distribute, and display Your Content or your name, gamertag, motto, or avatar
                              that you posted for any Xbox Services.

                              iv. Game Managers. Some games may use game managers and hosts. Game
                              managers and hosts are not authorized Microsoft spokespersons. Their views
                              do not necessarily reflect those of Microsoft.

                              v. Kids on Xbox. If you are a minor using Xbox Live, your parent or guardian
                              may have control over many aspects of your account and may receive reports
                              about your use of Xbox Live.

                          vi. Game Currency or Virtual Goods. The Services may include a virtual, game
                          currency ﴾like gold, coins or points﴿ that may be purchased from Microsoft
                          using actual monetary instruments if you have reached the age of "majority"
                          where you live. The Services may also include virtual, digital items or goods
                          that may be purchased from Microsoft using actual monetary instruments or
                          using game currency. Game currency and virtual goods may never be
                          redeemed for actual monetary instruments, goods or other items of monetary
                          value from Microsoft or any other party. Other than a limited, personal,
                          revocable, non‐transferable, non‐sublicensable license to use the game
                          currency and virtual goods in the Services only, you have no right or title in or
                          to any such game currency or virtual goods appearing or originating in the
                          Services, or any other attributes associated with use of the Services or stored
                          within the Services. Microsoft may at any time regulate, control, modify and/or
                          eliminate the game currency and/or virtual goods as it sees fit in its sole
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 39
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 40 of 145
                             discretion.

                      Top of page




                               Store
                         b. Store. "Store" refers to a Service that allows you to browse, download, purchase,
                         and rate and review applications ﴾the term "application" includes games﴿ and other
                         digital content. These Terms cover use of Office Store, Xbox Store and Windows
                         Store. "Office Store" means a Store for Office products and apps for Office,
                         SharePoint, Exchange, Access and Project ﴾2013 versions or later﴿. "Windows Store"
                         means a Store for Windows devices such as phone, PC and tablet, or any other
                         experience that is branded Windows Store. "Xbox Store" means a Store for Xbox
                         ONE and Xbox 360 consoles, or any other experience that is branded Xbox Store.
                             i. License Terms. We will identify the publisher of each application available in
                             the relevant Store. The Standard Application License Terms ﴾"SALT"﴿ at the end
                             of these Terms are an agreement between you and the application publisher
                             setting forth the license terms that apply to your use of an application you
                             download through the Windows Store or the Xbox Store, unless different
                             license terms are provided with the application. Applications downloaded
                             through the Office Store are not governed by the SALT and have separate
                             license terms that apply. Section 5 of these Terms applies to any Third‐Party
                             Apps and Services acquired through a Store.

                             ii. Updates. Microsoft will automatically check for and download updates to
                             your applications, even if you’re not signed into the relevant Store. You can
                             change your Store or system settings if you prefer not to receive automatic
                             updates to Store apps. However, certain Office Store apps that are entirely or
                             partly hosted online may be updated at any time by the app developer and
                             may not require your permission to update.

                             iii. Private Store Experiences. Some business organizations may provide access
                             to a "private store" experience for their employees, contractors, and agents.
                             These Terms do not cover use of a private store ﴾if any﴿; these Terms only
                             cover your personal, noncommercial use of the Stores.

                             iv. Ratings and Reviews.If you rate or review an application in a Store, you may
                             receive email from Microsoft containing content from the publisher of the
                             application. Any such email comes from Microsoft; we do not share your email
                             address with any publishers of applications you acquire through the Store.

                          v. When you obtain music, video or books directly from Microsoft, the
                          following terms apply: Through the Windows Store and/or the Xbox Store,
                          Microsoft may enable you to obtain, listen to, view, and/or read ﴾as the case
                          may be﴿ music, images, video, text, or other material ﴾"Digital Goods"﴿ that you
                          may get in digital form. The Digital Goods are only for your personal,
                          noncommercial entertainment use. You agree not to redistribute, broadcast,
                          publicly perform or publicly display or transfer any copies of the Digital Goods
                          obtained through any of the Stores. Digital Goods may be owned by Microsoft
                          or by third parties. However, in all circumstances, you understand and
                          acknowledge that your rights with respect to Digital Goods are limited by
                          these Terms, copyright law, and the usage rules located at
DECL. OF. A. HOLBROOK ISO http://www.xbox.com/usagerules.
                          MOT. TO COMPEL                      You agree that you will not attempt to
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 40
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 41 of 145
                              modify any Digital Goods obtained through any of the Stores for any reason
                              whatsoever, including for the purpose of disguising or changing ownership or
                              source of the Digital Goods. Microsoft and/or the owners of the Digital Goods
                              may, from time to time, remove Digital Goods from the Stores without notice.

                              vi. Safety Warning. To avoid possible injury or eye strain, you should take
                              periodic breaks from use of applications available through a Store, especially if
                              you feel any pain or fatigue resulting from usage. A very small percentage of
                              people may experience seizures when exposed to certain visual images like
                              flashing lights or patterns that may appear in applications. Even people with
                              no history of seizures may have an undiagnosed condition that can cause
                              these seizures. Symptoms may include lightheadedness, altered vision,
                              twitching, jerking or shaking of limbs, disorientation, confusion, loss of
                              consciousness, or convulsions. Immediately stop using and consult a doctor if
                              you experience any of these symptoms, or consult a doctor before using the
                              applications if you’ve ever suffered symptoms linked to seizures. Parents
                              should monitor their children’s use of applications for signs of symptoms.

                      Top of page




                               Microsoft Family

                          c. Microsoft Family. Parents and kids can use Microsoft Family to build trust based
                          on a shared understanding of what behaviors, websites, apps, games, physical
                          locations, and spending is right in their family. Parents can create a "Family" by
                          going to https://account.microsoft.com/family ﴾or by following the instructions on
                          their Windows device or Xbox console﴿ and inviting kids or other parents to join.
                          There are many features available to Family members, so please carefully review the
                          information provided when you agree to create or join a "Family." By creating or
                          joining a "Family," you represent that you will use the "Family" in accordance with
                          its purpose and won’t use it in an unauthorized way to unlawfully gain access to
                          another person’s information.

                      Top of page




                               Skype
                          d. Skype.
                          i. No Access to Emergency Services. There are important differences between
                          traditional telephone services and Skype. Skype is not required to offer access
                          to Emergency Services under any applicable local and/or national rules,
                          regulations, or law. Skype’s software and products are not intended to support
                          or carry emergency calls to any type of hospitals, law enforcement agencies,
                          medical care units or any other kind of services that connect a user to
                          emergency services personnel or public safety answering points ﴾"Emergency
                          Services"﴿. You acknowledge and agree that: ﴾i﴿ it is your responsibility to
                          purchase traditional wireless ﴾mobile﴿ or fixed‐line telephone services that offer
                          access to Emergency Services, and ﴾ii﴿ Skype is not a replacement for your
                          primary telephone service.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 41
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 42 of 145
                             ii. APIs or Broadcasting. If you want to use Skype in connection with any
                             broadcast,    you   must      comply   with   the  "Broadcast    TOS"     at
                             http://www.skype.com/go/legal.broadcast. If you want to use any application
                             program interface ﴾"API"﴿ exposed or made available by Skype you must
                             comply with the applicable licensing terms, which are available at
                             www.skype.com/go/legal.

                             iii. Fair Use Policies. Fair usage policies may apply to your use of Skype. Please
                             review these policies which are designed to protect against fraud and abuse
                             and may place limits on the type, duration or volume of calls or messages that
                             you are able to make. These policies are incorporated in these Terms by
                             reference.          You         can        find      these       policies       at:
                             http://www.skype.com/go/terms.fairusage/

                             iv. Mapping. Skype contains features that allow you to submit information to,
                             or plot yourself on a map using, a mapping service. By using those features,
                             you agree to these Terms and the Google Maps terms available at
                             http://www.google.com/intl/en_ALL/help/terms_maps.html.

                             v. Government Users. If you wish to use a business account and/or Skype
                             Manager on behalf of the U.S. Government or an agency of the U.S.
                             Government, these Terms do not apply to that use. For applicable terms
                             and/or further information, please contact usgovusers@skype.net.

                             vi. Personal/Noncommercial Use. The use of Skype is for your personal and
                             noncommercial use. You are permitted to use your personal Skype account at
                             work for your own business communications.

                             vii. Skype Number/Skype To Go. If Skype provides you with a Skype Number or
                             Skype To Go number, you agree that you do not own the number or have a
                             right to retain that number forever.

                             viii. Skype Manager. A "Managed Account" is a Skype account that is created
                             and managed by you, acting as an individual administrator of your Skype
                             Manager and not as a business entity. You may appoint additional
                             administrators to your Skype Manager subject to their acceptance of these
                             Terms. You are responsible for all use of your Managed Accounts. Managed
                             Accounts are for individual use only and may not be shared. If you allocate
                             Skype Numbers to a Managed Account, you are responsible for compliance
                             with any requirements related to the residency or location of your Managed
                             Account users. If you choose to delete a Managed Account, any allocated
                             subscriptions or unclaimed Skype Credit or Skype Numbers may be lost and
                             Your Content or material associated with the deleted Managed Account will no
                             longer be accessible by you. Skype reserves the right to cancel Managed
                             Accounts that have been inactive for more than one year. You agree to process
                             any personal information of your Managed Account users in accordance with
                             all applicable data protection laws.

                          ix. Skype Charges. Skype paid products are sold to you by Skype
                          Communications S.à.r.l, however the seller‐of‐record accountable for taxes is
                          Skype Communications US Corporation. Taxes means the amount of taxes,
                          regulatory fees, surcharges or other fees that we are required to collect from
                          you and must pay to any United States ﴾federal, state or local﴿ or foreign
                          government, agency, commission or quasi‐governmental body as a result of
                          our provision of Skype paid products to you. These taxes are listed at
                          www.skype.com/go/ustax. All prices for Skype paid products are inclusive of a
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 42
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 43 of 145
                             charge for your product and a charge for taxes, unless otherwise stated. The
                             charges payable for calling phones outside of a subscription consist of a
                             connection fee ﴾charged once per call﴿ and a per‐minute rate as set out at
                             www.skype.com/go/allrates. Call charges will be deducted from your Skype
                             Credit balance. Skype may change its calling rates at any time without notice
                             to you by posting such change at www.skype.com/go/allrates. The new rate
                             will apply to your next call after publication of the new rates. Please check the
                             latest rates before you make your call. Fractional call minutes and fractional
                             cent charges will be rounded up to the next whole unit.

                             x. Skype Credit. Skype does not guarantee that you will be able to use your
                             Skype Credit balance to purchase all Skype paid products. If you do not use
                             your Skype Credit for a period of 180 days, Skype will place your Skype Credit
                             on inactive status. You can reactivate the Skype Credit by following the
                             reactivation link at http://www.skype.com/go/store.reactivate.credit. You can
                             enable the Auto Recharge feature when you buy Skype Credit by ticking the
                             appropriate box. If enabled, your Skype Credit balance will be recharged with
                             the same amount and by your chosen payment method every time your Skype
                             account balance goes below the threshold set by Skype from time to time. If
                             you purchased a subscription with a payment method other than credit card,
                             PayPal or Moneybookers ﴾Skrill﴿, and you have enabled Auto‐Recharge, your
                             Skype Credit balance will be recharged with the amount necessary to purchase
                             your next recurring subscription. You can disable Auto‐Recharge at any time
                             by accessing and changing your settings in your Skype account.

                      Top of page



                              Bing and MSN
                         e. Bing and MSN.
                             i. Bing and MSN Materials. The articles, text, photos, maps, videos, video
                             players, and third‐party material available on Bing and MSN are for your
                             noncommercial, personal use only. Other uses, including downloading,
                             copying, or redistributing these materials, are permitted only to the extent
                             specifically authorized by Microsoft or rights holders, or allowed by applicable
                             copyright law. Microsoft or other rights holders reserve all rights to the
                             material not expressly granted by Microsoft under the license terms, whether
                             by implication, estoppel, or otherwise.

                             ii. Bing Maps. You may not use Bird’s eye imagery of the United States,
                             Canada, Mexico, New Zealand, Australia or Japan for governmental use
                             without our separate written approval.

                      Top of page



                              Bing Rewards

                          iii. Bing Rewards. Bing Rewards ﴾the "Program"﴿ enables you to earn
                          redeemable credits for your searches as well as through offers from other
DECL. OF. A. HOLBROOK ISO Microsoft services. A search is the act of an individual user manually entering
                          MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 43
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 44 of 145
                             text for the good faith purpose of obtaining Bing search results for such user’s
                             own research purposes and does not include any query entered by a bot,
                             macro, or other automated or fraudulent means of any kind ﴾"Search"﴿.
                             Microsoft in its sole discretion determines what constitutes a Search that
                             qualifies for credits. Your earned credits, whether through Search or other
                             offers, can be redeemed for items, discounts, or donations to nonprofit
                             organizations ﴾"Rewards"﴿ in the redemption center. For more information see
                             the Frequently Asked Questions ﴾"FAQ"﴿.
                                 1. Program Requirements. You need a valid Microsoft account and your
                                 devices must meet the minimum system requirements. The Program is
                                 open to users who reside in the 50 United States or the District of
                                 Columbia and who are at least 13 years of age. Individuals can have no
                                 more than one Program account and households are limited to five
                                 accounts.

                                 2. Credits. Except for donating your credits to a nonprofit organization
                                 listed in the redemption center, you cannot transfer credits. Credits are
                                 not your personal property, and you may not obtain any cash or money in
                                 exchange for them. Microsoft may limit the quantity of credits or Rewards
                                 per person, per household, or over a set period ﴾e.g., a day﴿. You may
                                 redeem no more than 55,000 credits per calendar year in the Program.
                                 Credits earned in the Program are not valid in, and may not be used in
                                 combination with, any other program offered by Microsoft or third parties.
                                 Unredeemed credits expire if you do not earn any credits for 180 days.

                                 3. Rewards. You may redeem your credits by visiting the redemption
                                 center or you may contribute credits to a listed nonprofit organization.
                                 There may be a limited number of a particular Reward available, and those
                                 Rewards will be delivered on a first‐come, first‐served basis. You may be
                                 required to provide additional information, like your mailing address and
                                 a telephone number ﴾other than a VOIP or toll‐free number﴿, and you may
                                 also be asked to enter a fraud‐prevention code or sign additional legal
                                 documents in order to redeem credits for Rewards. Once you order a
                                 Reward, you cannot cancel it or return it for a refund of credits. If you
                                 order a Reward that is out of stock or unavailable for other reasons
                                 Microsoft determines in its sole discretion, we may substitute a Reward of
                                 comparable value or refund your credits. Some Rewards may have age
                                 eligibility requirements. You are responsible for all federal, state, and local
                                 taxes and any other costs of accepting and using the Reward. Rewards will
                                 be emailed to the email address you provide when ordering your Reward,
                                 so keep your email address up to date. Rewards that are undeliverable will
                                 not be reissued and are therefore forfeited. Rewards are not for resale.

                                 4. Cancelling Your Participation in the Program. Microsoft reserves the
                                 right to cancel the Program account of a specific user at our discretion.
                                 Such cancellation or suspension may be without cause and we are under
                                 no obligation to provide a reason. Upon Program cancellation ﴾by you or
                                 us﴿ or if the Program is suspended, you will have 90 days to redeem your
                                 credits; otherwise, those credits will be forfeited. At the point of
                                 cancellation, your right to use the Program and accrue future credits ends.

                             5. Other Conditions. Microsoft reserves the right to disqualify you; disable
                             your access to the Program or your Rewards account; and/or withhold
                             credits, Rewards and charitable contributions, if Microsoft believes you are
                             tampering
DECL. OF. A. HOLBROOK ISO MOT. TO COMPELwith or abusing any aspect of the Program or may be engaging
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 44
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 45 of 145
                                  in activities that violate these Terms.

                      Top of page




                               Cortana

                         f. Cortana. Cortana is Microsoft’s personal assistant Service. Cortana provides
                         information for your planning purposes only and you should exercise your own
                         independent judgment when reviewing and relying on this information. Microsoft
                         does not guarantee the accuracy, completeness, reliability, availability or timeliness
                         of inferences and personalized experiences provided by Cortana. Microsoft is not
                         responsible if a Cortana communication management feature delays or prevents
                         you from reviewing or sending a communication.

                      Top of page




                               Outlook.com

                         g. Outlook.com. The Outlook.com ﴾or @msn, @hotmail, or @live﴿ email address
                         that you use to create your Microsoft account will be unique to you for as long as
                         your Outlook.com inbox or Microsoft account is still active. In the event your
                         Outlook.com inbox or Microsoft account is closed either by you or by Microsoft
                         pursuant to these Terms, the email address or username may be recycled into our
                         system and assigned to another user.

                      Top of page



                               Office‐based Services

                         h. Office‐based Services. Office consumer‐based services, applications, or products
                         ﴾including Sway and OneNote﴿ are for your personal, noncommercial use, unless
                         you have commercial use rights under a separate agreement with Microsoft.

                      Top of page




                               HealthVault

                      i. HealthVault. HealthVault is intended for you to store your personal health‐related
                      information and information about other people ﴾such as your family﴿ with their
                      consent. HealthVault accounts are not for use by healthcare providers or for any
                      other commercial or non‐personal purpose. The information in your account may
                      not always be accurate or up‐to‐date and should be viewed by any health care
                      provider as informational only. The HealthVault Service does not hold records for
                      healthcare providers or other medical or case management purposes. For example,
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 45
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 46 of 145
                        HealthVault records are not designated record sets as defined under U.S.
                        regulations. If a healthcare provider decides to include any data made available
                        from HealthVault in its records, it should store a copy in its own system. If there is a
                        co‐custodian of a record in your account ﴾because one of you invited the other﴿,
                        you acknowledge that the co‐custodian has full control over that record and may
                        cancel your access to the record, manage other peoples' access to the record, and
                        view the record's data including how and when the record is used. Microsoft does
                        not support non‐Microsoft credentials ﴾such as Facebook and OpenID﴿, so
                        HealthVault customer support will not be able to help with sign‐in issues for those.
                        If you lose your sign‐in credentials, or if the account where you got your credentials
                        closes, you will not be able to recover your stored data. To help maintain continued
                        access, we suggest you use more than one sign‐in credential with your HealthVault
                        account. Microsoft does not endorse or control, and is not responsible for, the
                        operation, support, or security of non‐Microsoft credentials you may use.

                     Top of page




                              Binding Arbitration and Class Action
                              Waiver
                    15. Binding Arbitration and Class Action Waiver If You Live In ﴾or If a Business Your
                    Principal Place of Business Is In﴿ the United States. We hope we never have a dispute,
                    but if we do, you and we agree to try for 60 days to resolve it informally. If we can’t, you
                    and we agree to binding individual arbitration before the American Arbitration
                    Association ﴾"AAA"﴿ under the Federal Arbitration Act ﴾"FAA"﴿, and not to sue in court in
                    front of a judge or jury. Instead, a neutral arbitrator will decide and the arbitrator’s
                    decision will be final except for a limited right of appeal under the FAA. Class action
                    lawsuits, class‐wide arbitrations, private attorney‐general actions, and any other
                    proceeding where someone acts in a representative capacity aren’t allowed. Nor is
                    combining individual proceedings without the consent of all parties."We," "our," and
                    "us" includes Microsoft, Skype ﴾see section 10﴿ and Microsoft’s affiliates and, if you use
                    Skype Pay by Mobile, your mobile phone carrier.

                        a. Disputes Covered—Everything Except IP. The term "dispute" is as broad is it can
                        be. It includes any claim or controversy between you and us concerning the
                        Services, the software related to the Services, the Services’ or software’s price, your
                        Microsoft account, your Skype account, or these Terms, under any legal theory
                        including contract, warranty, tort, statute, or regulation, except disputes relating to
                        the enforcement or validity of your, your licensors’, our, or our licensors’ intellectual
                        property rights.

                        b. Mail a Notice of Dispute First. If you have a dispute and our customer service
                        representatives can’t resolve it, send a Notice of Dispute by U.S. Mail to Microsoft
                        Corporation, ATTN: LCA ARBITRATION, One Microsoft Way, Redmond, WA 98052‐
                        6399, U.S.A. ﴾or to your mobile phone carrier at its principal place of business in the
                        United States marked ATTN: Legal Department﴿. Tell us your name, address, how to
                        contact you, what the problem is, and what you want. A form is available at
                        http://go.microsoft.com/fwlink/?LinkId=245499. We’ll do the same if we have a
                        dispute with you. After 60 days, you or we may start an arbitration if the dispute is
                        unresolved.

                      c. Small Claims Court Option. Instead of mailing a Notice of Dispute, you may sue
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 46
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 47 of 145
                      us in small claims court in your county of residence ﴾or if a business your principal
                      place of business﴿ or King County, Washington, U.S.A. if you meet the court’s
                      requirements. We hope you’ll mail a Notice of Dispute and give us 60 days to try to
                      work it out, but you don’t have to before going to small claims court.

                      d. Arbitration Procedure. The AAA will conduct any arbitration under its
                      Commercial Arbitration Rules ﴾or if you are an individual and use the Services for
                      personal or household use, or if the value of the dispute is $75,000 or less whether
                      or not you are an individual or how you use the Services, its Consumer Arbitration
                      Rules﴿. For more information, see www.adr.org or call 1‐800‐778‐7879. To start an
                      arbitration, submit the form available at http://go.microsoft.com/fwlink/?
                      LinkId=245497 to the AAA and mail a copy to us. In a dispute involving $25,000 or
                      less, any hearing will be telephonic unless the arbitrator finds good cause to hold
                      an in‐person hearing instead. Any in‐person hearing will take place in your county
                      of residence ﴾or if a business your principal place of business﴿ or our principal place
                      of business—King County, Washington if your dispute is with Microsoft. You
                      choose. The arbitrator may award the same damages to you individually as a court
                      could. The arbitrator may award declaratory or injunctive relief only to you
                      individually to satisfy your individual claim.

                      e. Arbitration Fees and Payments.
                          i. Disputes Involving $75,000 or Less. We will promptly reimburse your filing
                          fees and pay the AAA’s and arbitrator’s fees and expenses. If you reject our last
                          written settlement offer made before the arbitrator was appointed, your
                          dispute goes all the way to an arbitrator’s decision ﴾called an "award"﴿, and the
                          arbitrator awards you more than this last written offer, we will: ﴾i﴿ pay the
                          greater of the award or $1,000; ﴾ii﴿ pay your reasonable attorney’s fees, if any;
                          and ﴾iii﴿ reimburse any expenses ﴾including expert witness fees and costs﴿ that
                          your attorney reasonably accrues for investigating, preparing, and pursuing
                          your claim in arbitration. The arbitrator will determine the amount of fees,
                          costs, and expenses unless you and we agree on them.

                          ii. Disputes Involving More than $75,000. The AAA rules will govern payment of
                          filing fees and the AAA’s and arbitrator’s fees and expenses.

                          iii. Disputes Involving Any Amount. If you start an arbitration, we won’t seek
                          our AAA or arbitrator’s fees and expenses, or your filing fees we reimbursed,
                          unless the arbitrator finds the arbitration frivolous or brought for an improper
                          purpose. If we start an arbitration, we will pay all filing, AAA, and arbitrator’s
                          fees and expenses. We won't seek our attorney’s fees or expenses from you in
                          any arbitration. Fees and expenses are not counted in determining how much
                          a dispute involves.

                      f. Conflict with AAA Rules. These Terms govern to the extent they conflict with the
                      AAA’s Commercial Arbitration Rules or Consumer Arbitration Rules.

                      g. Must File Within One Year. You and we must file in small claims court or
                      arbitration any claim or dispute ﴾except intellectual property disputes—see section
                      15.a﴿ within one year from when it first could be filed. Otherwise, it's permanently
                      barred.

                      h. Rejecting Future Arbitration Changes. You may reject any change we make to
                      section 15 ﴾except address changes﴿ by sending us notice within 30 days of the
                      change by U.S. Mail to the address in section 15.b. If you do, the most recent
                      version of section 15 before the change you rejected will apply.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 47
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 48 of 145
                       i. Severability. If the class action waiver is found to be illegal or unenforceable as to
                       all or some parts of a dispute, then those parts won’t be arbitrated but will proceed
                       in court, with the rest proceeding in arbitration. If any other provision of section 15
                       is found to be illegal or unenforceable, that provision will be severed but the rest of
                       section 15 still applies.

                       j. Mobile Phone Carrier as Third‐Party Beneficiary. If you use Skype Pay by Mobile,
                       your mobile phone carrier is a third‐party beneficiary of your agreement with
                       Microsoft and Skype to resolve disputes through informal negotiation and
                       arbitration. Your mobile phone carrier agrees to do everything Microsoft and Skype
                       agree to do in section 15.

                    Top of page



                             Miscellaneous
                   16. Miscellaneous. This section, and sections 1, 9 ﴾for amounts incurred before the end
                   of these Terms﴿, 10, 11, 12, 13, 15, and those that by their terms apply after the Terms
                   end will survive any termination or cancellation of these Terms. We may assign these
                   Terms, in whole or in part, at any time without notice to you. You may not assign your
                   rights or obligations under these Terms or transfer any rights to use the Services. This is
                   the entire agreement between you and Microsoft for your use of the Services. It
                   supersedes any prior agreements between you and Microsoft regarding your use of the
                   Services. All parts of these Terms apply to the maximum extent permitted by relevant
                   law. If a court or arbitrator holds that we can't enforce a part of these Terms as written,
                   we may replace those terms with similar terms to the extent enforceable under the
                   relevant law, but the rest of these Terms won't change. Section 15﴾i﴿ says what happens
                   if parts of section 15 ﴾arbitration and class action waiver﴿ are found to be illegal or
                   unenforceable. Section 15﴾i﴿ prevails over this section if inconsistent with it. Except for
                   Section 15 ﴾arbitration and class action waiver﴿ these Terms are solely for your and our
                   benefit; they aren’t for the benefit of any other person, except for Microsoft’s successors
                   and assigns.

                   17. Export Laws. You must comply with all domestic and international export laws and
                   regulations that apply to the software and/or Services, which include restrictions on
                   destinations, end users, and end use. For further information on geographic and export
                   restrictions,      visit      http://go.microsoft.com/fwlink/?linkid=141397       and
                   http://www.microsoft.com/exporting.

                   18. Unsolicited Ideas. Microsoft does not consider or accept unsolicited proposals or
                   ideas, including without limitation ideas for new products, technologies, promotions,
                   product names, product feedback and product improvements ﴾"Unsolicited Feedback"﴿.
                   If you send any Unsolicited Feedback to Microsoft through the Services or otherwise,
                   you acknowledge and agree that Microsoft shall not be under any obligation of
                   confidentiality with respect to the Unsolicited Feedback.

                    Top of page




                             NOTICES
                  Notices
DECL. OF. A. HOLBROOK  ISO and
                           MOT.procedure
                                TO COMPELfor making claims of intellectual property infringement.
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 48
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 49 of 145
                    Microsoft respects the intellectual property rights of third parties. If you wish to send a
                    notice of intellectual property infringement, including claims of copyright infringement,
                    please use our procedures for submitting Notices of Infringement. ALL INQUIRIES NOT
                    RELEVANT TO THIS PROCEDURE WILL NOT RECEIVE A RESPONSE.
                    Microsoft uses the processes set out in Title 17, United States Code, Section 512 to
                    respond to notices of copyright infringement. In appropriate circumstances, Microsoft
                    may also disable or terminate accounts of users of Microsoft services who may be
                    repeat infringers.
                    Notices and procedures regarding intellectual property concerns in advertising. Please
                    review our Intellectual Property Guidelines regarding intellectual property concerns on
                    our advertising network.
                    Copyright and trademark notices. The Services are copyright © 2015 Microsoft
                    Corporation and/or its suppliers, One Microsoft Way, Redmond, WA 98052, U.S.A. All
                    rights reserved. Microsoft and the names, logos, and icons of all Microsoft products,
                    software, and services may be either trademarks or registered trademarks of Microsoft
                    in the United States and/or other countries. The names of actual companies and
                    products may be the trademarks of their respective owners. Any rights not expressly
                    granted in these Terms are reserved. Certain software used in certain Microsoft website
                    servers is based in part on the work of the Independent JPEG Group. Copyright © 1991‐
                    1996 Thomas G. Lane. All rights reserved. "gnuplot" software used in certain Microsoft
                    website servers is copyright © 1986‐1993 Thomas Williams, Colin Kelley. All rights
                    reserved.

                    Medical notice. Microsoft does not provide medical or any other health care advice,
                    diagnosis, or treatment. Always seek the advice of your physician or other qualified
                    health care provider with any questions you may have regarding a medical condition,
                    diet, fitness, or wellness program. Never disregard professional medical advice or delay
                    in seeking it because of information you accessed on or through the Services.
                    Stock quotes and index data ﴾including index values﴿. © 2013 Morningstar, Inc. All
                    Rights Reserved. The information contained herein: ﴾1﴿ is proprietary to Morningstar
                    and/or its content providers; ﴾2﴿ may not be copied or distributed; and ﴾3﴿ is not
                    warranted to be accurate, complete or timely. Neither Morningstar nor its content
                    providers are responsible for any damages or losses arising from any use of this
                    information. Past performance is no guarantee of future results.
                    You may not use any of the Dow Jones IndexesSM, index data, or the Dow Jones marks
                    in connection with the issuance, creation, sponsorship, trading, marketing, or promotion
                    of any financial instruments or investment products ﴾for example, derivatives, structured
                    products, investment funds, exchange‐traded funds, investment portfolios, etc., where
                    the price, return and/or performance of the instrument or investment product is based
                    on, related to, or intended to track any of the Indexes or a proxy for any of the Indexes﴿
                    without a separate written agreement with Dow Jones.
                    Financial notice. Microsoft isn't a broker/dealer or registered investment advisor under
                    United States federal securities law or securities laws of other jurisdictions and doesn't
                    advise individuals as to the advisability of investing in, purchasing, or selling securities
                    or other financial products or services. Nothing contained in the Services is an offer or
                    solicitation to buy or sell any security. Neither Microsoft nor its licensors of stock quotes
                    or index data endorse or recommend any particular financial products or services.
                    Nothing in the Services is intended to be professional advice, including but not limited
                    to, investment or tax advice.

                  Notice about the H.264/AVC, MPEG‐4 Visual, and VC‐1 Video Standards. The software
                  may include H.264/AVC, MPEG‐4 Visual and/or VC‐1 codec technology that may be
                  licensed by MPEG LA, L.L.C. This technology is a format for data compression of video
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 49
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 50 of 145
                     information. MPEG LA, L.L.C. requires this notice:
                     THIS PRODUCT IS LICENSED UNDER THE H.264/AVC, MPEG‐4 VISUAL, AND THE VC‐1
                     PATENT PORTFOLIO LICENSES FOR THE PERSONAL AND NONCOMMERCIAL USE OF A
                     CONSUMER TO ﴾A﴿ ENCODE VIDEO IN COMPLIANCE WITH THE STANDARDS ﴾"VIDEO
                     STANDARDS"﴿ AND/OR ﴾B﴿ DECODE H.264/AVC, MPEG‐4 VISUAL, AND VC‐1 VIDEO
                     THAT WAS ENCODED BY A CONSUMER ENGAGED IN A PERSONAL AND
                     NONCOMMERCIAL ACTIVITY AND/OR WAS OBTAINED FROM A VIDEO PROVIDER
                     LICENSED TO PROVIDE SUCH VIDEO. NONE OF THE LICENSES EXTEND TO ANY OTHER
                     PRODUCT REGARDLESS OF WHETHER SUCH PRODUCT IS INCLUDED WITH THIS
                     SOFTWARE IN A SINGLE ARTICLE. NO LICENSE IS GRANTED OR SHALL BE IMPLIED FOR
                     ANY OTHER USE. ADDITIONAL INFORMATION MAY BE OBTAINED FROM MPEG LA,
                     L.L.C. SEE THE MPEG LA WEBSITE.
                     For clarification purposes only, this notice does not limit or inhibit the use of the
                     software provided under these Terms for normal business uses that are personal to that
                     business which do not include ﴾i﴿ redistribution of the software to third parties, or ﴾ii﴿
                     creation of material with the VIDEO STANDARDS compliant technologies for
                     distribution to third parties.

                      Top of page




                               STANDARD APPLICATION LICENSE
                               TERMS
                                            STANDARD APPLICATION LICENSE TERMS
                                               WINDOWS STORE AND XBOX STORE
                     These license terms are an agreement between you and the application publisher.
                     Please read them. They apply to the software applications you download from the
                     Windows Store or the Xbox Store, including any updates or supplements for the
                     application, unless the application comes with separate terms, in which case those
                     terms apply.

                     BY DOWNLOADING OR USING THE APPLICATION, OR ATTEMPTING TO DO ANY OF
                     THESE, YOU ACCEPT THESE TERMS. IF YOU DO NOT ACCEPT THEM, YOU HAVE NO
                     RIGHT TO AND MUST NOT DOWNLOAD OR USE THE APPLICATION.
                     The application publisher means the entity licensing the application to you, as identified
                     in the Windows Store or Xbox Store.
                     If you comply with these license terms, you have the rights below.

                         1. INSTALLATION AND USE RIGHTS; EXPIRATION. For applications you download
                         from the Windows Store: ﴾a﴿ you may install and use the application on a Windows
                         device or devices that are affiliated with the Microsoft account that you use to
                         access the Windows Store; and ﴾b﴿ the device limit for the application is displayed
                         in the Store or, for some applications downloaded on the Xbox console, the Xbox
                         Live Usage Rules. For applications you download from the Xbox Store, you may
                         install and use the application on Xbox consoles as described in the Xbox Live
                         Usage Rules. Microsoft reserves the right to modify the Xbox Live Usage Rules at
                         any time.

                         2. INTERNET‐BASED SERVICES.

DECL. OF. A. HOLBROOK ISO a. Consent
                          MOT.       for Internet‐based or wireless services. If the application connects
                                TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 50
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 51 of 145
                             to computer systems over the Internet, which may include via a wireless
                             network, using the application operates as your consent to the transmission of
                             standard device information ﴾including but not limited to technical information
                             about your device, system, and application software, and peripherals﴿ for
                             Internet‐based or wireless services. If other terms are presented in connection
                             with your use of services accessed using the application, those terms also
                             apply.

                             b. Misuse of Internet‐based services. You may not use any Internet‐based
                             service in any way that could harm it or impair anyone else’s use of it or the
                             wireless network. You may not use the service to try to gain unauthorized
                             access to any service, data, account, or network by any means.

                         3. SCOPE OF LICENSE. The application is licensed, not sold. This agreement only
                         gives you some rights to use the application. If Microsoft disables the ability to use
                         the applications on your devices pursuant to your agreement with Microsoft, any
                         associated license rights will terminate. Application publisher reserves all other
                         rights. Unless applicable law gives you more rights despite this limitation, you may
                         use the application only as expressly permitted in this agreement. In doing so, you
                         must comply with any technical limitations in the application that only allow you to
                         use it in certain ways. You may not:
                             a. Work around any technical limitations in the application.
                             b. Reverse engineer, decompile, or disassemble the application, except and
                             only to the extent that applicable law expressly permits, despite this limitation.
                             c. Make more copies of the application than specified in this agreement or
                             allowed by applicable law, despite this limitation.
                             d. Publish or otherwise make the application available for others to copy.
                             e. Rent, lease, or lend the application.
                             f. Transfer the application or this agreement to any third party.

                         4. DOCUMENTATION. If documentation is provided with the application, you may
                         copy and use the documentation for personal reference purposes.

                         5. TECHNOLOGY AND EXPORT RESTRICTIONS. The application may be subject to
                         United States or international technology control or export laws and regulations.
                         You must comply with all domestic and international export laws and regulations
                         that apply to the technology used or supported by the application. These laws
                         include restrictions on destinations, end users, and end use. For information on
                         Microsoft branded products, go to the Microsoft exporting website.

                         6. SUPPORT SERVICES. Contact the application publisher to determine if any
                         support services are available. Microsoft, your hardware manufacturer and your
                         wireless carrier ﴾unless one of them is the application publisher﴿ aren’t responsible
                         for providing support services for the application.

                         7. ENTIRE AGREEMENT. This agreement, any applicable privacy policy, and the
                         terms for supplements and updates are the entire license agreement between you
                         and application publisher for the application.

                         8. APPLICABLE LAW.
                          a. United States and Canada. If you acquired the application in the United
                          States or Canada, the laws of the state or province where you live ﴾or, if a
                          business, where your principal place of business is located﴿ govern the
                          interpretation of these terms, claims for breach of them, and all other claims
                          ﴾including consumer protection, unfair competition, and tort claims﴿,
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 51
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 52 of 145
                             regardless of conflict of law principles.

                             b. Outside the United States and Canada. If you acquired the application in any
                             other country, the laws of that country apply.

                        9. LEGAL EFFECT. This agreement describes certain legal rights. You may have other
                        rights under the laws of your state or country. This agreement doesn’t change your
                        rights under the laws of your state or country if the laws of your state or country
                        don’t permit it to do so.

                        10. DISCLAIMER OF WARRANTY. The application is licensed "as is," "with all faults,"
                        and "as available." You bear the entire risk as to its quality and performance.
                        Should it prove defective, you assume the entire cost of all necessary servicing or
                        repair. The application publisher, on behalf of itself, Microsoft, wireless carriers over
                        whose network the application is provided, and each of our respective affiliates,
                        vendors, agents, and suppliers ﴾"Covered Parties"﴿, gives no express warranties,
                        guarantees, or conditions in relation to the application. You may have additional
                        consumer rights under your local laws that this agreement can't change. To the
                        extent permitted under your local laws, Covered Parties exclude any implied
                        warranties or conditions, including those of merchantability, fitness for a particular
                        purpose, and non‐infringement. If your local laws impose a warranty, guarantee or
                        condition even though these terms do not, its duration is limited to 90 days from
                        when you download the application.

                        11. LIMITATION ON AND EXCLUSION OF REMEDIES AND DAMAGES. To the extent
                        not prohibited by law, if you have any basis for recovering damages, you can
                        recover from the application publisher only direct damages up to the amount you
                        paid for the application or $1.00, whichever is greater. You will not, and waive any
                        right to, seek to recover any other damages, including lost profits and
                        consequential, special, direct, indirect, or incidental damages, from the application
                        publisher.

                   This limitation applies to:

                        Anything related to the application or services made available through the
                        application; and
                        Claims for breach of contract, warranty, guarantee or condition; strict liability,
                        negligence, or other tort; violation of a statute or regulation; unjust enrichment; or
                        under any other theory; all to the extent permitted by applicable law.
                   It also applies even if:
                        This remedy doesn’t fully compensate you for any losses; or
                        The application publisher knew or should have known about the possibility of the
                        damages.

                    Top of page




                              Covered Services
                   The following products, apps and services are covered by the Microsoft Services
                   Agreement, but may not be available in your market.
                      Account.microsoft.com
                      Advertising.microsoft.com
DECL. OF. A. HOLBROOK Bing
                      ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 52
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 53 of 145
                      Bing Apps
                      Bing Desktop
                      Bing Dictionary
                      Bing in the Classroom
                      Bing Input
                      Bing Maps
                      Bing Navigation
                      Bing Reader
                      Bing Rewards
                      Bing Search app
                      Bing Toolbar
                      Bing Torque
                      Bing Translator
                      Bing Webmaster
                      Bing Wikipedia Browser
                      Bing.com
                      Bingplaces.com
                      Choice.microsoft.com
                      Citizen Next
                      Cortana
                      Default Homepage and New Tab Page on Microsoft Edge
                      Device Health App
                      HealthVault
                      Groove
                      Maps App
                      Microsoft account
                      Microsoft Family
                      Microsoft Health
                      Microsoft Translator
                      Microsoft Wallpaper
                      Microsoft XiaoIce
                      MSN Dial Up
                      MSN Explorer
                      MSN Food & Drink
                      MSN Health & Fitness
                      MSN Money
                      MSN News
                      MSN Premium
                      MSN Sports
                      MSN Travel
                      MSN Weather
                      MSN.com
                      Next Lock Screen
                      Office 365 Consumer
                      Office 365 Home
                      Office 365 Personal
                      Office 365 University
                      Office Online
                      Office Store
                      Office Sway
                      Office.com
                      OneDrive
                      OneDrive.com
                      OneNote
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 53
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 54 of 145
                      Onenote.com
                      Outlook.com
                      Picturesque Lock Screen
                      Pix Lock
                      Skype
                      Skype in the Classroom
                      Skype Manager
                      Skype Qik
                      Skype WiFi
                      Skype.com
                      Smart Search
                      Snipp3t
                      Spreadsheet Keyboard
                      Sway.com
                      Translator
                      UrWeather
                      Windows Live Mail
                      Windows Live Writer
                      Windows Movie Maker
                      Windows Photo Gallery
                      Xbox and Windows Games published by Microsoft
                      Xbox Live
                      Xbox Music
                      Xbox Music Pass
                      Xbox Video

                   Top of page




       Contact us    Privacy & cookies    Terms of use     Trademarks
       About our ads     © 2015 Microsoft




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 54
    Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 55 of 145




                  Exhibit C




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 55
          Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 56 of 145

Published: July 15, 2016 What's new?
Effective: September 15, 2016

                                                                                                                      Print


Microsoft Services Agreement
IF YOU LIVE IN ﴾OR YOUR PRINCIPAL PLACE OF BUSINESS IS IN﴿ THE UNITED STATES, PLEASE READ THE BINDING
ARBITRATION CLAUSE AND CLASS ACTION WAIVER IN SECTION 15. IT AFFECTS HOW DISPUTES ARE RESOLVED.
These terms ﴾“Terms”﴿ cover the use of those Microsoft’s consumer products, websites, and services listed here ﴾the
“Services”﴿. Many of these products previously had separate terms that were called different names, such as “Xbox Live Terms
of Use” or “Skype Terms of Use,” and these Terms replace those separate terms. You accept these Terms by creating a
Microsoft account or Skype account, through your use of the Services, or by continuing to use the Services after being
notified of a change to these Terms.



 Your Privacy
                                         Your Privacy
 Your Content
                               1. Your Privacy. Your privacy is important to us. Please read the Microsoft Privacy Statement
 Code of Conduct               ﴾the "Privacy Statement"﴿ as it describes the types of data we collect from you and your
                               devices ﴾"Data"﴿ and how we use your Data. The Privacy Statement also describes how
                               Microsoft uses your content, which is your communications with others; postings or feedback
 Using the Services &
                               submitted by you to Microsoft via the Services; and the files, photos, documents, audio,
 Support                       digital works, and videos that you upload, store or share through the Services ﴾"Your
                               Content"﴿. By using the Services or agreeing to these Terms, you consent to Microsoft’s
 Using Third‐Party             collection, use and disclosure of Your Content and Data as described in the Privacy
 Apps and Services             Statement.


 Service Availability

 Updates to the
 Services or Software,
                                         Your Content
 and Changes to These
 Terms                         2. Your Content. Many of our Services allow you to store or share Your Content or receive
                               material from others. We don’t claim ownership of Your Content. Your Content remains Your
                               Content and you are responsible for it.
 Software License
                                   a. When you share Your Content with other people, you understand that they may be
                                   able to, on a worldwide basis, use, save, record, reproduce, transmit, display ﴾and on
 Payment Terms
                                   HealthVault delete﴿ Your Content without compensating you. If you do not want others
                                   to have that ability, do not use the Services to share Your Content. You represent and
 Contracting Entity,               warrant that for the duration of these Terms, you have ﴾and will have﴿ all the rights
 Choice of Law,                    necessary for Your Content that is uploaded, stored, or shared on or through the Services
 Jurisdiction                      and that the collection, use, and retention of Your Content will not violate any law or
                                   rights of others. Microsoft cannot be held responsible for Your Content or the material
 Warranties                        others upload, store or share using the Services.

                                   b. To the extent necessary to provide the Services to you and others, to protect you and
 Limitation of Liability           the Services, and to improve Microsoft products and services, you grant to Microsoft a
                                   worldwide and royalty‐free intellectual property license to use Your Content, for example,
 Service‐Specific Terms            to make copies of, retain, transmit, reformat, display, and distribute via communication
                                   tools Your Content on the Services. If you publish Your Content in areas of the Service
                                   where it is available broadly online without restrictions, Your Content may appear in
       DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
       ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 56
          Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 57 of 145
                              demonstrations or materials that promote the Service. Some of the Services are
Xbox Live and
                              supported by advertising. Controls for how Microsoft personalizes advertising are
Microsoft Studios             available on the Security & privacy page of the Microsoft account management website.
Games and                     We do not use what you say in email, chat, video calls or voice mail, or your documents,
Applications                  photos or other personal files to target advertising to you. Our advertising policies are
                              covered in detail in the Privacy Statement.
Store
                           Top of page

Microsoft Family
Features
                                    Code of Conduct
Group Messaging
                          3. Code of Conduct.
Skype and GroupMe             a. By agreeing to these Terms, you’re agreeing that, when using the Services, you will
                              follow these rules:
Bing and MSN
                                   i. Don’t do anything illegal.
                                   ii. Don’t engage in any activity that exploits, harms, or threatens to harm children.
Cortana
                                   iii. Don’t send spam. Spam is unwanted or unsolicited bulk email, postings, contact
                                   requests, SMS ﴾text messages﴿, or instant messages.
Outlook.com                        iv. Don’t publicly display or use the Services to share inappropriate Content or
                                   material ﴾involving, for example, nudity, bestiality, pornography, graphic violence, or
Office‐based Services              criminal activity﴿.
                                   v. Don’t engage in activity that is false or misleading ﴾e.g., asking for money under
Microsoft Health                   false pretenses, impersonating someone else, manipulating the Services to increase
                                   play count, or affect rankings, ratings, or comments﴿.
Services
                                   vi. Don’t circumvent any restrictions on access to or availability of the Services.
                                   vii. Don’t engage in activity that is harmful to you, the Services, or others ﴾e.g.,
Digital Goods                      transmitting viruses, stalking, posting terrorist content, communicating hate speech,
                                   or advocating violence against others﴿.
OneDrive                           viii. Don’t infringe upon the rights of others ﴾e.g., unauthorized sharing of
                                   copyrighted music or other copyrighted material, resale or other distribution of Bing
Binding Arbitration                maps, or photographs﴿.
                                   ix. Don’t engage in activity that violates the privacy of others.
and Class Action
                                   x. Don’t help others break these rules.
Waiver
                              b. Enforcement. If you violate these Terms, we may stop providing Services to you or we
Miscellaneous                 may close your Microsoft account or Skype account. We may also block delivery of a
                              communication ﴾like email or instant message﴿ to or from the Services in an effort to
                              enforce these Terms or we may remove or refuse to publish Your Content for any reason.
NOTICES
                              When investigating alleged violations of these Terms, Microsoft reserves the right to
                              review Your Content in order to resolve the issue. However, we cannot monitor the entire
STANDARD                      Services and make no attempt to do so.
APPLICATION
                              c. Application to Xbox Services. Click here for more information about how this Code of
LICENSE TERMS
                              Conduct applies to Xbox Live, Games for Windows Live and Microsoft Studios games,
                              applications, services and content provided by Microsoft.
Covered Services
                           Top of page




                                    Using the Services & Support
                          4. Using the Services & Support.


        DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
        ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 57
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 58 of 145
                      a. Microsoft account or Skype account. You’ll need a Microsoft account to access many
                      of the Services. Your Microsoft account lets you sign in to products, websites and services
                      provided by Microsoft and some Microsoft partners. To access Skype on certain
                      platforms, you have the option of using a Skype account or a Microsoft account.
                          i. Creating an Account. You can create a Microsoft account or a Skype account by
                          signing up online. You agree not to use any false, inaccurate or misleading
                          information when signing up for your Microsoft account or Skype account. In some
                          cases, a third party, like your Internet service provider, may have assigned a
                          Microsoft account to you. If you received your Microsoft account from a third party,
                          the third party may have additional rights over your account, like the ability to
                          access or delete your Microsoft account. Please review any additional terms the third
                          party provided you, as Microsoft has no responsibility regarding these additional
                          terms. If you create a Microsoft account on behalf of an entity, such as your business
                          or employer, you represent that you have the legal authority to bind that entity to
                          these Terms. You cannot transfer your Microsoft account or Skype account to
                          another user or entity. To protect your account, keep your account details and
                          password confidential. You are responsible for all activity that occurs under your
                          Microsoft account or Skype account.

                          ii. Account Use. You must use your Microsoft account to keep it active. This means
                          you must sign in at least once in a five‐year period to keep your Microsoft account,
                          and associated Services, active, unless provided otherwise in an offer for a paid
                          portion of the Services. If you don’t sign in during this time, we will assume your
                          Microsoft account is inactive and will close it for you. Please see section 4﴾a﴿﴾iv﴿﴾2﴿ for
                          the consequences of a closed Microsoft account. You must sign into your
                          Outlook.com inbox and your OneDrive ﴾separately﴿ at least once in a one‐year
                          period, otherwise we will close your Outlook.com inbox and your OneDrive for you.
                          You must sign into the Xbox Services ﴾defined in section 14﴾a﴿﴾i﴿﴿ at least once in a
                          five‐year period to keep the gamertag associated with your Microsoft account. If we
                          reasonably suspect that your Microsoft account or Skype account is being used by a
                          third party fraudulently ﴾for example, as a result of an account compromise﴿,
                          Microsoft may suspend your account until you can reclaim ownership. Based on the
                          nature of the compromise, we may be required to disable access to some or all of
                          Your Content. If you are having trouble accessing your Microsoft account, please
                          visit this website: http://go.microsoft.com/fwlink/?LinkId=238656. To manage your
                          Skype account, you must "Sign In" at www.skype.com.

                          iii. Kids and Accounts. By using the Services, you represent that you have either
                          reached the age of "majority" where you live or have valid parent or legal guardian
                          consent to be bound by these Terms. If you do not know whether you have reached
                          the age of majority where you live, or do not understand this section, please ask
                          your parent or legal guardian for help before you create a Microsoft account or
                          Skype account. If you are the parent or legal guardian of a minor that creates a
                          Microsoft account or Skype account, you accept these Terms on the minor’s behalf
                          and are responsible for all use of the Microsoft account, Skype account, or Services,
                          including purchases, whether the minor’s account is now open or created later.

                          iv. Closing Your Account.
                               1. You can cancel specific Services or close your Microsoft account or Skype
                               account at any time and for any reason. To close your Microsoft account, please
                               visit http://go.microsoft.com/fwlink/p/?linkid=618278. When you ask us to close
                               your Microsoft account, we will put it in a suspended state for 60 days just in
                               case you change your mind. After that 60‐day period, your Microsoft account
                               will be closed. Please see section 4﴾a﴿﴾iv﴿﴾2﴿ below for a detailed explanation as
                               to what happens when your Microsoft account is closed. Logging back in during
                               that 60‐day period will reactivate your Microsoft account. To cancel your Skype

DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 58
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 59 of 145
                               account please submit a support request to http://go.microsoft.com/fwlink/p/?
                               linkid=618280.

                               2. If your Services are canceled or your Microsoft account or Skype account is
                               closed ﴾whether by you or us﴿, a few things happen. First, your right to use the
                               Services stops immediately and your license to use the software related to the
                               Services ends. Second, we’ll delete Data or Your Content associated with your
                               Microsoft account or Skype account or will otherwise disassociate it from you
                               and your Microsoft account or Skype account ﴾unless we are required by law to
                               keep it﴿. You should have a regular backup plan as Microsoft won’t be able to
                               retrieve Your Content or Data once your account is closed. Third, you may lose
                               access to material or products you’ve acquired.

                      b. Work or School Accounts. You can sign into certain Microsoft services with a work or
                      school email address. If you do, you agree that the owner of the domain associated with
                      your email address may control and administer your account, and access and process
                      your data, including the contents of your communications and files. You further agree
                      that your use of the services may be subject to the agreements that Microsoft has with
                      you or your organization and these terms do not apply. If you use a work or school email
                      address to access Services covered under these Terms, you may be prompted to update
                      the email address associated with your Microsoft account in order to continue accessing
                      such Services.

                      c. Additional Equipment/Data Plans. To use many of the Services, you’ll need an internet
                      connection and/or data/cellular plan. You might also need additional equipment, like a
                      headset, camera or microphone. You are responsible for providing all connections, plans,
                      and/or equipment needed to use the Services and for paying the fees charged by the
                      provider﴾s﴿ of your connections, plans, and equipment. Those fees are in addition to any
                      fees you pay us for the Services and we will not reimburse you for such fees. Check with
                      your provider﴾s﴿ to determine if there are any such fees that may apply to you.

                      d. Service Notifications. When there’s something important to tell you about a Service
                      you use, we’ll send you Service notifications to the email associated with your Microsoft
                      account or, for Skype notifications, your Skype account. If you gave us your phone
                      number in connection with your Microsoft account or Skype account, then we may send
                      Service notifications to you via SMS ﴾text message﴿, including to verify your identity
                      before registering your mobile phone number. Data or messaging rates may apply when
                      receiving notifications via SMS.

                      e.    Support.    Customer    support       for    the     Services    is   available    at
                      http://support.microsoft.com.

                   Top of page




                            Using Third‐Party Apps and Services
                  5. Using Third‐Party Apps and Services. The Services may allow you to access or acquire
                  products, services, websites, links, content, material, games or applications from third parties
                  ﴾companies or people who aren’t Microsoft﴿ ﴾"Third‐Party Apps and Services"﴿. Many of our
                  Services also help you find Third‐Party Apps and Services, and you understand that you are
                  directing our Services to provide Third‐Party Apps and Services to you. The Third‐Party Apps
                  and Services may also allow you to store Your Content or Data with the publisher, provider, or
                  operator of the Third‐Party Apps and Services. The Third‐Party Apps and Services may
                  present you with a privacy policy or require you to accept additional terms of use before you
                  can install or use the Third‐Party App or Service. See section 14﴾b﴿ for additional terms for
                  applications acquired through the Office Store, the Xbox Store or the Windows Store. You
                  should review any additional terms and privacy policies before acquiring or using any Third‐
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 59
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 60 of 145
                     Party Apps and Services. Any additional terms do not modify any of these Terms. You are
                     responsible for your dealings with third parties. Microsoft does not license any intellectual
                     property to you as part of any Third‐Party Apps and Services and is not responsible for
                     information provided by third parties.

                      Top of page




                                Service Availability
                     6. Service Availability.

                          a. The Services, Third‐Party Apps and Services, or material or products offered through
                          the Services may be unavailable from time to time, may be offered for a limited time, or
                          may vary depending on your region or device. If you change the location associated with
                          your Microsoft account, you may need to re‐acquire the material or applications that
                          were available to you and paid for in your previous region.

                          b. We strive to keep the Services up and running; however, all online services suffer
                          occasional disruptions and outages, and Microsoft is not liable for any disruption or loss
                          you may suffer as a result. In the event of an outage, you may not be able to retrieve
                          Your Content or Data that you’ve stored. We recommend that you regularly backup Your
                          Content that you store on the Services or store using Third‐Party Apps and Services.

                      Top of page




                                Updates to the Services or Software, and
                                Changes to These Terms
                     7. Updates to the Services or Software, and Changes to These Terms.
                          a. We may change these Terms at any time, and we’ll tell you when we do. Using the
                          Services after the changes become effective means you agree to the new terms. If you
                          don’t agree to the new terms, you must stop using the Services, close your Microsoft
                          account and/or Skype account and, if you are a parent or guardian, help your minor child
                          close his or her Microsoft account or Skype account.

                          b. Sometimes you’ll need software updates to keep using the Services. We may
                          automatically check your version of the software and download software updates or
                          configuration changes. You may also be required to update the software to continue
                          using the Services. Such updates are subject to these Terms unless other terms
                          accompany the updates, in which case, those other terms apply. Microsoft isn’t obligated
                          to make any updates available and we don’t guarantee that we will support the version
                          of the system for which you licensed the software.

                          c. Additionally, there may be times when we need to remove or change features or
                          functionality of the Service or stop providing a Service or access to Third‐Party Apps and
                          Services altogether. Except to the extent required by applicable law, we have no
                          obligation to provide a re‐download or replacement of any material, Digital Goods
                          ﴾defined in section 14﴾k﴿﴿, or applications previously purchased. We may release the
                          Services or their features in a beta version, which may not work correctly or in the same
                          way the final version may work.

                     d. So that you can use material protected with digital rights management ﴾DRM﴿, like
                     some music, games, movies and more, DRM software may automatically contact an
DECL. OF. A. HOLBROOKonline rightsTO
                      ISO MOT.     server and download and install DRM updates.
                                      COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 60
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 61 of 145
                   Top of page




                            Software License
                  8. Software License. Unless accompanied by a separate Microsoft license agreement ﴾for
                  example, if you are using a Microsoft application that is included with and a part of Windows,
                  then the Microsoft Software License Terms for the Windows Operating System govern such
                  software﴿, and except as provided in section 14﴾b﴿﴾i﴿ below for applications available through
                  the Office Store, the Windows Store or the Xbox Store, any software provided by us to you as
                  part of the Services is subject to these Terms.
                      a. If you comply with these Terms, we grant you the right to install and use one copy of
                      the software per device on a worldwide basis for use by only one person at a time as part
                      of your use of the Services. The software or website that is part of the Services may
                      include third‐party code. Any third‐party scripts or code, linked to or referenced from the
                      software or website, are licensed to you by the third parties that own such code, not by
                      Microsoft. Notices, if any, for the third‐party code are included for your information only.

                      b. The software is licensed, not sold, and Microsoft reserves all rights to the software not
                      expressly granted by Microsoft, whether by implication, estoppel, or otherwise. This
                      license does not give you any right to, and you may not:
                           i. circumvent or bypass any technological protection measures in or relating to the
                           software or Services;
                           ii. disassemble, decompile, decrypt, hack, emulate, exploit, or reverse engineer any
                           software or other aspect of the Services that is included in or accessible through the
                           Services, except and only to the extent that the applicable copyright law expressly
                           permits doing so;
                           iii. separate components of the software or Services for use on different devices;
                           iv. publish, copy, rent, lease, sell, export, import, distribute, or lend the software or
                           the Services, unless Microsoft expressly authorizes you to do so;
                           v. transfer the software, any software licenses, or any rights to access or use the
                           Services;
                           vi. use the Services in any unauthorized way that could interfere with anyone else’s
                           use of them or gain access to any service, data, account, or network;
                           vii. enable access to the Services or modify any Microsoft‐authorized device ﴾e.g.,
                           Xbox One, Xbox 360, Microsoft Surface, etc.﴿ by unauthorized third‐party
                           applications.

                   Top of page




                            Payment Terms
                  9. Payment Terms. If you purchase a Service, then these payment terms apply to your
                  purchase and you agree to them.
                      a. Charges. If there is a charge associated with a portion of the Services, you agree to pay
                      that charge. The price stated for the Services excludes all applicable taxes and currency
                      exchange settlements, unless stated otherwise. The price for Skype paid products
                      includes a charge for the product and a charge for taxes. You are solely responsible for
                      paying such taxes or other charges. Taxes are calculated based on your location at the
                      time your Microsoft or Skype account was registered. We may suspend or cancel the
                      Services if we do not receive an on time, full payment from you. Suspension or
                      cancellation of the Services for non‐payment could result in a loss of access to and use of
                      your account and its content. Connecting to the Internet via a corporate or other private
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 61
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 62 of 145
                      network which masks your location may cause charges to be different from those
                      displayed for your actual location.

                      b. Your Billing Account. To pay the charges for a Service, you will be asked to provide a
                      payment method at the time you sign up for that Service. You can access and change
                      your billing information and payment method on the Microsoft account management
                      website and for your Skype billing account by signing into your account at
                      www.skype.com. Additionally, you agree to permit Microsoft to use any updated account
                      information regarding your selected payment method provided by your issuing bank or
                      the applicable payment network. You agree to promptly update your account and other
                      information, including your email address and payment method details, so we can
                      complete your transactions and contact you as needed in connection with your
                      transactions. Changes made to your billing account will not affect charges we submit to
                      your billing account before we could reasonably act on your changes to your billing
                      account.

                      c. Billing. By providing Microsoft with a payment method, you ﴾i﴿ represent that you are
                      authorized to use the payment method that you provided and that any payment
                      information you provide is true and accurate; ﴾ii﴿ authorize Microsoft to charge you for
                      the Services or available content using your payment method; and ﴾iii﴿ authorize
                      Microsoft to charge you for any paid feature of the Services that you choose to sign up
                      for or use while these Terms are in force. We may bill you ﴾a﴿ in advance; ﴾b﴿ at the time
                      of purchase; ﴾c﴿ shortly after purchase; or ﴾d﴿ on a recurring basis for subscription
                      Services. Also, we may charge you up to the amount you have approved, and we will
                      notify you in advance of any change in the amount to be charged for recurring
                      subscription Services. We may bill you at the same time for more than one of your prior
                      billing periods for amounts that haven't previously been processed.

                      d. Recurring Payments. When you purchase the Services on a subscription basis ﴾e.g.,
                      monthly, every 3 months or annually ﴾as applicable﴿﴿, you acknowledge and agree that
                      you are authorizing recurring payment, and payments shall be made to Microsoft by the
                      method you have chosen at the recurring intervals chosen by you, until the subscription
                      for that Service is terminated by you or by Microsoft. By authorizing recurring payments,
                      you are authorizing Microsoft to process such payments as either electronic debits or
                      fund transfers, or as electronic drafts from your designated account ﴾in the case of
                      Automated Clearing House or similar payments﴿, or as charges to your designated
                      account ﴾in the case of credit card or similar payments﴿ ﴾collectively, "Electronic
                      Payments"﴿. Subscription fees are generally billed or charged in advance of the applicable
                      subscription period. If any payment is returned unpaid or if any credit card or similar
                      transaction is rejected or denied, Microsoft or its service providers reserve the right to
                      collect any applicable return item, rejection or insufficient funds fee and to process any
                      such payment as an Electronic Payment.

                      e. Automatic Renewal. Provided that automatic renewals are allowed in your state, you
                      may choose for Services to automatically renew at the end of a fixed service period. We
                      will remind you by email before any Services renew for a new term, and notify you of any
                      price changes in accordance with section 9﴾k﴿. Once we have reminded you that you
                      elected to automatically renew the Services, we may automatically renew your Services at
                      the end of the current service period and charge you the then current price for the
                      renewal term, unless you have chosen to cancel the Services as described below. We will
                      also remind you that we will bill your chosen payment method for the Services renewal,
                      whether it was on file on the renewal date or provided later. We will also provide you
                      with instructions on how you may cancel the Services. You must cancel the Services
                      before the renewal date to avoid being billed for the renewal.

                      f. Online Statement and Errors. Microsoft will provide you with an online billing
                      statement on the Microsoft account management website, where you can view and print
                      your statement. For Skype accounts you can access your online statement by signing into
                      your account at www.skype.com. This is the only billing statement that we provide. If we
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 62
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 63 of 145
                      make an error on your bill, you must tell us within 90 days after the error first appears on
                      your bill. We will then promptly investigate the charge. If you do not tell us within that
                      time, you release us from all liability and claims of loss resulting from the error and we
                      won't be required to correct the error or provide a refund. If Microsoft has identified a
                      billing error, we will correct that error within 90 days.

                      g. Refund Policy. Unless otherwise provided by law or by a particular Service offer, all
                      purchases are final and non‐refundable. If you believe that Microsoft has charged you in
                      error, you must contact us within 90 days of such charge. No refunds will be given for
                      any charges more than 90 days old. We reserve the right to issue refunds or credits at
                      our sole discretion. If we issue a refund or credit, we are under no obligation to issue the
                      same or similar refund in the future. This refund policy does not affect any statutory
                      rights that may apply. For more refund information, please visit our help topic.

                      h. Canceling the Services. You may cancel a Service at any time, with or without cause. To
                      cancel a Service and request a refund, if you are entitled to one, visit the Microsoft
                      account management website. You can request a refund from Skype using the
                      Cancellation and Refund form. You should refer back to the offer describing the Services
                      as ﴾i﴿ you may not receive a refund at the time of cancellation; ﴾ii﴿ you may be obligated
                      to pay cancellation charges; ﴾iii﴿ you may be obligated to pay all charges made to your
                      billing account for the Services before the date of cancellation; or ﴾iv﴿ you may lose
                      access to and use of your account when you cancel the Services. If you cancel, your
                      access to the Services ends at the end of your current Service period or, if we bill your
                      account on a periodic basis, at the end of the period in which you canceled.

                      i. Trial‐Period Offers. If you are taking part in any trial‐period offer, you must cancel the
                      trial Service﴾s﴿ by the end of the trial period to avoid incurring new charges, unless we
                      notify you otherwise. If you do not cancel the trial Service﴾s﴿ by the end of the trial
                      period, we may charge you for the Service﴾s﴿.

                      j. Promotional Offers. From time to time, Microsoft may offer Services for a trial period
                      during which Microsoft will not charge you for the Services. Microsoft reserves the right
                      to charge you for such Services ﴾at the normal rate﴿ in the event that Microsoft
                      determines ﴾in its reasonable discretion﴿ that you are breaching the terms and conditions
                      of the offer.

                      k. Price Changes. We may change the price of the Services at any time and if you have a
                      recurring purchase, we will notify you by email at least 15 days before the price change. If
                      you do not agree to the price change, you must cancel and stop using the Services
                      before the price change takes effect. If there is a fixed term and price for your Service
                      offer, that price will remain in force for the fixed term.

                      l. Payments to You. If we owe you a payment, then you agree to timely and accurately
                      provide us with any information we need to get that payment to you. You are
                      responsible for any taxes and charges you may incur as a result of this payment to you.
                      You must also comply with any other conditions we place on your right to any payment.
                      If you receive a payment in error, we may reverse or require return of the payment. You
                      agree to cooperate with us in our efforts to do this. We may also reduce the payment to
                      you without notice to adjust for any previous overpayment.

                      m. Gift Cards. Redemption and use of gift cards ﴾other than Skype gift cards﴿ are
                      governed by the Microsoft Gift Card Terms and Conditions. Information on Skype gift
                      cards is available on Skype’s Help page.

                   Top of page




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 63
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 64 of 145

                            Contracting Entity, Choice of Law,
                            Jurisdiction
                  10. Contracting Entity. For use of free, consumer Skype‐branded Services, you're contracting
                  with, and all references to "Microsoft" in these Terms mean, Skype Software S.à.r.l, 23 – 29
                  Rives de Clausen, L‐2165 Luxembourg, and for paid, consumer Skype‐branded Services,
                  you’re contracting with, and all references to "Microsoft" in these Terms mean, Skype
                  Communications S.à.r.l, 23 – 29 Rives de Clausen, L‐2165 Luxembourg. For all other Services,
                  you're contracting with Microsoft Corporation, One Microsoft Way, Redmond, WA 98052,
                  U.S.A.
                  11. Choice of Law and Place to Resolve Disputes. If you live in ﴾or, if a business, your principal
                  place of business is in﴿ the United States, the laws of the state where you live govern all
                  claims, regardless of conflict of laws principles, except that the Federal Arbitration Act
                  governs all provisions relating to arbitration. You and we irrevocably consent to the exclusive
                  jurisdiction and venue of the state or federal courts in King County, Washington, for all
                  disputes arising out of or relating to these Terms or the Services that are heard in court
                  ﴾excluding arbitration and small claims court﴿.

                   Top of page




                            Warranties
                  12. Warranties. MICROSOFT, AND OUR AFFILIATES, RESELLERS, DISTRIBUTORS, AND
                  VENDORS, MAKE NO WARRANTIES, EXPRESS OR IMPLIED, GUARANTEES OR CONDITIONS
                  WITH RESPECT TO YOUR USE OF THE SERVICES. YOU UNDERSTAND THAT USE OF THE
                  SERVICES IS AT YOUR OWN RISK AND THAT WE PROVIDE THE SERVICES ON AN "AS IS"
                  BASIS "WITH ALL FAULTS" AND "AS AVAILABLE." YOU BEAR THE ENTIRE RISK OF USING THE
                  SERVICES. MICROSOFT DOESN'T GUARANTEE THE ACCURACY OR TIMELINESS OF
                  INFORMATION AVAILABLE FROM THE SERVICES. TO THE EXTENT PERMITTED UNDER YOUR
                  LOCAL LAW, WE EXCLUDE ANY IMPLIED WARRANTIES, INCLUDING FOR MERCHANTABILITY,
                  SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR PURPOSE, WORKMANLIKE EFFORT,
                  AND NON‐INFRINGEMENT. YOU MAY HAVE CERTAIN RIGHTS UNDER YOUR LOCAL LAW.
                  NOTHING IN THESE TERMS IS INTENDED TO AFFECT THOSE RIGHTS, IF THEY ARE
                  APPLICABLE. YOU ACKNOWLEDGE THAT COMPUTER AND TELECOMMUNICATIONS SYSTEMS
                  ARE NOT FAULT‐FREE AND OCCASIONAL PERIODS OF DOWNTIME OCCUR. WE DO NOT
                  GUARANTEE THE SERVICES WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR‐FREE OR
                  THAT CONTENT LOSS WON'T OCCUR, NOR DO WE GUARANTEE ANY CONNECTION TO OR
                  TRANSMISSION FROM THE COMPUTER NETWORKS.

                   Top of page



                            Limitation of Liability
                  13. Limitation of Liability. If you have any basis for recovering damages ﴾including breach of
                  these Terms﴿, you agree that your exclusive remedy is to recover, from Microsoft or any
                  affiliates, resellers, distributors, Third‐Party Apps and Services providers, and vendors, direct
                  damages up to an amount equal to your Services fee for the month during which the breach
                  occurred ﴾or up to $10.00 if the Services are free﴿. You can't recover any other damages or
                  losses, including direct, consequential, lost profits, special, indirect, incidental, or punitive.
                  These limitations and exclusions apply even if this remedy doesn't fully compensate you for
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 64
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 65 of 145
                     any losses or fails of its essential purpose or if we knew or should have known about the
                     possibility of the damages. To the maximum extent permitted by law, these limitations and
                     exclusions apply to anything or any claims related to these Terms, the Services, or the
                     software related to the Services.

                      Top of page




                               Service‐Specific Terms
                     14. Service‐Specific Terms. The terms before and after section 14 apply generally to all
                     Services. This section contains service‐specific terms that are in addition to the general terms.

                      Top of page




                               Xbox Live and Microsoft Studios Games
                               and Applications
                         a. Xbox Live and Microsoft Studios Games and Applications.
                              i. Personal Noncommercial Use. Xbox Live, Games for Windows Live and Microsoft
                              Studios games, applications, services and content provided by Microsoft
                              ﴾collectively, the "Xbox Services"﴿ are only for your personal and noncommercial use.

                              ii. Sharing Limited Account Information. As part of delivering the Xbox Services, we
                              make information pertaining to your gamertag, gameplay, Your Content that you
                              make public, and activity on and usage of any Xbox Service available for the
                              operation and delivery of ﴾a﴿ other Xbox Services and ﴾b﴿ third‐party games that use
                              Xbox Services. If you choose to link your Microsoft Xbox Services account with your
                              account on a non‐Microsoft service ﴾for example, a non‐Microsoft game publisher of
                              Third‐Party Apps and Services﴿, you agree that: ﴾a﴿ Microsoft may share limited
                              account information ﴾including without limitation gamertag, gamerscore, game
                              score, game history, and friends list﴿, with that non‐Microsoft party as stated in the
                              Microsoft Privacy Statement, and ﴾b﴿ if allowed by your Xbox privacy settings, the
                              non‐Microsoft party may also have access to Your Content from in‐game
                              communications when you are signed into your account with that non‐Microsoft
                              party. Also, if allowed by your Xbox privacy settings, Microsoft can publish your
                              name, gamertag, gamerpic, motto, avatar, and games that you’ve played in
                              communications to people on your Xbox friends list.

                              iii. Your Content. As part of building the Xbox Services community, you grant to
                              Microsoft, its affiliates and sublicensees a free and worldwide right to use, modify,
                              reproduce, distribute, and display Your Content or your name, gamertag, motto, or
                              avatar that you posted for any Xbox Services.

                              iv. Game Managers. Some games may use game managers and hosts. Game
                              managers and hosts are not authorized Microsoft spokespersons. Their views do not
                              necessarily reflect those of Microsoft.

                              v. Kids on Xbox. If you are a minor using Xbox Live, your parent or guardian may
                              have control over many aspects of your account and may receive reports about your
                              use of Xbox Live.

                         vi. Game Currency or Virtual Goods. The Services may include a virtual, game
                         currency ﴾like gold, coins or points﴿ that may be purchased from Microsoft using
DECL. OF. A. HOLBROOK ISOactual
                          MOT.monetary
                                TO COMPEL instruments if you have reached the age of "majority" where you
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 65
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 66 of 145
                          live. The Services may also include virtual, digital items or goods that may be
                          purchased from Microsoft using actual monetary instruments or using game
                          currency. Game currency and virtual goods may never be redeemed for actual
                          monetary instruments, goods or other items of monetary value from Microsoft or
                          any other party. Other than a limited, personal, revocable, non‐transferable, non‐
                          sublicensable license to use the game currency and virtual goods in the Services
                          only, you have no right or title in or to any such game currency or virtual goods
                          appearing or originating in the Services, or any other attributes associated with use
                          of the Services or stored within the Services. Microsoft may at any time regulate,
                          control, modify and/or eliminate the game currency and/or virtual goods as it sees
                          fit in its sole discretion.

                          vii. Software Updates. For any device that can connect to Xbox Services, we may
                          automatically check your version of Xbox console software or the Xbox App software
                          and download Xbox console or Xbox App software updates or configuration
                          changes, including those that prevent you from accessing the Xbox Services, using
                          unauthorized Xbox games or Xbox apps, or using unauthorized hardware peripheral
                          devices with an Xbox console.

                          viii. Gamertag Expiration. You must sign into Xbox Services at least once in a five‐
                          year period, otherwise you may lose access to the gamertag associated with your
                          account and that gamertag may become available for use by others.


                   Top of page




                           Store
                      b. Store. "Store" refers to a Service that allows you to browse, download, purchase, and
                      rate and review applications ﴾the term "application" includes games﴿ and other digital
                      content. These Terms cover use of Office Store, Xbox Store and Windows Store. "Office
                      Store" means a Store for Office products and apps for Office, SharePoint, Exchange,
                      Access and Project ﴾2013 versions or later﴿. "Windows Store" means a Store for Windows
                      devices such as phone, PC and tablet, or any other experience that is branded Windows
                      Store. "Xbox Store" means a Store for Xbox ONE and Xbox 360 consoles, or any other
                      experience that is branded Xbox Store.
                          i. License Terms. We will identify the publisher of each application available in the
                          relevant Store. The Standard Application License Terms ﴾"SALT"﴿ at the end of these
                          Terms are an agreement between you and the application publisher setting forth the
                          license terms that apply to your use of an application you download through the
                          Windows Store or the Xbox Store, unless different license terms are provided with
                          the application. Section 5 of these Terms applies to any Third‐Party Apps and
                          Services acquired through a Store. Applications downloaded through the Office
                          Store are not governed by the SALT and have separate license terms that apply.

                          ii. Updates. Microsoft will automatically check for and download updates to your
                          applications, even if you’re not signed into the relevant Store. You can change your
                          Store or system settings if you prefer not to receive automatic updates to Store
                          applications. However, certain Office Store applications that are entirely or partly
                          hosted online may be updated at any time by the application developer and may
                          not require your permission to update.

                          iii. Ratings and Reviews. If you rate or review an application in the Store, you may
                          receive email from Microsoft containing content from the publisher of the
                          application. Any such email comes from Microsoft; we do not share your email
                          address with publishers of applications you acquire through the Store.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 66
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 67 of 145
                          iv. Safety Warning. To avoid possible injury, discomfort or eye strain, you should take
                          periodic breaks from use of games or other applications, especially if you feel any
                          pain or fatigue resulting from usage. If you experience discomfort, take a break.
                          Discomfort might include feelings of nausea, motion sickness, dizziness,
                          disorientation, headache, fatigue, eye strain, or dry eyes. Using applications can
                          distract you and obstruct your surroundings. Avoid trip hazards, stairs, low ceilings,
                          fragile or valuable items that could be damaged. A very small percentage of people
                          may experience seizures when exposed to certain visual images like flashing lights or
                          patterns that may appear in applications. Even people with no history of seizures
                          may have an undiagnosed condition that can cause these seizures. Symptoms may
                          include lightheadedness, altered vision, twitching, jerking or shaking of limbs,
                          disorientation, confusion, loss of consciousness, or convulsions. Immediately stop
                          using and consult a doctor if you experience any of these symptoms, or consult a
                          doctor before using the applications if you’ve ever suffered symptoms linked to
                          seizures. Parents should monitor their children’s use of applications for signs of
                          symptoms.


                   Top of page




                           Microsoft Family Features

                      c. Microsoft Family Features. Parents and kids can use Microsoft family features to build
                      trust based on a shared understanding of what behaviors, websites, apps, games,
                      physical locations, and spending is right in their family. Parents can create a family by
                      going to https://account.microsoft.com/family ﴾or by following the instructions on their
                      Windows device or Xbox console﴿ and inviting kids or other parents to join. There are
                      many features available to family members, so please carefully review the information
                      provided when you agree to create or join a family. By creating or joining a family, you
                      represent that you will use the family in accordance with its purpose and won’t use it in
                      an unauthorized way to unlawfully gain access to another person’s information.

                   Top of page




                           Group Messaging

                      d. Group Messaging. Various Microsoft services allow you to send messages to others via
                      voice or SMS ﴾"messages"﴿, and/or allow Microsoft and Microsoft‐controlled affiliates to
                      send such messages to you and one or more other users on your behalf. WHEN YOU
                      INSTRUCT MICROSOFT AND MICROSOFT‐CONTROLLED AFFILIATES TO SEND SUCH
                      MESSAGES TO YOU OR TO OTHERS, YOU REPRESENT AND WARRANT TO US THAT YOU
                      AND EACH PERSON YOU HAVE INSTRUCTED US TO MESSAGE CONSENT TO RECEIVE
                      SUCH MESSAGES AND ANY OTHER RELATED ADMINISTRATIVE TEXT MESSAGES FROM
                      MICROSOFT AND MICROSOFT‐CONTROLLED AFFILIATES. "Administrative text messages"
                      are periodic transactional messages from a particular Microsoft service, including but not
                      limited to a "welcome message" or instructions on how to stop receiving messages. You
                      or group members no longer wishing to receive such messages can opt‐out of receiving
                      further messages from Microsoft or Microsoft‐controlled affiliates at any time by
                      following the instructions provided. If you no longer wish to receive such messages or
                      participate in the group, you agree that you will opt out through the instructions
                      provided by the applicable program or service. If you have reason to believe that a group
                      member no longer wishes to receive such messages or participate in the group, you
                      agree to remove them from the group. You also represent and warrant to us that you
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 67
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 68 of 145
                      and each person you have instructed us to message understands that each group
                      member is responsible for the costs of any message charges assessed by his or her
                      mobile carrier, including any international message charges that may apply when
                      messages are transmitted from US‐based numbers.

                   Top of page




                           Skype and GroupMe
                      e. Skype and GroupMe.
                          i. No Access to Emergency Services. There are important differences between
                          traditional telephone services and Skype. Skype is not required to offer access to
                          Emergency Services under any applicable local and/or national rules, regulations, or
                          law. Skype’s software and products are not intended to support or carry emergency
                          calls to any type of hospitals, law enforcement agencies, medical care units or any
                          other kind of services that connect a user to emergency services personnel or public
                          safety answering points ﴾"Emergency Services"﴿. You acknowledge and agree that: ﴾i﴿
                          it is your responsibility to purchase traditional wireless ﴾mobile﴿ or fixed‐line
                          telephone services that offer access to Emergency Services, and ﴾ii﴿ Skype is not a
                          replacement for your primary telephone service.

                          ii. APIs or Broadcasting. If you want to use Skype in connection with any broadcast,
                          you         must       comply       with      the      "Broadcast      TOS"      at
                          http://www.skype.com/legal/broadcast. If you want to use any application program
                          interface ﴾"API"﴿ exposed or made available by Skype you must comply with the
                          applicable licensing terms, which are available at www.skype.com/go/legal.

                          iii. Fair Use Policies. Fair usage policies may apply to your use of Skype. Please review
                          these policies which are designed to protect against fraud and abuse and may place
                          limits on the type, duration or volume of calls or messages that you are able to
                          make. These policies are incorporated in these Terms by reference. You can find
                          these policies at: http://www.skype.com/en/legal/fair‐usage/

                          iv. Mapping. Skype contains features that allow you to submit information to, or plot
                          yourself on a map using, a mapping service. By using those features, you agree to
                          these     Terms     and      the     Google      Maps     terms     available      at
                          http://www.google.com/intl/en_ALL/help/terms_maps.html.

                          v. Government Users. If you wish to use a business account and/or Skype Manager
                          on behalf of the U.S. Government or an agency of the U.S. Government, these Terms
                          do not apply to that use. For applicable terms and/or further information, please
                          contact usgovusers@skype.net.

                          vi. Personal/Noncommercial Use. The use of Skype is for your personal and
                          noncommercial use. You are permitted to use your personal Skype account at work
                          for your own business communications.

                          vii. Skype Number/Skype To Go. If Skype provides you with a Skype Number or
                          Skype To Go number, you agree that you do not own the number or have a right to
                          retain that number forever.

                          viii. Skype Manager. A "Skype Manager Admin Account" is a Skype account that is
                          created and managed by you, acting as an individual administrator of a Skype
                          Manager group and not as a business entity. Personal Skype accounts can be linked
                          to a Skype Manager group ﴾"Linked Account"﴿. You may appoint additional
                          administrators to your Skype Manager group subject to their acceptance of these
                          Terms. If you allocate Skype Numbers to a Linked Account, you are responsible for
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 68
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 69 of 145
                          compliance with any requirements related to the residency or location of your
                          Linked Account users. If you choose to unlink a Linked Account from a Skype
                          Manager group, any allocated subscriptions, Skype Credit or Skype Numbers will not
                          be retrievable and Your Content or material associated with the unlinked Skype
                          account will no longer be accessible by you. You agree to process any personal
                          information of your Linked Account users in accordance with all applicable data
                          protection laws.

                          ix. Skype Charges. Skype paid products are sold to you by Skype Communications
                          S.à.r.l, however the seller‐of‐record accountable for taxes is Skype Communications
                          US Corporation. Taxes means the amount of taxes, regulatory fees, surcharges or
                          other fees that we are required to collect from you and must pay to any United
                          States ﴾federal, state or local﴿ or foreign government, agency, commission or quasi‐
                          governmental body as a result of our provision of Skype paid products to you. These
                          taxes are listed at www.skype.com/go/ustax. All prices for Skype paid products are
                          inclusive of a charge for your product and a charge for taxes, unless otherwise
                          stated. The charges payable for calling phones outside of a subscription consist of a
                          connection fee ﴾charged once per call﴿ and a per‐minute rate as set out at
                          www.skype.com/go/allrates. Call charges will be deducted from your Skype Credit
                          balance. Skype may change its calling rates at any time without notice to you by
                          posting such change at www.skype.com/go/allrates. The new rate will apply to your
                          next call after publication of the new rates. Please check the latest rates before you
                          make your call. Fractional call minutes and fractional cent charges will be rounded
                          up to the next whole unit.

                          x. Skype Credit. Skype does not guarantee that you will be able to use your Skype
                          Credit balance to purchase all Skype paid products. If you do not use your Skype
                          Credit for a period of 180 days, Skype will place your Skype Credit on inactive status.
                          You can reactivate the Skype Credit by following the reactivation link at
                          http://www.skype.com/go/store.reactivate.credit. You can enable the Auto Recharge
                          feature when you buy Skype Credit by ticking the appropriate box. If enabled, your
                          Skype Credit balance will be recharged with the same amount and by your chosen
                          payment method every time your Skype account balance goes below the threshold
                          set by Skype from time to time. If you purchased a subscription with a payment
                          method other than credit card, PayPal or Moneybookers ﴾Skrill﴿, and you have
                          enabled Auto‐Recharge, your Skype Credit balance will be recharged with the
                          amount necessary to purchase your next recurring subscription. You can disable
                          Auto‐Recharge at any time by accessing and changing your settings in your Skype
                          account.

                          xi. International Message Fees. GroupMe currently uses US‐based numbers for each
                          group created. Every text message sent to or received from a GroupMe number will
                          count as an international text message sent to or received from the United States.
                          Please check with your provider for the associated international rates.

                   Top of page




                           Bing and MSN
                      f. Bing and MSN.
                          i. Bing and MSN Materials. The articles, text, photos, maps, videos, video players, and
                          third‐party material available on Bing and MSN are for your noncommercial,
                          personal use only. Other uses, including downloading, copying, or redistributing
                          these materials, are permitted only to the extent specifically authorized by Microsoft
                          or rights holders, or allowed by applicable copyright law. Microsoft or other rights

DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 69
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 70 of 145
                             holders reserve all rights to the material not expressly granted by Microsoft under
                             the license terms, whether by implication, estoppel, or otherwise.

                             ii. Bing Maps. You may not use Bird’s eye imagery of the United States, Canada,
                             Mexico, New Zealand, Australia or Japan for governmental use without our separate
                             written approval.

                             iii. Rewards. Rewards ﴾the "Program"﴿ enables you to earn redeemable points for
                             your qualified searches, acquisitions, and other offers from Microsoft. A search is the
                             act of an individual user manually entering text for the good faith purpose of
                             obtaining Bing search results for such user’s own research purposes and does not
                             include any query entered by a bot, macro, or other automated or fraudulent means
                             of any kind ﴾"Search"﴿. An acquisition is the process of purchasing goods or
                             downloading and acquiring a license for digital content from Microsoft, whether free
                             or paid ﴾"Acquisition"﴿. Microsoft in its sole discretion determines what constitutes a
                             Search or Acquisition that qualifies for points. Your earned points can be redeemed
                             for items ﴾"Rewards"﴿ in the redemption center. For more information see the
                             Frequently Asked Questions ﴾"FAQ"﴿.
                                 1. Program Requirements. You need a valid Microsoft account and your devices
                                 must meet the minimum system requirements. The Program is open to users
                                 who reside in the markets listed in the FAQ. Individuals can have no more than
                                 one Program account, even if an individual has multiple email addresses, and
                                 households are limited to six accounts. The Program is solely for your personal
                                 and noncommercial use.

                                 2. Points. Except for donating your points to a nonprofit organization listed in
                                 the redemption center, you cannot transfer points. Points are not your personal
                                 property, and you may not obtain any cash or money in exchange for them.
                                 Points are awarded to you on a promotional basis. You cannot purchase points.
                                 Microsoft may limit the quantity of points or Rewards per person, per
                                 household, or over a set period ﴾e.g., a day﴿. You may redeem no more than
                                 550,000 points per calendar year in the Program. Points earned in the Program
                                 are not valid in, and may not be used in combination with, any other program
                                 offered by Microsoft or third parties. Unredeemed points expire if you do not
                                 earn or redeem any points for 90 days.

                                 3. Rewards. You may redeem your points by visiting the redemption center or
                                 you may contribute points to a listed nonprofit organization. There may be a
                                 limited number of a particular Reward available, and those Rewards will be
                                 delivered on a first‐come, first‐served basis. You may be required to provide
                                 additional information, like your mailing address and a telephone number
                                 ﴾other than a VOIP or toll‐free number﴿, and you may also be asked to enter a
                                 fraud‐prevention code or sign additional legal documents to redeem points for
                                 Rewards. Once you order a Reward, you cannot cancel it or return it for a refund
                                 of points. If you order a Reward that is out of stock or unavailable for other
                                 reasons Microsoft determines in its sole discretion, we may substitute a Reward
                                 of comparable value or refund your points. Microsoft may update the Rewards
                                 offered in the redemption center or discontinue to offer specific Rewards. Some
                                 Rewards may have age eligibility requirements. You are responsible for all
                                 federal, state, and local taxes and any other costs of accepting and using the
                                 Reward. Rewards will be emailed to the email address you provide when
                                 ordering your Reward, so keep your email address up to date. Rewards that are
                                 undeliverable will not be reissued and are therefore forfeited. Rewards are not
                                 for resale.

                            4. Cancelling Your Participation in the Program. Your Program account will be
                            cancelled if you do not log in at least once in a 180‐day period. Additionally,
                            Microsoft reserves the right to cancel the Program account of a specific user
                            without
DECL. OF. A. HOLBROOK ISO MOT.      cause and without providing a reason. Upon Program cancellation ﴾by
                               TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 70
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 71 of 145
                              you or us﴿ or if the Program is suspended, you will have 90 days to redeem your
                              points; otherwise, those points will be forfeited. At the point of cancellation,
                              your right to use the Program and accrue future points ends.

                              5. Other Conditions. Microsoft reserves the right to disqualify you; disable your
                              access to the Program or your Rewards account; and/or withhold points,
                              Rewards and charitable contributions, if Microsoft believes you are tampering
                              with or abusing any aspect of the Program or may be engaging in activities that
                              violate these Terms.

                          iv. Bing Places. When you provide your Data or Your Content to Bing Places, you
                          grant Microsoft a worldwide, royalty‐free intellectual property license to use,
                          reproduce, save, modify, aggregate, promote, transmit, display or distribute as part
                          of a service, and sub‐license those rights to third parties.

                   Top of page




                           Cortana

                      g. Cortana. Cortana is Microsoft’s personal assistant Service. Cortana provides
                      information for your planning purposes only and you should exercise your own
                      independent judgment when reviewing and relying on this information. Microsoft does
                      not guarantee the accuracy, completeness, reliability, availability or timeliness of
                      inferences and personalized experiences provided by Cortana. Microsoft is not
                      responsible if a Cortana communication management feature delays or prevents you
                      from reviewing or sending a communication.

                   Top of page




                           Outlook.com

                      h. Outlook.com. The Outlook.com ﴾or @msn, @hotmail, or @live﴿ email address that you
                      use to create your Microsoft account will be unique to you for as long as your
                      Outlook.com inbox or Microsoft account is still active. In the event your Outlook.com
                      inbox or Microsoft account is closed either by you or by Microsoft pursuant to these
                      Terms, the email address or username may be recycled into our system and assigned to
                      another user.

                   Top of page




                           Office‐based Services

                      i. Office‐based Services. Office consumer‐based services, applications, or products
                      ﴾including Sway and OneNote﴿ are for your personal, noncommercial use, unless you
                      have commercial use rights under a separate agreement with Microsoft.

                   Top of page




                           Microsoft Health Services
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 71
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 72 of 145
                      j. Microsoft Health Services.
                          i. HealthVault. HealthVault is intended for you to store your personal health‐related
                          information and information about other people ﴾such as your family﴿ with their
                          consent. HealthVault accounts are not for use by healthcare providers or for any
                          other commercial or non‐personal purpose. The information in your account may
                          not always be accurate or up‐to‐date and should be viewed by any health care
                          provider as informational only. The HealthVault Service does not hold records for
                          healthcare providers or other medical or case management purposes. For example,
                          HealthVault records are not designated record sets as defined under U.S.
                          regulations. If a healthcare provider decides to include any data made available from
                          HealthVault in its records, it should store a copy in its own system. If there is a co‐
                          custodian of a record in your account ﴾because one of you invited the other﴿, you
                          acknowledge that the co‐custodian has full control over that record and may cancel
                          your access to the record, manage other peoples' access to the record, and view the
                          record's data including how and when the record is used. Microsoft does not
                          support non‐Microsoft credentials ﴾such as Facebook and OpenID﴿, so HealthVault
                          customer support will not be able to help with sign‐in issues for those. If you lose
                          your sign‐in credentials, or if the account where you got your credentials closes, you
                          will not be able to recover your stored data. To help maintain continued access, we
                          suggest you use more than one sign‐in credential with your HealthVault account.
                          Microsoft does not endorse or control, and is not responsible for, the operation,
                          support, or security of non‐Microsoft credentials you may use.

                          ii. Microsoft Health and Microsoft Band. Microsoft Health and the Microsoft Band
                          are not medical devices and are intended for fitness and wellness purposes only.
                          They are not designed or intended for use in the diagnosis of disease or other
                          conditions, or in the cure, mitigation, treatment, or prevention of disease. Before
                          starting or modifying any activity or sleep program using Microsoft Health, consult
                          your physician. Microsoft is not responsible for any decision you make based on
                          information you receive from Microsoft.

                   Top of page




                           Digital Goods

                      k. Digital Goods. Through Microsoft Groove, Microsoft Movies & TV, Store and any other
                      related and future services, Microsoft may enable you to obtain, listen to, view, play or
                      read ﴾as the case may be﴿ music, images, video, text, books, games or other material
                      ﴾"Digital Goods"﴿ that you may get in digital form. The Digital Goods are only for your
                      personal, noncommercial entertainment use. You agree not to redistribute, broadcast,
                      publicly perform or publicly display or transfer any copies of the Digital Goods. Digital
                      Goods may be owned by Microsoft or by third parties. In all circumstances, you
                      understand and acknowledge that your rights with respect to Digital Goods are limited
                      by    these    Terms,    copyright    law,   and    the    usage    rules   located at
                      http://go.microsoft.com/fwlink/p/?LinkId=723143. You agree that you will not attempt to
                      modify any Digital Goods obtained through any of the Services for any reason
                      whatsoever, including for the purpose of disguising or changing ownership or source of
                      the Digital Goods. Microsoft or the owners of the Digital Goods may, from time to time,
                      remove Digital Goods from the Services without notice.

                   Top of page




                           OneDrive
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 72
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 73 of 145

                      l. OneDrive.

                           i. Storage Allocation. If you have more content stored in your OneDrive account than
                           is provided to you under the terms of your free or paid subscription service for
                           OneDrive and you do not respond to notice from Microsoft to fix your account by
                           removing excess content or moving to a new subscription plan with more storage,
                           we reserve the right to close your account and delete or disable access to Your
                           Content on OneDrive.

                           ii. Service Performance. Depending on factors such as your equipment, internet
                           connection and Microsoft’s efforts to maintain the performance and integrity of its
                           service, you may occasionally experience delays in uploading or syncing content on
                           OneDrive.

                   Top of page




                            Binding Arbitration and Class Action
                            Waiver
                  15. Binding Arbitration and Class Action Waiver If You Live In ﴾or If a Business Your Principal
                  Place of Business Is In﴿ the United States. We hope we never have a dispute, but if we do, you
                  and we agree to try for 60 days to resolve it informally. If we can’t, you and we agree to
                  binding individual arbitration before the American Arbitration Association ﴾"AAA"﴿ under the
                  Federal Arbitration Act ﴾"FAA"﴿, and not to sue in court in front of a judge or jury. Instead, a
                  neutral arbitrator will decide and the arbitrator’s decision will be final except for a limited
                  right of review under the FAA. Class action lawsuits, class‐wide arbitrations, private attorney‐
                  general actions, and any other proceeding where someone acts in a representative capacity
                  aren’t allowed. Nor is combining individual proceedings without the consent of all parties.
                  "We," "our," and "us" includes Microsoft, Skype ﴾see section 10﴿ and Microsoft’s affiliates and,
                  if you use Skype Pay by Mobile, your mobile phone carrier.

                      a. Disputes Covered—Everything Except IP. The term "dispute" is as broad as it can be. It
                      includes any claim or controversy between you and us concerning the Services, the
                      software related to the Services, the Services’ or software’s price, your Microsoft account,
                      your Skype account, or these Terms, under any legal theory including contract, warranty,
                      tort, statute, or regulation, except disputes relating to the enforcement or validity of
                      your, your licensors’, our, or our licensors’ intellectual property rights.

                      b. Mail a Notice of Dispute First. If you have a dispute and our customer service
                      representatives can’t resolve it, send a Notice of Dispute by U.S. Mail to Microsoft
                      Corporation, ATTN: CELA Arbitration, One Microsoft Way, Redmond, WA 98052‐6399,
                      U.S.A. ﴾or to your mobile phone carrier at its principal place of business in the United
                      States marked ATTN: Legal Department﴿. Tell us your name, address, how to contact you,
                      what the problem is, and what you want. A form is available at
                      http://go.microsoft.com/fwlink/?LinkId=245499. We’ll do the same if we have a dispute
                      with you. After 60 days, you or we may start an arbitration if the dispute is unresolved.

                      c. Small Claims Court Option. Instead of mailing a Notice of Dispute, you may sue us in
                      small claims court in your county of residence ﴾or if a business your principal place of
                      business﴿ or King County, Washington, U.S.A. if you meet the court’s requirements.

                      d. Arbitration Procedure. The AAA will conduct any arbitration under its Commercial
                      Arbitration Rules ﴾or if you are an individual and use the Services for personal or
                      household use, or if the value of the dispute is $75,000 or less whether or not you are an
                      individual or how you use the Services, its Consumer Arbitration Rules﴿. For more
                      information, see www.adr.org or call 1‐800‐778‐7879. To start an arbitration, submit the
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 73
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 74 of 145
                      form available at http://go.microsoft.com/fwlink/?LinkId=245497 to the AAA and mail a
                      copy to us. In a dispute involving $25,000 or less, any hearing will be telephonic unless
                      the arbitrator finds good cause to hold an in‐person hearing instead. Any in‐person
                      hearing will take place in your county of residence ﴾or if a business your principal place of
                      business﴿ or our principal place of business—King County, Washington if your dispute is
                      with Microsoft. You choose. The arbitrator may award the same damages to you
                      individually as a court could. The arbitrator may award declaratory or injunctive relief
                      only to you individually to satisfy your individual claim.

                      e. Arbitration Fees and Payments.

                           i. Disputes Involving $75,000 or Less. We will promptly reimburse your filing fees and
                           pay the AAA’s and arbitrator’s fees and expenses. If you reject our last written
                           settlement offer made before the arbitrator was appointed, your dispute goes all the
                           way to an arbitrator’s decision ﴾called an “award”﴿, and the arbitrator awards you
                           more than this last written offer, we will: ﴾i﴿ pay the greater of the award or $1,000;
                           ﴾ii﴿ pay your reasonable attorney’s fees, if any; and ﴾iii﴿ reimburse any expenses
                           ﴾including expert witness fees and costs﴿ that your attorney reasonably accrues for
                           investigating, preparing, and pursuing your claim in arbitration.

                           ii. Disputes Involving More than $75,000. The AAA rules will govern payment of filing
                           fees and the AAA’s and arbitrator’s fees and expenses.

                      f. Conflict with AAA Rules. These Terms govern to the extent they conflict with the AAA’s
                      Commercial Arbitration Rules or Consumer Arbitration Rules.

                      g. Must File Within One Year. You and we must file in small claims court or arbitration
                      any claim or dispute ﴾except intellectual property disputes—see section 15﴾a﴿﴿ within one
                      year from when it first could be filed. Otherwise, it's permanently barred.

                      h. Rejecting Future Arbitration Changes. You may reject any change we make to section
                      15 ﴾except address changes﴿ by sending us notice within 30 days of the change by U.S.
                      Mail to the address in section 15﴾b﴿. If you do, the most recent version of section 15
                      before the change you rejected will apply.

                      i. Severability. If the class action waiver is found to be illegal or unenforceable as to all or
                      some parts of a dispute, then those parts won’t be arbitrated but will proceed in court,
                      with the rest proceeding in arbitration. If any other provision of section 15 is found to be
                      illegal or unenforceable, that provision will be severed but the rest of section 15 still
                      applies.

                      j. Mobile Phone Carrier as Third‐Party Beneficiary. If you use Skype Pay by Mobile, your
                      mobile phone carrier is a third‐party beneficiary of your agreement with Microsoft and
                      Skype to resolve disputes through informal negotiation and arbitration. Your mobile
                      phone carrier agrees to do everything Microsoft and Skype agree to do in section 15.

                   Top of page




                            Miscellaneous
                  16. Miscellaneous. This section, and sections 1, 9 ﴾for amounts incurred before the end of
                  these Terms﴿, 10, 11, 12, 13, 15, and those that by their terms apply after the Terms end will
                  survive any termination or cancellation of these Terms. We may assign these Terms, in whole
                  or in part, at any time without notice to you. You may not assign your rights or obligations
                  under these Terms or transfer any rights to use the Services. This is the entire agreement
                  between you and Microsoft for your use of the Services. It supersedes any prior agreements
                  between you and Microsoft regarding your use of the Services. All parts of these Terms apply
                  to the maximum extent permitted by relevant law. If a court or arbitrator holds that we can't
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 74
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 75 of 145
                  enforce a part of these Terms as written, we may replace those terms with similar terms to the
                  extent enforceable under the relevant law, but the rest of these Terms won't change. Section
                  15﴾i﴿ says what happens if parts of section 15 ﴾arbitration and class action waiver﴿ are found to
                  be illegal or unenforceable. Section 15﴾i﴿ prevails over this section if inconsistent with it.
                  Except for section 15 ﴾arbitration and class action waiver﴿ these Terms are solely for your and
                  our benefit; they aren’t for the benefit of any other person, except for Microsoft’s successors
                  and assigns.

                  17. Export Laws. You must comply with all domestic and international export laws and
                  regulations that apply to the software and/or Services, which include restrictions on
                  destinations, end users, and end use. For further information on geographic and export
                  restrictions,       visit       http://go.microsoft.com/fwlink/?linkid=141397     and
                  http://www.microsoft.com/exporting.

                  18. Unsolicited Ideas. Microsoft does not consider or accept unsolicited proposals or ideas,
                  including without limitation ideas for new products, technologies, promotions, product
                  names, product feedback and product improvements ﴾"Unsolicited Feedback"﴿. If you send
                  any Unsolicited Feedback to Microsoft through the Services or otherwise, you acknowledge
                  and agree that Microsoft shall not be under any obligation of confidentiality with respect to
                  the Unsolicited Feedback.

                   Top of page




                            NOTICES
                  Notices and procedure for making claims of intellectual property infringement. Microsoft
                  respects the intellectual property rights of third parties. If you wish to send a notice of
                  intellectual property infringement, including claims of copyright infringement, please use our
                  procedures for submitting Notices of Infringement. ALL INQUIRIES NOT RELEVANT TO THIS
                  PROCEDURE WILL NOT RECEIVE A RESPONSE.

                  Microsoft uses the processes set out in Title 17, United States Code, Section 512 to respond
                  to notices of copyright infringement. In appropriate circumstances, Microsoft may also
                  disable or terminate accounts of users of Microsoft services who may be repeat infringers.
                  Notices and procedures regarding intellectual property concerns in advertising. Please review
                  our Intellectual Property Guidelines regarding intellectual property concerns on our
                  advertising network.
                  Copyright and trademark notices. The Services are copyright © 2016 Microsoft Corporation
                  and/or its suppliers, One Microsoft Way, Redmond, WA 98052, U.S.A. All rights reserved.
                  Microsoft and the names, logos, and icons of all Microsoft products, software, and services
                  may be either trademarks or registered trademarks of Microsoft in the United States and/or
                  other countries. The names of actual companies and products may be the trademarks of their
                  respective owners. Any rights not expressly granted in these Terms are reserved. Certain
                  software used in certain Microsoft website servers is based in part on the work of the
                  Independent JPEG Group. Copyright © 1991‐1996 Thomas G. Lane. All rights reserved.
                  "gnuplot" software used in certain Microsoft website servers is copyright © 1986‐1993
                  Thomas Williams, Colin Kelley. All rights reserved.
                  Medical notice. Microsoft does not provide medical or any other health care advice,
                  diagnosis, or treatment. Always seek the advice of your physician or other qualified health
                  care provider with any questions you may have regarding a medical condition, diet, fitness, or
                  wellness program. Never disregard professional medical advice or delay in seeking it because
                  of information you accessed on or through the Services.

                  Stock quotes and index data ﴾including index values﴿. © 2013 Morningstar, Inc. All Rights
                  Reserved. The information contained herein: ﴾1﴿ is proprietary to Morningstar and/or its
                  content providers; ﴾2﴿ may not be copied or distributed; and ﴾3﴿ is not warranted to be
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 75
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 76 of 145
                  accurate, complete or timely. Neither Morningstar nor its content providers are responsible
                  for any damages or losses arising from any use of this information. Past performance is no
                  guarantee of future results.
                  You may not use any of the Dow Jones IndexesSM, index data, or the Dow Jones marks in
                  connection with the issuance, creation, sponsorship, trading, marketing, or promotion of any
                  financial instruments or investment products ﴾for example, derivatives, structured products,
                  investment funds, exchange‐traded funds, investment portfolios, etc., where the price, return
                  and/or performance of the instrument or investment product is based on, related to, or
                  intended to track any of the Indexes or a proxy for any of the Indexes﴿ without a separate
                  written agreement with Dow Jones.
                  Financial notice. Microsoft isn't a broker/dealer or registered investment advisor under United
                  States federal securities law or securities laws of other jurisdictions and doesn't advise
                  individuals as to the advisability of investing in, purchasing, or selling securities or other
                  financial products or services. Nothing contained in the Services is an offer or solicitation to
                  buy or sell any security. Neither Microsoft nor its licensors of stock quotes or index data
                  endorse or recommend any particular financial products or services. Nothing in the Services is
                  intended to be professional advice, including but not limited to, investment or tax advice.
                  Notice about the H.264/AVC, MPEG‐4 Visual, and VC‐1 Video Standards. The software may
                  include H.264/AVC, MPEG‐4 Visual and/or VC‐1 codec technology that may be licensed by
                  MPEG LA, L.L.C. This technology is a format for data compression of video information. MPEG
                  LA, L.L.C. requires this notice:

                  THIS PRODUCT IS LICENSED UNDER THE H.264/AVC, MPEG‐4 VISUAL, AND THE VC‐1
                  PATENT PORTFOLIO LICENSES FOR THE PERSONAL AND NONCOMMERCIAL USE OF A
                  CONSUMER TO ﴾A﴿ ENCODE VIDEO IN COMPLIANCE WITH THE STANDARDS ﴾"VIDEO
                  STANDARDS"﴿ AND/OR ﴾B﴿ DECODE H.264/AVC, MPEG‐4 VISUAL, AND VC‐1 VIDEO THAT
                  WAS ENCODED BY A CONSUMER ENGAGED IN A PERSONAL AND NONCOMMERCIAL
                  ACTIVITY AND/OR WAS OBTAINED FROM A VIDEO PROVIDER LICENSED TO PROVIDE SUCH
                  VIDEO. NONE OF THE LICENSES EXTEND TO ANY OTHER PRODUCT REGARDLESS OF
                  WHETHER SUCH PRODUCT IS INCLUDED WITH THIS SOFTWARE IN A SINGLE ARTICLE. NO
                  LICENSE IS GRANTED OR SHALL BE IMPLIED FOR ANY OTHER USE. ADDITIONAL
                  INFORMATION MAY BE OBTAINED FROM MPEG LA, L.L.C. SEE THE MPEG LA WEBSITE.
                  For clarification purposes only, this notice does not limit or inhibit the use of the software
                  provided under these Terms for normal business uses that are personal to that business
                  which do not include ﴾i﴿ redistribution of the software to third parties, or ﴾ii﴿ creation of
                  material with the VIDEO STANDARDS compliant technologies for distribution to third parties.

                   Top of page




                            STANDARD APPLICATION LICENSE TERMS
                                            STANDARD APPLICATION LICENSE TERMS
                                              WINDOWS STORE AND XBOX STORE
                  These license terms are an agreement between you and the application publisher. Please read
                  them. They apply to the software applications you download from the Windows Store or the
                  Xbox Store, including any updates or supplements for the application, unless the application
                  comes with separate terms, in which case those terms apply.
                  BY DOWNLOADING OR USING THE APPLICATION, OR ATTEMPTING TO DO ANY OF THESE,
                  YOU ACCEPT THESE TERMS. IF YOU DO NOT ACCEPT THEM, YOU HAVE NO RIGHT TO AND
                  MUST NOT DOWNLOAD OR USE THE APPLICATION.

                  The application publisher means the entity licensing the application to you, as identified in
                  the Windows Store or Xbox Store.
                  If you comply with these license terms, you have the rights below.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 76
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 77 of 145
                      1. INSTALLATION AND USE RIGHTS; EXPIRATION. For applications you download from
                      the Windows Store: ﴾a﴿ you may install and use the application on a Windows device or
                      devices that are affiliated with the Microsoft account that you use to access the Windows
                      Store; and ﴾b﴿ the device limit for the application is displayed in the Store or, for some
                      applications downloaded on the Xbox console, in our Usage Rules. For applications you
                      download from the Xbox Store, you may install and use the application on Xbox consoles
                      as described in our Usage Rules. Microsoft reserves the right to modify our Usage Rules
                      at any time.

                      2. INTERNET‐BASED SERVICES.
                          a. Consent for Internet‐based or wireless services. If the application connects to
                          computer systems over the Internet, which may include via a wireless network, using
                          the application operates as your consent to the transmission of standard device
                          information ﴾including but not limited to technical information about your device,
                          system, and application software, and peripherals﴿ for Internet‐based or wireless
                          services. If other terms are presented in connection with your use of services
                          accessed using the application, those terms also apply.

                          b. Misuse of Internet‐based services. You may not use any Internet‐based service in
                          any way that could harm it or impair anyone else’s use of it or the wireless network.
                          You may not use the service to try to gain unauthorized access to any service, data,
                          account, or network by any means.

                      3. SCOPE OF LICENSE. The application is licensed, not sold. This agreement only gives
                      you some rights to use the application. If Microsoft disables the ability to use the
                      applications on your devices pursuant to your agreement with Microsoft, any associated
                      license rights will terminate. Application publisher reserves all other rights. Unless
                      applicable law gives you more rights despite this limitation, you may use the application
                      only as expressly permitted in this agreement. In doing so, you must comply with any
                      technical limitations in the application that only allow you to use it in certain ways. You
                      may not:
                          a. Work around any technical limitations in the application.
                          b. Reverse engineer, decompile, or disassemble the application, except and only to
                          the extent that applicable law expressly permits, despite this limitation.
                          c. Make more copies of the application than specified in this agreement or allowed
                          by applicable law, despite this limitation.
                          d. Publish or otherwise make the application available for others to copy.
                          e. Rent, lease, or lend the application.
                          f. Transfer the application or this agreement to any third party.

                      4. DOCUMENTATION. If documentation is provided with the application, you may copy
                      and use the documentation for personal reference purposes.

                      5. TECHNOLOGY AND EXPORT RESTRICTIONS. The application may be subject to United
                      States or international technology control or export laws and regulations. You must
                      comply with all domestic and international export laws and regulations that apply to the
                      technology used or supported by the application. These laws include restrictions on
                      destinations, end users, and end use. For information on Microsoft branded products, go
                      to the Microsoft exporting website.

                      6. SUPPORT SERVICES. Contact the application publisher to determine if any support
                      services are available. Microsoft, your hardware manufacturer and your wireless carrier
                      ﴾unless one of them is the application publisher﴿ aren’t responsible for providing support
                      services for the application.

                      7. ENTIRE AGREEMENT. This agreement, any applicable privacy policy, any additional
                      terms that accompany the application, and the terms for supplements and updates are
                      the entire license agreement between you and application publisher for the application.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 77
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 78 of 145
                       8. APPLICABLE LAW.
                            a. United States and Canada. If you acquired the application in the United States or
                            Canada, the laws of the state or province where you live ﴾or, if a business, where
                            your principal place of business is located﴿ govern the interpretation of these terms,
                            claims for breach of them, and all other claims ﴾including consumer protection,
                            unfair competition, and tort claims﴿, regardless of conflict of laws principles.

                            b. Outside the United States and Canada. If you acquired the application in any other
                            country, the laws of that country apply.

                       9. LEGAL EFFECT. This agreement describes certain legal rights. You may have other
                       rights under the laws of your state or country. This agreement doesn’t change your rights
                       under the laws of your state or country if the laws of your state or country don’t permit it
                       to do so.

                       10. DISCLAIMER OF WARRANTY. The application is licensed "as is," "with all faults," and
                       "as available." You bear the entire risk as to its quality, safety, comfort, and performance.
                       Should it prove defective, you assume the entire cost of all necessary servicing or repair.
                       The application publisher, on behalf of itself, Microsoft, wireless carriers over whose
                       network the application is provided, and each of our respective affiliates, vendors, agents,
                       and suppliers ﴾"Covered Parties"﴿, gives no express warranties, guarantees, or conditions
                       in relation to the application. You may have additional consumer rights under your local
                       laws that this agreement can't change. To the extent permitted under your local laws,
                       Covered Parties exclude any implied warranties or conditions, including those of
                       merchantability, fitness for a particular purpose, safety, comfort, and non‐infringement. If
                       your local laws impose a warranty, guarantee or condition even though these terms do
                       not, its duration is limited to 90 days from when you download the application.

                       11. LIMITATION ON AND EXCLUSION OF REMEDIES AND DAMAGES. To the extent not
                       prohibited by law, if you have any basis for recovering damages, you can recover from
                       the application publisher only direct damages up to the amount you paid for the
                       application or $1.00, whichever is greater. You will not, and waive any right to, seek to
                       recover any other damages, including lost profits and consequential, special, direct,
                       indirect, or incidental damages, from the application publisher.

                  This limitation applies to:
                       Anything related to the application or services made available through the application;
                       and
                       Claims for breach of contract, warranty, guarantee or condition; strict liability, negligence,
                       or other tort; violation of a statute or regulation; unjust enrichment; or under any other
                       theory; all to the extent permitted by applicable law.
                  It also applies even if:

                       This remedy doesn’t fully compensate you for any losses; or
                       The application publisher knew or should have known about the possibility of the
                       damages.

                   Top of page




                             Covered Services
                  The following products, apps and services are covered by the Microsoft Services Agreement,
                  but may not be available in your market.
                       Account.microsoft.com
                       Advertising.microsoft.com
                       Arrow Launcher
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 78
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 79 of 145
                     Ask Cortana
                     Bing
                     Bing Apps
                     Bing Bots
                     Bing Desktop
                     Bing Dictionary
                     Bing Image Bot
                     Bing in the Classroom
                     Bing Input
                     Bing Maps
                     Bing Music Bot
                     Bing Navigation
                     Bing News Bot
                     Bing Reader
                     Bing Rewards
                     Bing Search app
                     Bing Toolbar
                     Bing Torque
                     Bing Translator
                     Bing Webmaster
                     Bing Wikipedia Browser
                     Bing.com
                     Bingplaces.com
                     Choice.microsoft.com
                     Citizen Next
                     Conditional Action Programmer
                     Cortana
                     Default Homepage and New Tab Page on Microsoft Edge
                     Dev Center App
                     Device Health App
                     Education.minecraft.net
                     Forzamotorsport.net
                     Groove
                     Groove Music Pass
                     GroupMe
                     HealthVault
                     Home
                     Maps App
                     Microsoft account
                     Microsoft Bots
                     Microsoft Family
                     Microsoft Health
                     Microsoft Movies & TV
                     Microsoft Support and Recovery Assistant for Office 365
                     Microsoft Translator
                     Microsoft Wallpaper
                     Microsoft XiaoIce
                     MSN Dial Up
                     MSN Explorer
                     MSN Food & Drink
                     MSN Health & Fitness
                     MSN Money
                     MSN News
                     MSN Premium
                     MSN Sports
                     MSN Travel
                     MSN Weather
DECL. OF. A. HOLBROOKMSN.com
                      ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 79
          Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 80 of 145
                              News Pro App and Website
                              Next Lock Screen
                              Office 365 Consumer
                              Office 365 Home
                              Office 365 Personal
                              Office 365 University
                              Office Online
                              Office Store
                              Office Sway
                              Office.com
                              OneDrive
                              OneDrive.com
                              OneNote
                              Onenote.com
                              Outlook.com
                              Paint 3D
                              Picturesque Lock Screen
                              Pix Lock
                              Remix 3D
                              Send
                              Skype
                              Skype in the Classroom
                              Skype Manager
                              Skype Qik
                              Skype WiFi
                              Skype.com
                              Smart Search
                              Spreadsheet Keyboard
                              Store
                              Sway.com
                              Tossup
                              Translator
                              UrWeather
                              Video Breakdown
                              Windows Live Mail
                              Windows Live Writer
                              Windows Movie Maker
                              Windows Photo Gallery
                              Windows Store
                              Word Flow
                              Xbox and Windows Games, apps and websites published by Microsoft
                              Xbox Live
                              Xbox Live Gold
                              Xbox Music
                              Xbox Store
                              Zo

                           Top of page



English ﴾United States﴿
Contact us
Privacy and cookies
Terms of use
Trademarks
About our ads
        DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
        ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 80
         Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 81 of 145
© 2017 Microsoft




       DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
       ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 81
    Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 82 of 145




                 Exhibit D




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 82
           Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 83 of 145

Published: March 1, 2018
Effective: May 1, 2018

                                                                                                                        Print


Microsoft Services Agreement
IF YOU LIVE IN (OR YOUR PRINCIPAL PLACE OF BUSINESS IS IN) THE UNITED STATES, PLEASE READ THE BINDING
ARBITRATION CLAUSE AND CLASS ACTION WAIVER IN SECTION 15. IT AFFECTS HOW DISPUTES ARE RESOLVED.
These terms (“Terms
               Terms”) cover the use of those Microsoft consumer products, websites, and services listed here (the “Services
                                                                                                                    Services”).
You accept these Terms by creating a Microsoft account, through your use of the Services, or by continuing to use the
Services after being notified of a change to these Terms.



 Your Privacy
                                          Your Privacy
 Your Content
                               1. Your Privacy. Your privacy is important to us. Please read the Microsoft Privacy Statement
 Code of Conduct               (the "Privacy
                                      Privacy Statement")
                                              Statement as it describes the types of data we collect from you and your
                               devices ("Data
                                          Data"), how we use your Data, and the legal bases we have to process your Data.
                               The Privacy Statement also describes how Microsoft uses your content, which is your
 Using the Services &
                               communications with others; postings submitted by you to Microsoft via the Services; and the
 Support                       files, photos, documents, audio, digital works, livestreams and videos that you upload, store,
                               broadcast or share through the Services ("YourYour Content
                                                                                   Content"). Where processing is based on
 Using Third-Party             consent and to the extent permitted by law, by agreeing to these Terms, you consent to
 Apps and Services             Microsoft’s collection, use and disclosure of Your Content and Data as described in the
                               Privacy Statement. In some cases, we will provide separate notice and request your consent as
                               referenced in the Privacy Statement.
 Service Availability

 Updates to the
 Services or Software,
 and Changes to These
                                          Your Content
 Terms

                               2. Your Content. Many of our Services allow you to store or share Your Content or receive
 Software License
                               material from others. We don’t claim ownership of Your Content. Your Content remains Your
                               Content and you are responsible for it.
 Payment Terms
                                    a. When you share Your Content with other people, you understand that they may be
                                    able to, on a worldwide basis, use, save, record, reproduce, broadcast, transmit, share and
 Contracting Entity,
                                    display (and on HealthVault delete) Your Content without compensating you. If you do
 Choice of Law,                     not want others to have that ability, do not use the Services to share Your Content. You
 Jurisdiction                       represent and warrant that for the duration of these Terms, you have (and will have) all
                                    the rights necessary for Your Content that is uploaded, stored, or shared on or through
 Warranties                         the Services and that the collection, use, and retention of Your Content will not violate
                                    any law or rights of others. Microsoft cannot be held responsible for Your Content or the
                                    material others upload, store or share using the Services.
 Limitation of Liability
                                    b. To the extent necessary to provide the Services to you and others, to protect you and
 Service-Specific Terms             the Services, and to improve Microsoft products and services, you grant to Microsoft a
                                    worldwide and royalty-free intellectual property license to use Your Content, for example,
                                    to make copies of, retain, transmit, reformat, display, and distribute via communication
                                    tools Your Content on the Services. If you publish Your Content in areas of the Service
                                    where it is available broadly online without restrictions, Your Content may appear in
       DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
       ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 83
          Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 84 of 145
                              demonstrations or materials that promote the Service. Some of the Services are
Xbox Live and
                              supported by advertising. Controls for how Microsoft personalizes advertising are
Microsoft Studios             available on the Security & privacy page of the Microsoft account management website.
Games and                     We do not use what you say in email, chat, video calls or voice mail, or your documents,
Applications                  photos or other personal files, to target advertising to you. Our advertising policies are
                              covered in detail in the Privacy Statement.
Store
                           Top of page

Microsoft Family
Features
                                   Code of Conduct
Group Messaging
                          3. Code of Conduct.
Skype and GroupMe             a. By agreeing to these Terms, you’re agreeing that, when using the Services, you will
                              follow these rules:
Bing and MSN
                                  i. Don’t do anything illegal.
                                  ii. Don’t engage in any activity that exploits, harms, or threatens to harm children.
Cortana
                                  iii. Don’t send spam. Spam is unwanted or unsolicited bulk email, postings, contact
                                  requests, SMS (text messages), or instant messages.
Outlook.com                       iv. Don’t publicly display or use the Services to share inappropriate content or
                                  material (involving, for example, nudity, bestiality, pornography, offensive language,
Office-based Services             graphic violence, or criminal activity).
                                  v. Don’t engage in activity that is fraudulent, false or misleading (e.g., asking for
Microsoft Health                  money under false pretenses, impersonating someone else, manipulating the
Services                          Services to increase play count, or affect rankings, ratings, or comments).
                                  vi. Don’t circumvent any restrictions on access to or availability of the Services.
                                  vii. Don’t engage in activity that is harmful to you, the Services, or others (e.g.,
Digital Goods                     transmitting viruses, stalking, posting terrorist content, communicating hate speech,
                                  or advocating violence against others).
OneDrive                          viii. Don’t infringe upon the rights of others (e.g., unauthorized sharing of
                                  copyrighted music or other copyrighted material, resale or other distribution of Bing
Microsoft Rewards                 maps, or photographs).
                                  ix. Don’t engage in activity that violates the privacy of others.
                                  x. Don’t help others break these rules.
Binding Arbitration
and Class Action              b. Enforcement. If you violate these Terms, we may stop providing Services to you or we
Waiver                        may close your Microsoft account. We may also block delivery of a communication (like
                              email, file sharing or instant message) to or from the Services in an effort to enforce
Miscellaneous                 these Terms or we may remove or refuse to publish Your Content for any reason. When
                              investigating alleged violations of these Terms, Microsoft reserves the right to review
                              Your Content in order to resolve the issue. However, we cannot monitor the entire
NOTICES                       Services and make no attempt to do so.

STANDARD                      c. Application to Xbox Services. Click here for more information about how this Code of
APPLICATION                   Conduct applies to Xbox Live, Games for Windows Live and Microsoft Studios games,
                              applications, services and content provided by Microsoft. Violation of the Code of
LICENSE TERMS
                              Conduct through Xbox Services (defined in section 14(a)(i)) may result in suspensions or
                              bans from participation in Xbox Services, including forfeiture of content licenses, Xbox
Covered Services              Gold Membership time, and Microsoft account balances associated with the account.

                           Top of page




                                   Using the Services & Support
        DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
        ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 84
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 85 of 145
                  4. Using the Services & Support.
                      a. Microsoft account. You’ll need a Microsoft account to access many of the Services.
                      Your Microsoft account lets you sign in to products, websites and services provided by
                      Microsoft and some Microsoft partners.

                           i. Creating an Account. You can create a Microsoft account by signing up online. You
                           agree not to use any false, inaccurate or misleading information when signing up for
                           your Microsoft account. In some cases, a third party, like your Internet service
                           provider, may have assigned a Microsoft account to you. If you received your
                           Microsoft account from a third party, the third party may have additional rights over
                           your account, like the ability to access or delete your Microsoft account. Please
                           review any additional terms the third party provided you, as Microsoft has no
                           responsibility regarding these additional terms. If you create a Microsoft account on
                           behalf of an entity, such as your business or employer, you represent that you have
                           the legal authority to bind that entity to these Terms. You cannot transfer your
                           Microsoft account credentials to another user or entity. To protect your account,
                           keep your account details and password confidential. You are responsible for all
                           activity that occurs under your Microsoft account.

                           ii. Account Use. You must use your Microsoft account to keep it active. This means
                           you must sign in at least once in a five-year period to keep your Microsoft account,
                           and associated Services, active, unless provided otherwise in an offer for a paid
                           portion of the Services. If you don’t sign in during this time, we will assume your
                           Microsoft account is inactive and will close it for you. Please see section 4(a)(iv)(2) for
                           the consequences of a closed Microsoft account. You must sign into your
                           Outlook.com inbox and your OneDrive (separately) at least once in a one-year
                           period, otherwise we will close your Outlook.com inbox and your OneDrive for you.
                           You must sign into the Xbox Services at least once in a five-year period to keep the
                           gamertag associated with your Microsoft account. If we reasonably suspect that your
                           Microsoft account is being used by a third party fraudulently (for example, as a
                           result of an account compromise), Microsoft may suspend your account until you
                           can reclaim ownership. Based on the nature of the compromise, we may be required
                           to disable access to some or all of Your Content. If you are having trouble accessing
                           your Microsoft account, please visit this website: https://go.microsoft.com/fwlink/?
                           LinkId=238656.

                           iii. Kids and Accounts. By using the Services, you represent that you have either
                           reached the age of “majority” where you live or have valid parent or legal guardian
                           consent to be bound by these Terms. If you do not know whether you have reached
                           the age of majority where you live, or do not understand this section, please ask
                           your parent or legal guardian for help and consent before you create a Microsoft
                           account. If you are the parent or legal guardian of a minor who creates a Microsoft
                           account, you and the minor accept and agree to be bound by these Terms and are
                           responsible for all use of the Microsoft account or Services, including purchases,
                           whether the minor’s account is now open or created later.

                           iv. Closing Your Account.
                               1. You can cancel specific Services or close your Microsoft account at any time
                               and for any reason. To close your Microsoft account, please visit
                               https://account.live.com/closeaccount.aspx. When you ask us to close your
                               Microsoft account, we will put it in a suspended state for 60 days just in case
                               you change your mind. After that 60-day period, your Microsoft account will be
                               closed. Please see section 4(a)(iv)(2) below for an explanation as to what
                               happens when your Microsoft account is closed. Logging back in during that
                               60-day period will reactivate your Microsoft account.

                               2. If your Microsoft account is closed (whether by you or us), a few things
                               happen. First, your right to use the Microsoft account to access the Services
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 85
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 86 of 145
                                 stops immediately. Second, we’ll delete Data or Your Content associated with
                                 your Microsoft account or will otherwise disassociate it from you and your
                                 Microsoft account (unless we are required by law to keep it, return it, or transfer
                                 it to you or a third party identified by you). You should have a regular backup
                                 plan as Microsoft won’t be able to retrieve Your Content or Data once your
                                 account is closed. Third, you may lose access to products you’ve acquired.

                      b. Work or School Accounts. You can sign into certain Microsoft services with a work or
                      school email address. If you do, you agree that the owner of the domain associated with
                      your email address may control and administer your account, and access and process
                      your Data, including the contents of your communications and files, and that Microsoft
                      may notify the owner of the domain if the account or Data is compromised. You further
                      agree that your use of the Microsoft services may be subject to the agreements
                      Microsoft has with you or your organization and these Terms may not apply. If you
                      already have a Microsoft account and you use a separate work or school email address to
                      access Services covered under these Terms, you may be prompted to update the email
                      address associated with your Microsoft account in order to continue accessing such
                      Services.

                      c. Additional Equipment/Data Plans. To use many of the Services, you’ll need an internet
                      connection and/or data/cellular plan. You might also need additional equipment, like a
                      headset, camera or microphone. You are responsible for providing all connections, plans,
                      and equipment needed to use the Services and for paying the fees charged by the
                      provider(s) of your connections, plans, and equipment. Those fees are in addition to any
                      fees you pay us for the Services and we will not reimburse you for such fees. Check with
                      your provider(s) to determine if there are any such fees that may apply to you.

                      d. Service Notifications. When there’s something we need to tell you about a Service you
                      use, we’ll send you Service notifications. If you gave us your email address or phone
                      number in connection with your Microsoft account, then we may send Service
                      notifications to you via email or via SMS (text message), including to verify your identity
                      before registering your mobile phone number. We may also send you Service
                      notifications by other means (for example by in-product messages). Data or messaging
                      rates may apply when receiving notifications via SMS.

                      e.   Support.     Customer      support  for    some    Services    is   available   at
                      https://support.microsoft.com. Certain Services may offer separate or additional
                      customer support, subject to the terms available at www.microsoft.com/support-service-
                      agreement, unless otherwise specified. Support may not be available for preview or beta
                      versions of features or Services.

                      f. Ending your Services. If your Services are canceled (whether by you or us), first your
                      right to access the Services stops immediately and your license to the software related to
                      the Services ends. Second, we’ll delete Data or Your Content associated with your Service
                      or will otherwise disassociate it from you and your Microsoft account (unless we are
                      required by law to keep it, return it, or transfer it to you or a third party identified by
                      you). As a result you may no longer be able to access any of the Services (or Your
                      Content that you’ve stored on those Services). You should have a regular backup plan.
                      Third, you may lose access to products you’ve acquired. If you have canceled your
                      Microsoft account and have no other account able to access the Services your Services
                      may be canceled immediately.

                   Top of page




                           Using Third-Party Apps and Services

DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 86
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 87 of 145
                  5. Using Third-Party Apps and Services. The Services may allow you to access or acquire
                  products, services, websites, links, content, material, games, skills, integrations, bots or
                  applications from independent third parties (companies or people who aren’t Microsoft)
                  ("Third-Party
                   "Third-Party Apps and Services").
                                           Services" Many of our Services also help you find, make requests to,
                  or interact with Third-Party Apps and Services or allow you to share Your Content or Data, and
                  you understand that you are directing our Services to provide Third-Party Apps and Services
                  to you. The Third-Party Apps and Services may allow you to store Your Content or Data with
                  the publisher, provider or operator of the Third-Party Apps and Services. The Third-Party Apps
                  and Services may present you with a privacy policy or require you to accept additional terms
                  before you can install or use the Third-Party App or Service. See section 14(b) for additional
                  terms for applications acquired through the Office Store, the Xbox Store or the Windows
                  Store. You should review any additional terms and privacy policies before acquiring, using,
                  requesting, or linking your Microsoft Account to any Third-Party Apps and Services. Any
                  additional terms do not modify any of these Terms. You are responsible for your dealings with
                  third parties. Microsoft does not license any intellectual property to you as part of any Third-
                  Party Apps and Services and is not responsible or liable to you or others for information or
                  services provided by any Third-Party Apps and Services.

                   Top of page




                             Service Availability
                  6. Service Availability.
                       a. The Services, Third-Party Apps and Services, or material or products offered through
                       the Services may be unavailable from time to time, may be offered for a limited time, or
                       may vary depending on your region or device. If you change the location associated with
                       your Microsoft account, you may need to re-acquire the material or applications that
                       were available to you and paid for in your previous region.

                       b. We strive to keep the Services up and running; however, all online services suffer
                       occasional disruptions and outages, and Microsoft is not liable for any disruption or loss
                       you may suffer as a result. In the event of an outage, you may not be able to retrieve
                       Your Content or Data that you’ve stored. We recommend that you regularly backup Your
                       Content and Data that you store on the Services or store using Third-Party Apps and
                       Services.

                   Top of page




                             Updates to the Services or Software, and
                             Changes to These Terms
                  7. Updates to the Services or Software, and Changes to These Terms.
                       a. We may change these Terms at any time, and we’ll tell you when we do. Using the
                       Services after the changes become effective means you agree to the new terms. If you
                       don’t agree to the new terms, you must stop using the Services, close your Microsoft
                       account and, if you are a parent or guardian, help your minor child close his or her
                       Microsoft account.

                       b. Sometimes you’ll need software updates to keep using the Services. We may
                       automatically check your version of the software and download software updates or
                       configuration changes. You may also be required to update the software to continue
                       using the Services. Such updates are subject to these Terms unless other terms
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 87
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 88 of 145
                      accompany the updates, in which case, those other terms apply. Microsoft isn’t obligated
                      to make any updates available and we don’t guarantee that we will support the version
                      of the system or device for which you purchased or licensed the software, apps, content
                      or other products.

                      c. Additionally, there may be times when we need to remove or change features or
                      functionality of the Service or stop providing a Service or access to Third-Party Apps and
                      Services altogether. Except to the extent required by applicable law, we have no
                      obligation to provide a re-download or replacement of any material, Digital Goods
                      (defined in section 14(k)), or applications previously purchased. We may release the
                      Services or their features in a preview or beta version, which may not work correctly or in
                      the same way the final version may work.

                      d. So that you can use material protected with digital rights management (DRM), like
                      some music, games, movies, books and more, DRM software may automatically contact
                      an online rights server and download and install DRM updates.

                   Top of page




                            Software License
                  8. Software License. Unless accompanied by a separate Microsoft license agreement (for
                  example, if you are using a Microsoft application that is included with and a part of Windows,
                  then the Microsoft Software License Terms for the Windows Operating System govern such
                  software), any software provided by us to you as part of the Services is subject to these Terms.
                  Applications acquired through Office Store, Windows Store and Xbox Store are subject to
                  section 14(b)(i) below.
                      a. If you comply with these Terms, we grant you the right to install and use one copy of
                      the software per device on a worldwide basis for use by only one person at a time as part
                      of your use of the Services. For certain devices, such software may be pre-installed for
                      your personal, non-commercial use of the Services. The software or website that is part
                      of the Services may include third-party code. Any third-party scripts or code, linked to or
                      referenced from the software or website, are licensed to you by the third parties that own
                      such code, not by Microsoft. Notices, if any, for the third-party code are included for your
                      information only.

                      b. The software is licensed, not sold, and Microsoft reserves all rights to the software not
                      expressly granted by Microsoft, whether by implication, estoppel, or otherwise. This
                      license does not give you any right to, and you may not:

                           i. circumvent or bypass any technological protection measures in or relating to the
                           software or Services;
                           ii. disassemble, decompile, decrypt, hack, emulate, exploit, or reverse engineer any
                           software or other aspect of the Services that is included in or accessible through the
                           Services, except and only to the extent that the applicable copyright law expressly
                           permits doing so;
                           iii. separate components of the software or Services for use on different devices;
                           iv. publish, copy, rent, lease, sell, export, import, distribute, or lend the software or
                           the Services, unless Microsoft expressly authorizes you to do so;
                           v. transfer the software, any software licenses, or any rights to access or use the
                           Services;
                           vi. use the Services in any unauthorized way that could interfere with anyone else’s
                           use of them or gain access to any service, data, account, or network;
                           vii. enable access to the Services or modify any Microsoft-authorized device (e.g.,
                           Xbox One, Xbox 360, Microsoft Surface, etc.) by unauthorized third-party
                           applications.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 88
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 89 of 145
                   Top of page




                           Payment Terms
                  9. Payment Terms. If you purchase a Service, then these payment terms apply to your
                  purchase and you agree to them.
                      a. Charges. If there is a charge associated with a portion of the Services, you agree to pay
                      that charge. The price stated for the Services excludes all applicable taxes and currency
                      exchange settlements, unless stated otherwise. The price for Skype paid products
                      includes a charge for the product and a charge for taxes. You are solely responsible for
                      paying such taxes or other charges. Taxes are calculated based on your location at the
                      time your Microsoft account was registered. We may suspend or cancel the Services if we
                      do not receive an on time, full payment from you. Suspension or cancellation of the
                      Services for non-payment could result in a loss of access to and use of your account and
                      its content. Connecting to the Internet via a corporate or other private network that
                      masks your location may cause charges to be different from those displayed for your
                      actual location.

                      b. Your Billing Account. To pay the charges for a Service, you will be asked to provide a
                      payment method at the time you sign up for that Service. You can access and change
                      your billing information and payment method on the Microsoft account management
                      website      and   for    Skype   by    signing    into    your     account   portal   at
                      https://skype.com/go/myaccount. Additionally, you agree to permit Microsoft to use any
                      updated account information regarding your selected payment method provided by your
                      issuing bank or the applicable payment network. You agree to promptly update your
                      account and other information, including your email address and payment method
                      details, so we can complete your transactions and contact you as needed in connection
                      with your transactions. Changes made to your billing account will not affect charges we
                      submit to your billing account before we could reasonably act on your changes to your
                      billing account.

                      c. Billing. By providing Microsoft with a payment method, you (i) represent that you are
                      authorized to use the payment method you provided and that any payment information
                      you provide is true and accurate; (ii) authorize Microsoft to charge you for the Services or
                      available content using your payment method; and (iii) authorize Microsoft to charge you
                      for any paid feature of the Services you choose to sign up for or use while these Terms
                      are in force. We may bill you (a) in advance; (b) at the time of purchase; (c) shortly after
                      purchase; or (d) on a recurring basis for subscription Services. Also, we may charge you
                      up to the amount you have approved, and we will notify you in advance of any change in
                      the amount to be charged for recurring subscription Services. We may bill you at the
                      same time for more than one of your prior billing periods for amounts that haven't
                      previously been processed.

                      d. Recurring Payments. When you purchase the Services on a subscription basis (e.g.,
                      monthly, every 3 months or annually), you agree that you are authorizing recurring
                      payments, and payments will be made to Microsoft by the method and at the recurring
                      intervals you have agreed to, until the subscription for that Service is terminated by you
                      or by Microsoft. By authorizing recurring payments, you are authorizing Microsoft to
                      store your payment instrument and process such payments as either electronic debits or
                      fund transfers, or as electronic drafts from your designated account (for Automated
                      Clearing House or similar payments), or as charges to your designated account (for credit
                      card or similar payments) (collectively, "Electronic Payments"
                                                                             Payments"). Subscription fees are
                      generally charged in advance of the applicable subscription period. If any payment is
                      returned unpaid or if any credit card or similar transaction is rejected or denied,
                      Microsoft or its service providers reserve the right to collect any applicable return item,
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 89
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 90 of 145
                      rejection or insufficient funds fee and process any such payment as an Electronic
                      Payment.

                      e. Automatic Renewal. If automatic renewals are allowed in your state, you may choose
                      for Services to automatically renew at the end of a fixed service period. We will remind
                      you by email, or other reasonable manner, before any Services renew for a new term, and
                      notify you of any price changes in accordance with section 9(k). Once we have reminded
                      you that you elected to automatically renew the Services, we may automatically renew
                      your Services at the end of the current service period and charge you the then current
                      price for the renewal term, unless you have chosen to cancel the Services as described
                      below. We will also remind you that we will bill your chosen payment method for the
                      Services renewal, whether it was on file on the renewal date or provided later. We will
                      also provide you with instructions on how you may cancel the Services. You must cancel
                      the Services before the renewal date to avoid being billed for the renewal.

                      f. Online Statement and Errors. Microsoft will provide you with an online billing statement
                      on the Microsoft account management website, where you can view and print your
                      statement. For Skype, you can access your online statement by signing into your account
                      at www.skype.com. This is the only billing statement that we provide. If we make an error
                      on your bill, you must tell us within 90 days after the error first appears on your bill. We
                      will then promptly investigate the charge. If you do not tell us within that time, you
                      release us from all liability and claims of loss resulting from the error and we won't be
                      required to correct the error or provide a refund. If Microsoft has identified a billing error,
                      we will correct that error within 90 days.

                      g. Refund Policy. Unless otherwise provided by law or by a particular Service offer, all
                      purchases are final and non-refundable. If you believe that Microsoft has charged you in
                      error, you must contact us within 90 days of such charge. No refunds will be given for
                      any charges more than 90 days old. We reserve the right to issue refunds or credits at
                      our sole discretion. If we issue a refund or credit, we are under no obligation to issue the
                      same or similar refund in the future. This refund policy does not affect any statutory
                      rights that may apply. For more refund information, please visit our help topic.

                      h. Canceling the Services. You may cancel a Service at any time, with or without cause. To
                      cancel a Service and request a refund, if you are entitled to one, visit the Microsoft
                      account management website. You can request a refund from Skype using the
                      Cancellation and Refund form. You should refer back to the offer describing the Services
                      as (i) you may not receive a refund at the time of cancellation; (ii) you may be obligated
                      to pay cancellation charges; (iii) you may be obligated to pay all charges made to your
                      billing account for the Services before the date of cancellation; and (iv) you may lose
                      access to and use of your account when you cancel the Services. We will process your
                      Data as described above in section 4. If you cancel, your access to the Services ends at
                      the end of your current Service period or, if we bill your account on a periodic basis, at
                      the end of the period in which you canceled.

                      i. Trial-Period Offers. If you are taking part in any trial-period offer, you must cancel the
                      trial Service(s) by the end of the trial period to avoid incurring new charges, unless we
                      notify you otherwise. If you do not cancel the trial Service(s) by the end of the trial
                      period, we may charge you for the Service(s).

                      j. Promotional Offers. From time to time, Microsoft may offer Services for a trial period
                      during which Microsoft will not charge you for the Services. Microsoft reserves the right
                      to charge you for such Services (at the normal rate) if Microsoft determines (in its
                      reasonable discretion) that you are breaching the terms and conditions of the offer.

                      k. Price Changes. We may change the price of the Services at any time and if you have a
                      recurring purchase, we will notify you by email, or other reasonable manner, at least 15
                      days before the price change. If you do not agree to the price change, you must cancel
                      and stop using the Services before the price change takes effect. If there is a fixed term
                      and price for your Service offer, that price will remain in force for the fixed term.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 90
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 91 of 145
                      l. Payments to You. If we owe you a payment, then you agree to timely and accurately
                      provide us with any information we need to get that payment to you. You are responsible
                      for any taxes and charges you may incur as a result of this payment to you. You must also
                      comply with any other conditions we place on your right to any payment. If you receive a
                      payment in error, we may reverse or require return of the payment. You agree to
                      cooperate with us in our efforts to do this. We may reduce the payment to you without
                      notice to adjust for any previous overpayment.

                      m. Gift Cards. Redemption and use of gift cards (other than Skype gift cards) are
                      governed by the Microsoft Gift Card Terms and Conditions. Information on Skype gift
                      cards is available on Skype’s Help page.

                      n. Bank Account Payment Method. You may register an eligible bank account with your
                      Microsoft account to use it as a payment method. Eligible bank accounts include
                      accounts held at a financial institution capable of receiving direct debit entries (e.g., a
                      United States-based financial institution that supports automated clearing house ("ACH
                                                                                                           ACH")
                      entries, a European financial institution that supports Single Euro Payments Area ("SEPA
                                                                                                          SEPA")
                      or "iDEAL" in the Netherlands). Terms you agreed to when adding your bank account as a
                      payment method in your Microsoft account (e.g., the “mandate” in the case of SEPA) also
                      apply. You represent and warrant that your registered bank account is held in your name
                      or you are authorized to register and use this bank account as a payment method. By
                      registering or selecting your bank account as your payment method, you authorize
                      Microsoft (or its agent) to initiate one or more debits for the total amount of your
                      purchase or subscription charge (in accordance with the terms of your subscription
                      service) from your bank account (and, if necessary, initiate one or more credits to your
                      bank account to correct errors, issue a refund or similar purpose), and you authorize the
                      financial institution that holds your bank account to deduct such debits or accept such
                      credits. You understand that this authorization will remain in full force and effect until
                      you remove your bank account information from your Microsoft account. Contact
                      customer support as outlined above in section 4(e) as soon as possible if you believe you
                      have been charged in error. Laws applicable in your country may also limit your liability
                      for any fraudulent, erroneous or unauthorized transactions from your bank account. By
                      registering or selecting a bank account as your payment method, you acknowledge that
                      you have read, understand and agree to these Terms.

                   Top of page




                            Contracting Entity, Choice of Law,
                            Jurisdiction
                  10. Contracting Entity. For use of free and paid consumer Skype-branded Services, you're
                  contracting with, and all references to “Microsoft” in these Terms mean, Skype
                  Communications S.à.r.l, 23 – 29 Rives de Clausen, L-2165 Luxembourg. For all other Services,
                  you're contracting with Microsoft Corporation, One Microsoft Way, Redmond, WA 98052,
                  U.S.A.
                  11. Choice of Law and Place to Resolve Disputes. If you live in (or, if a business, your principal
                  place of business is in) the United States, the laws of the state where you live (or, if a business,
                  where your principal place of business is located) govern all claims, regardless of conflict of
                  laws principles, except that the Federal Arbitration Act governs all provisions relating to
                  arbitration. You and we irrevocably consent to the exclusive jurisdiction and venue of the
                  state or federal courts in King County, Washington, for all disputes arising out of or relating to
                  these Terms or the Services that are heard in court (excluding arbitration and small claims
                  court).

                   Top ISO
DECL. OF. A. HOLBROOK  of page
                           MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 91
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 92 of 145


                               Warranties
                     12. Warranties. MICROSOFT, AND OUR AFFILIATES, RESELLERS, DISTRIBUTORS, AND
                     VENDORS, MAKE NO WARRANTIES, EXPRESS OR IMPLIED, GUARANTEES OR CONDITIONS
                     WITH RESPECT TO YOUR USE OF THE SERVICES. YOU UNDERSTAND THAT USE OF THE
                     SERVICES IS AT YOUR OWN RISK AND THAT WE PROVIDE THE SERVICES ON AN "AS IS" BASIS
                     "WITH ALL FAULTS" AND "AS AVAILABLE." YOU BEAR THE ENTIRE RISK OF USING THE
                     SERVICES. MICROSOFT DOESN'T GUARANTEE THE ACCURACY OR TIMELINESS OF THE
                     SERVICES. TO THE EXTENT PERMITTED UNDER YOUR LOCAL LAW, WE EXCLUDE ANY IMPLIED
                     WARRANTIES, INCLUDING FOR MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS FOR A
                     PARTICULAR PURPOSE, WORKMANLIKE EFFORT, AND NON-INFRINGEMENT. YOU MAY HAVE
                     CERTAIN RIGHTS UNDER YOUR LOCAL LAW. NOTHING IN THESE TERMS IS INTENDED TO
                     AFFECT THOSE RIGHTS, IF THEY ARE APPLICABLE. YOU ACKNOWLEDGE THAT COMPUTER
                     AND TELECOMMUNICATIONS SYSTEMS ARE NOT FAULT-FREE AND OCCASIONAL PERIODS
                     OF DOWNTIME OCCUR. WE DO NOT GUARANTEE THE SERVICES WILL BE UNINTERRUPTED,
                     TIMELY, SECURE, OR ERROR-FREE OR THAT CONTENT LOSS WON'T OCCUR, NOR DO WE
                     GUARANTEE ANY CONNECTION TO OR TRANSMISSION FROM THE COMPUTER NETWORKS.

                      Top of page




                               Limitation of Liability
                     13. Limitation of Liability. If you have any basis for recovering damages (including breach of
                     these Terms), you agree that your exclusive remedy is to recover, from Microsoft or any
                     affiliates, resellers, distributors, Third-Party Apps and Services providers, and vendors, direct
                     damages up to an amount equal to your Services fee for the month during which the loss or
                     breach occurred (or up to $10.00 if the Services are free). You can't recover any other
                     damages or losses, including direct, consequential, lost profits, special, indirect, incidental, or
                     punitive. These limitations and exclusions apply even if this remedy doesn't fully compensate
                     you for any losses or fails of its essential purpose or if we knew or should have known about
                     the possibility of the damages. To the maximum extent permitted by law, these limitations
                     and exclusions apply to anything or any claims related to these Terms, the Services, or the
                     software related to the Services.

                      Top of page




                               Service-Specific Terms
                     14. Service-Specific Terms. The terms before and after section 14 apply generally to all
                     Services. This section contains service-specific terms that are in addition to the general terms.
                     These service-specific terms govern if there are any conflicts with the general terms.

                      Top of page




                               Xbox Live and Microsoft Studios Games
                               and Applications
DECL. OF. A. HOLBROOKa.ISO
                        Xbox Live TO
                           MOT.   andCOMPEL
                                      Microsoft Studios Games and Applications.
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 92
  Case 2:20-cv-00640-RSM-SKV       Document 37
                      i. Personal Noncommercial      FiledLive,
                                                Use. Xbox   11/24/20
                                                                Games forPage  93 of
                                                                          Windows Live145
                                                                                       and         Microsoft
                          Studios games, applications, services and content provided by Microsoft
                          (collectively, the "Xbox
                                              Xbox Services")
                                                   Services are only for your personal and noncommercial use.

                          ii. Xbox Services. When you sign up to Xbox Live and/or receive Xbox Services,
                          information about your game play, activities and usage of games and Xbox Services
                          will be tracked and shared with applicable third party game developers in order for
                          Microsoft and the third party game developers to operate their games and to deliver
                          the Xbox Services. If you choose to link your Microsoft Xbox Services account with
                          your account on a non-Microsoft service (for example, a non-Microsoft game
                          publisher of Third-Party Apps and Services), you agree that: (a) Microsoft may share
                          limited account information (including without limitation gamertag, gamerscore,
                          game score, game history, and friends list), with that non-Microsoft party as stated
                          in the Microsoft Privacy Statement, and (b) if allowed by your Xbox privacy settings,
                          the non-Microsoft party may also have access to Your Content from in-game
                          communications when you are signed into your account with that non-Microsoft
                          party. Also, if allowed by your Xbox privacy settings, Microsoft can publish your
                          name, gamertag, gamerpic, motto, avatar, gameclips and games that you’ve played
                          in communications to people you allow.

                          iii. Your Content. As part of building the Xbox Services community, you grant to
                          Microsoft, its affiliates and sublicensees a free and worldwide right to use, modify,
                          reproduce, distribute, broadcast, share and display Your Content or your name,
                          gamertag, motto, or avatar that you posted for any Xbox Services.

                          iv. Game Managers. Some games may use game managers and hosts. Game
                          managers and hosts are not authorized Microsoft spokespersons. Their views do not
                          necessarily reflect those of Microsoft.

                          v. Kids on Xbox. If you are a minor using Xbox Live, your parent or guardian may
                          have control over many aspects of your account and may receive reports about your
                          use of Xbox Live.

                          vi. Game Currency or Virtual Goods. The Services may include a virtual, game
                          currency (like gold, coins or points) that may be purchased from Microsoft using
                          actual monetary instruments if you have reached the age of "majority" where you
                          live. The Services may also include virtual, digital items or goods that may be
                          purchased from Microsoft using actual monetary instruments or using game
                          currency. Game currency and virtual goods may never be redeemed for actual
                          monetary instruments, goods or other items of monetary value from Microsoft or
                          any other party. Other than a limited, personal, revocable, non-transferable, non-
                          sublicensable license to use the game currency and virtual goods in the Services
                          only, you have no right or title in or to any such game currency or virtual goods
                          appearing or originating in the Services, or any other attributes associated with use
                          of the Services or stored within the Services. Microsoft may at any time regulate,
                          control, modify and/or eliminate the game currency and/or virtual goods as it sees
                          fit in its sole discretion.

                          vii. Software Updates. For any device that can connect to Xbox Services, we may
                          automatically check your version of Xbox console software or the Xbox app software
                          and download Xbox console or Xbox app software updates or configuration
                          changes, including those that prevent you from accessing the Xbox Services, using
                          unauthorized Xbox games or Xbox apps, or using unauthorized hardware peripheral
                          devices with an Xbox console.

                          viii. Gamertag Expiration. You must sign into Xbox Services at least once in a five-
                          year period, otherwise you may lose access to the gamertag associated with your
                          account and that gamertag may become available for use by others.



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 93
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 94 of 145
                         ix. Arena. Arena is an Xbox Service by which Microsoft or a third party may offer you
                         the ability to participate in or create a competitive videogame contest, sometimes
                         for a prize ("Contest
                                       Contest"). Your use of Arena is subject to these Terms, and may require
                         you to accept additional Contest terms, conditions and rules required by the Contest
                         organizer at the time of signup ("Contest
                                                               Contest Terms").
                                                                       Terms Eligibility rules may apply, and
                         may vary by jurisdiction. Contests are void where prohibited or restricted by law.
                         Violation of these Terms (including the Code of Conduct) or Contest Terms may
                         result in a penalty or disqualification from the Contest. If you create a Contest, you
                         may not require any Contest Rules that Microsoft (in its sole discretion) deems
                         inconsistent with these Terms. Microsoft reserves the right to cancel any Contest at
                         any time.

                         x. Cheating and Tampering Software. For any device that can connect to Xbox
                         Services, we may automatically check your device for unauthorized hardware or
                         software that enables cheating or tampering in violation of the Code of Conduct or
                         these Terms, and download Xbox app software updates or configuration changes,
                         including those that prevent you from accessing the Xbox Services, or from using
                         unauthorized hardware or software that enables cheating or tampering.

                         xi. Mixer.
                              1. Mixer Accounts and Microsoft Accounts. If you use the Mixer Service with a
                              Mixer account, then your use is covered by the Mixer Terms of Service available
                              at https://mixer.com/about/tos. If you use the Mixer Service with a Microsoft
                              account, then your use is also covered by these Terms. These Terms apply where
                              there is conflict.

                              2. Your Content on Mixer. "Your Content on Mixer" means all content you, or
                              someone on your behalf, creates on the Mixer Service, including but not limited
                              to live and recorded streams (and any content, like audiovisual content, they
                              contain); brand names, trademarks, service marks, trade names, logos, or indicia
                              of origin; your comments, emoticons, and activity in Mixer channels (including
                              bot-generated content); and all related metadata. Anyone, including Microsoft
                              and users, can see, use, host, reproduce, modify, distribute, publish, publicly and
                              digitally perform and display, translate, adapt, and otherwise exploit Your
                              Content on Mixer, in any form, format, media, or channels now known or later
                              developed.

                              3. Code of Conduct Applied to Mixer. Click here for more information about
                              how Microsoft’s Code of Conduct applies to Mixer.

                              4. Using the Mixer Service.
                                      a. Minimum Age. By using the Mixer Service, you represent that you are at
                                      least 13 years old and, if you are under the age of majority where you live,
                                      your use is supervised by a parent or legal guardian.

                                      b. Anonymous and Non-Anonymous Use. You can use Mixer anonymously
                                      if you only want to view content. Otherwise, you need to create an account,
                                      sign-in, and will be identified to other users by your Mixer name.

                                      c. Accounts for Non-Anonymous Use. You can create a Microsoft account
                                      and/or a Mixer account for non-anonymous uses of the Mixer Service. You
                                      can create a Mixer account by signing up online. You must use your Mixer
                                      account to keep it active. Sign into the Mixer Service at least once in a 5-
                                      year period to keep your Mixer alias associated with your Microsoft
                                      account.

                              5. Service Notifications. When there’s something we need to tell you about the
                              Mixer Service, we’ll send you Service notifications to the email associated with
                              your Mixer account and/or Microsoft account.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 94
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 95 of 145
                                 6. Support. Customer support for the Mixer Service is available at
                                 mixer.com/contact.


                   Top of page




                           Store
                      b. Store. "Store" refers to a Service that allows you to browse, download, purchase, and
                      rate and review applications (the term "application" includes games) and other digital
                      content. These Terms cover use of Office Store, Xbox Store and Windows Store. "Office
                      Store" means a Store for Office products and apps for Office, Office 365, SharePoint,
                      Exchange, Access and Project (2013 versions or later), or any other experience that is
                      branded Office Store. "Windows Store" means a Store for Windows devices such as
                      phone, PC and tablet, or any other experience that is branded Windows Store. "Xbox
                      Store" means a Store for Xbox One and Xbox 360 consoles, or any other experience that
                      is branded Xbox Store.
                          i. License Terms. We will identify the publisher of each application available in the
                          relevant Store. Unless different license terms are provided with the application, the
                          Standard Application License Terms ("SALT"
                                                                  "SALT") at the end of these Terms are an
                          agreement between you and the application publisher setting forth the license terms
                          that apply to an application you download through the Windows Store or the Xbox
                          Store. For clarity, these Terms cover the use of, and services provided by, Microsoft
                          Services. Section 5 of these Terms also applies to any Third-Party Apps and Services
                          acquired through a Store. Applications downloaded through the Office Store are not
                          governed by the SALT and have separate license terms that apply.

                          ii. Updates. Microsoft will automatically check for and download updates to your
                          applications, even if you’re not signed into the relevant Store. You can change your
                          Store or system settings if you prefer not to receive automatic updates to Store
                          applications. However, certain Office Store applications that are entirely or partly
                          hosted online may be updated at any time by the application developer and may
                          not require your permission to update.

                          iii. Ratings and Reviews. If you rate or review an application or other Digital Good in
                          the Store, you may receive email from Microsoft containing content from the
                          publisher of the application or Digital Good. Any such email comes from Microsoft;
                          we do not share your email address with publishers of applications or other Digital
                          Goods you acquire through the Store.

                          iv. Safety Warning. To avoid possible injury, discomfort or eye strain, you should take
                          periodic breaks from use of games or other applications, especially if you feel any
                          pain or fatigue resulting from usage. If you experience discomfort, take a break.
                          Discomfort might include feelings of nausea, motion sickness, dizziness,
                          disorientation, headache, fatigue, eye strain, or dry eyes. Using applications can
                          distract you and obstruct your surroundings. Avoid trip hazards, stairs, low ceilings,
                          fragile or valuable items that could be damaged. A very small percentage of people
                          may experience seizures when exposed to certain visual images like flashing lights or
                          patterns that may appear in applications. Even people with no history of seizures
                          may have an undiagnosed condition that can cause these seizures. Symptoms may
                          include lightheadedness, altered vision, twitching, jerking or shaking of limbs,
                          disorientation, confusion, loss of consciousness, or convulsions. Immediately stop
                          using and consult a doctor if you experience any of these symptoms, or consult a
                          doctor before using the applications if you’ve ever suffered symptoms linked to
                          seizures. Parents should monitor their children’s use of applications for signs of
                          symptoms.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 95
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 96 of 145

                       Top of page




                               Microsoft Family Features

                          c. Microsoft Family Features. Parents and kids can use Microsoft family features to build
                          trust based on a shared understanding of what behaviors, websites, apps, games,
                          physical locations, and spending is right in their family. Parents can create a family by
                          going to https://account.microsoft.com/family (or by following the instructions on their
                          Windows device or Xbox console) and inviting kids or other parents to join. There are
                          many features available to family members, so please carefully review the information
                          provided when you agree to create or join a family and when you purchase Digital Goods
                          for family access. By creating or joining a family, you agree to use the family in
                          accordance with its purpose and won’t use it in an unauthorized way to unlawfully gain
                          access to another person’s information.

                       Top of page




                               Group Messaging

                          d. Group Messaging. Various Microsoft services allow you to send messages to others via
                          voice or SMS ("messages"), and/or allow Microsoft and Microsoft-controlled affiliates to
                          send such messages to you and one or more other users on your behalf. WHEN YOU
                          INSTRUCT MICROSOFT AND MICROSOFT-CONTROLLED AFFILIATES TO SEND SUCH
                          MESSAGES TO YOU OR TO OTHERS, YOU REPRESENT AND WARRANT TO US THAT YOU
                          AND EACH PERSON YOU HAVE INSTRUCTED US TO MESSAGE CONSENT TO RECEIVE
                          SUCH MESSAGES AND ANY OTHER RELATED ADMINISTRATIVE TEXT MESSAGES FROM
                          MICROSOFT AND MICROSOFT-CONTROLLED AFFILIATES. "Administrative text messages"
                          are periodic transactional messages from a particular Microsoft service, including but not
                          limited to a "welcome message" or instructions on how to stop receiving messages. You
                          or group members no longer wishing to receive such messages can opt-out of receiving
                          further messages from Microsoft or Microsoft-controlled affiliates at any time by
                          following the instructions provided. If you no longer wish to receive such messages or
                          participate in the group, you agree that you will opt out through the instructions
                          provided by the applicable program or service. If you have reason to believe that a group
                          member no longer wishes to receive such messages or participate in the group, you
                          agree to remove them from the group. You also represent and warrant to us that you and
                          each person you have instructed us to message understands that each group member is
                          responsible for the costs of any message charges assessed by his or her mobile carrier,
                          including any international message charges that may apply when messages are
                          transmitted from US-based numbers.

                       Top of page




                               Skype and GroupMe
                          e. Skype and GroupMe.
                         i. No Access to Emergency Services. There are important differences between
                         traditional telephone services and Skype. Skype is not required to offer access to
                         Emergency Services under any applicable local or national rules, regulations, or law.
DECL. OF. A. HOLBROOK ISOSkype’s
                           MOT. TOsoftware
                                     COMPELand products are not intended to support or carry emergency calls
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 96
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 97 of 145
                         to any type of hospitals, law enforcement agencies, medical care units or any other
                         kind of services that connect a user to emergency services personnel or public safety
                         answering points ("Emergency
                                             "Emergency Services"
                                                         Services"). You acknowledge and agree that: (i) it is
                         your responsibility to purchase traditional wireless (mobile) or fixed-line telephone
                         services that offer access to Emergency Services, and (ii) Skype is not a replacement
                         for your primary telephone service.

                         ii. APIs or Broadcasting. If you want to use Skype in connection with any broadcast,
                         you         must       comply       with      the      "Broadcast      TOS"      at
                         https://www.skype.com/legal/broadcast. If you want to use any application program
                         interface ("API"
                                     "API") exposed or made available by Skype you must comply with the
                         applicable licensing terms, which are available at www.skype.com/go/legal.

                         iii. Fair Use Policies. Fair usage policies may apply to your use of Skype. Please review
                         these policies which are designed to protect against fraud and abuse and may place
                         limits on the type, duration or volume of calls or messages that you are able to
                         make. These policies are incorporated in these Terms by reference. You can find
                         these policies at: https://www.skype.com/en/legal/fair-usage/

                         iv. Mapping. Skype contains features that allow you to submit information to, or plot
                         yourself on a map using, a mapping service. By using those features, you agree to
                         these     Terms     and      the     Google      Maps     terms     available      at
                         https://www.google.com/intl/en_ALL/help/terms_maps.html.

                         v. Government Users. If you wish to use a business account or Skype Manager on
                         behalf of the U.S. Government or an agency of the U.S. Government, these Terms do
                         not apply to that use. For applicable terms or further information, please contact
                         usgovusers@skype.net.

                         vi. Personal/Noncommercial Use. The use of Skype is for your personal and
                         noncommercial use. You are permitted to use Skype at work for your own business
                         communications.

                         vii. Skype Number/Skype To Go. If Skype provides you with a Skype Number or
                         Skype To Go number, you agree that you do not own the number or have a right to
                         retain that number forever.

                         viii. Skype Manager. A "Skype Manager Admin Account" is created and managed by
                         you, acting as an individual administrator of a Skype Manager group and not as a
                         business entity. You may link your individual Microsoft account to a Skype Manager
                         group ("Linked
                                  "Linked Account"
                                          Account"). You may appoint additional administrators to your Skype
                         Manager group subject to their acceptance of these Terms. If you allocate Skype
                         Numbers to a Linked Account, you are responsible for compliance with any
                         requirements related to the residency or location of your Linked Account users. If
                         you choose to unlink a Linked Account from a Skype Manager group, any allocated
                         subscriptions, Skype Credit or Skype Numbers will not be retrievable and Your
                         Content or material associated with the unlinked account will no longer be
                         accessible by you. You agree to process any personal information of your Linked
                         Account users in accordance with all applicable data protection laws.

                         ix. Skype Charges. Skype paid products are sold to you by Skype Communications
                         S.à.r.l, however the seller-of-record accountable for taxes is Skype Communications
                         US Corporation. Taxes means the amount of taxes, regulatory fees, surcharges or
                         other fees that we are required to collect from you and must pay to any United
                         States (federal, state or local) or foreign government, agency, commission or quasi-
                         governmental body as a result of our provision of Skype paid products to you. These
                         taxes are listed at www.skype.com/go/ustax. All prices for Skype paid products are
                         inclusive of a charge for your product and a charge for taxes, unless otherwise
                         stated. The charges payable for calling phones outside of a subscription consist of a
                         connection fee (charged once per call) and a per-minute rate as set out at
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 97
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 98 of 145
                          www.skype.com/go/allrates. Call charges will be deducted from your Skype Credit
                          balance. Skype may change its calling rates at any time by posting such change at
                          www.skype.com/go/allrates. The new rate will apply to your next call after
                          publication of the new rates. Please check the latest rates before you make your call.
                          Fractional call minutes and fractional cent charges will be rounded up to the next
                          whole unit.

                          x. Skype Credit. Skype does not guarantee that you will be able to use your Skype
                          Credit balance to purchase all Skype paid products. If you do not use your Skype
                          Credit for a period of 180 days, Skype will place your Skype Credit on inactive status.
                          You can reactivate the Skype Credit by following the reactivation link at
                          https://www.skype.com/go/store.reactivate.credit. You can enable the Auto Recharge
                          feature when you buy Skype Credit by ticking the appropriate box. If enabled, your
                          Skype Credit balance will be recharged with the same amount and by your chosen
                          payment method every time your Skype balance goes below the threshold set by
                          Skype from time to time. If you purchased a subscription with a payment method
                          other than credit card, PayPal or Moneybookers (Skrill), and you have enabled Auto-
                          Recharge, your Skype Credit balance will be recharged with the amount necessary to
                          purchase your next recurring subscription. You can disable Auto-Recharge at any
                          time by accessing and changing your settings in your account portal in Skype. If your
                          Microsoft Account is closed, for any reason, any unused Skype credit associated with
                          your Microsoft account will be lost and cannot be retrieved.

                          xi. International Message Fees. GroupMe currently uses US-based numbers for each
                          group created. Every text message sent to or received from a GroupMe number will
                          count as an international text message sent to or received from the United States.
                          Please check with your provider for the associated international rates.

                          xii. Send and receive money. By using the send and receive money feature (if
                          available), you acknowledge that Skype uses third parties to provide payment
                          services and effect transfers. Skype does not provide payment services or effect
                          transfers and is not a money services business. Sending and receiving money on
                          Skype may only be available to users who are 18 years old and over (or otherwise in
                          accordance with the third parties’ terms) and who register and are approved for an
                          account with the third party provider. To use the send money feature, you may be
                          required to sign up to the third parties’ terms and conditions and to provide
                          permissions to share data with these third parties for the purposes of providing the
                          service. If Skype receives notice that your use of the send money feature violates a
                          third party’s terms and conditions, Skype may have to take action against your
                          account, such as cancelling or suspending your account. Skype, or Microsoft, will not
                          be liable for payment services provided by third parties or any actions taken under
                          third parties’ terms and conditions. Skype makes no guarantees, representations or
                          warranties that the send and receive money feature will be available or continue to
                          be available.

                   Top of page




                           Bing and MSN
                      f. Bing and MSN.
                          i. Bing and MSN Materials. The articles, text, photos, maps, videos, video players, and
                          third-party material available on Bing and MSN, including through Microsoft bots,
                          applications and programs, are for your noncommercial, personal use only. Other
                          uses, including downloading, copying, or redistributing these materials, or using
                          these materials or products to build your own products, are permitted only to the
                          extent specifically authorized by Microsoft or rights holders, or allowed by applicable
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 98
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 99 of 145
                          copyright law. Microsoft or other rights holders reserve all rights to the material not
                          expressly granted by Microsoft under the license terms, whether by implication,
                          estoppel, or otherwise.

                          ii. Bing Maps. You may not use Bird’s eye imagery of the United States, Canada,
                          Mexico, New Zealand, Australia or Japan for governmental use without our separate
                          written approval.

                          iii. Bing Places and Bing Manufacturer Center. When you provide your Data or Your
                          Content to Bing Places or Bing Manufacturer Center, you grant Microsoft a
                          worldwide, royalty-free intellectual property license to use, reproduce, save, modify,
                          aggregate, promote, transmit, display or distribute as part of a service, and sub-
                          license those rights to third parties.

                   Top of page




                           Cortana
                      g. Cortana.
                          i. Personal Noncommercial Use. Cortana is Microsoft’s personal assistant Service. The
                          features, services, content and Third-Party Apps and Services provided by Cortana
                          (collectively "Cortana Services"
                                                 Services") are only for your personal and noncommercial use.

                          ii. Functionality and Content. Cortana provides a range of features, some of which
                          are personalized. Cortana Services may allow you to access services, information or
                          functionality provided by other Microsoft Services or Third Party Apps and Services.
                          The service-specific Terms of section 14 also apply to your use of applicable
                          Microsoft Services accessed through Cortana Services. Cortana provides information
                          for your planning purposes only and you should exercise your own independent
                          judgment when reviewing and relying on this information. Microsoft does not
                          guarantee the reliability, availability or timeliness of personalized experiences
                          provided by Cortana. Microsoft is not responsible if a Cortana communication
                          management feature delays or prevents you from receiving, reviewing or sending a
                          communication or notification.

                          iii. Third-Party Apps and Services. As part of delivering the Cortana Services, Cortana
                          may exchange information with Third-Party Apps and Services, such as your zip code
                          and queries and responses returned by the Third-Party App and Services, to fulfill
                          your request. Through account linking, Cortana may enable users to make purchases
                          through Third-Party Apps and Services using the account preferences and settings
                          the user has established directly with those Third-Party Apps and Services. Users can
                          disconnect account linking at any time. Your use of the Third-Party Apps and
                          Services is covered under section 5 of these Terms. Publishers of Third-Party Apps
                          and Services may change or discontinue the functionality or features of their Third-
                          Party Apps and Services or integration with Cortana Services. Microsoft is not
                          responsible or liable for manufacturer provided software or firmware.

                          iv. Cortana-Enabled Devices. Cortana-enabled devices are products or devices that
                          are enabled to access Cortana Services, or products or devices that are compatible
                          with Cortana Services. Cortana-enabled devices include third-party devices or
                          products that Microsoft does not own, manufacture, or develop. Microsoft is not
                          responsible or liable for these third-party devices or products.

                          v. Software Updates. For any device that can connect to Cortana Services, we may
                          automatically check your version of Cortana Services software and download
                          software updates or configuration change or require any manufacturers of Cortana
                          enabled devices to keep the Cortana services software up to date.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 99
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 100 of 145
                   Top of page




                            Outlook.com

                      h. Outlook.com. The Outlook.com (or @msn, @hotmail, or @live) email address that you
                      use to create your Microsoft account will be unique to you for as long as your
                      Outlook.com inbox or Microsoft account is still active. In the event your Outlook.com
                      inbox or Microsoft account is closed either by you or by Microsoft pursuant to these
                      Terms, the email address or username may be recycled into our system and assigned to
                      another user.

                   Top of page




                            Office Services

                      i. Office Services. Office 365 Home, Office 365 Personal, Office 365 University, Office
                      Online, Sway, OneNote.com and any other Office 365 subscription or Office-branded
                      Services are for your personal, noncommercial use, unless you have commercial use
                      rights under a separate agreement with Microsoft.

                   Top of page




                            Microsoft Health Services
                      j. Microsoft Health Services.
                          i. HealthVault. HealthVault is intended for you to store your personal health-related
                          information and information about other people (such as your family) with their
                          consent. HealthVault accounts are not for use by healthcare providers or for any
                          other commercial or non-personal purpose. The information in your account may
                          not always be accurate or up-to-date and should be viewed by any health care
                          provider as informational only. The HealthVault Service does not hold records for
                          healthcare providers or other medical or case management purposes. For example,
                          HealthVault records are not designated record sets as defined under U.S.
                          regulations. If a healthcare provider decides to include any data made available from
                          HealthVault in its records, it should store a copy in its own system. If there is a co-
                          custodian of a record in your account (because one of you invited the other), you
                          acknowledge that the co-custodian has full control over that record and may cancel
                          your access to the record, manage other peoples' access to the record, and view the
                          record's data including how and when the record is used. Microsoft does not
                          support non-Microsoft credentials (such as Facebook and OpenID), so HealthVault
                          customer support will not be able to help with sign-in issues for those. If you lose
                          your sign-in credentials, or if the account where you got your credentials closes, you
                          will not be able to recover your stored data. To help maintain continued access, we
                          suggest you use more than one sign-in credential with your HealthVault account.
                          Microsoft does not endorse or control, and is not responsible for, the operation,
                          support, or security of non-Microsoft credentials you may use.

                          ii. Microsoft Band. Microsoft Band device and application are not medical devices
                          and are intended for fitness and wellness purposes only. They are not designed or
                          intended for use in the diagnosis of disease or other conditions, or in the cure,
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 100
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 101 of 145
                          mitigation, treatment, or prevention of disease or other conditions. Microsoft is not
                          responsible for any decision you make based on information you receive from
                          Microsoft Band.

                          iii. Health Bots and HealthVault Insights. Health bots and the HealthVault Insights
                          application, including action plans, insights, reminders and other features, are not
                          medical devices and are only intended for fitness and wellness purposes with a
                          program issued by a care provider. They are not designed or intended as substitutes
                          for professional medical advice or for use in the diagnosis, cure, mitigation,
                          prevention, or treatment of disease or other conditions. You assume full
                          responsibility for your use of health bots and HealthVault Insights, and you
                          acknowledge HealthVault Insights Reminders are intended only as a helpful backup
                          system for medications and task reminders. Microsoft is not responsible for any
                          decision you make based on information you receive from health bots or
                          HealthVault Insights. You should always consult with a doctor before using
                          HealthVault Insights and with any questions you may have regarding a medical
                          condition, diet, fitness, or wellness program. Never disregard professional medical
                          advice or delay in seeking it because of information you accessed on or through the
                          Services. As with any technology, health bots and HealthVault Insights may not work
                          as intended for a variety of reasons including loss of power connectivity.

                   Top of page




                           Digital Goods

                      k. Digital Goods. Through Microsoft Groove, Microsoft Movies & TV, Store and any other
                      related and future services, Microsoft may enable you to obtain, listen to, view, play or
                      read (as the case may be) music, images, video, text, books, games or other material
                      ("Digital
                       "Digital Goods")
                                Goods" that you may get in digital form. The Digital Goods are only for your
                      personal, noncommercial entertainment use. You agree not to redistribute, broadcast,
                      publicly perform or publicly display or transfer any copies of the Digital Goods. Digital
                      Goods may be owned by Microsoft or by third parties. In all circumstances, you
                      understand and acknowledge that your rights with respect to Digital Goods are limited
                      by these Terms, copyright law, and the Usage Rules                          located at
                      https://go.microsoft.com/fwlink/p/?LinkId=723143. You agree that you will not attempt
                      to modify any Digital Goods obtained through any of the Services for any reason
                      whatsoever, including for the purpose of disguising or changing ownership or source of
                      the Digital Goods. Microsoft or the owners of the Digital Goods may, from time to time,
                      remove Digital Goods from the Services without notice.

                   Top of page




                           OneDrive
                      l. OneDrive.
                          i. Storage Allocation. If you have more content stored in your OneDrive account than
                          is provided to you under the terms of your free or paid subscription service for
                          OneDrive and you do not respond to notice from Microsoft to fix your account by
                          removing excess content or moving to a new subscription plan with more storage,
                          we reserve the right to close your account and delete or disable access to Your
                          Content on OneDrive.


DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 101
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 102 of 145
                          ii. Service Performance. Depending on factors such as your equipment, internet
                          connection and Microsoft’s efforts to maintain the performance and integrity of its
                          service, you may occasionally experience delays in uploading or syncing content on
                          OneDrive.

                   Top of page




                           Microsoft Rewards
                      m. Microsoft Rewards.
                          i. Program. Microsoft Rewards (the "Program
                                                                  Program") enables you to earn redeemable
                          points for activities, such as qualified searches, acquisitions, time spent actively
                          browsing with Microsoft Edge, and other offers from Microsoft. Offers may vary by
                          market. A search is the act of an individual user manually entering text for the good
                          faith purpose of obtaining Bing search results for such user’s own research purposes
                          and does not include any query entered by a bot, macro, or other automated or
                          fraudulent means of any kind ("Search
                                                           Search"). An acquisition is the process of purchasing
                          goods or downloading and acquiring a license for digital content from Microsoft,
                          whether free or paid ("Acquisition
                                                    Acquisition"). Rewards points are not offered for every
                          purchase from Microsoft. Actively browsing with Microsoft Edge means having the
                          browser in view on your device’s screen (e.g., open and being used such that the
                          Microsoft Edge icon is highlighted in the task bar, indicating that it is the app
                          currently in use), and engaging with the browser to view websites, watch videos in
                          the browser, check email, or other uses for which browsers are used. To earn points
                          for using Microsoft Edge, Bing must be set as the browser’s default search engine
                          and telemetry must be enabled in your Windows settings. Microsoft may offer
                          additional opportunities to earn points from time to time, and each points-earning
                          offer will not be available in perpetuity. Your earned points can be redeemed for
                          items ("Rewards
                                   Rewards") in the redeem page. For more information see the Rewards
                          section at support.microsoft.com ("FAQ
                                                              FAQ").
                                 1. Program Requirements. You need a valid Microsoft account and your devices
                                 must meet the minimum system requirements. The Program is open to users
                                 who reside in the markets listed in the FAQ. Individuals can have no more than
                                 one Program account, even if an individual has multiple email addresses, and
                                 households are limited to six accounts. The Program is solely for your personal
                                 and noncommercial use.

                                 2. Points. Except for donating your points to a nonprofit organization listed in
                                 the redemption center, you cannot transfer points. Points are not your personal
                                 property, and you may not obtain any cash or money in exchange for them.
                                 Points are awarded to you on a promotional basis. You cannot purchase points.
                                 Microsoft may limit the quantity of points or Rewards per person, per
                                 household, or over a set period (e.g., a day). You may redeem no more than
                                 550,000 points per calendar year in the Program. Points earned in the Program
                                 are not valid in, and may not be used in combination with, any other program
                                 offered by Microsoft or third parties. Unredeemed points expire if you do not
                                 earn or redeem any points for 18 months.

                                 3. Rewards. You may redeem your points by visiting the redemption center or
                                 you may contribute points to a listed nonprofit organization. There may be a
                                 limited number of a particular Reward available, and those Rewards will be
                                 delivered on a first-come, first-served basis. You may be required to provide
                                 additional information, like your mailing address and a telephone number
                                 (other than a VOIP or toll-free number), and you may also be asked to enter a
                                 fraud-prevention code or sign additional legal documents to redeem points for
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 102
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 103 of 145
                                 Rewards. Once you order a Reward, you cannot cancel it or return it for a refund
                                 of points except in the case of defective products or as required by applicable
                                 law. If you order a Reward that is out of stock or unavailable for other reasons
                                 Microsoft determines in its sole discretion, we may substitute a Reward of
                                 comparable value or refund your points. Microsoft may update the Rewards
                                 offered in the redemption center or discontinue to offer specific Rewards. Some
                                 Rewards may have age eligibility requirements. Any such requirements will be
                                 included in the relevant offer. You are responsible for all federal, state, and local
                                 taxes and any other costs of accepting and using the Reward. Rewards will be
                                 emailed to the email address you provide when ordering your Reward, so keep
                                 your email address up to date. Rewards that are undeliverable will not be
                                 reissued and are therefore forfeited. Rewards are not for resale.

                                 4. Cancelling Your Participation in the Program. Your Program account will be
                                 cancelled if you do not log in at least once in an 18-month period. Additionally,
                                 Microsoft reserves the right to cancel the Program account of a specific user for
                                 tampering with, abusing or defrauding the Program, or for breaching these
                                 Terms. Upon Program cancellation (by you or us) or if the Program is
                                 suspended, you will have 90 days to redeem your points; otherwise, those
                                 points will be forfeited. At the point of cancellation, your right to use the
                                 Program and accrue future points ends.

                                 5. Other Conditions. Microsoft reserves the right to disqualify you; disable your
                                 access to the Program or your Rewards account; and/or withhold points,
                                 Rewards and charitable contributions, if Microsoft believes you are tampering
                                 with or abusing any aspect of the Program or may be engaging in activities that
                                 violate these Terms.

                   Top of page




                            Binding Arbitration and Class Action
                            Waiver
                  15. Binding Arbitration and Class Action Waiver If You Live In (or, If a Business, Your Principal
                  Place of Business Is In) the United States. We hope we never have a dispute, but if we do, you
                  and we agree to try for 60 days to resolve it informally. If we can’t, you and we agree to
                  binding individual arbitration before the American Arbitration Association ("AAA") under the
                  Federal Arbitration Act ("FAA"), and not to sue in court in front of a judge or jury
                                                                                                   jury. Instead, a
                  neutral arbitrator will decide and the arbitrator’s decision will be final except for a limited
                  right of review under the FAA. Class action lawsuits, class-wide arbitrations, private attorney-
                  general actions, and any other proceeding where someone acts in a representative capacity
                  aren’t allowed. Nor is combining individual proceedings without the consent of all parties.
                  "We," "our," and "us" includes Microsoft, Skype (see section 10) and Microsoft’s affiliates and,
                  if you use Skype Pay by Mobile, your mobile phone carrier.
                      a. Disputes Covered—Everything Except IP. The term "dispute" is as broad as it can be. It
                      includes any claim or controversy between you and us concerning the Services, the
                      software related to the Services, the Services’ or software’s price, your Microsoft account,
                      advertising, marketing, communications, your purchase transaction, billing, or these
                      Terms, under any legal theory including contract, warranty, tort, statute, or regulation,
                      except disputes relating to the enforcement or validity of your, your licensors’, our, or our
                      licensors’ intellectual property rights
                                                       rights.

                      b. Mail a Notice of Dispute First. If you have a dispute and our customer service
                      representatives can’t resolve it, send a Notice of Dispute by U.S. Mail to Microsoft
                      Corporation, ATTN: CELA Arbitration, One Microsoft Way, Redmond, WA 98052-6399,
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 103
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 104 of 145
                      U.S.A. (or to your mobile phone carrier at its principal place of business in the United
                      States marked ATTN: Legal Department). Tell us your name, address, how to contact you,
                      what the problem is, and what you want. A form is available at
                      https://go.microsoft.com/fwlink/?LinkId=245499. We’ll do the same if we have a dispute
                      with you. After 60 days, you or we may start an arbitration if the dispute is unresolved.

                      c. Small Claims Court Option. Instead of mailing a Notice of Dispute, you may sue us in
                      small claims court in your county of residence (or, if a business, your principal place of
                      business) or King County, Washington, U.S.A. if you meet the court’s requirements.

                      d. Arbitration Procedure. The AAA will conduct any arbitration under its Commercial
                      Arbitration Rules (or if you are an individual and use the Services for personal or
                      household use, or if the value of the dispute is $75,000 or less whether or not you are an
                      individual or how you use the Services, its Consumer Arbitration Rules). For more
                      information, see www.adr.org or call 1-800-778-7879. To start an arbitration, submit the
                      form available at https://go.microsoft.com/fwlink/?LinkId=245497 to the AAA and mail a
                      copy to us. In a dispute involving $25,000 or less, any hearing will be telephonic unless
                      the arbitrator finds good cause to hold an in-person hearing instead. Any in-person
                      hearing will take place in your county of residence (or, if a business, your principal place
                      of business) or our principal place of business—King County, Washington if your dispute
                      is with Microsoft. You choose. The arbitrator may award the same damages to you
                      individually as a court could. The arbitrator may award declaratory or injunctive relief
                      only to you individually to satisfy your individual claim. Under AAA Rules, the arbitrator
                      rules on his or her own jurisdiction, including the arbitrability of any claim. But a court
                      has exclusive authority to enforce the prohibition on arbitration on a class-wide basis or
                      in a representative capacity.

                      e. Arbitration Fees and Payments.

                          i. Disputes Involving $75,000 or Less. We will promptly reimburse your filing fees and
                          pay the AAA’s and arbitrator’s fees and expenses. If you reject our last written
                          settlement offer made before the arbitrator was appointed, your dispute goes all the
                          way to an arbitrator’s decision (called an “award”), and the arbitrator awards you
                          more than this last written offer, we will: (i) pay the greater of the award or $1,000;
                          (ii) pay your reasonable attorney’s fees, if any; and (iii) reimburse any expenses
                          (including expert witness fees and costs) that your attorney reasonably accrues for
                          investigating, preparing, and pursuing your claim in arbitration.

                          ii. Disputes Involving More than $75,000. The AAA rules will govern payment of filing
                          fees and the AAA’s and arbitrator’s fees and expenses.

                      f. Conflict with AAA Rules. These Terms govern to the extent they conflict with the AAA’s
                      Commercial Arbitration Rules or Consumer Arbitration Rules.

                      g. Must File Within One Year. You and we must file in small claims court or arbitration any
                      claim or dispute (except intellectual property disputes—see section 15(a)) within one year
                      from when it first could be filed. Otherwise, it's permanently barred.

                      h. Rejecting Future Arbitration Changes. You may reject any change we make to section
                      15 (except address changes) by sending us notice within 30 days of the change by U.S.
                      Mail to the address in section 15(b). If you do, the most recent version of section 15
                      before the change you rejected will apply.

                      i. Severability. If the class action waiver is found to be illegal or unenforceable as to all or
                      some parts of a dispute, then those parts won’t be arbitrated but will proceed in court,
                      with the rest proceeding in arbitration. If any other provision of section 15 is found to be
                      illegal or unenforceable, that provision will be severed but the rest of section 15 still
                      applies.

                      j. Mobile Phone Carrier as Third-Party Beneficiary. If you use Skype Pay by Mobile, your
                      mobile phone carrier is a third-party beneficiary of your agreement with Microsoft and
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 104
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 105 of 145
                          Skype to resolve disputes through informal negotiation and arbitration. Your mobile
                          phone carrier agrees to do everything Microsoft and Skype agree to do in section 15.

                       Top of page




                                Miscellaneous
                      16. Miscellaneous. This section, and sections 1, 9 (for amounts incurred before the end of
                      these Terms), 10, 11, 12, 13, 15, 18 and those that by their terms apply after the Terms end will
                      survive any termination or cancellation of these Terms. We may assign these Terms, in whole
                      or in part, at any time without notice to you. You may not assign your rights or obligations
                      under these Terms or transfer any rights to use the Services. This is the entire agreement
                      between you and Microsoft for your use of the Services. It supersedes any prior agreements
                      between you and Microsoft regarding your use of the Services. All parts of these Terms apply
                      to the maximum extent permitted by relevant law. If a court or arbitrator holds that we can't
                      enforce a part of these Terms as written, we may replace those terms with similar terms to the
                      extent enforceable under the relevant law, but the rest of these Terms won't change. Section
                      15(i) says what happens if parts of section 15 (arbitration and class action waiver) are found to
                      be illegal or unenforceable. Section 15(i) prevails over this section if inconsistent with it.
                      Except for section 15 (arbitration and class action waiver) these Terms are solely for your and
                      our benefit; they aren’t for the benefit of any other person, except for Microsoft’s successors
                      and assigns.

                      17. Export Laws. You must comply with all domestic and international export laws and
                      regulations that apply to the software and/or Services, which include restrictions on
                      destinations, end users, and end use. For further information on geographic and export
                      restrictions,      visit       https://go.microsoft.com/fwlink/?linkid=868968     and
                      https://www.microsoft.com/exporting.

                      18. Reservation of Rights and Feedback. Except as expressly provided under these Terms,
                      Microsoft does not grant you a license or any other rights of any type under any patents,
                      know-how, copyrights, trade secrets, trademarks or other intellectual property owned or
                      controlled by Microsoft or any related entity, including but not limited to any name, trade
                      dress, logo or equivalents. If you give to Microsoft any idea, proposal, suggestion or
                      feedback, including without limitation ideas for new products, technologies, promotions,
                      product names, product feedback and product improvements ("Feedback   Feedback"), you give to
                      Microsoft, without charge, royalties or other obligation to you, the right to make, have made,
                      create derivative works, use, share and commercialize your Feedback in any way and for any
                      purpose. You will not give Feedback that is subject to a license that requires Microsoft to
                      license its software, technologies or documentation to any third party because Microsoft
                      includes your Feedback in them.

                       Top of page




                                NOTICES
                      Notices and procedure for making claims of intellectual property infringement. Microsoft
                      respects the intellectual property rights of third parties. If you wish to send a notice of
                      intellectual property infringement, including claims of copyright infringement, please use our
                      procedures for submitting Notices of Infringement. ONLY INQUIRIES RELEVANT TO THIS
                      PROCEDURE WILL RECEIVE A RESPONSE.
                  Microsoft uses the processes set out in Title 17, United States Code, Section 512 to respond
                  to notices of copyright infringement. In appropriate circumstances, Microsoft may also
                  disable
DECL. OF. A. HOLBROOK  ISOor MOT.
                             terminate accounts of users of Microsoft services who may be repeat infringers.
                                   TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 105
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 106 of 145
                  Notices and procedures regarding intellectual property concerns in advertising. Please review
                  our Intellectual Property Guidelines regarding intellectual property concerns on our
                  advertising network.
                  Copyright and trademark notices. The Services are copyright © 2018 Microsoft Corporation
                  and/or its suppliers, One Microsoft Way, Redmond, WA 98052, U.S.A. All rights reserved.
                  Microsoft and the names, logos, and icons of all Microsoft products, software, and services
                  may be either trademarks or registered trademarks of Microsoft in the United States and/or
                  other countries. The names of actual companies and products may be the trademarks of their
                  respective owners. Any rights not expressly granted in these Terms are reserved. Certain
                  software used in certain Microsoft website servers is based in part on the work of the
                  Independent JPEG Group. Copyright © 1991-1996 Thomas G. Lane. All rights reserved.
                  "gnuplot" software used in certain Microsoft website servers is copyright © 1986-1993
                  Thomas Williams, Colin Kelley. All rights reserved.

                  Medical notice. Microsoft does not provide medical or any other health care advice,
                  diagnosis, or treatment. Always seek the advice of your physician or other qualified health
                  care provider with any questions you may have regarding a medical condition, diet, fitness, or
                  wellness program. Never disregard professional medical advice or delay in seeking it because
                  of information you accessed on or through the Services.
                  Stock quotes and index data (including index values). © 2013 Morningstar, Inc. All Rights
                  Reserved. The information contained herein: (1) is proprietary to Morningstar and/or its
                  content providers; (2) may not be copied or distributed; and (3) is not warranted to be
                  accurate, complete or timely. Neither Morningstar nor its content providers are responsible
                  for any damages or losses arising from any use of this information. Past performance is no
                  guarantee of future results.
                  You may not use any of the Dow Jones IndexesSM, index data, or the Dow Jones marks in
                  connection with the issuance, creation, sponsorship, trading, marketing, or promotion of any
                  financial instruments or investment products (for example, derivatives, structured products,
                  investment funds, exchange-traded funds, investment portfolios, etc., where the price, return
                  and/or performance of the instrument or investment product is based on, related to, or
                  intended to track any of the Indexes or a proxy for any of the Indexes) without a separate
                  written agreement with Dow Jones.
                  Financial notice. Microsoft isn't a broker/dealer or registered investment advisor under United
                  States federal securities law or securities laws of other jurisdictions and doesn't advise
                  individuals as to the advisability of investing in, purchasing, or selling securities or other
                  financial products or services. Nothing contained in the Services is an offer or solicitation to
                  buy or sell any security. Neither Microsoft nor its licensors of stock quotes or index data
                  endorse or recommend any particular financial products or services. Nothing in the Services is
                  intended to be professional advice, including without limitation, investment or tax advice.

                  Tax Notices. Please review our tax notification page (https://aka.ms/taxservice) for U.S. state
                  and local sales/use tax information.
                  Notice about the H.264/AVC, MPEG-4 Visual, and VC-1 Video Standards. The software may
                  include H.264/AVC, MPEG-4 Visual and/or VC-1 codec technology that may be licensed by
                  MPEG LA, L.L.C. This technology is a format for data compression of video information. MPEG
                  LA, L.L.C. requires this notice:
                  THIS PRODUCT IS LICENSED UNDER THE H.264/AVC, MPEG-4 VISUAL, AND THE VC-1 PATENT
                  PORTFOLIO LICENSES FOR THE PERSONAL AND NONCOMMERCIAL USE OF A CONSUMER
                  TO (A) ENCODE VIDEO IN COMPLIANCE WITH THE STANDARDS ("VIDEO STANDARDS")
                  AND/OR (B) DECODE H.264/AVC, MPEG-4 VISUAL, AND VC-1 VIDEO THAT WAS ENCODED BY
                  A CONSUMER ENGAGED IN A PERSONAL AND NONCOMMERCIAL ACTIVITY AND/OR WAS
                  OBTAINED FROM A VIDEO PROVIDER LICENSED TO PROVIDE SUCH VIDEO. NONE OF THE
                  LICENSES EXTEND TO ANY OTHER PRODUCT REGARDLESS OF WHETHER SUCH PRODUCT IS
                  INCLUDED WITH THIS SOFTWARE IN A SINGLE ARTICLE. NO LICENSE IS GRANTED OR SHALL
                  BE IMPLIED FOR ANY OTHER USE. ADDITIONAL INFORMATION MAY BE OBTAINED FROM
                  MPEG LA, L.L.C. SEE THE MPEG LA WEBSITE.
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 106
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 107 of 145
                  For clarification purposes only, this notice does not limit or inhibit the use of the software
                  provided under these Terms for normal business uses that are personal to that business which
                  do not include (i) redistribution of the software to third parties, or (ii) creation of material with
                  the VIDEO STANDARDS compliant technologies for distribution to third parties.

                   Top of page




                             STANDARD APPLICATION LICENSE
                             TERMS
                                            STANDARD APPLICATION LICENSE TERMS
                                        FOR APPLICATIONS OFFERED IN THE UNITED STATES
                                     MICROSOFT STORE, WINDOWS STORE, AND XBOX STORE
                  These license terms are an agreement between you and the application publisher. Please read
                  them. They apply to the software applications you download from the Microsoft Store, the
                  Windows Store or the Xbox Store (each of which is referred to in these license terms as the
                  "Store
                   Store"), including any updates or supplements for the application, unless the application
                  comes with separate terms, in which case those terms apply.

                  BY DOWNLOADING OR USING THE APPLICATION, OR ATTEMPTING TO DO ANY OF THESE,
                  YOU ACCEPT THESE TERMS. IF YOU DO NOT ACCEPT THEM, YOU HAVE NO RIGHT TO AND
                  MUST NOT DOWNLOAD OR USE THE APPLICATION.
                  The application publisher means the entity licensing the application to you, as identified in
                  the Store.
                  If you comply with these license terms, you have the rights below.
                      1. INSTALLATION AND USE RIGHTS; EXPIRATION. You may install and use the application
                      on Windows devices or Xbox consoles as described in Microsoft’s Usage Rules. Microsoft
                      reserves the right to modify Microsoft’s Usage Rules at any time.

                      2. INTERNET-BASED SERVICES.
                           a. Consent for Internet-based or wireless services. If the application connects to
                           computer systems over the Internet, which may include via a wireless network, using
                           the application operates as your consent to the transmission of standard device
                           information (including but not limited to technical information about your device,
                           system, and application software, and peripherals) for Internet-based or wireless
                           services. If other terms are presented in connection with your use of services
                           accessed using the application, those terms also apply.

                           b. Misuse of Internet-based services. You may not use any Internet-based service in
                           any way that could harm it or impair anyone else’s use of it or the wireless network.
                           You may not use the service to try to gain unauthorized access to any service, data,
                           account, or network by any means.

                      3. SCOPE OF LICENSE. The application is licensed, not sold. This agreement only gives
                      you some rights to use the application. If Microsoft disables the ability to use the
                      applications on your devices pursuant to your agreement with Microsoft, any associated
                      license rights will terminate. The application publisher reserves all other rights. Unless
                      applicable law gives you more rights despite this limitation, you may use the application
                      only as expressly permitted in this agreement. In doing so, you must comply with any
                      technical limitations in the application that only allow you to use it in certain ways. You
                      may not:
                           a. Work around any technical limitations in the application.

DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 107
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 108 of 145
                          b. Reverse engineer, decompile, or disassemble the application, except and only to
                          the extent that applicable law expressly permits, despite this limitation.
                          c. Make more copies of the application than specified in this agreement or allowed
                          by applicable law, despite this limitation.
                          d. Publish or otherwise make the application available for others to copy.
                          e. Rent, lease, or lend the application.
                          f. Transfer the application or this agreement to any third party.

                      4. DOCUMENTATION. If documentation is provided with the application, you may copy
                      and use the documentation for personal reference purposes.

                      5. TECHNOLOGY AND EXPORT RESTRICTIONS. The application may be subject to United
                      States or international technology control or export laws and regulations. You must
                      comply with all domestic and international export laws and regulations that apply to the
                      technology used or supported by the application. These laws include restrictions on
                      destinations, end users, and end use. For information on Microsoft branded products, go
                      to the Microsoft exporting website.

                      6. SUPPORT SERVICES. Contact the application publisher to determine if any support
                      services are available. Microsoft, your hardware manufacturer and your wireless carrier
                      (unless one of them is the application publisher) aren’t responsible for providing support
                      services for the application.

                      7. ENTIRE AGREEMENT. This agreement, any applicable privacy policy, any additional
                      terms that accompany the application, and the terms for supplements and updates are
                      the entire license agreement between you and application publisher for the application.

                      8. APPLICABLE LAW.

                          a. United States and Canada. If you acquired the application in the United States or
                          Canada, the laws of the state or province where you live (or, if a business, where
                          your principal place of business is located) govern the interpretation of these terms,
                          claims for breach of them, and all other claims (including consumer protection,
                          unfair competition, and tort claims), regardless of conflict of law principles.

                          b. Outside the United States and Canada. If you acquired the application in any other
                          country, the laws of that country apply.

                      9. LEGAL EFFECT.
                               EFFECT This agreement describes certain legal rights. You may have other rights
                      under the laws of your state or country. This agreement doesn’t change your rights under
                      the laws of your state or country if the laws of your state or country don’t permit it to do
                      so.

                      10. DISCLAIMER OF WARRANTY. The application is licensed "as is," "with all faults," and
                      "as available." You bear the entire risk as to its quality, safety, comfort, and performance.
                      Should it prove defective, you assume the entire cost of all necessary servicing or repair.
                      The application publisher, on behalf of itself, Microsoft, wireless carriers over whose
                      network the application is provided, and each of our respective affiliates, vendors, agents,
                      and suppliers ("Covered Parties"), gives no express warranties, guarantees, or conditions
                      in relation to the application. You may have additional consumer rights under your local
                      laws that this agreement can't change. To the extent permitted under your local laws,
                      Covered Parties exclude any implied warranties or conditions, including those of
                      merchantability, fitness for a particular purpose, safety, comfort, and non-infringement. If
                      your local laws impose a warranty, guarantee or condition even though these terms do
                      not, its duration is limited to 90 days from when you download the application.

                      11. LIMITATION ON AND EXCLUSION OF REMEDIES AND DAMAGES. To the extent not
                      prohibited by law, if you have any basis for recovering damages, you can recover from
                      the application publisher only direct damages up to the amount you paid for the
                      application or $1.00, whichever is greater. You will not, and waive any right to, seek to

DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 108
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 109 of 145
                       recover any other damages, including lost profits and consequential, special, direct,
                       indirect, or incidental damages, from the application publisher.

                  This limitation applies to:
                       Anything related to the application or services made available through the application;
                       and
                       Claims for breach of contract, warranty, guarantee or condition; strict liability, negligence,
                       or other tort; violation of a statute or regulation; unjust enrichment; or under any other
                       theory; all to the extent permitted by applicable law.
                  It also applies even if:
                       This remedy doesn’t fully compensate you for any losses; or
                       The application publisher knew or should have known about the possibility of the
                       damages.

                   Top of page




                             Covered Services
                  The following products, apps and services are covered by the Microsoft Services Agreement,
                  but may not be available in your market.
                       Account.microsoft.com
                       Advertising.microsoft.com
                       Ask Cortana
                       Bing App for Android
                       Bing Apps
                       Bing Bots
                       Bing Business Bot
                       Bing Desktop
                       Bing Dictionary
                       Bing for Business
                       Bing Image and News (iOS)
                       Bing in the Classroom
                       Bing Maps
                       Bing Music Bot
                       Bing Search APIs/SDKs
                       Bing Search app
                       Bing Sportscaster
                       Bing Toolbar
                       Bing Translator
                       Bing Webmaster
                       Bing Wikipedia Browser
                       Bing.com
                       Bing
                       Bingplaces.com
                       Citizen Next
                       Cortana skills by Microsoft
                       Cortana
                       Default Homepage and New Tab Page on Microsoft Edge
                       Dev Center App
                       Device Health App
                       Dictate
                       Docs.com
                       Education.minecraft.net
                       Face Swap
DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 109
  Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 110 of 145
                     Forms.microsoft.com
                     Forzamotorsport.net
                     Groove Music Pass
                     Groove
                     GroupMe
                     HealthVault
                     LineBack
                     Manufacturers.bing.com
                     Maps App
                     Microsoft Academic
                     Microsoft account
                     Microsoft Add-Ins for Skype
                     Microsoft Bots
                     Microsoft Educator Community
                     Microsoft Family
                     Microsoft Health
                     Microsoft Movies & TV
                     Microsoft Pay
                     Microsoft Research Interactive Science
                     Microsoft Research Open Data
                     Microsoft Support and Recovery Assistant for Office 365
                     Microsoft Translator
                     Microsoft Wallpaper
                     Microsoft XiaoIce
                     Mixer
                     MSN Dial Up
                     MSN Explorer
                     MSN Food & Drink
                     MSN Health & Fitness
                     MSN Money
                     MSN News
                     MSN Premium
                     MSN Sports
                     MSN Travel
                     MSN Weather
                     MSN.com
                     Next Lock Screen
                     Office 365 Consumer
                     Office 365 Home
                     Office 365 Personal
                     Office 365 University
                     Office Online
                     Office Store
                     Office Sway
                     Office.com
                     OneDrive.com
                     OneDrive
                     OneNote.com
                     Outlook.com
                     Paint 3D
                     Picturesque Lock Screen
                     Presentation Translator
                     Remix 3D
                     Rinna
                     rise4fun
                     Ruuh
                     Seeing AI
DECL. OF. A. HOLBROOKSend
                      ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 110
 Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 111 of 145
                      Skype in the Classroom
                      Skype Interviews
                      Skype Manager
                      Skype Qik
                      Skype.com
                      Skype
                      Smart Search
                      Snip Insights
                      Spreadsheet Keyboard
                      Sprinkles
                      Store
                      Sway.com
                      to-do.microsoft.com
                      Translator for Microsoft Edge
                      Translator Live
                      UrWeather
                      Video Breakdown
                      Visio Online
                      Web Translator
                      Who’s In
                      Windows Live Mail
                      Windows Live Writer
                      Windows Movie Maker
                      Windows Photo Gallery
                      Windows Store
                      Word Flow
                      Xbox and Windows Games, apps and websites published by Microsoft
                      Xbox Game Pass
                      Xbox Live Gold
                      Xbox Live
                      Xbox Music
                      Xbox Store
                      Zo

                   Top of page




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 111
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 112 of 145




                  Exhibit E




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 112
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 113 of 145




Skip to main content


                                Microsoft
 Microsoft Services Agreement
Microsoft Services Agreement
Microsoft Services Agreement
Home
FAQ
Microsoft Services Agreement
Microsoft Privacy Statement
Bing Suppliers Page
More
All Microsoft
Microsoft 365
Office
Windows
Surface
Xbox
Deals
Support
Software
Windows Apps
OneDrive
Outlook
Skype
OneNote
Microsoft Teams
Microsoft Edge
PCs & Devices
Computers
Shop Xbox
Accessories
VR & mixed reality
Phones
Entertainment
Xbox Game Pass Ultimate
Xbox Live Gold
Xbox games
PC games
Windows digital games
Movies & TV
Business
Microsoft Azure
Microsoft Dynamics 365
Microsoft 365
Microsoft Industry
Data platform
Microsoft Advertising
Licensing
Shop Business
Developer & IT
.NET
Visual Studio
Windows Server
Windows Dev Center
Docs
Other
Microsoft Rewards


       DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
       ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 113
             Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 114 of 145


Free downloads & security
Education
Store locations
Gift cards
View Sitemap


SearchSearch Microsoft.com
Cancel

   Published: July 1, 2019
   Effective: August 30, 2019

                                                                                                                                                                                          Print


  Microsoft Services Agreement
   IF YOU LIVE IN (OR YOUR PRINCIPAL PLACE OF BUSINESS IS IN) THE UNITED STATES, PLEASE READ THE BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER IN SECTION
   15. IT AFFECTS HOW DISPUTES ARE RESOLVED.
   These terms (“Terms”) cover the use of those Microsoft consumer products, websites, and services listed here (the “Services”). You accept these Terms by creating a Microsoft account,
   through your use of the Services, or by continuing to use the Services after being notified of a change to these Terms.



     Your Privacy
                                                            Your Privacy
     Your Content                                 1. Your Privacy. Your privacy is important to us. Please read the Microsoft Privacy Statement (the "Privacy Statement") as it describes the
                                                  types of data we collect from you and your devices ("Data"), how we use your Data, and the legal bases we have to process your Data. The
     Code of Conduct                              Privacy Statement also describes how Microsoft uses your content, which is your communications with others; postings submitted by you to
                                                  Microsoft via the Services; and the files, photos, documents, audio, digital works, livestreams and videos that you upload, store, broadcast
                                                  or share through the Services ("Your Content"). Where processing is based on consent and to the extent permitted by law, by agreeing to
     Using the Services & Support                 these Terms, you consent to Microsoft’s collection, use and disclosure of Your Content and Data as described in the Privacy Statement. In
                                                  some cases, we will provide separate notice and request your consent as referenced in the Privacy Statement.

     Using Third-Party Apps and
     Services


     Service Availability                                   Your Content
     Updates to the Services or                   2. Your Content. Many of our Services allow you to store or share Your Content or receive material from others. We don’t claim ownership
     Software, and Changes to These               of Your Content. Your Content remains Your Content and you are responsible for it.

     Terms                                            a. When you share Your Content with other people, you understand that they may be able to, on a worldwide basis, use, save, record,
                                                      reproduce, broadcast, transmit, share and display (and on HealthVault delete) Your Content without compensating you. If you do not
                                                      want others to have that ability, do not use the Services to share Your Content. You represent and warrant that for the duration of these
     Software License                                 Terms, you have (and will have) all the rights necessary for Your Content that is uploaded, stored, or shared on or through the Services
                                                      and that the collection, use, and retention of Your Content will not violate any law or rights of others. Microsoft cannot be held
                                                      responsible for Your Content or the material others upload, store or share using the Services.
     Payment Terms
                                                      b. To the extent necessary to provide the Services to you and others, to protect you and the Services, and to improve Microsoft
     Contracting Entity, Choice of                    products and services, you grant to Microsoft a worldwide and royalty-free intellectual property license to use Your Content, for
                                                      example, to make copies of, retain, transmit, reformat, display, and distribute via communication tools Your Content on the Services. If
     Law, Jurisdiction
                                                      you publish Your Content in areas of the Service where it is available broadly online without restrictions, Your Content may appear in
                                                      demonstrations or materials that promote the Service. Some of the Services are supported by advertising. Controls for how Microsoft
     Warranties                                       personalizes advertising are available on the Security & privacy page of the Microsoft account management website. We do not use
                                                      what you say in email, chat, video calls or voice mail, or your documents, photos or other personal files, to target advertising to you.
                                                      Our advertising policies are covered in detail in the Privacy Statement.
     Limitation of Liability
                                                   Top of page

     Service-Specific Terms

                                                            Code of Conduct
     Xbox Live and Xbox Game
     Studios Games and Applications
                                                  3. Code of Conduct.
                                                      a. By agreeing to these Terms, you’re agreeing that, when using the Services, you will follow these rules:
     Store
                                                           i. Don’t do anything illegal.
                                                           ii. Don’t engage in any activity that exploits, harms, or threatens to harm children.
     Microsoft Family Features                             iii. Don’t send spam. Spam is unwanted or unsolicited bulk email, postings, contact requests, SMS (text messages), or instant
                                                           messages.
                                                           iv. Don’t publicly display or use the Services to share inappropriate content or material (involving, for example, nudity, bestiality,
     Group Messaging
                                                           pornography, offensive language, graphic violence, or criminal activity).
                                                           v. Don’t engage in activity that is fraudulent, false or misleading (e.g., asking for money under false pretenses, impersonating
                                                           someone else, manipulating the Services to increase play count, or affect rankings, ratings, or comments).



      DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
      ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 114
        Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 115 of 145


                                        vi. Don’t circumvent any restrictions on access to or availability of the Services.
Skype and GroupMe                       vii. Don’t engage in activity that is harmful to you, the Services or others (e.g., transmitting viruses, stalking, posting terrorist or
                                        violent extremist content, communicating hate speech, or advocating violence against others).
                                        viii. Don’t infringe upon the rights of others (e.g., unauthorized sharing of copyrighted music or other copyrighted material, resale
Bing and MSN
                                        or other distribution of Bing maps, or photographs).
                                        ix. Don’t engage in activity that violates the privacy of others.
Cortana                                 x. Don’t help others break these rules.

                                    b. Enforcement. If you violate these Terms, we may stop providing Services to you or we may close your Microsoft account. We may
Outlook.com                         also block delivery of a communication (like email, file sharing or instant message) to or from the Services in an effort to enforce these
                                    Terms or we may remove or refuse to publish Your Content for any reason. When investigating alleged violations of these Terms,
                                    Microsoft reserves the right to review Your Content in order to resolve the issue. However, we cannot monitor the entire Services and
Office-based Services
                                    make no attempt to do so.

                                    c. Application to Xbox Services. Click here for more information about how this Code of Conduct applies to Xbox Live, Xbox Game
Microsoft Health Services
                                    Pass, Games for Windows Live and Xbox Game Studios games, applications, services and content provided by Microsoft. Violation of
                                    the Code of Conduct through Xbox Services (defined in section 14(a)(i)) may result in suspensions or bans from participation in Xbox
Digital Goods                       Services, including forfeiture of content licenses, Xbox Gold Membership time, and Microsoft account balances associated with the
                                    account.

OneDrive                         Top of page


Microsoft Rewards
                                         Using the Services & Support
Azure
                                4. Using the Services & Support.
                                    a. Microsoft account. You’ll need a Microsoft account to access many of the Services. Your Microsoft account lets you sign in to
Binding Arbitration and Class
                                    products, websites and services provided by Microsoft and some Microsoft partners.
Action Waiver
                                        i. Creating an Account. You can create a Microsoft account by signing up online. You agree not to use any false, inaccurate or
                                        misleading information when signing up for your Microsoft account. In some cases, a third party, like your Internet service
Miscellaneous                           provider, may have assigned a Microsoft account to you. If you received your Microsoft account from a third party, the third party
                                        may have additional rights over your account, like the ability to access or delete your Microsoft account. Please review any
                                        additional terms the third party provided you, as Microsoft has no responsibility regarding these additional terms. If you create a
NOTICES                                 Microsoft account on behalf of an entity, such as your business or employer, you represent that you have the legal authority to
                                        bind that entity to these Terms. You cannot transfer your Microsoft account credentials to another user or entity. To protect your
STANDARD APPLICATION                    account, keep your account details and password confidential. You are responsible for all activity that occurs under your Microsoft
                                        account.
LICENSE TERMS
                                        ii. Account Use. You must use your Microsoft account to keep it active. This means you must sign in at least once in a two-year
                                        period to keep your Microsoft account, and associated Services, active, unless a longer period is provided in the Microsoft account
Covered Services
                                        activity policy at https://go.microsoft.com/fwlink/p/?linkid=2086738 or in an offer for a paid portion of the Services. If you don’t
                                        sign in during this time, we will assume your Microsoft account is inactive and will close it for you. Please see section 4(a)(iv)(2) for
                                        the consequences of a closed Microsoft account. You must sign into your Outlook.com inbox and your OneDrive (separately) at
                                        least once in a one-year period, otherwise we will close your Outlook.com inbox and your OneDrive for you. You must sign into the
                                        Xbox Services at least once in a five-year period to keep the gamertag associated with your Microsoft account. If we reasonably
                                        suspect that your Microsoft account is at risk of being used by a third party fraudulently (for example, as a result of an account
                                        compromise), Microsoft may suspend your account until you can reclaim ownership. Based on the nature of the compromise, we
                                        may be required to disable access to some or all of Your Content. If you are having trouble accessing your Microsoft account,
                                        please visit this website: https://go.microsoft.com/fwlink/?LinkId=238656.

                                        iii. Kids and Accounts. By using the Services, you represent that you have either reached the age of “majority” where you live or
                                        have valid parent or legal guardian consent to be bound by these Terms. If you do not know whether you have reached the age of
                                        majority where you live, or do not understand this section, please ask your parent or legal guardian for help and consent before
                                        you create a Microsoft account. If you are the parent or legal guardian of a minor who creates a Microsoft account, you and the
                                        minor accept and agree to be bound by these Terms and are responsible for all use of the Microsoft account or Services, including
                                        purchases, whether the minor’s account is now open or created later.

                                        iv. Closing Your Account.

                                               1. You can cancel specific Services or close your Microsoft account at any time and for any reason. To close your Microsoft
                                               account, please visit https://account.live.com/closeaccount.aspx. When you ask us to close your Microsoft account, we will put
                                               it in a suspended state for 60 days just in case you change your mind. After that 60-day period, your Microsoft account will be
                                               closed. Please see section 4(a)(iv)(2) below for an explanation as to what happens when your Microsoft account is closed.
                                               Logging back in during that 60-day period will reactivate your Microsoft account.

                                               2. If your Microsoft account is closed (whether by you or us), a few things happen. First, your right to use the Microsoft
                                               account to access the Services stops immediately. Second, we’ll delete Data or Your Content associated with your Microsoft
                                               account or will otherwise disassociate it from you and your Microsoft account (unless we are required by law to keep it, return
                                               it, or transfer it to you or a third party identified by you). You should have a regular backup plan as Microsoft won’t be able to
                                               retrieve Your Content or Data once your account is closed. Third, you may lose access to products you’ve acquired. Fourth, we
                                               may temporarily prevent creation of an account associated with the email address you provided.

                                    b. Work or School Accounts. You can sign into certain Microsoft services with a work or school email address. If you do, you agree that
                                    the owner of the domain associated with your email address may be notified of the existence of your Microsoft account and its
                                    associated subscriptions, control and administer your account, and access and process your Data, including the contents of your
                                    communications and files, and that Microsoft may notify the owner of the domain if the account or Data is compromised. You further
                                    agree that your use of the Microsoft services may be subject to the agreements Microsoft has with you or your organization and these
                                    Terms may not apply. If you already have a Microsoft account and you use a separate work or school email address to access Services




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 115
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 116 of 145


                         covered under these Terms, you may be prompted to update the email address associated with your Microsoft account in order to
                         continue accessing such Services.

                         c. Additional Equipment/Data Plans. To use many of the Services, you’ll need an internet connection and/or data/cellular plan. You
                         might also need additional equipment, like a headset, camera or microphone. You are responsible for providing all connections, plans,
                         and equipment needed to use the Services and for paying the fees charged by the provider(s) of your connections, plans, and
                         equipment. Those fees are in addition to any fees you pay us for the Services and we will not reimburse you for such fees. Check with
                         your provider(s) to determine if there are any such fees that may apply to you.

                         d. Service Notifications. When there’s something we need to tell you about a Service you use, we’ll send you Service notifications. If
                         you gave us your email address or phone number in connection with your Microsoft account, then we may send Service notifications to
                         you via email or via SMS (text message), including to verify your identity before registering your mobile phone number and verifying
                         your purchases. We may also send you Service notifications by other means (for example by in-product messages). Data or messaging
                         rates may apply when receiving notifications via SMS.

                         e. Support. Customer support for some Services is available at https://support.microsoft.com. Certain Services may offer separate or
                         additional customer support, subject to the terms available at www.microsoft.com/support-service-agreement, unless otherwise
                         specified. Support may not be available for preview or beta versions of features or Services.

                         f. Ending your Services. If your Services are canceled (whether by you or us), first your right to access the Services stops immediately
                         and your license to the software related to the Services ends. Second, we’ll delete Data or Your Content associated with your Service or
                         will otherwise disassociate it from you and your Microsoft account (unless we are required by law to keep it, return it, or transfer it to
                         you or a third party identified by you). As a result you may no longer be able to access any of the Services (or Your Content that you’ve
                         stored on those Services). You should have a regular backup plan. Third, you may lose access to products you’ve acquired. If you have
                         canceled your Microsoft account and have no other account able to access the Services your Services may be canceled immediately.

                      Top of page




                                Using Third-Party Apps and Services
                     5. Using Third-Party Apps and Services. The Services may allow you to access or acquire products, services, websites, links, content,
                     material, games, skills, integrations, bots or applications from independent third parties (companies or people who aren’t Microsoft)
                     ("Third-Party Apps and Services"). Many of our Services also help you find, make requests to, or interact with Third-Party Apps and Services
                     or allow you to share Your Content or Data, and you understand that by using our Services you are directing them to make Third-Party
                     Apps and Services available to you. The Third-Party Apps and Services may allow you to store Your Content or Data with the publisher,
                     provider or operator of the Third-Party Apps and Services. The Third-Party Apps and Services may present you with a privacy policy or
                     require you to accept their terms before you can install or use the Third-Party App or Service. See section 14(b) for additional terms for
                     applications acquired through certain Stores owned or operated by Microsoft or its affiliates (including, but not limited to, the Office Store,
                     the Microsoft Store on Xbox and the Microsoft Store on Windows). You should review the third-party terms and privacy policies before
                     acquiring, using, requesting, or linking your Microsoft Account to any Third-Party Apps and Services. Any third-party terms do not modify
                     any of these Terms. You are responsible for your dealings with third parties. Microsoft does not license any intellectual property to you as
                     part of any Third-Party Apps and Services and is not responsible or liable to you or others for information or services provided by any Third-
                     Party Apps and Services.

                      Top of page




                                Service Availability
                     6. Service Availability.
                         a. The Services, Third-Party Apps and Services, or material or products offered through the Services may be unavailable from time to
                         time, may be offered for a limited time, or may vary depending on your region or device. If you change the location associated with
                         your Microsoft account, you may need to re-acquire the material or applications that were available to you and paid for in your
                         previous region.

                         b. We strive to keep the Services up and running; however, all online services suffer occasional disruptions and outages, and Microsoft
                         is not liable for any disruption or loss you may suffer as a result. In the event of an outage, you may not be able to retrieve Your
                         Content or Data that you’ve stored. We recommend that you regularly backup Your Content and Data that you store on the Services or
                         store using Third-Party Apps and Services.

                      Top of page




                                Updates to the Services or Software, and Changes to These Terms
                     7. Updates to the Services or Software, and Changes to These Terms.

                         a. We may change these Terms at any time, and we’ll tell you when we do. Using the Services after the changes become effective
                         means you agree to the new terms. If you don’t agree to the new terms, you must stop using the Services, close your Microsoft account
                         and, if you are a parent or guardian, help your minor child close his or her Microsoft account.

                         b. Sometimes you’ll need software updates to keep using the Services. We may automatically check your version of the software and
                         download software updates or configuration changes. You may also be required to update the software to continue using the Services.
                         Such updates are subject to these Terms unless other terms accompany the updates, in which case, those other terms apply. Microsoft
                         isn’t obligated to make any updates available and we don’t guarantee that we will support the version of the system or device for
                         which you purchased or licensed the software, apps, content or other products.



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 116
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 117 of 145


                         c. Additionally, there may be times when we need to remove or change features or functionality of the Service or stop providing a
                         Service or access to Third-Party Apps and Services altogether. Except to the extent required by applicable law, we have no obligation to
                         provide a re-download or replacement of any material, Digital Goods (defined in section 14(k)), or applications previously purchased.
                         We may release the Services or their features in a preview or beta version, which may not work correctly or in the same way the final
                         version may work.

                         d. So that you can use material protected with digital rights management (DRM), like some music, games, movies, books and more,
                         DRM software may automatically contact an online rights server and download and install DRM updates.

                      Top of page




                               Software License
                     8. Software License. Unless accompanied by a separate Microsoft license agreement (for example, if you are using a Microsoft application
                     that is included with and a part of Windows, then the Microsoft Software License Terms for the Windows Operating System govern such
                     software), any software provided by us to you as part of the Services is subject to these Terms. Applications acquired through certain Stores
                     owned or operated by Microsoft or its affiliates (including, but not limited to the Office Store, Microsoft Store on Windows and Microsoft
                     Store on Xbox) are subject to section 14(b)(i) below.
                         a. If you comply with these Terms, we grant you the right to install and use one copy of the software per device on a worldwide basis
                         for use by only one person at a time as part of your use of the Services. For certain devices, such software may be pre-installed for your
                         personal, non-commercial use of the Services. The software or website that is part of the Services may include third-party code. Any
                         third-party scripts or code, linked to or referenced from the software or website, are licensed to you by the third parties that own such
                         code, not by Microsoft. Notices, if any, for the third-party code are included for your information only.

                         b. The software is licensed, not sold, and Microsoft reserves all rights to the software not expressly granted by Microsoft, whether by
                         implication, estoppel, or otherwise. This license does not give you any right to, and you may not:

                              i. circumvent or bypass any technological protection measures in or relating to the software or Services;
                              ii. disassemble, decompile, decrypt, hack, emulate, exploit, or reverse engineer any software or other aspect of the Services that is
                              included in or accessible through the Services, except and only to the extent that the applicable copyright law expressly permits
                              doing so;
                              iii. separate components of the software or Services for use on different devices;
                              iv. publish, copy, rent, lease, sell, export, import, distribute, or lend the software or the Services, unless Microsoft expressly
                              authorizes you to do so;
                              v. transfer the software, any software licenses, or any rights to access or use the Services;
                              vi. use the Services in any unauthorized way that could interfere with anyone else’s use of them or gain access to any service, data,
                              account, or network;
                              vii. enable access to the Services or modify any Microsoft-authorized device (e.g., Xbox One, Xbox 360, Microsoft Surface, etc.) by
                              unauthorized third-party applications.

                      Top of page




                               Payment Terms
                     9. Payment Terms. If you purchase a Service, then these payment terms apply to your purchase and you agree to them.

                         a. Charges. If there is a charge associated with a portion of the Services, you agree to pay that charge. The price stated for the Services
                         excludes all applicable taxes and currency exchange settlements, unless stated otherwise. The price for Skype paid products includes a
                         charge for the product and a charge for taxes. You are solely responsible for paying such taxes or other charges. Taxes are calculated
                         based on your location at the time your Microsoft account was registered. We may suspend or cancel the Services if we do not receive
                         an on time, full payment from you. Suspension or cancellation of the Services for non-payment could result in a loss of access to and
                         use of your account and its content. Connecting to the Internet via a corporate or other private network that masks your location may
                         cause charges to be different from those displayed for your actual location.

                         b. Your Billing Account. To pay the charges for a Service, you will be asked to provide a payment method at the time you sign up for
                         that Service. You can access and change your billing information and payment method on the Microsoft account management website
                         and for Skype by signing into your account portal at https://skype.com/go/myaccount. Additionally, you agree to permit Microsoft to
                         use any updated account information regarding your selected payment method provided by your issuing bank or the applicable
                         payment network. You agree to promptly update your account and other information, including your email address and payment
                         method details, so we can complete your transactions and contact you as needed in connection with your transactions. Changes made
                         to your billing account will not affect charges we submit to your billing account before we could reasonably act on your changes to
                         your billing account.

                         c. Billing. By providing Microsoft with a payment method, you (i) represent that you are authorized to use the payment method you
                         provided and that any payment information you provide is true and accurate; (ii) authorize Microsoft to charge you for the Services or
                         available content using your payment method; and (iii) authorize Microsoft to charge you for any paid feature of the Services you
                         choose to sign up for or use while these Terms are in force. We may bill you (a) in advance; (b) at the time of purchase; (c) shortly after
                         purchase; or (d) on a recurring basis for subscription Services. Also, we may charge you up to the amount you have approved, and we
                         will notify you in advance of any change in the amount to be charged for recurring subscription Services. We may bill you at the same
                         time for more than one of your prior billing periods for amounts that haven't previously been processed.

                         d. Recurring Payments. When you purchase the Services on a subscription basis (e.g., monthly, every 3 months or annually), you agree
                         that you are authorizing recurring payments, and payments will be made to Microsoft by the method and at the recurring intervals you
                         have agreed to, until the subscription for that Service is terminated by you or by Microsoft. You must cancel your Services before the
                         next billing date to stop being charged to continue your Services. We will provide you with instructions on how you may cancel the
                         Services. By authorizing recurring payments, you are authorizing Microsoft to store your payment instrument and process such



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 117
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 118 of 145


                         payments as either electronic debits or fund transfers, or as electronic drafts from your designated account (for Automated Clearing
                         House or similar payments), or as charges to your designated account (for credit card or similar payments) (collectively, "Electronic
                         Payments"). Subscription fees are generally charged in advance of the applicable subscription period. If any payment is returned
                         unpaid or if any credit card or similar transaction is rejected or denied, Microsoft or its service providers reserve the right to collect any
                         applicable return item, rejection or insufficient funds fee and process any such payment as an Electronic Payment.

                         e. Online Statement and Errors. Microsoft will provide you with an online billing statement on the Microsoft account management
                         website, where you can view and print your statement. For Skype, you can access your online statement by signing into your account at
                         www.skype.com. This is the only billing statement that we provide. If we make an error on your bill, you must tell us within 90 days after
                         the error first appears on your bill. We will then promptly investigate the charge. If you do not tell us within that time, you release us
                         from all liability and claims of loss resulting from the error and we won't be required to correct the error or provide a refund. If
                         Microsoft has identified a billing error, we will correct that error within 90 days.

                         f. Refund Policy. Unless otherwise provided by law or by a particular Service offer, all purchases are final and non-refundable. If you
                         believe that Microsoft has charged you in error, you must contact us within 90 days of such charge. No refunds will be given for any
                         charges more than 90 days old. We reserve the right to issue refunds or credits at our sole discretion. If we issue a refund or credit, we
                         are under no obligation to issue the same or similar refund in the future. This refund policy does not affect any statutory rights that
                         may apply. For more refund information, please visit our help topic.

                         g. Canceling the Services. You may cancel a Service at any time, with or without cause. Cancelling paid Services stops future charges to
                         continue the Service. To cancel a Service and request a refund, if you are entitled to one, visit the Microsoft account management
                         website. You can request a refund from Skype using the Cancellation and Refund form. You should refer back to the offer describing
                         the Services as (i) you may not receive a refund at the time of cancellation; (ii) you may be obligated to pay cancellation charges; (iii)
                         you may be obligated to pay all charges made to your billing account for the Services before the date of cancellation; and (iv) you may
                         lose access to and use of your account when you cancel the Services. We will process your Data as described above in section 4. If you
                         cancel, your access to the Services ends at the end of your current Service period or, if we bill your account on a periodic basis, at the
                         end of the period in which you canceled.

                         h. Trial-Period Offers. If you are taking part in any trial-period offer, you may be required to cancel the trial Service(s) within the
                         timeframe communicated to you when you accepted the offer in order to avoid being charged to continue the Service(s) at the end of
                         the trial period.

                         i. Promotional Offers. From time to time, Microsoft may offer Services for a trial period during which Microsoft will not charge you for
                         the Services. Microsoft reserves the right to charge you for such Services (at the normal rate) if Microsoft determines (in its reasonable
                         discretion) that you are breaching the terms and conditions of the offer.

                         j. Price Changes. We may change the price of the Services at any time and if you have a recurring purchase, we will notify you by email,
                         or other reasonable manner, at least 15 days before the price change. If you do not agree to the price change, you must cancel and
                         stop using the Services before the price change takes effect. If there is a fixed term and price for your Service offer, that price will
                         remain in force for the fixed term.

                         k. Payments to You. If we owe you a payment, then you agree to timely and accurately provide us with any information we need to get
                         that payment to you. You are responsible for any taxes and charges you may incur as a result of this payment to you. You must also
                         comply with any other conditions we place on your right to any payment. If you receive a payment in error, we may reverse or require
                         return of the payment. You agree to cooperate with us in our efforts to do this. We may reduce the payment to you without notice to
                         adjust for any previous overpayment.

                         l. Gift Cards. Redemption and use of gift cards (other than Skype gift cards) are governed by the Microsoft Gift Card Terms and
                         Conditions. Information on Skype gift cards is available on Skype’s Help page.

                         m. Bank Account Payment Method. You may register an eligible bank account with your Microsoft account to use it as a payment
                         method. Eligible bank accounts include accounts held at a financial institution capable of receiving direct debit entries (e.g., a United
                         States-based financial institution that supports automated clearing house ("ACH") entries, a European financial institution that supports
                         Single Euro Payments Area ("SEPA") or "iDEAL" in the Netherlands). Terms you agreed to when adding your bank account as a payment
                         method in your Microsoft account (e.g., the “mandate” in the case of SEPA) also apply. You represent and warrant that your registered
                         bank account is held in your name or you are authorized to register and use this bank account as a payment method. By registering or
                         selecting your bank account as your payment method, you authorize Microsoft (or its agent) to initiate one or more debits for the total
                         amount of your purchase or subscription charge (in accordance with the terms of your subscription service) from your bank account
                         (and, if necessary, initiate one or more credits to your bank account to correct errors, issue a refund or similar purpose), and you
                         authorize the financial institution that holds your bank account to deduct such debits or accept such credits. You understand that this
                         authorization will remain in full force and effect until you remove your bank account information from your Microsoft account. Contact
                         customer support as outlined above in section 4(e) as soon as possible if you believe you have been charged in error. Laws applicable
                         in your country may also limit your liability for any fraudulent, erroneous or unauthorized transactions from your bank account. By
                         registering or selecting a bank account as your payment method, you acknowledge that you have read, understand and agree to these
                         Terms.

                      Top of page




                               Contracting Entity, Choice of Law, Jurisdiction
                     10. Contracting Entity. For use of free and paid consumer Skype-branded Services, you're contracting with, and all references to “Microsoft”
                     in these Terms mean, Skype Communications S.à.r.l, 23 – 29 Rives de Clausen, L-2165 Luxembourg. For all other Services, you're contracting
                     with Microsoft Corporation, One Microsoft Way, Redmond, WA 98052, U.S.A.

                     11. Choice of Law and Place to Resolve Disputes. If you live in (or, if a business, your principal place of business is in) the United States, the
                     laws of the state where you live (or, if a business, where your principal place of business is located) govern all claims, regardless of conflict
                     of laws principles, except that the Federal Arbitration Act governs all provisions relating to arbitration. You and we irrevocably consent to
                     the exclusive jurisdiction and venue of the state or federal courts in King County, Washington, for all disputes arising out of or relating to
                     these Terms or the Services that are heard in court (excluding arbitration and small claims court).



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 118
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 119 of 145


                      Top of page




                               Warranties
                     12. Warranties. MICROSOFT, AND OUR AFFILIATES, RESELLERS, DISTRIBUTORS, AND VENDORS, MAKE NO WARRANTIES, EXPRESS OR
                     IMPLIED, GUARANTEES OR CONDITIONS WITH RESPECT TO YOUR USE OF THE SERVICES. YOU UNDERSTAND THAT USE OF THE
                     SERVICES IS AT YOUR OWN RISK AND THAT WE PROVIDE THE SERVICES ON AN "AS IS" BASIS "WITH ALL FAULTS" AND "AS
                     AVAILABLE." YOU BEAR THE ENTIRE RISK OF USING THE SERVICES. MICROSOFT DOESN'T GUARANTEE THE ACCURACY OR TIMELINESS
                     OF THE SERVICES. TO THE EXTENT PERMITTED UNDER YOUR LOCAL LAW, WE EXCLUDE ANY IMPLIED WARRANTIES, INCLUDING FOR
                     MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR PURPOSE, WORKMANLIKE EFFORT, AND NON-
                     INFRINGEMENT. YOU MAY HAVE CERTAIN RIGHTS UNDER YOUR LOCAL LAW. NOTHING IN THESE TERMS IS INTENDED TO AFFECT
                     THOSE RIGHTS, IF THEY ARE APPLICABLE. YOU ACKNOWLEDGE THAT COMPUTER AND TELECOMMUNICATIONS SYSTEMS ARE NOT
                     FAULT-FREE AND OCCASIONAL PERIODS OF DOWNTIME OCCUR. WE DO NOT GUARANTEE THE SERVICES WILL BE UNINTERRUPTED,
                     TIMELY, SECURE, OR ERROR-FREE OR THAT CONTENT LOSS WON'T OCCUR, NOR DO WE GUARANTEE ANY CONNECTION TO OR
                     TRANSMISSION FROM THE COMPUTER NETWORKS.

                      Top of page




                               Limitation of Liability
                     13. Limitation of Liability. If you have any basis for recovering damages (including breach of these Terms), you agree that your
                     exclusive remedy is to recover, from Microsoft or any affiliates, resellers, distributors, Third-Party Apps and Services providers, and
                     vendors, direct damages up to an amount equal to your Services fee for the month during which the loss or breach occurred (or up to
                     $10.00 if the Services are free). You can't recover any other damages or losses, including direct, consequential, lost profits, special,
                     indirect, incidental, or punitive. These limitations and exclusions apply even if this remedy doesn't fully compensate you for any losses or
                     fails of its essential purpose or if we knew or should have known about the possibility of the damages. To the maximum extent permitted by
                     law, these limitations and exclusions apply to anything or any claims related to these Terms, the Services, or the software related to the
                     Services.

                      Top of page




                               Service-Specific Terms
                     14. Service-Specific Terms. The terms before and after section 14 apply generally to all Services. This section contains service-specific terms
                     that are in addition to the general terms. These service-specific terms govern if there are any conflicts with the general terms.

                      Top of page




                               Xbox Live and Xbox Game Studios Games and Applications
                         a. Xbox Live and Xbox Game Studios Games and Applications.

                              i. Personal Noncommercial Use. Xbox Live, Games for Windows Live and Xbox Game Studios games, applications, services and
                              content provided by Microsoft (collectively, the "Xbox Services") are only for your personal and noncommercial use.

                              ii. Xbox Services. When you sign up to Xbox Live and/or receive Xbox Services, information about your game play, activities and
                              usage of games and Xbox Services will be tracked and shared with applicable third-party game developers in order for Microsoft
                              and the third-party game developers to operate their games and to deliver the Xbox Services. If you choose to link your Microsoft
                              Xbox Services account with your account on a non-Microsoft service (for example, a non-Microsoft game publisher of Third-Party
                              Apps and Services), you agree that: (a) Microsoft may share limited account information (including without limitation gamertag,
                              gamerscore, game score, game history, and friends list), with that non-Microsoft party as stated in the Microsoft Privacy Statement,
                              and (b) if allowed by your Xbox privacy settings, the non-Microsoft party may also have access to Your Content from in-game
                              communications when you are signed into your account with that non-Microsoft party. Also, if allowed by your Xbox privacy
                              settings, Microsoft can publish your name, gamertag, gamerpic, motto, avatar, gameclips and games that you’ve played in
                              communications to people you allow.

                              iii. Your Content. As part of building the Xbox Services community, you grant to Microsoft, its affiliates and sublicensees a free and
                              worldwide right to use, modify, reproduce, distribute, broadcast, share and display Your Content or your name, gamertag, motto,
                              or avatar that you posted for any Xbox Services.

                              iv. Game Managers. Some games may use game managers and hosts. Game managers and hosts are not authorized Microsoft
                              spokespersons. Their views do not necessarily reflect those of Microsoft.

                              v. Kids on Xbox. If you are a minor using Xbox Live, your parent or guardian may have control over many aspects of your account
                              and may receive reports about your use of Xbox Live.

                              vi. Game Currency or Virtual Goods. The Services may include a virtual, game currency (like gold, coins or points) that may be
                              purchased from Microsoft using actual monetary instruments if you have reached the age of "majority" where you live. The
                              Services may also include virtual, digital items or goods that may be purchased from Microsoft using actual monetary instruments
                              or using game currency. Game currency and virtual goods may never be redeemed for actual monetary instruments, goods or
                              other items of monetary value from Microsoft or any other party. Other than a limited, personal, revocable, non-transferable, non-



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 119
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 120 of 145


                            sublicensable license to use the game currency and virtual goods in the Services only, you have no right or title in or to any such
                            game currency or virtual goods appearing or originating in the Services, or any other attributes associated with use of the Services
                            or stored within the Services. Microsoft may at any time regulate, control, modify and/or eliminate the game currency and/or
                            virtual goods as it sees fit in its sole discretion.

                            vii. Software Updates. For any device that can connect to Xbox Services, we may automatically check your version of Xbox console
                            software or the Xbox app software and download Xbox console or Xbox app software updates or configuration changes, including
                            those that prevent you from accessing the Xbox Services, using unauthorized Xbox games or Xbox apps, or using unauthorized
                            hardware peripheral devices with an Xbox console.

                            viii. Gamertag Expiration. You must sign into Xbox Services at least once in a five-year period, otherwise you may lose access to
                            the gamertag associated with your account and that gamertag may become available for use by others.

                            ix. Arena. Arena is an Xbox Service by which Microsoft or a third party may offer you the ability to participate in or create a
                            competitive videogame contest, sometimes for a prize ("Contest"). Your use of Arena is subject to these Terms, and may require
                            you to accept additional Contest terms, conditions and rules required by the Contest organizer at the time of signup ("Contest
                            Terms"). Eligibility rules may apply, and may vary by jurisdiction. Contests are void where prohibited or restricted by law. Violation
                            of these Terms (including the Code of Conduct) or Contest Terms may result in a penalty or disqualification from the Contest. If
                            you create a Contest, you may not require any Contest Rules that Microsoft (in its sole discretion) deems inconsistent with these
                            Terms. Microsoft reserves the right to cancel any Contest at any time.

                            x. Cheating and Tampering Software. For any device that can connect to Xbox Services, we may automatically check your device
                            for unauthorized hardware or software that enables cheating or tampering in violation of the Code of Conduct or these Terms, and
                            download Xbox app software updates or configuration changes, including those that prevent you from accessing the Xbox
                            Services, or from using unauthorized hardware or software that enables cheating or tampering.

                            xi. Mixer.
                                    1. Mixer Terms. If you use the Mixer Service then your use is covered by the Mixer Terms of Service available at
                                    https://mixer.com/about/tos in addition to these Terms. These Terms apply where there is conflict.

                                    2. Your Content on Mixer. "Your Content on Mixer" means all content you, or someone on your behalf, creates on the Mixer
                                    Service, including but not limited to live and recorded streams (and any content, like audiovisual content, they contain); brand
                                    names, trademarks, service marks, trade names, logos, or indicia of origin; your comments, emoticons, and activity in Mixer
                                    channels (including bot-generated content); and all related metadata. Anyone, including Microsoft and users, can see, use,
                                    host, reproduce, modify, distribute, publish, publicly and digitally perform and display, translate, adapt, and otherwise exploit
                                    Your Content on Mixer, in any form, format, media, or channels now known or later developed.

                                    3. Code of Conduct Applied to Mixer. Click here for more information about how Microsoft’s Code of Conduct applies to
                                    Mixer.

                                    4. Using the Mixer Service.

                                         a. Minimum Age. By using the Mixer Service, you represent that you are at least 13 years old and, if you are under the age
                                         of majority where you live, your use is supervised by a parent or legal guardian.

                                         b. Anonymous and Non-Anonymous Use. You can use Mixer anonymously if you only want to view content. However,
                                         chatting, following channels, streaming, and other interactions require you to sign into an account, in which case the
                                         Mixer Service uses your existing Microsoft account. Otherwise, you need to create an account, sign-in, and will be
                                         identified to other users by your Mixer name.

                                         c. Mixer Accounts and Third-Party Accounts. Mixer offers the ability to sign in using a Mixer account or a third-party
                                         account (Twitter or Discord). If you use any of these accounts to sign in, you must associate the account with your
                                         Microsoft account.

                                         d. Account Use. If you use a Mixer account, you must use it to keep it active. Sign into the Mixer Service at least once in a
                                         five-year period to keep your Mixer alias associated with your Microsoft account.

                                    5. Service Notifications. When there’s something we need to tell you about the Mixer Service, we’ll send you Service
                                    notifications to the email associated with your Mixer account and/or Microsoft account.

                                    6. Support. Customer support for the Mixer Service is available at mixer.com/contact.


                      Top of page




                              Store
                        b. Store. "Store" refers to a Service that allows you to browse, download, purchase, and rate and review applications (the term
                        "application" includes games) and other digital content. These Terms cover use of certain Stores owned or operated by Microsoft or its
                        affiliates (including, but not limited to, the Office Store, Microsoft Store on Xbox and Microsoft Store on Windows). "Office Store"
                        means a Store for Office products and apps for Office, Office 365, SharePoint, Exchange, Access and Project (2013 versions or later), or
                        any other experience that is branded Office Store. "Microsoft Store on Windows" means a Store, owned and operated by Microsoft or
                        its affiliates, for Windows devices such as phone, PC and tablet, or any other experience that is branded Microsoft Store and accessible
                        on Windows devices such as phone, PC, or tablet. "Microsoft Store on Xbox" means a Store owned and operated by Microsoft or its
                        affiliates and made available on Xbox One or Xbox 360 consoles, or any other experience that is branded Microsoft Store and made
                        available on an Xbox console.

                            i. License Terms. We will identify the publisher of each application available in the relevant Store. Unless different license terms are
                            provided with the application, the Standard Application License Terms ("SALT") at the end of these Terms are an agreement
                            between you and the application publisher setting forth the license terms that apply to an application you download through any
                            Store owned or operated by Microsoft or its affiliates (excluding the Office Store). For clarity, these Terms cover the use of, and



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 120
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 121 of 145


                            services provided by, Microsoft Services. Section 5 of these Terms also applies to any Third-Party Apps and Services acquired
                            through a Store. Applications downloaded through the Office Store are not governed by the SALT and have separate license terms
                            that apply.

                            ii. Updates. Microsoft will automatically check for and download updates to your applications, even if you’re not signed into the
                            relevant Store. You can change your Store or system settings if you prefer not to receive automatic updates to Store applications.
                            However, certain Office Store applications that are entirely or partly hosted online may be updated at any time by the application
                            developer and may not require your permission to update.

                            iii. Ratings and Reviews. If you rate or review an application or other Digital Good in the Store, you may receive email from
                            Microsoft containing content from the publisher of the application or Digital Good. Any such email comes from Microsoft; we do
                            not share your email address with publishers of applications or other Digital Goods you acquire through the Store.

                            iv. Safety Warning. To avoid possible injury, discomfort or eye strain, you should take periodic breaks from use of games or other
                            applications, especially if you feel any pain or fatigue resulting from usage. If you experience discomfort, take a break. Discomfort
                            might include feelings of nausea, motion sickness, dizziness, disorientation, headache, fatigue, eye strain, or dry eyes. Using
                            applications can distract you and obstruct your surroundings. Avoid trip hazards, stairs, low ceilings, fragile or valuable items that
                            could be damaged. A very small percentage of people may experience seizures when exposed to certain visual images like flashing
                            lights or patterns that may appear in applications. Even people with no history of seizures may have an undiagnosed condition
                            that can cause these seizures. Symptoms may include lightheadedness, altered vision, twitching, jerking or shaking of limbs,
                            disorientation, confusion, loss of consciousness, or convulsions. Immediately stop using and consult a doctor if you experience any
                            of these symptoms, or consult a doctor before using the applications if you’ve ever suffered symptoms linked to seizures. Parents
                            should monitor their children’s use of applications for signs of symptoms.


                      Top of page




                              Microsoft Family Features

                        c. Microsoft Family Features. Parents and kids can use Microsoft family features to build trust based on a shared understanding of
                        what behaviors, websites, apps, games, physical locations, and spending is right in their family. Parents can create a family by going to
                        https://account.microsoft.com/family (or by following the instructions on their Windows device or Xbox console) and inviting kids or
                        other parents to join. There are many features available to family members, so please carefully review the information provided when
                        you agree to create or join a family and when you purchase Digital Goods for family access. By creating or joining a family, you agree
                        to use the family in accordance with its purpose and won’t use it in an unauthorized way to unlawfully gain access to another person’s
                        information.

                      Top of page




                              Group Messaging

                        d. Group Messaging. Various Microsoft services allow you to send messages to others via voice or SMS ("messages"), and/or allow
                        Microsoft and Microsoft-controlled affiliates to send such messages to you and one or more other users on your behalf. WHEN YOU
                        INSTRUCT MICROSOFT AND MICROSOFT-CONTROLLED AFFILIATES TO SEND SUCH MESSAGES TO YOU OR TO OTHERS, YOU
                        REPRESENT AND WARRANT TO US THAT YOU AND EACH PERSON YOU HAVE INSTRUCTED US TO MESSAGE CONSENT TO RECEIVE
                        SUCH MESSAGES AND ANY OTHER RELATED ADMINISTRATIVE TEXT MESSAGES FROM MICROSOFT AND MICROSOFT-CONTROLLED
                        AFFILIATES. "Administrative text messages" are periodic transactional messages from a particular Microsoft service, including but not
                        limited to a "welcome message" or instructions on how to stop receiving messages. You or group members no longer wishing to
                        receive such messages can opt-out of receiving further messages from Microsoft or Microsoft-controlled affiliates at any time by
                        following the instructions provided. If you no longer wish to receive such messages or participate in the group, you agree that you will
                        opt out through the instructions provided by the applicable program or service. If you have reason to believe that a group member no
                        longer wishes to receive such messages or participate in the group, you agree to remove them from the group. You also represent and
                        warrant to us that you and each person you have instructed us to message understands that each group member is responsible for the
                        costs of any message charges assessed by his or her mobile carrier, including any international message charges that may apply when
                        messages are transmitted from US-based numbers.

                      Top of page




                              Skype and GroupMe
                        e. Skype and GroupMe.
                            i. No Access to Emergency Services. There are important differences between traditional telephone services and Skype. Skype is
                            not required to offer access to Emergency Services under any applicable local or national rules, regulations, or law. Skype’s
                            software and products are not intended to support or carry emergency calls to any type of hospitals, law enforcement agencies,
                            medical care units or any other kind of services that connect a user to emergency services personnel or public safety answering
                            points ("Emergency Services"). You acknowledge and agree that: (i) it is your responsibility to purchase traditional wireless
                            (mobile) or fixed-line telephone services that offer access to Emergency Services, and (ii) Skype is not a replacement for your
                            primary telephone service.

                            ii. APIs or Broadcasting. If you want to use Skype in connection with any broadcast, you must comply with the "Broadcast TOS" at
                            https://www.skype.com/legal/broadcast. If you want to use any application program interface ("API") exposed or made available
                            by Skype you must comply with the applicable licensing terms, which are available at www.skype.com/go/legal.



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 121
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 122 of 145


                            iii. Fair Use Policies. Fair usage policies may apply to your use of Skype. Please review these policies which are designed to protect
                            against fraud and abuse and may place limits on the type, duration or volume of calls or messages that you are able to make.
                            These policies are incorporated in these Terms by reference. You can find these policies at: https://www.skype.com/en/legal/fair-
                            usage/

                            iv. Mapping. Skype contains features that allow you to submit information to, or plot yourself on a map using, a mapping service.
                            By using those features, you agree to these Terms and the Google Maps terms available at
                            https://www.google.com/intl/en_ALL/help/terms_maps.html.

                            v. Government Users. If you wish to use a business account or Skype Manager on behalf of the U.S. Government or an agency of
                            the U.S. Government, these Terms do not apply to that use. For applicable terms or further information, please contact
                            usgovusers@skype.net.

                            vi. Personal/Noncommercial Use. The use of Skype is for your personal and noncommercial use. You are permitted to use Skype
                            at work for your own business communications.

                            vii. Skype Number/Skype To Go. If Skype provides you with a Skype Number or Skype To Go number, you agree that you do not
                            own the number or have a right to retain that number forever.

                            viii. Skype Manager. A "Skype Manager Admin Account" is created and managed by you, acting as an individual administrator of a
                            Skype Manager group and not as a business entity. You may link your individual Microsoft account to a Skype Manager group
                            ("Linked Account"). You may appoint additional administrators to your Skype Manager group subject to their acceptance of these
                            Terms. If you allocate Skype Numbers to a Linked Account, you are responsible for compliance with any requirements related to
                            the residency or location of your Linked Account users. If you choose to unlink a Linked Account from a Skype Manager group, any
                            allocated subscriptions, Skype Credit or Skype Numbers will not be retrievable and Your Content or material associated with the
                            unlinked account will no longer be accessible by you. You agree to process any personal information of your Linked Account users
                            in accordance with all applicable data protection laws.

                            ix. Skype Charges. Skype paid products are sold to you by Skype Communications S.à.r.l, however the seller-of-record accountable
                            for taxes is Skype Communications US Corporation. Taxes means the amount of taxes, regulatory fees, surcharges or other fees
                            that we are required to collect from you and must pay to any United States (federal, state or local) or foreign government, agency,
                            commission or quasi-governmental body as a result of our provision of Skype paid products to you. These taxes are listed at
                            www.skype.com/go/ustax. All prices for Skype paid products are inclusive of a charge for your product and a charge for taxes,
                            unless otherwise stated. The charges payable for calling phones outside of a subscription consist of a connection fee (charged
                            once per call) and a per-minute rate as set out at www.skype.com/go/allrates. Call charges will be deducted from your Skype
                            Credit balance. Skype may change its calling rates at any time by posting such change at www.skype.com/go/allrates. The new rate
                            will apply to your next call after publication of the new rates. Please check the latest rates before you make your call. Fractional call
                            minutes and fractional cent charges will be rounded up to the next whole unit.

                            x. Skype Credit. Skype does not guarantee that you will be able to use your Skype Credit balance to purchase all Skype paid
                            products. If you do not use your Skype Credit for a period of 180 days, Skype will place your Skype Credit on inactive status. You
                            can reactivate the Skype Credit by following the reactivation link at https://www.skype.com/go/store.reactivate.credit. You can
                            enable the Auto Recharge feature when you buy Skype Credit by ticking the appropriate box. If enabled, your Skype Credit balance
                            will be recharged with the same amount and by your chosen payment method every time your Skype balance goes below the
                            threshold set by Skype from time to time. If you purchased a subscription with a payment method other than credit card, PayPal or
                            Moneybookers (Skrill), and you have enabled Auto-Recharge, your Skype Credit balance will be recharged with the amount
                            necessary to purchase your next recurring subscription. You can disable Auto-Recharge at any time by accessing and changing
                            your settings in your account portal in Skype. If your Microsoft Account is closed, for any reason, any unused Skype credit
                            associated with your Microsoft account will be lost and cannot be retrieved.

                            xi. International Message Fees. GroupMe currently uses US-based numbers for each group created. Every text message sent to or
                            received from a GroupMe number will count as an international text message sent to or received from the United States. Please
                            check with your provider for the associated international rates.

                            xii. Send and receive money. By using the send and receive money feature (if available), you acknowledge that Skype uses third
                            parties to provide payment services and effect transfers. Skype does not provide payment services or effect transfers and is not a
                            money services business. Sending and receiving money on Skype may only be available to users who are 18 years old and over (or
                            otherwise in accordance with the third parties’ terms) and who register and are approved for an account with the third party
                            provider. To use the send money feature, you may be required to sign up to the third parties’ terms and conditions and to provide
                            permissions to share data with these third parties for the purposes of providing the service. If Skype receives notice that your use
                            of the send money feature violates a third party’s terms and conditions, Skype may have to take action against your account, such
                            as cancelling or suspending your account. Skype, or Microsoft, will not be liable for payment services provided by third parties or
                            any actions taken under third parties’ terms and conditions. Skype makes no guarantees, representations or warranties that the
                            send and receive money feature will be available or continue to be available.

                      Top of page




                              Bing and MSN
                        f. Bing and MSN.

                            i. Bing and MSN Materials. The articles, text, photos, maps, videos, video players, and third-party material available on Bing and
                            MSN, including through Microsoft bots, applications and programs, are for your noncommercial, personal use only. Other uses,
                            including downloading, copying, or redistributing these materials, or using these materials or products to build your own products,
                            are permitted only to the extent specifically authorized by Microsoft or rights holders, or allowed by applicable copyright law.
                            Microsoft or other rights holders reserve all rights to the material not expressly granted by Microsoft under the license terms,
                            whether by implication, estoppel, or otherwise.




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 122
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 123 of 145


                            ii. Bing Maps. You may not use Bird’s eye imagery of the United States, Canada, Mexico, New Zealand, Australia or Japan for
                            governmental use without our separate written approval.

                            iii. Bing Places and Bing Manufacturer Center. When you provide your Data or Your Content to Bing Places or Bing Manufacturer
                            Center, you grant Microsoft a worldwide, royalty-free intellectual property license to use, reproduce, save, modify, aggregate,
                            promote, transmit, display or distribute as part of a service, and sub-license those rights to third parties.

                      Top of page




                              Cortana
                        g. Cortana.

                            i. Personal Noncommercial Use. Cortana is Microsoft’s personal assistant Service. The features, services and content provided by
                            Cortana (collectively "Cortana Services") are only for your personal and noncommercial use.

                            ii. Functionality and Content. Cortana provides a range of features, some of which are personalized. Cortana Services may allow
                            you to access services, information or functionality provided by other Microsoft Services or Third-Party Apps and Services. The
                            service-specific Terms of section 14 also apply to your use of applicable Microsoft Services accessed through Cortana Services.
                            Cortana provides information for your planning purposes only and you should exercise your own independent judgment when
                            reviewing and relying on this information. Microsoft does not guarantee the reliability, availability or timeliness of personalized
                            experiences provided by Cortana. Microsoft is not responsible if a Cortana feature delays or prevents you from receiving, reviewing
                            or sending a communication or notification, or obtaining a service.

                            iii. Third-Party Apps and Services. As part of delivering the Cortana Services, Cortana may suggest and help you interact with
                            Third-Party Apps and Services (third-party skills or connected services). If you choose, Cortana may exchange information with
                            Third-Party Apps and Services, such as your zip code and queries and responses returned by the Third-Party App and Services, to
                            help you obtain requested services. Cortana may enable you to make purchases through Third-Party Apps and Services using the
                            account preferences and settings you have established directly with those Third-Party Apps and Services. You can disconnect your
                            Cortana Service from Third-Party Apps and Services at any time. Your use of Cortana Services to connect with Third-Party Apps and
                            Services is subject to section 5 of these Terms. Publishers of Third-Party Apps and Services may change or discontinue the
                            functionality or features of their Third-Party Apps and Services or integration with Cortana Services. Microsoft is not responsible or
                            liable for manufacturer provided software or firmware.

                            iv. Cortana-Enabled Devices. Cortana-enabled devices are products or devices that are enabled to access Cortana Services, or
                            products or devices that are compatible with Cortana Services. Cortana-enabled devices include third-party devices or products
                            that Microsoft does not own, manufacture, or develop. Microsoft is not responsible or liable for these third-party devices or
                            products.

                            v. Software Updates. We may automatically check your version of Cortana Services software and download software updates or
                            configuration change or require any manufacturers of Cortana enabled devices to keep the Cortana Services software up to date.

                      Top of page




                              Outlook.com

                        h. Outlook.com. The Outlook.com (or @msn, @hotmail, or @live) email address that you use to create your Microsoft account will be
                        unique to you for as long as your Outlook.com inbox or Microsoft account is still active. In the event your Outlook.com inbox or
                        Microsoft account is closed either by you or by Microsoft pursuant to these Terms, the email address or username may be recycled into
                        our system and assigned to another user.

                      Top of page




                              Office Services

                        i. Office Services. Office 365 Home, Office 365 Personal, Office 365 University, Office Online, Sway, OneNote.com and any other Office
                        365 subscription or Office-branded Services are for your personal, noncommercial use, unless you have commercial use rights under a
                        separate agreement with Microsoft.

                      Top of page




                              Microsoft Health Services
                        j. Microsoft Health Services.

                            i. HealthVault. HealthVault is intended for you to store your personal health-related information and information about other
                            people (such as your family) with their consent. HealthVault accounts are not for use by healthcare providers or for any other
                            commercial or non-personal purpose. The information in your account may not always be accurate or up-to-date and should be
                            viewed by any health care provider as informational only. The HealthVault Service does not hold records for healthcare providers
                            or other medical or case management purposes. For example, HealthVault records are not designated record sets as defined under
                            U.S. regulations. If a healthcare provider decides to include any data made available from HealthVault in its records, it should store
                            a copy in its own system. If there is a co-custodian of a record in your account (because one of you invited the other), you



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 123
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 124 of 145


                            acknowledge that the co-custodian has full control over that record and may cancel your access to the record, manage other
                            peoples' access to the record, and view the record's data including how and when the record is used. Microsoft does not support
                            non-Microsoft credentials (such as Facebook and OpenID), so HealthVault customer support will not be able to help with sign-in
                            issues for those. If you lose your sign-in credentials, or if the account where you got your credentials closes, you will not be able to
                            recover your stored data. To help maintain continued access, we suggest you use more than one sign-in credential with your
                            HealthVault account. Microsoft does not endorse or control, and is not responsible for, the operation, support, or security of non-
                            Microsoft credentials you may use.

                            ii. Microsoft Band. Microsoft Band device and application are not medical devices and are intended for fitness and wellness
                            purposes only. They are not designed or intended for use in the diagnosis of disease or other conditions, or in the cure, mitigation,
                            treatment, or prevention of disease or other conditions. Microsoft is not responsible for any decision you make based on
                            information you receive from Microsoft Band.

                            iii. Health Bots. Health bots, which may include action plans, insights, reminders and other features, are not medical devices and
                            are only intended for fitness and wellness purposes with a program issued by a care provider. They are not designed or intended
                            as substitutes for professional medical advice or for use in the diagnosis, cure, mitigation, prevention, or treatment of disease or
                            other conditions. You assume full responsibility for your use of health bots. Microsoft is not responsible for any decision you make
                            based on information you receive from health bots. You should always consult a doctor with any questions you may have
                            regarding a medical condition, diet, fitness, or wellness program before using health bots. Never disregard professional medical
                            advice or delay in seeking it because of information you accessed on or through the Services. As with any technology, health bots
                            may not work as intended for a variety of reasons including loss of power connectivity.

                      Top of page




                              Digital Goods

                        k. Digital Goods. Through Microsoft Groove, Microsoft Movies & TV, Store and any other related and future services, Microsoft may
                        enable you to obtain, listen to, view, play or read (as the case may be) music, images, video, text, books, games or other material
                        ("Digital Goods") that you may get in digital form. The Digital Goods are only for your personal, noncommercial entertainment use.
                        You agree not to redistribute, broadcast, publicly perform or publicly display or transfer any copies of the Digital Goods. Digital Goods
                        may be owned by Microsoft or by third parties. In all circumstances, you understand and acknowledge that your rights with respect to
                        Digital Goods are limited by these Terms, copyright law, and the Usage Rules located at https://go.microsoft.com/fwlink/p/?
                        LinkId=723143. You agree that you will not attempt to modify any Digital Goods obtained through any of the Services for any reason
                        whatsoever, including for the purpose of disguising or changing ownership or source of the Digital Goods. Microsoft or the owners of
                        the Digital Goods may, from time to time, remove Digital Goods from the Services without notice.

                      Top of page




                              OneDrive
                        l. OneDrive.
                            i. Storage Allocation. If you have more content stored in your OneDrive account than is provided to you under the terms of your
                            free or paid subscription service for OneDrive and you do not respond to notice from Microsoft to fix your account by removing
                            excess content or moving to a new subscription plan with more storage, we reserve the right to close your account and delete or
                            disable access to Your Content on OneDrive.

                            ii. Service Performance. Depending on factors such as your equipment, internet connection and Microsoft’s efforts to maintain the
                            performance and integrity of its service, you may occasionally experience delays in uploading or syncing content on OneDrive.

                      Top of page




                              Microsoft Rewards
                        m. Microsoft Rewards.

                            i. Microsoft Rewards (the "Program") enables you to earn redeemable points for activities such as qualified searches, acquisitions,
                            and other offers from Microsoft. Offers may vary by market. A search is the act of an individual user manually entering text for the
                            good faith purpose of obtaining Bing search results for such user’s own research purposes and does not include any query entered
                            by a bot, macro, or other automated or fraudulent means of any kind ("Search"). An acquisition is the process of purchasing goods
                            or downloading and acquiring a license for digital content from Microsoft, whether free or paid ("Acquisition"). Rewards points are
                            not offered for every purchase from Microsoft. Microsoft may offer additional opportunities to earn points from time to time, and
                            each points-earning offer will not be available in perpetuity. Your earned points can be redeemed for items ("Rewards") in the
                            redeem page. For more information see the Rewards section at support.microsoft.com ("FAQ").

                                    1. Program Requirements. You need a valid Microsoft account and your devices must meet the minimum system
                                    requirements. The Program is open to users who reside in the markets listed in the FAQ. Individuals can have no more than
                                    one Program account, even if an individual has multiple email addresses, and households are limited to six accounts. The
                                    Program is solely for your personal and noncommercial use.

                                    2. Points. Except for sharing points within your Microsoft family (limits may apply) or donating your points to a nonprofit
                                    organization listed in the redemption center, you cannot transfer points. Points are not your personal property, and you may
                                    not obtain any cash or money in exchange for them. Points are awarded to you on a promotional basis. You cannot purchase
                                    points. Microsoft may limit the quantity of points or Rewards per person, per household, or over a set period (e.g., a day)




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 124
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 125 of 145


                                    provided that you are not disadvantaged in breach of good faith. You may redeem no more than 550,000 points per calendar
                                    year in the Program. Points earned in the Program are not valid in, and may not be used in combination with, any other
                                    program offered by Microsoft or third parties. Unredeemed points expire if you do not earn or redeem any points for 18
                                    months.

                                    3. Rewards. You may redeem your points by visiting the redeem page or you may contribute points to a listed nonprofit
                                    organization. There may be a limited number of a particular Reward available, and those Rewards will be delivered on a first-
                                    come, first-served basis. You may be required to provide additional information, like your mailing address and a telephone
                                    number (other than a VOIP or toll-free number), and you may also be asked to enter a fraud-prevention code or sign
                                    additional legal documents to redeem points for Rewards. Once you order a Reward, you cannot cancel it or return it for a
                                    refund of points except in the case of defective products or as required by applicable law. If you order a Reward that is out of
                                    stock or unavailable for other reasons, we may substitute a Reward of comparable value or refund your points. Microsoft may
                                    update the Rewards offered on the redeem page or discontinue offering specific Rewards. Some Rewards may have age
                                    eligibility requirements. Any such requirements will be included in the relevant offer. You are responsible for all federal, state,
                                    and local taxes and any other costs of accepting and using the Reward. Rewards will be emailed to the email address
                                    associated with your Microsoft account, so keep your email address up to date. Rewards that are undeliverable will not be
                                    reissued and are therefore forfeited. Rewards are not for resale.

                                    4. Cancelling Your Participation in the Program. Your Program account may be cancelled if you do not log in at least once in
                                    an 18-month period. Additionally, Microsoft reserves the right to cancel the Program account of a specific user for tampering
                                    with, abusing, or defrauding the Program, or for breach of these terms. Upon Program cancellation (by you or us) or if the
                                    Program is suspended, you will have 90 days to redeem your points; otherwise, those points will be forfeited. At the point of
                                    cancellation, your right to use the Program and accrue future points ends.

                                    5. Other Conditions. Microsoft reserves the right to disqualify you; disable your access to the Program or your Rewards
                                    account; and/or withhold points, Rewards and charitable contributions, if Microsoft believes you are tampering with or
                                    abusing any aspect of the Program or may be engaging in activities that violate these Terms.

                      Top of page




                               Azure

                         n. Azure. Your use of the Azure service is governed by the terms and conditions of the separate agreement under which you obtained
                         the services, as detailed at https://go.microsoft.com/fwLink/?LinkID=522330.

                      Top of page




                               Binding Arbitration and Class Action Waiver
                     15. Binding Arbitration and Class Action Waiver If You Live In (or, If a Business, Your Principal Place of Business Is In) the United States.
                     We hope we never have a dispute, but if we do, you and we agree to try for 60 days to resolve it informally. If we can’t, you and we agree to
                     binding individual arbitration before the American Arbitration Association ("AAA") under the Federal Arbitration Act ("FAA"), and not
                     to sue in court in front of a judge or jury. Instead, a neutral arbitrator will decide and the arbitrator’s decision will be final except for a
                     limited right of review under the FAA. Class action lawsuits, class-wide arbitrations, private attorney-general actions, and any other
                     proceeding where someone acts in a representative capacity aren’t allowed. Nor is combining individual proceedings without the
                     consent of all parties. "We," "our," and "us" includes Microsoft, Skype (see section 10) and Microsoft’s affiliates and, if you use Skype Pay by
                     Mobile, your mobile phone carrier.

                         a. Disputes Covered—Everything Except IP. The term "dispute" is as broad as it can be. It includes any claim or controversy between
                         you and us concerning the Services, the software related to the Services, the Services’ or software’s price, your Microsoft account,
                         advertising, marketing, communications, your purchase transaction, billing, or these Terms, under any legal theory including contract,
                         warranty, tort, statute, or regulation, except disputes relating to the enforcement or validity of your, your licensors’, our, or our
                         licensors’ intellectual property rights.

                         b. Mail a Notice of Dispute First. If you have a dispute and our customer service representatives can’t resolve it, send a Notice of
                         Dispute by U.S. Mail to Microsoft Corporation, ATTN: CELA Arbitration, One Microsoft Way, Redmond, WA 98052-6399, U.S.A. (or to
                         your mobile phone carrier at its principal place of business in the United States marked ATTN: Legal Department). Tell us your name,
                         address, how to contact you, what the problem is, and what you want. A form is available at https://go.microsoft.com/fwlink/?
                         LinkId=245499. We’ll do the same if we have a dispute with you. After 60 days, you or we may start an arbitration if the dispute is
                         unresolved.

                         c. Small Claims Court Option. Instead of mailing a Notice of Dispute, you may sue us in small claims court in your county of residence
                         (or, if a business, your principal place of business) or King County, Washington, U.S.A. if you meet the court’s requirements.

                         d. Arbitration Procedure. The AAA will conduct any arbitration under its Commercial Arbitration Rules (or if you are an individual and
                         use the Services for personal or household use, or if the value of the dispute is $75,000 or less whether or not you are an individual or
                         how you use the Services, its Consumer Arbitration Rules). For more information, see www.adr.org or call 1-800-778-7879. To start an
                         arbitration, submit the form available at https://go.microsoft.com/fwlink/?LinkId=245497 to the AAA and mail a copy to us. In a dispute
                         involving $25,000 or less, any hearing will be telephonic unless the arbitrator finds good cause to hold an in-person hearing instead.
                         Any in-person hearing will take place in your county of residence (or, if a business, your principal place of business) or our principal
                         place of business—King County, Washington if your dispute is with Microsoft. You choose. The arbitrator may award the same damages
                         to you individually as a court could. The arbitrator may award declaratory or injunctive relief only to you individually to satisfy your
                         individual claim. Under AAA Rules, the arbitrator rules on his or her own jurisdiction, including the arbitrability of any claim. But a court
                         has exclusive authority to enforce the prohibition on arbitration on a class-wide basis or in a representative capacity.

                         e. Arbitration Fees and Payments.



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 125
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 126 of 145


                              i. Disputes Involving $75,000 or Less. We will promptly reimburse your filing fees and pay the AAA’s and arbitrator’s fees and
                              expenses. If you reject our last written settlement offer made before the arbitrator was appointed, your dispute goes all the way to
                              an arbitrator’s decision (called an “award”), and the arbitrator awards you more than this last written offer, we will: (i) pay the
                              greater of the award or $1,000; (ii) pay your reasonable attorney’s fees, if any; and (iii) reimburse any expenses (including expert
                              witness fees and costs) that your attorney reasonably accrues for investigating, preparing, and pursuing your claim in arbitration.

                              ii. Disputes Involving More than $75,000. The AAA rules will govern payment of filing fees and the AAA’s and arbitrator’s fees and
                              expenses.

                         f. Conflict with AAA Rules. These Terms govern to the extent they conflict with the AAA’s Commercial Arbitration Rules or Consumer
                         Arbitration Rules.

                         g. Must File Within One Year. You and we must file in small claims court or arbitration any claim or dispute (except intellectual
                         property disputes—see section 15(a)) within one year from when it first could be filed. Otherwise, it's permanently barred.

                         h. Rejecting Future Arbitration Changes. You may reject any change we make to section 15 (except address changes) by sending us
                         notice within 30 days of the change by U.S. Mail to the address in section 15(b). If you do, the most recent version of section 15 before
                         the change you rejected will apply.

                         i. Severability. If any part of section 15 (Binding Arbitration and Class Action Waiver) is found to be illegal or unenforceable, the
                         remainder will remain in effect (with an arbitration award issued before any court proceeding begins), except that if a finding of partial
                         illegality or unenforceability would allow class-wide or representative arbitration, section 15 will be unenforceable in its entirety.

                         j. Mobile Phone Carrier as Third-Party Beneficiary. If you use Skype Pay by Mobile, your mobile phone carrier is a third-party
                         beneficiary of your agreement with Microsoft and Skype to resolve disputes through informal negotiation and arbitration. Your mobile
                         phone carrier agrees to do everything Microsoft and Skype agree to do in section 15.

                      Top of page




                               Miscellaneous
                     16. Miscellaneous. This section, and sections 1, 9 (for amounts incurred before the end of these Terms), 10, 11, 12, 13, 15, 18 and those that
                     by their terms apply after the Terms end will survive any termination or cancellation of these Terms. We may assign these Terms, in whole or
                     in part, at any time without notice to you. You may not assign your rights or obligations under these Terms or transfer any rights to use the
                     Services. This is the entire agreement between you and Microsoft for your use of the Services. It supersedes any prior agreements between
                     you and Microsoft regarding your use of the Services. All parts of these Terms apply to the maximum extent permitted by relevant law. If a
                     court or arbitrator holds that we can't enforce a part of these Terms as written, we may replace those terms with similar terms to the extent
                     enforceable under the relevant law, but the rest of these Terms won't change. Section 15(i) says what happens if parts of section 15
                     (arbitration and class action waiver) are found to be illegal or unenforceable. Section 15(i) prevails over this section if inconsistent with it.
                     Except for section 15 (arbitration and class action waiver) these Terms are solely for your and our benefit; they aren’t for the benefit of any
                     other person, except for Microsoft’s successors and assigns.

                     17. Export Laws. You must comply with all domestic and international export laws and regulations that apply to the software and/or
                     Services, which include restrictions on destinations, end users, and end use. For further information on geographic and export restrictions,
                     visit https://go.microsoft.com/fwlink/?linkid=868968 and https://www.microsoft.com/exporting.

                     18. Reservation of Rights and Feedback. Except as expressly provided under these Terms, Microsoft does not grant you a license or any
                     other rights of any type under any patents, know-how, copyrights, trade secrets, trademarks or other intellectual property owned or
                     controlled by Microsoft or any related entity, including but not limited to any name, trade dress, logo or equivalents. If you give to
                     Microsoft any idea, proposal, suggestion or feedback, including without limitation ideas for new products, technologies, promotions,
                     product names, product feedback and product improvements ("Feedback"), you give to Microsoft, without charge, royalties or other
                     obligation to you, the right to make, have made, create derivative works, use, share and commercialize your Feedback in any way and for
                     any purpose. You will not give Feedback that is subject to a license that requires Microsoft to license its software, technologies or
                     documentation to any third party because Microsoft includes your Feedback in them.

                      Top of page




                               NOTICES
                     Notices and procedure for making claims of intellectual property infringement. Microsoft respects the intellectual property rights of third
                     parties. If you wish to send a notice of intellectual property infringement, including claims of copyright infringement, please use our
                     procedures for submitting Notices of Infringement. ONLY INQUIRIES RELEVANT TO THIS PROCEDURE WILL RECEIVE A RESPONSE.

                     Microsoft uses the processes set out in Title 17, United States Code, Section 512 to respond to notices of copyright infringement. In
                     appropriate circumstances, Microsoft may also disable or terminate accounts of users of Microsoft services who may be repeat infringers.

                     Notices and procedures regarding intellectual property concerns in advertising. Please review our Intellectual Property Guidelines
                     regarding intellectual property concerns on our advertising network.

                     Copyright and trademark notices. The Services are copyright © 2018 Microsoft Corporation and/or its suppliers, One Microsoft Way,
                     Redmond, WA 98052, U.S.A. All rights reserved. The Terms incorporate Microsoft Trademark & Brand Guidelines (as amended from time to
                     time). Microsoft and the names, logos, and icons of all Microsoft products, software, and services may be either unregistered or registered
                     trademarks of Microsoft in the United States and/or other countries. The following is a non-exhaustive list of Microsoft’s registered
                     trademarks. The names of actual companies and products may be the trademarks of their respective owners. Any rights not expressly
                     granted in these Terms are reserved. Certain software used in certain Microsoft website servers is based in part on the work of the
                     Independent JPEG Group. Copyright © 1991-1996 Thomas G. Lane. All rights reserved. "gnuplot" software used in certain Microsoft website
                     servers is copyright © 1986-1993 Thomas Williams, Colin Kelley. All rights reserved.




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 126
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 127 of 145


                     Medical notice. Microsoft does not provide medical or any other health care advice, diagnosis, or treatment. Always seek the advice of your
                     physician or other qualified health care provider with any questions you may have regarding a medical condition, diet, fitness, or wellness
                     program. Never disregard professional medical advice or delay in seeking it because of information you accessed on or through the
                     Services.
                     Stock quotes and index data (including index values). © 2013 Morningstar, Inc. All Rights Reserved. The information contained herein: (1)
                     is proprietary to Morningstar and/or its content providers; (2) may not be copied or distributed; and (3) is not warranted to be accurate,
                     complete or timely. Neither Morningstar nor its content providers are responsible for any damages or losses arising from any use of this
                     information. Past performance is no guarantee of future results.
                     You may not use any of the Dow Jones IndexesSM, index data, or the Dow Jones marks in connection with the issuance, creation,
                     sponsorship, trading, marketing, or promotion of any financial instruments or investment products (for example, derivatives, structured
                     products, investment funds, exchange-traded funds, investment portfolios, etc., where the price, return and/or performance of the
                     instrument or investment product is based on, related to, or intended to track any of the Indexes or a proxy for any of the Indexes) without
                     a separate written agreement with Dow Jones.
                     Financial notice. Microsoft isn't a broker/dealer or registered investment advisor under United States federal securities law or securities
                     laws of other jurisdictions and doesn't advise individuals as to the advisability of investing in, purchasing, or selling securities or other
                     financial products or services. Nothing contained in the Services is an offer or solicitation to buy or sell any security. Neither Microsoft nor
                     its licensors of stock quotes or index data endorse or recommend any particular financial products or services. Nothing in the Services is
                     intended to be professional advice, including without limitation, investment or tax advice.

                     Tax Notices. Please review our tax notification page (https://aka.ms/taxservice) for U.S. state and local sales/use tax information.

                     Notice about the H.264/AVC, MPEG-4 Visual, and VC-1 Video Standards. The software may include H.264/AVC, MPEG-4 Visual and/or VC-
                     1 codec technology that may be licensed by MPEG LA, L.L.C. This technology is a format for data compression of video information. MPEG
                     LA, L.L.C. requires this notice:
                     THIS PRODUCT IS LICENSED UNDER THE H.264/AVC, MPEG-4 VISUAL, AND THE VC-1 PATENT PORTFOLIO LICENSES FOR THE PERSONAL
                     AND NONCOMMERCIAL USE OF A CONSUMER TO (A) ENCODE VIDEO IN COMPLIANCE WITH THE STANDARDS ("VIDEO STANDARDS")
                     AND/OR (B) DECODE H.264/AVC, MPEG-4 VISUAL, AND VC-1 VIDEO THAT WAS ENCODED BY A CONSUMER ENGAGED IN A PERSONAL
                     AND NONCOMMERCIAL ACTIVITY AND/OR WAS OBTAINED FROM A VIDEO PROVIDER LICENSED TO PROVIDE SUCH VIDEO. NONE OF THE
                     LICENSES EXTEND TO ANY OTHER PRODUCT REGARDLESS OF WHETHER SUCH PRODUCT IS INCLUDED WITH THIS SOFTWARE IN A SINGLE
                     ARTICLE. NO LICENSE IS GRANTED OR SHALL BE IMPLIED FOR ANY OTHER USE. ADDITIONAL INFORMATION MAY BE OBTAINED FROM
                     MPEG LA, L.L.C. SEE THE MPEG LA WEBSITE.

                     For clarification purposes only, this notice does not limit or inhibit the use of the software provided under these Terms for normal business
                     uses that are personal to that business which do not include (i) redistribution of the software to third parties, or (ii) creation of material with
                     the VIDEO STANDARDS compliant technologies for distribution to third parties.

                      Top of page




                                  STANDARD APPLICATION LICENSE TERMS
                                                                         STANDARD APPLICATION LICENSE TERMS
                                                                   FOR APPLICATIONS OFFERED IN THE UNITED STATES
                                                                MICROSOFT STORE, WINDOWS STORE, AND XBOX STORE

                     These license terms are an agreement between you and the application publisher. Please read them. They apply to the software applications
                     you download from the Microsoft Store, the Windows Store or the Xbox Store (each of which is referred to in these license terms as the
                     "Store"), including any updates or supplements for the application, unless the application comes with separate terms, in which case those
                     terms apply.

                     BY DOWNLOADING OR USING THE APPLICATION, OR ATTEMPTING TO DO ANY OF THESE, YOU ACCEPT THESE TERMS. IF YOU DO NOT
                     ACCEPT THEM, YOU HAVE NO RIGHT TO AND MUST NOT DOWNLOAD OR USE THE APPLICATION.

                     The application publisher means the entity licensing the application to you, as identified in the Store.
                     If you comply with these license terms, you have the rights below.
                          1. INSTALLATION AND USE RIGHTS; EXPIRATION. You may install and use the application on Windows devices or Xbox consoles as
                          described in Microsoft’s Usage Rules. Microsoft reserves the right to modify Microsoft’s Usage Rules at any time.

                          2. INTERNET-BASED SERVICES.
                                 a. Consent for Internet-based or wireless services. If the application connects to computer systems over the Internet, which may
                                 include via a wireless network, using the application operates as your consent to the transmission of standard device information
                                 (including but not limited to technical information about your device, system, and application software, and peripherals) for
                                 Internet-based or wireless services. If other terms are presented in connection with your use of services accessed using the
                                 application, those terms also apply.

                                 b. Misuse of Internet-based services. You may not use any Internet-based service in any way that could harm it or impair anyone
                                 else’s use of it or the wireless network. You may not use the service to try to gain unauthorized access to any service, data, account,
                                 or network by any means.

                          3. SCOPE OF LICENSE. The application is licensed, not sold. This agreement only gives you some rights to use the application. If
                          Microsoft disables the ability to use the applications on your devices pursuant to your agreement with Microsoft, any associated license
                          rights will terminate. The application publisher reserves all other rights. Unless applicable law gives you more rights despite this
                          limitation, you may use the application only as expressly permitted in this agreement. In doing so, you must comply with any technical
                          limitations in the application that only allow you to use it in certain ways. You may not:
                                 a. Work around any technical limitations in the application.
                                 b. Reverse engineer, decompile, or disassemble the application, except and only to the extent that applicable law expressly
                                 permits, despite this limitation.
                                 c. Make more copies of the application than specified in this agreement or allowed by applicable law, despite this limitation.



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 127
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 128 of 145


                               d. Publish or otherwise make the application available for others to copy.
                               e. Rent, lease, or lend the application.
                               f. Transfer the application or this agreement to any third party.

                         4. DOCUMENTATION. If documentation is provided with the application, you may copy and use the documentation for personal
                         reference purposes.

                         5. TECHNOLOGY AND EXPORT RESTRICTIONS. The application may be subject to United States or international technology control or
                         export laws and regulations. You must comply with all domestic and international export laws and regulations that apply to the
                         technology used or supported by the application. These laws include restrictions on destinations, end users, and end use. For
                         information on Microsoft branded products, go to the Microsoft exporting website.

                         6. SUPPORT SERVICES. Contact the application publisher to determine if any support services are available. Microsoft, your hardware
                         manufacturer and your wireless carrier (unless one of them is the application publisher) aren’t responsible for providing support
                         services for the application.

                         7. ENTIRE AGREEMENT. This agreement, any applicable privacy policy, any additional terms that accompany the application, and the
                         terms for supplements and updates are the entire license agreement between you and application publisher for the application.

                         8. APPLICABLE LAW.
                               a. United States and Canada. If you acquired the application in the United States or Canada, the laws of the state or province
                               where you live (or, if a business, where your principal place of business is located) govern the interpretation of these terms,
                               claims for breach of them, and all other claims (including consumer protection, unfair competition, and tort claims),
                               regardless of conflict of law principles.

                               b. Outside the United States and Canada. If you acquired the application in any other country, the laws of that country apply.

                         9. LEGAL EFFECT. This agreement describes certain legal rights. You may have other rights under the laws of your state or country. This
                         agreement doesn’t change your rights under the laws of your state or country if the laws of your state or country don’t permit it to do
                         so.

                         10. DISCLAIMER OF WARRANTY. The application is licensed "as is," "with all faults," and "as available." You bear the entire risk as
                         to its quality, safety, comfort, and performance. Should it prove defective, you assume the entire cost of all necessary servicing or
                         repair. The application publisher, on behalf of itself, Microsoft, wireless carriers over whose network the application is provided,
                         and each of our respective affiliates, vendors, agents, and suppliers ("Covered Parties"), gives no express warranties, guarantees, or
                         conditions in relation to the application. You may have additional consumer rights under your local laws that this agreement can't
                         change. To the extent permitted under your local laws, Covered Parties exclude any implied warranties or conditions, including
                         those of merchantability, fitness for a particular purpose, safety, comfort, and non-infringement. If your local laws impose a
                         warranty, guarantee or condition even though these terms do not, its duration is limited to 90 days from when you download the
                         application.

                         11. LIMITATION ON AND EXCLUSION OF REMEDIES AND DAMAGES. To the extent not prohibited by law, if you have any basis for
                         recovering damages, you can recover from the application publisher only direct damages up to the amount you paid for the
                         application or $1.00, whichever is greater. You will not, and waive any right to, seek to recover any other damages, including lost
                         profits and consequential, special, direct, indirect, or incidental damages, from the application publisher.


                     This limitation applies to:
                       • Anything related to the application or services made available through the application; and
                       • Claims for breach of contract, warranty, guarantee or condition; strict liability, negligence, or other tort; violation of a statute or
                         regulation; unjust enrichment; or under any other theory; all to the extent permitted by applicable law.

                     It also applies even if:
                       • This remedy doesn’t fully compensate you for any losses; or
                       • The application publisher knew or should have known about the possibility of the damages.

                      Top of page




                                Covered Services
                     The following products, apps and services are covered by the Microsoft Services Agreement, but may not be available in your market.
                         Account.microsoft.com
                         Advertising.microsoft.com
                         Ask Cortana
                         Bing App for Android
                         Bing Apps
                         Bing Bots
                         Bing Business Bot
                         Bing Desktop
                         Bing Dictionary
                         Bing for Business
                         Bing Image and News (iOS)
                         Bing in the Classroom
                         Bing Maps
                         Bing Music Bot
                         Bing Search APIs/SDKs
                         Bing Search app
                         Bing Sportscaster




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 128
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 129 of 145


                        Bing Toolbar
                        Bing Translator
                        Bing Webmaster
                        Bing Wikipedia Browser
                        Bing.com
                        Bing
                        Bingplaces.com
                        Citizen Next
                        Cortana skills by Microsoft
                        Cortana
                        Default Homepage and New Tab Page on Microsoft Edge
                        Dev Center App
                        Device Health App
                        Dictate
                        Docs.com
                        Education.minecraft.net
                        Experts for PowerPoint (Preview)
                        Face Swap
                        Feedback Intake Tool for Azure Maps (aka “Azure Maps Feedback”)
                        Forms.microsoft.com
                        Forzamotorsport.net
                        Groove Music Pass
                        Groove
                        GroupMe
                        HealthVault
                        LineBack
                        Manufacturers.bing.com
                        Maps App
                        Microsoft Academic
                        Microsoft account
                        Microsoft Add-Ins for Skype
                        Microsoft Bots
                        Microsoft Educator Community
                        Microsoft Family
                        Microsoft Health
                        Microsoft Launcher
                        Microsoft Movies & TV
                        Microsoft Pay
                        Microsoft Research Interactive Science
                        Microsoft Research Open Data
                        Microsoft Soundscape
                        Microsoft Support and Recovery Assistant for Office 365
                        Microsoft Translator
                        Microsoft Wallpaper
                        Microsoft XiaoIce
                        Minecraft Realms Plus and Minecraft Realms
                        Mixer
                        MSN Dial Up
                        MSN Explorer
                        MSN Food & Drink
                        MSN Health & Fitness
                        MSN Money
                        MSN News
                        MSN Premium
                        MSN Sports
                        MSN Travel
                        MSN Weather
                        MSN.com
                        Next Lock Screen
                        Office 365 Consumer
                        Office 365 Home
                        Office 365 Personal
                        Office 365 Pro Plus optional connected experiences
                        Office 365 University
                        Office for the web (formerly Office Online)
                        Office Store
                        Office Sway
                        Office.com
                        OneDrive.com
                        OneDrive
                        OneNote.com
                        Outlook.com
                        Paint 3D
                        Picturesque Lock Screen
                        Presentation Translator
                        Remix 3D
                        Rinna



DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 129
           Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 130 of 145


                                 rise4fun
                                 Ruuh
                                 Seeing AI
                                 Send
                                 Skype in the Classroom
                                 Skype Interviews
                                 Skype Manager
                                 Skype Qik
                                 Skype.com
                                 Skype
                                 Smart Search
                                 Snip Insights
                                 Spreadsheet Keyboard
                                 Sprinkles
                                 Store
                                 Sway.com
                                 to-do.microsoft.com
                                 Translator for Microsoft Edge
                                 Translator Live
                                 UrWeather
                                 Video Breakdown
                                 Visio Online
                                 Web Translator
                                 Who’s In
                                 Windows games, apps and websites published by Microsoft
                                 Windows Movie Maker
                                 Windows Photo Gallery
                                 Windows Store
                                 Windows Live Mail
                                 Windows Live Writer
                                 Word Flow
                                 Xbox Game Pass
                                 Xbox Game Studios games, apps and websites
                                 Xbox Live Gold
                                 Xbox Live
                                 Xbox Music
                                 Xbox Store
                                 Zo

                               Top of page



What's new
Microsoft 365
Surface Pro X
Surface Laptop 3
Surface Pro 7
Windows 10 apps
Microsoft Store
Account profile
Download Center
Microsoft Store support
Returns
Order tracking
Store locations
Buy online, pick up in store
In-store events
Education
Microsoft in education
Office for students
Office 365 for schools
Deals for students & parents
Microsoft Azure in education
Enterprise
Azure
AppSource
Automotive
Government
Healthcare



     DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
     ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 130
            Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 131 of 145


Manufacturing
Financial services
Retail
Developer
Microsoft Visual Studio
Windows Dev Center
Developer Network
TechNet
Microsoft developer program
Channel 9
Office Dev Center
Microsoft Garage
Company
Careers
About Microsoft
Company news
Privacy at Microsoft
Investors
Diversity and inclusion
Accessibility
Security
English (United States)
Contact us
Privacy and cookies
Terms of use
Trademarks
About our ads
© Microsoft 2020




     DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
     ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 131
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 132 of 145




                   Exhibit F




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 132
                                                                                         Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 133 of 145




                             Published: August              1,   2020
                             Effective: October             1,   2020
                                                                                                                                                                                                                                                                                                                                                                Print


                             Microsoft Services Agreement
                             IFYOU LIVE IN (OR YOUR PRINCIPAL PLACE OF BUSINESS             IS   IN) THE UNITED STATES, PLEASE READ THE BINDING ARBITRATION CLAUSE AND CLASS ACTION WAIVER IN SECTION 15.                                                                                                             IT       AFFECTS HOW DISPUTES ARE
                             RESOLVED.
                             These terms (“ Terms ”) cover the use of those Microsoft consumer products, websites, and services listed at the end of these Terms here (the “ Services ”). You accept these Terms by creating                                                                                                             a   Microsoft account,
                             through your use of the Services, or by continuing to use the Services after being notified of a change to these Terms.


                                  Your Privacy                                                           Your Privacy
                                  Your Content                                      1.  Your Privacy. Your privacy is important to us. Please read the Microsoft Privacy Statement (https://go.microsoft.com/fwlink/?LinkId=521839) (the " Privacy
                                                                                    Statement ") as it describes the types of data we collect from you and your devices (" Data "), how we use your Data, and the legal bases we have to process your
                                                                                    Data. The Privacy Statement also describes how Microsoft uses your content, which is your communications with others; postings submitted by you to Microsoft
                                  Code    of   Conduct                              via the Services; and the files, photos, documents, audio, digital works, livestreams and videos that you upload, store, broadcast or share through the Services
                                                                                    (" Your Content "). Where processing is based on consent and to the extent permitted by law, by agreeing to these Terms, you consent to Microsoft’s collection,
                                                                                    use and disclosure of Your Content and Data as described in the Privacy Statement. In some cases, we will provide separate notice and request your consent as
                                  Using the Services & Support                      referenced in the Privacy Statement.


                                  Using Third-Party Apps and Services

                                  Service Availability                                                   Your Content
                                                                                    2.Your Content. Many of our Services allow you to store or share Your Content or receive material from others. We don’t claim ownership of Your Content. Your
                                  Updates to the Services or Software,              Content remains Your Content and you are responsible for it.
                                  and Changes to These Terms
                                                                                            a. When you share Your Content with other people, you understand that they may be able to, on a worldwide basis, use, save, record, reproduce, broadcast,
                                                                                            transmit, share and display Your Content for the purpose that you made Your Content available on the Services without compensating you. If you do not
                                  Software License                                          want others to have that ability, do not use the Services to share Your Content. You represent and warrant that for the duration of these Terms, you have
                                                                                            (and will have) all the rights necessary for Your Content that is uploaded, stored, or shared on or through the Services and that the collection, use, and
                                                                                            retention of Your Content will not violate any law or rights of others. Microsoft cannot be held responsible for Your Content or the material others upload,
                                  Payment Terms                                             store or share using the Services.
                                                                                            b. To the extent necessary to provide the Services to you and others, to protect you and the Services, and to improve Microsoft products and services, you
                                  Contracting     Entity,    Choice     of   Law,           grant to Microsoft a worldwide and royalty-free intellectual property license to use Your Content, for example, to make copies of, retain, transmit, reformat,
                                  Jurisdiction                                              display, and distribute via communication tools Your Content on the Services. If you publish Your Content in areas of the Service where it is available broadly
                                                                                            online without restrictions, Your Content may appear in demonstrations or materials that promote the Service. Some of the Services are supported by
                                                                                            advertising. Controls for how Microsoft personalizes advertising are available at http://choice.live.com (https://go.microsoft.com/fwlink/?LinkId=286759). We
                                  Warranties                                                do not use what you say in email, chat, video calls or voice mail, or your documents, photos or other personal files, to target advertising to you. Our
                                                                                            advertising policies are covered in detail in the Privacy Statement.

                                  Limitation    of Liability                             Top of page


                                  Service-Specific Terms                                                 Code                of    Conduct
                                  Xbox                                              3.   Code of Conduct.
                                                                                           a. By agreeing to these Terms, you’re agreeing that, when using the Services, you will follow these rules:

                                  Store                                                         i. Don’t do anything illegal.

                                                                                                ii. Don’t engage in any activity that exploits, harms, or threatens to harm children.

                                                                                                iii. Don’t send spam    or engage in phishing. Spam is unwanted or unsolicited bulk email, postings, contact requests, SMS (text messages), instant
                                  Microsoft Family Features                                     messages, or similar electronic communications. Phishing is sending emails or other electronic communications to fraudulently or unlawfully induce
                                                                                                recipients to reveal personal or sensitive information, such as passwords, dates of birth, Social Security numbers, passport numbers, credit card
                                                                                                information, financial information, or other sensitive information, or to gain access to accounts or records, exfiltration of documents or other sensitive
                                  Group Messaging                                               information, payment and/or financial benefit.
                                                                                                iv. Don’t publicly display or use the Services to share inappropriate content or material (involving, for example, nudity, bestiality, pornography, offensive
                                                                                                language, graphic violence, or criminal activity).
                                  Skype and GroupMe                                             v. Don’t engage in activity that is fraudulent, false or misleading (e.g., asking for money under false pretenses, impersonating someone else,
                                                                                                manipulating the Services to increase play count, or affect rankings, ratings, or comments).
                                                                                                vi. Don’t circumvent any restrictions on access to or availability of the Services.
                                  Bing and MSN                                                  vii. Don’t engage in activity that is harmful to you, the Services or others (e.g., transmitting viruses, stalking, posting terrorist or violent extremist
                                                                                                content, communicating hate speech, or advocating violence against others).
                                                                                                viii. Don’t infringe upon the rights of others (e.g., unauthorized sharing of copyrighted music or other copyrighted material, resale or other distribution
                                  Cortana                                                       of Bing maps, or photographs).
                                                                                                ix. Don’t engage in activity that violates the privacy of others.
                                                                                                x. Don’t help others break these rules.
                                  Outlook.com
                                                                                            b. Enforcement. If you violate these Terms, we may stop providing Services to you or we may close your Microsoft account. We may also block delivery of a
                                                                                            communication (like email, file sharing or instant message) to or from the Services in an effort to enforce these Terms or we may remove or refuse to publish
                                  Office-based Services                                     Your Content for any reason. When investigating alleged violations of these Terms, Microsoft reserves the right to review Your Content in order to resolve
                                                                                            the issue. However, we cannot monitor the entire Services and make no attempt to do so.
                                  Microsoft Health Services                                 c. Application to Xbox Services. Click here (https://www.xbox.com/en-US/Legal/CodeOfConduct) for more information about how this Code of Conduct
                                                                                            applies to the Xbox online service, Xbox Game Pass, Games for Windows Live and Xbox Game Studios games, applications, services and content provided by
                                                                                            Microsoft. Violation of the Code of Conduct through Xbox Services (defined in section 14.a.i) may result in suspensions or bans from participation in Xbox
                                  Digital Goods                                             Services, including forfeiture of content licenses, Xbox Gold Membership time, and Microsoft account balances associated with the account.

                                                                                         Top of page
                                  OneDrive

                                  Microsoft Rewards                                                      Using the Services & Support
                                                                                    4.   Using the Services & Support.
                                  Azure
                                                                                           a. Microsoft account. You’ll need a Microsoft account to access many of the Services. Your Microsoft account lets you sign in to products, websites and
                                                                                           services provided by Microsoft and some Microsoft partners.
                                  Binding Arbitration and Class Action                          i. Creating an Account. You can create a Microsoft account by signing up online. You agree not to use any false, inaccurate or misleading information

                                  Waiver                                                        when signing up for your Microsoft account. In some cases, a third party, like your Internet service provider, may have assigned a Microsoft account to
                                                                                                you. If you received your Microsoft account from a third party, the third party may have additional rights over your account, like the ability to access or
                                                                                                delete your Microsoft account. Please review any additional terms the third party provided you, as Microsoft has no responsibility regarding these
                                  Miscellaneous                                                 additional terms. If you create a Microsoft account on behalf of an entity, such as your business or employer, you represent that you have the legal
                                                                                                authority to bind that entity to these Terms. You cannot transfer your Microsoft account credentials to another user or entity. To protect your account,
                                                                                                keep your account details and password confidential. You are responsible for all activity that occurs under your Microsoft account.
                                  NOTICES
                                                                                                   ii.Account Use. You must use your Microsoft account to keep it active. This means you must sign in at least once in a two-year period to keep your
                                                                                                   Microsoft account, and associated Services, active, unless a longer period is provided in the Microsoft account activity policy at
                                  STANDARD APPLICATION LICENSE                                     https://go.microsoft.com/fwlink/p/?linkid=2086738 or in an offer for a paid portion of the Services. If you don’t sign in during this time, we will assume
                                  TERMS                                                            your Microsoft account is inactive and will close it for you. Please see section 4.a.iv.2 for the consequences of a closed Microsoft account. You must sign
                                                                                                   into your Outlook.com inbox and your OneDrive (separately) at least once in a one-year period, otherwise we will close your Outlook.com inbox and
                                                                                                   your OneDrive for you. You must sign into the Xbox Services at least once in a five-year period to keep the gamertag associated with your Microsoft
                                  Covered Services                                                 account. If we reasonably suspect that your Microsoft account is at risk of being used by a third party fraudulently (for example, as a result of an
                                                                                                   account compromise), Microsoft may suspend your account until you can reclaim ownership. Based on the nature of the compromise, we may be
                                                                                                   required to disable access to some or all of Your Content. If you are having trouble accessing your Microsoft account, please visit this website:
                                                                                                   https://go.microsoft.com/fwlink/?LinkId=238656                                      .




                                                                                                   iii.Kids and Accounts. By creating a Microsoft account or using the Services, you accept and agree to be bound by these Terms and represent that you
                                                                                                   have either reached the age of “majority” where you live or your parent or legal guardian agrees to be bound by these Terms on your behalf. If you do
                                                                                                   not know whether you have reached the age of majority where you live, or do not understand this section, please ask your parent or legal guardian for
                                                                                                   help. If you are the parent or legal guardian of a minor, you and the minor accept and agree to be bound by these Terms and are responsible for all use
                                                                                                   of the Microsoft account or Services, including purchases, whether the minor’s account is now open or created later.
                                                                                                   iv.     Closing Your Account.
                                                                                                             1. You can cancel specific Services or close your Microsoft account at any time and                                                        for any reason. To close your Microsoft account, please visit
                                                                                                             https://account.live.com/closeaccount.aspx When you ask us to close your Microsoft
                                                                                                                                                                               .                                                                       account, we will put it in a suspended state for 60 days just in
                                                                                                             case you change your mind. After that 60-day period, your Microsoft account will be                                                        closed. Please see section 4.a.iv.2 below for an explanation as
                                                                                                             to what happens when your Microsoft account is closed. Logging back in during that                                                        60-day period will reactivate your Microsoft account.
                                                                                                            2. Ifyour Microsoft account is closed (whether                                       by you or us), a few things happen. First, your right to use the Microsoft account to access the
                                                                                                            Services stops immediately. Second, we’ll delete                                     Data or Your Content associated with your Microsoft account or will otherwise disassociate it from
                                                                                                            you and your Microsoft account (unless we are                                        required by law to keep it, return it, or transfer it to you or a third party identified by you). You
                                                                                                            should have a regular backup plan as Microsoft                                        won’t be able to retrieve Your Content or Data once your account is closed. Third, you may lose
                                                                                                            access to products you’ve acquired.
                                                                                            b. Work or School Accounts. You can sign into certain Microsoft services with a work or school email address. If you do, you agree that the owner of the
                                                                                            domain associated with your email address may be notified of the existence of your Microsoft account and its associated subscriptions, control and
                                                                                            administer your account, and access and process your Data, including the contents of your communications and files, and that Microsoft may notify the
                                                                                            owner of the domain if the account or Data is compromised. You further agree that your use of the Microsoft services may be subject to the agreements
                                                                                            Microsoft has with you or your organization and these Terms may not apply. If you already have a Microsoft account and you use a separate work or school
                                                                                            email address to access Services covered under these Terms, you may be prompted to update the email address associated with your Microsoft account in
                                                                                            order to continue accessing such Services.
                                                                                            c. Additional Equipment/Data Plans. To use many of the Services, you’ll need an internet connection and/or data/cellular plan. You might also need
                                                                                            additional equipment, like a headset, camera or microphone. You are responsible for providing all connections, plans, and equipment needed to use the
                                                                                            Services and for paying the fees charged by the provider(s) of your connections, plans, and equipment. Those fees are in addition to any fees you pay us for
                                                                                            the Services and we will not reimburse you for such fees. Check with your provider(s) to determine if there are any such fees that may apply to you.
                                                                                            d. Service Notifications. When there’s something we need to tell you about a Service you use, we’ll send you Service notifications. If you gave us your email
                                                                                            address or phone number in connection with your Microsoft account, then we may send Service notifications to you via email or via SMS (text message),
                                                                                            including to verify your identity before registering your mobile phone number and verifying your purchases. We may also send you Service notifications by
                                                                                            other means (for example by in-product messages). Data or messaging rates may apply when receiving notifications via SMS.
                                                                                            e. Support. Customer support for some Services is available at https://support.microsoft.com Certain Services may offer separate or additional customer    .


                                                                                            support, subject to the terms available at www.microsoft.com/support-service-agreement unless otherwise specified. Support may not be available for,


                                                                                            preview or beta versions of features or Services.
                                                                                            f.Ending your Services. If your Services are canceled (whether by you or us), first your right to access the Services stops immediately and your license to the
                                                                                            software related to the Services ends. Second, we’ll delete Data or Your Content associated with your Service or will otherwise disassociate it from you and
                                                                                            your Microsoft account (unless we are required by law to keep it, return it, or transfer it to you or a third party identified by you). As a result you may no
                                                                                            longer be able to access any of the Services (or Your Content that you’ve stored on those Services). You should have a regular backup plan. Third, you may
                                                                                            lose access to products you’ve acquired. If you have canceled your Microsoft account and have no other account able to access the Services your Services
                                                                                            may be canceled immediately.

                                                                                         Top of page



                                                                                                         Using Third-Party Apps and Services
                                                                                    5. Using Third-Party Apps and Services. The Services may allow you to access or acquire products, services, websites, links, content, material, games, skills,
                                                                                    integrations, bots or applications from independent third parties (companies or people who aren’t Microsoft) ( "Third-Party Apps and Services" ). Many of our
                                                                                    Services also help you find, make requests to, or interact with Third-Party Apps and Services or allow you to share Your Content or Data, and you understand that
                                                                                    by using our Services you are directing them to make Third-Party Apps and Services available to you. The Third-Party Apps and Services may allow you to store
                                                                                    Your Content or Data with the publisher, provider or operator of the Third-Party Apps and Services. The Third-Party Apps and Services may present you with a
                                                                                    privacy policy or require you to accept their terms before you can install or use the Third-Party App or Service. See section 14.b for additional terms for
                                                                                    applications acquired through certain Stores owned or operated by Microsoft or its affiliates (including, but not limited to, the Office Store, the Microsoft Store
                                                                                    on Xbox and the Microsoft Store on Windows). You should review the third-party terms and privacy policies before acquiring, using, requesting, or linking your
                                                                                    Microsoft Account to any Third-Party Apps and Services. Any third-party terms do not modify any of these Terms. You are responsible for your dealings with
                                                                                    third parties. Microsoft does not license any intellectual property to you as part of any Third-Party Apps and Services and is not responsible or liable to you or
                                                                                    others for information or services provided by any Third-Party Apps and Services.

                                                                                         Top of page



                                                                                                         Service Availability
                                                                                    6.   Service Availability.
                                                                                           a. The Services, Third-Party Apps and Services, or material or products offered through the Services may be unavailable from time to time, may be offered
                                                                                           for a limited time, or may vary depending on your region or device. If you change the location associated with your Microsoft account, you may need to re-
                                                                                           acquire the material or applications that were available to you and paid for in your previous region.
                                                                                            b. We strive to keep the Services up and running; however, all online services suffer occasional disruptions and outages, and Microsoft is not liable for any
                                                                                            disruption or loss you may suffer as a result. In the event of an outage, you may not be able to retrieve Your Content or Data that you’ve stored. We
                                                                                            recommend that you regularly backup Your Content and Data that you store on the Services or store using Third-Party Apps and Services.

                                                                                         Top of page



                                                                                                         Updates                    to     the Services                                or        Software, and Changes                                                               to       These Terms
                                                                                    7.   Updates to the Services or Software, and Changes to These Terms.
                                                                                            a. We may change these Terms at any time, and we’ll tell you when we do. Using the Services after the changes become effective means you agree to the
                                                                                            new terms. If you don’t agree to the new terms, you must stop using the Services, close your Microsoft account and, if you are a parent or guardian, help
                                                                                            your minor child close his or her Microsoft account.
                                                                                            b. Sometimes you’ll need software updates to keep using the Services. We may automatically check your version of the software and download software
                                                                                            updates or configuration changes. You may also be required to update the software to continue using the Services. Such updates are subject to these Terms
                                                                                            unless other terms accompany the updates, in which case, those other terms apply. Microsoft isn’t obligated to make any updates available and we don’t
                                                                                            guarantee that we will support the version of the system or device for which you purchased or licensed the software, apps, content or other products.
                                                                                            c. Additionally, there may be times when we need to remove or change features or functionality of the Service or stop providing a Service or access to Third-
                                                                                            Party Apps and Services altogether. Except to the extent required by applicable law, we have no obligation to provide a re-download or replacement of any
                                                                                            material, Digital Goods (defined in section 14.k), or applications previously purchased. We may release the Services or their features in a preview or beta
                                                                                            version, which may not work correctly or in the same way the final version may work.
                                                                                            d. So that you can use material protected with digital rights management (DRM), like some music, games, movies, books and more, DRM software may
                                                                                            automatically contact an online rights server and download and install DRM updates.

                                                                                         Top of page



                                                                                                         Software License
                                                                                    8. Software License. Unless accompanied by a separate Microsoft license agreement (for example, if you are using a Microsoft application that is included with
                                                                                    and a part of Windows, then the Microsoft Software License Terms for the Windows Operating System govern such software), any software provided by us to you
                                                                                    as part of the Services is subject to these Terms. Applications acquired through certain Stores owned or operated by Microsoft or its affiliates (including, but not
                                                                                    limited to the Office Store, Microsoft Store on Windows and Microsoft Store on Xbox) are subject to section 14.b.i below.
                                                                                         a. If you comply with these Terms, we grant you the right to install and use one copy of the software per device on a worldwide basis for use by only one
                                                                                         person at a time as part of your use of the Services. For certain devices, such software may be pre-installed for your personal, non-commercial use of the
                                                                                         Services. The software or website that is part of the Services may include third-party code. Any third-party scripts or code, linked to or referenced from the
                                                                                         software or website, are licensed to you by the third parties that own such code, not by Microsoft. Notices, if any, for the third-party code are included for
                                                                                         your information only.
                                                                                            b. The software is licensed, not sold, and Microsoft reserves all rights to the software not expressly granted by Microsoft, whether by implication, estoppel,
                                                                                            or otherwise. This license does not give you any right to, and you may not:
                                                                                                 i. circumvent or bypass any technological protection measures in or relating to the software or Services;

                                                                                                 ii. disassemble, decompile, decrypt, hack, emulate, exploit, or reverse          engineer any software or other aspect of the Services that is included in or
                                                                                                 accessible through the Services, except and only to the extent that the applicable copyright law expressly permits doing so;
                                                                                                 iii. separate components of the software or Services for use on different devices;

                                                                                                 iv. publish, copy, rent, lease, sell, export, import, distribute, or lend the software or the Services, unless Microsoft expressly authorizes you to do so;
                                                                                                 v. transfer the software, any software licenses, or any rights to access or use the Services;
                                                                                                 vi. use the Services in any unauthorized way that could interfere with anyone else’s use of them or gain access to any service, data, account, or network;
                                                                                                 vii. enable access to the Services or modify any Microsoft-authorized device (e.g., Xbox consoles, Microsoft Surface, etc.) by unauthorized third-party
                                                                                                 applications.

                                                                                         Top of page



                                                                                                         Payment Terms
                                                                                    9.   Payment Terms. If you purchase a Service, then these payment terms apply to your purchase and you agree to them.
                                                                                           a. Charges. If there is a charge associated with a portion of the Services, you agree to pay that charge. The price stated for the Services excludes all
                                                                                           applicable taxes and currency exchange settlements, unless stated otherwise. The price for Skype paid products includes a charge for the product and a
                                                                                           charge for taxes. You are solely responsible for paying such taxes or other charges. Taxes are calculated based on your location at the time your Microsoft
                                                                                           account was registered. We may suspend or cancel the Services if we do not receive an on time, full payment from you. Suspension or cancellation of the
                                                                                           Services for non-payment could result in a loss of access to and use of your account and its content. Connecting to the Internet via a corporate or other
                                                                                           private network that masks your location may cause charges to be different from those displayed for your actual location.
                                                                                            b. Your Billing Account. To pay the charges for a Service, you will be asked to provide a payment method at the time you sign up for that Service. You can
                                                                                            access and change your billing information and payment method on the Microsoft account management website (https://go.microsoft.com/fwlink/p/?
                                                                                            linkid=618281) and for Skype by signing into your account portal at https://skype.com/go/myaccount Additionally, you agree to permit Microsoft to use                                .


                                                                                            any updated account information regarding your selected payment method provided by your issuing bank or the applicable payment network. You agree to
                                                                                            promptly update your account and other information, including your email address and payment method details, so we can complete your transactions and
                                                                                            contact you as needed in connection with your transactions. Changes made to your billing account will not affect charges we submit to your billing account
                                                                                            before we could reasonably act on your changes to your billing account.
                                                                                            c. Billing. By providing Microsoft with a payment method, you (i) represent that you are authorized to use the payment method you provided and that any
                                                                                            payment information you provide is true and accurate; (ii) authorize Microsoft to charge you for the Services or available content using your payment
                                                                                            method; and (iii) authorize Microsoft to charge you for any paid feature of the Services you choose to sign up for or use while these Terms are in force. We
                                                                                            may bill you (a) in advance; (b) at the time of purchase; (c) shortly after purchase; or (d) on a recurring basis for subscription Services. Also, we may charge
                                                                                            you up to the amount you have approved, and we will notify you in advance of any change in the amount to be charged for recurring subscription Services.
                                                                                            We may bill you at the same time for more than one of your prior billing periods for amounts that haven't previously been processed.
                                                                                            d.  Recurring Payments. When you purchase the Services on a subscription basis (e.g., monthly, every 3 months or annually), you agree that you are
                                                                                            authorizing recurring payments, and payments will be made to Microsoft by the method and at the recurring intervals you have agreed to, until the
                                                                                            subscription for that Service is terminated by you or by Microsoft. You must cancel your Services before the next billing date to stop being charged to
                                                                                            continue your Services. We will provide you with instructions on how you may cancel the Services. By authorizing recurring payments, you are authorizing
                                                                                            Microsoft to store your payment instrument and process such payments as either electronic debits or fund transfers, or as electronic drafts from your
                                                                                            designated account (for Automated Clearing House or similar payments), or as charges to your designated account (for credit card or similar payments)
                                                                                            (collectively, "Electronic Payments" ). Subscription fees are generally charged in advance of the applicable subscription period. If any payment is returned
                                                                                            unpaid or if any credit card or similar transaction is rejected or denied, Microsoft or its service providers reserve the right to collect any applicable return
                                                                                            item, rejection or insufficient funds fee and process any such payment as an Electronic Payment.
                                                                                            e.  Online Statement and Errors. Microsoft will provide you with an online billing statement on the Microsoft account management website
                                                                                            (https://go.microsoft.com/fwlink/p/?linkid=618282), where you can view and print your statement. For Skype, you can access your online statement by
                                                                                            signing into your account at www.skype.com (https://www.skype.com). This is the only billing statement that we provide. If we make an error on your bill,
                                                                                            you must tell us within 90 days after the error first appears on your bill. We will then promptly investigate the charge. If you do not tell us within that time,
                                                                                            you release us from all liability and claims of loss resulting from the error and we won't be required to correct the error or provide a refund. If Microsoft has
                                                                                            identified a billing error, we will correct that error within 90 days.
                                                                                            f.Refund Policy. Unless otherwise provided by law or by a particular Service offer, all purchases are final and non-refundable. If you believe that Microsoft
                                                                                            has charged you in error, you must contact us within 90 days of such charge. No refunds will be given for any charges more than 90 days old. We reserve
                                                                                            the right to issue refunds or credits at our sole discretion. If we issue a refund or credit, we are under no obligation to issue the same or similar refund in the
                                                                                            future. This refund policy does not affect any statutory rights that may apply. For more refund information, please visit our help topic
                                                                                            (https://go.microsoft.com/fwlink/p/?linkid=618283).
                                                                                            g. Canceling the Services. You may cancel a Service at any time, with or without cause. Cancelling paid Services stops future charges to continue the Service.
                                                                                            To cancel a Service and request a refund, if you are entitled to one, visit the Microsoft account management website. You can request a refund from Skype
                                                                                            using the Cancellation and Refund form (https://go.microsoft.com/fwlink/p/?linkid=618286). You should refer back to the offer describing the Services as (i)
                                                                                            you may not receive a refund at the time of cancellation; (ii) you may be obligated to pay cancellation charges; (iii) you may be obligated to pay all charges
                                                                                            made to your billing account for the Services before the date of cancellation; and (iv) you may lose access to and use of your account when you cancel the
                                                                                            Services. We will process your Data as described above in section 4. If you cancel, your access to the Services ends at the end of your current Service period
                                                                                            or, if we bill your account on a periodic basis, at the end of the period in which you canceled.

                                                                                            h. Trial-Period Offers. If you are taking part in any trial-period offer, you may be required to cancel the trial Service(s) within the timeframe communicated to
                                                                                            you when you accepted the offer in order to avoid being charged to continue the Service(s) at the end of the trial period.
                                                                                            i.Promotional Offers. From time to time, Microsoft may offer Services for a trial period during which Microsoft will not charge you for the Services. Microsoft
                                                                                            reserves the right to charge you for such Services (at the normal rate) if Microsoft determines (in its reasonable discretion) that you are breaching the terms
                                                                                            and conditions of the offer.
                                                                                            j.Price Changes. We may change the price of the Services at any time and if you have a recurring purchase, we will notify you by email, or other reasonable
                                                                                            manner, at least 15 days before the price change. If you do not agree to the price change, you must cancel and stop using the Services before the price
                                                                                            change takes effect. If there is a fixed term and price for your Service offer, that price will remain in force for the fixed term.
                                                                                            k. Payments to You. If we owe you a payment, then you agree to timely and accurately provide us with any information we need to get that payment to you.
                                                                                            You are responsible for any taxes and charges you may incur as a result of this payment to you. You must also comply with any other conditions we place on
                                                                                            your right to any payment. If you receive a payment in error, we may reverse or require return of the payment. You agree to cooperate with us in our efforts
                                                                                            to do this. We may reduce the payment to you without notice to adjust for any previous overpayment.
                                                                                            l. Gift Cards. Redemption and use of gift cards (other than Skype gift cards) are governed by the Microsoft Gift Card Terms and Conditions
                                                                                            (https://support.microsoft.com/help/10562/microsoft-account-gift-card-terms-and-conditions). Information on Skype gift cards is available on Skype’s Help
                                                                                            page (https://go.microsoft.com/fwlink/?LinkId=615383).
                                                                                            m. Bank Account Payment Method. You may register an eligible bank account with your Microsoft account to use it as a payment method. Eligible bank
                                                                                            accounts include accounts held at a financial institution capable of receiving direct debit entries (e.g., a United States-based financial institution that
                                                                                            supports automated clearing house (" ACH ") entries, a European financial institution that supports Single Euro Payments Area (" SEPA ") or "iDEAL" in the
                                                                                            Netherlands). Terms you agreed to when adding your bank account as a payment method in your Microsoft account (e.g., the “mandate” in the case of
                                                                                            SEPA) also apply. You represent and warrant that your registered bank account is held in your name or you are authorized to register and use this bank
                                                                                            account as a payment method. By registering or selecting your bank account as your payment method, you authorize Microsoft (or its agent) to initiate one
                                                                                            or more debits for the total amount of your purchase or subscription charge (in accordance with the terms of your subscription service) from your bank
                                                                                            account (and, if necessary, initiate one or more credits to your bank account to correct errors, issue a refund or similar purpose), and you authorize the
                                                                                            financial institution that holds your bank account to deduct such debits or accept such credits. You understand that this authorization will remain in full force
                                                                                            and effect until you remove your bank account information from your Microsoft account. Contact customer support as outlined above in section 4.e as soon
                                                                                            as possible if you believe you have been charged in error. Laws applicable in your country may also limit your liability for any fraudulent, erroneous or
                                                                                            unauthorized transactions from your bank account. By registering or selecting a bank account as your payment method, you acknowledge that you have
                                                                                            read, understand and agree to these Terms.

                                                                                         Top of page



                                                                                                         Contracting                         Entity,         Choice                          of         Law, Jurisdiction
                                                                                    10. Contracting Entity. For use of free and paid consumer Skype-branded Services, you're contracting with, and all references to “Microsoft” in these Terms mean,
                                                                                    Skype Communications S.à.r.l, 23 – 29 Rives de Clausen, L-2165 Luxembourg. For all other Services, you're contracting with Microsoft Corporation, One Microsoft
                                                                                    Way, Redmond, WA 98052, U.S.A.
                                                                                    11. Choice of Law and Place to Resolve Disputes. If you live in (or, if a business, your principal place of business is in) the United States, the laws of the state
                                                                                    where you live (or, if a business, where your principal place of business is located) govern all claims, regardless of conflict of laws principles, except that the
                                                                                    Federal Arbitration Act governs all provisions relating to arbitration. You and we irrevocably consent to the exclusive jurisdiction and venue of the state or federal
                                                                                    courts in King County, Washington, for all disputes arising out of or relating to these Terms or the Services that are heard in court (excluding arbitration and
                                                                                    small claims court).

                                                                                         Top of page



                                                                                                         Warranties
                                                                                    12. Warranties. MICROSOFT, AND OUR AFFILIATES, RESELLERS, DISTRIBUTORS, AND VENDORS, MAKE NO WARRANTIES, EXPRESS OR IMPLIED, GUARANTEES OR
                                                                                    CONDITIONS WITH RESPECT TO YOUR USE OF THE SERVICES. YOU UNDERSTAND THAT USE OF THE SERVICES IS AT YOUR OWN RISK AND THAT WE PROVIDE
                                                                                    THE SERVICES ON AN "AS IS" BASIS "WITH ALL FAULTS" AND "AS AVAILABLE." YOU BEAR THE ENTIRE RISK OF USING THE SERVICES. MICROSOFT DOESN'T
                                                                                    GUARANTEE THE ACCURACY OR TIMELINESS OF THE SERVICES. TO THE EXTENT PERMITTED UNDER YOUR LOCAL LAW, WE EXCLUDE ANY IMPLIED
                                                                                    WARRANTIES, INCLUDING FOR MERCHANTABILITY, SATISFACTORY QUALITY, FITNESS FOR A PARTICULAR PURPOSE, WORKMANLIKE EFFORT, AND NON-
                                                                                    INFRINGEMENT. YOU MAY HAVE CERTAIN RIGHTS UNDER YOUR LOCAL LAW. NOTHING IN THESE TERMS IS INTENDED TO AFFECT THOSE RIGHTS, IF THEY ARE
                                                                                    APPLICABLE. YOU ACKNOWLEDGE THAT COMPUTER AND TELECOMMUNICATIONS SYSTEMS ARE NOT FAULT-FREE AND OCCASIONAL PERIODS OF DOWNTIME
                                                                                    OCCUR. WE DO NOT GUARANTEE THE SERVICES WILL BE UNINTERRUPTED, TIMELY, SECURE, OR ERROR-FREE OR THAT CONTENT LOSS WON'T OCCUR, NOR
                                                                                    DO WE GUARANTEE ANY CONNECTION TO OR TRANSMISSION FROM THE COMPUTER NETWORKS.

                                                                                         Top of page



                                                                                                         Limitation                      of Liability
                                                                                    13. Limitation of Liability. If you have any basis for recovering damages (including breach of these Terms), you agree that your exclusive remedy is to recover,
                                                                                    from Microsoft or any affiliates, resellers, distributors, Third-Party Apps and Services providers, and vendors, direct damages up to an amount equal to your
                                                                                    Services fee for the month during which the loss or breach occurred (or up to $10.00 if the Services are free). You can't recover any other damages or losses,
                                                                                    including direct, consequential, lost profits, special, indirect, incidental, or punitive. These limitations and exclusions apply even if this remedy doesn't fully
                                                                                    compensate you for any losses or fails of its essential purpose or if we knew or should have known about the possibility of the damages. To the maximum extent
                                                                                    permitted by law, these limitations and exclusions apply to anything or any claims related to these Terms, the Services, or the software related to the Services.

                                                                                         Top of page



                                                                                                         Service-Specific Terms
                                                                                    14. Service-Specific Terms. The terms before and after section 14 apply generally to all Services. This section contains service-specific terms that are                                                                                                       in   addition to
                                                                                    the general terms. These service-specific terms govern if there are any conflicts with the general terms.

                                                                                         Top of page



                                                                                                         Xbox
                                                                                            a.   Xbox.
                                                                                                   i.Personal Noncommercial Use. The Xbox online service, Xbox Game Studios (https://www.xbox.com/xbox-game-studios) games (including Mojang
                                                                                                   Games), applications, subscriptions, services, and content provided by Microsoft (collectively, the " Xbox Services ") are only for your personal and
                                                                                                   noncommercial use.
                                                                                                   ii. Xbox Services. When you sign up to receive Xbox Services, information about your game play, activities and usage of games and Xbox Services will be
                                                                                                   tracked and shared with applicable third-party game developers in order for Microsoft and the third-party game developers to operate their games and
                                                                                                   to deliver the Xbox Services. If you choose to link your Microsoft Xbox Services account with your account on a non-Microsoft service or sign in to your
                                                                                                   Xbox Services account to access a non-Microsoft Service (for example, a non-Microsoft game publisher of Third-Party Apps and Services), you agree
                                                                                                   that: (a) Microsoft may share limited account information (including without limitation gamertag, gamerscore, game score, game history, and friends
                                                                                                   list), with that non-Microsoft party as stated in the Microsoft Privacy Statement, and (b) if allowed by your Xbox privacy settings, the non-Microsoft
                                                                                                   party may also have access to Your Content from in-game communications when you are signed into your account with that non-Microsoft party. Also,
                                                                                                   if allowed by your Xbox privacy settings, Microsoft can publish your name, gamertag, gamerpic, motto, avatar, gameclips and games that you’ve played

                                                                                                   in communications to people you allow.

                                                                                                   iii.Your Content. As part of building the Xbox Services community, you grant to Microsoft, its affiliates and sublicensees a free and worldwide right to
                                                                                                   use, modify, reproduce, distribute, broadcast, share and display Your Content or your name, gamertag, motto, or avatar that you posted for any Xbox
                                                                                                   Services.
                                                                                                   iv.Game Managers. Some games may use game managers and hosts. Game managers and hosts are not authorized Microsoft spokespersons. Their
                                                                                                   views do not necessarily reflect those of Microsoft.
                                                                                                   v. Kids on Xbox. If you are a minor using the Xbox Services, your parent or guardian may have control over many aspects of your account and may
                                                                                                   receive reports about your use of the Xbox Services.
                                                                                                   vi. Game Currency or Virtual Goods. The Xbox Services may include a virtual, game currency (like gold, coins or points) that may be purchased from
                                                                                                   Microsoft using actual monetary instruments if you have reached the age of “majority” where you live. The Xbox Services may also include virtual, digital
                                                                                                   items or goods that may be purchased from Microsoft using actual monetary instruments or using game currency. Game currency and virtual goods
                                                                                                   may never be redeemed for actual monetary instruments, goods or other items of monetary value from Microsoft or any other party. Other than a
                                                                                                   limited, personal, revocable, non-transferable, non-sublicensable license to use the game currency and virtual goods in the Xbox Services only, you have
                                                                                                   no right or title in or to any such game currency or virtual goods appearing or originating in the Xbox Services, or any other attributes associated with
                                                                                                   use of the Services or stored within the Xbox Services. Microsoft may at any time regulate, control, modify and/or eliminate the game currency and/or
                                                                                                   virtual goods as it sees fit in its sole discretion.
                                                                                                      Software Updates. For any device that can connect to Xbox Services, we may automatically check your version of Xbox console software or the Xbox
                                                                                                   vii.
                                                                                                   app software and download Xbox console or Xbox app software updates or configuration changes, including those that prevent you from accessing the
                                                                                                   Xbox Services, using unauthorized Xbox games or Xbox apps, or using unauthorized hardware peripheral devices with an Xbox console.
                                                                                                       Gamertag Expiration. You must sign into Xbox Services at least once in a five-year period, otherwise you may lose access to the gamertag associated
                                                                                                   viii.
                                                                                                   with your account and that gamertag may become available for use by others.
                                                                                                   ix.Arena. Arena is an Xbox Service by which Microsoft or a third party may offer you the ability to participate in or create a competitive videogame
                                                                                                   contest, sometimes for a prize (" Contest "). Your use of Arena is subject to these Terms, and may require you to accept additional Contest terms,
                                                                                                   conditions and rules required by the Contest organizer at the time of signup (" Contest Terms "). Eligibility rules may apply, and may vary by jurisdiction.
                                                                                                   Contests are void where prohibited or restricted by law. Violation of these Terms (including the Code of Conduct) or Contest Terms may result in a
                                                                                                   penalty or disqualification from the Contest. If you create a Contest, you may not require any Contest Rules that Microsoft (in its sole discretion) deems
                                                                                                   inconsistent with these Terms. Microsoft reserves the right to cancel any Contest at any time.
                                                                                                   x. Cheating and Tampering Software. For any device that can connect to Xbox Services, we may automatically check your device for unauthorized
                                                                                                   hardware or software that enables cheating or tampering in violation of the Code of Conduct or these Terms, and download Xbox app software updates
                                                                                                   or configuration changes, including those that prevent you from accessing the Xbox Services, or from using unauthorized hardware or software that
                                                                                                   enables cheating or tampering.
                                                                                                   xi.     Mixer.
                                                                                                             1. Mixer Terms. If you use the Mixer Service then your use is covered by the Mixer Terms of Service available                                                                                       at       https://mixer.com/about/tos                   in
                                                                                                             addition to these Terms. These Terms apply where there is conflict.
                                                                                                            2. Your Content on Mixer. "Your Content on Mixer" means all content you, or someone on your behalf, creates on the Mixer Service, including but
                                                                                                            not limited to live and recorded streams (and any content, like audiovisual content, they contain); brand names, trademarks, service marks, trade
                                                                                                            names, logos, or indicia of origin; your comments, emoticons, and activity in Mixer channels (including bot-generated content); and all related
                                                                                                            metadata. Anyone, including Microsoft and users, can see, use, host, reproduce, modify, distribute, publish, publicly and digitally perform and
                                                                                                            display, translate, adapt, and otherwise exploit Your Content on Mixer, in any form, format, media, or channels now known or later developed.
                                                                                                            3. Code of Conduct Applied to Mixer. Click here (https://go.microsoft.com/fwlink/?linkid=869104) for more information about how Microsoft’s
                                                                                                            Code of Conduct applies to Mixer.
                                                                                                            4.   Using the Mixer Service.
                                                                                                                   a. Minimum Age. You must be at least 13 years old to use the Mixer Service and,                                                                 if       you are under the age of majority where you                                   live,   you
                                                                                                                   represent that your use is supervised by a parent or legal guardian.
                                                                                                                    b. Anonymous and Non-Anonymous Use. You can use Mixer anonymously if you only want to view content. However, chatting, following
                                                                                                                    channels, streaming, and other interactions require you to sign into an account, in which case the Mixer Service uses your existing Microsoft
                                                                                                                    account. Otherwise, you need to create an account, sign-in, and will be identified to other users by your Mixer name.
                                                                                                                    c. Mixer Accounts and Third-Party Accounts. Mixer offers the ability to sign in using a Mixer account or a third-party account (Twitter or
                                                                                                                    Discord). If you use any of these accounts to sign in, you must associate the account with your Microsoft account.
                                                                                                                    d. Account Use. If you use a Mixer account, you must use it to keep                                            it   active. Sign into the Mixer Service                                 at   least once           in a   five-year period to
                                                                                                                    keep your Mixer alias associated with your Microsoft account.
                                                                                                            5. Service Notifications. When there’s something we need to                                             tell   you about the Mixer Service, we’ll send you Service notifications to the email
                                                                                                            associated with your Mixer account and/or Microsoft account.
                                                                                                            6.   Support. Customer support for the Mixer Service                                   is   available   at   mixer.com/contact         .




                                                                                         Top of page



                                                                                                         Store
                                                                                            b. Store. "Store" refers to a Service that allows you to browse, download, purchase, and rate and review applications (the term "application" includes games)
                                                                                            and other digital content. These Terms cover use of certain Stores owned or operated by Microsoft or its affiliates (including, but not limited to, the Office
                                                                                            Store, Microsoft Store on Xbox and Microsoft Store on Windows). "Office Store" means a Store for Office products and apps for Office, Microsoft 365,
                                                                                            SharePoint, Exchange, Access and Project (2013 versions or later), or any other experience that is branded Office Store. "Microsoft Store on Windows" means
                                                                                            a Store, owned and operated by Microsoft or its affiliates, for Windows devices such as phone, PC and tablet, or any other experience that is branded
                                                                                            Microsoft Store and accessible on Windows devices such as phone, PC, or tablet. "Microsoft Store on Xbox" means a Store owned and operated by
                                                                                            Microsoft or its affiliates and made available on Xbox consoles, or any other experience that is branded Microsoft Store and made available on an Xbox
                                                                                            console.
                                                                                                 i. License Terms. We   will identify the publisher of each application available in the relevant Store. Unless different license terms are provided with the
                                                                                                 application, the Standard Application License Terms ( "SALT" ) at the end of these Terms are an agreement between you and the application publisher
                                                                                                 setting forth the license terms that apply to an application you download through any Store owned or operated by Microsoft or its affiliates (excluding
                                                                                                 the Office Store). For clarity, these Terms cover the use of, and services provided by, Microsoft Services. Section 5 of these Terms also applies to any
                                                                                                 Third-Party Apps and Services acquired through a Store. Applications downloaded through the Office Store are not governed by the SALT and have
                                                                                                 separate license terms that apply.
                                                                                                   ii.Updates. Microsoft will automatically check for and download updates to your applications, even if you’re not signed into the relevant Store. You can
                                                                                                   change your Store or system settings if you prefer not to receive automatic updates to Store applications. However, certain Office Store applications
                                                                                                   that are entirely or partly hosted online may be updated at any time by the application developer and may not require your permission to update.
                                                                                                      Ratings and Reviews. If you rate or review an application or other Digital Good in the Store, you may receive email from Microsoft containing content
                                                                                                   iii.

                                                                                                   from the publisher of the application or Digital Good. Any such email comes from Microsoft; we do not share your email address with publishers of
                                                                                                   applications or other Digital Goods you acquire through the Store.
                                                                                                   iv. Safety Warning. To avoid possible injury, discomfort or eye strain, you should take periodic breaks from use of games or other applications, especially
                                                                                                   if you feel any pain or fatigue resulting from usage. If you experience discomfort, take a break. Discomfort might include feelings of nausea, motion
                                                                                                   sickness, dizziness, disorientation, headache, fatigue, eye strain, or dry eyes. Using applications can distract you and obstruct your surroundings. Avoid
                                                                                                   trip hazards, stairs, low ceilings, fragile or valuable items that could be damaged. A very small percentage of people may experience seizures when
                                                                                                   exposed to certain visual images like flashing lights or patterns that may appear in applications. Even people with no history of seizures may have an
                                                                                                   undiagnosed condition that can cause these seizures. Symptoms may include lightheadedness, altered vision, twitching, jerking or shaking of limbs,
                                                                                                   disorientation, confusion, loss of consciousness, or convulsions. Immediately stop using and consult a doctor if you experience any of these symptoms,
                                                                                                   or consult a doctor before using the applications if you’ve ever suffered symptoms linked to seizures. Parents should monitor their children’s use of
                                                                                                   applications for signs of symptoms.

                                                                                         Top of page



                                                                                                         Microsoft Family Features
                                                                                            c.  Microsoft Family Features. Parents and kids can use Microsoft family features, including Microsoft Family Safety, to build trust based on a shared
                                                                                            understanding of what behaviors, websites, apps, games, physical locations, and spending is right in their family. Parents can create a family by going to
                                                                                            https://account.microsoft.com/family (or by following the instructions on their Windows device or Xbox console) and inviting kids or other parents to join.
                                                                                            There are many features available to family members, so please carefully review the information provided when you agree to create or join a family and
                                                                                            when you purchase Digital Goods for family access. By creating or joining a family, you agree to use the family in accordance with its purpose and won’t use
                                                                                            it in an unauthorized way to unlawfully gain access to another person’s information.


                                                                                         Top of page



                                                                                                         Group Messaging
                                                                                            d. Group Messaging. Various Microsoft services allow you to send messages to others via voice or SMS ("messages"), and/or allow Microsoft and Microsoft-
                                                                                            controlled affiliates to send such messages to you and one or more other users on your behalf. WHEN YOU INSTRUCT MICROSOFT AND MICROSOFT-
                                                                                            CONTROLLED AFFILIATES TO SEND SUCH MESSAGES TO YOU OR TO OTHERS, YOU REPRESENT AND WARRANT TO US THAT YOU AND EACH PERSON YOU
                                                                                            HAVE INSTRUCTED US TO MESSAGE CONSENT TO RECEIVE SUCH MESSAGES AND ANY OTHER RELATED ADMINISTRATIVE TEXT MESSAGES FROM
                                                                                            MICROSOFT AND MICROSOFT-CONTROLLED AFFILIATES. "Administrative text messages" are periodic transactional messages from a particular Microsoft
                                                                                            service, including but not limited to a "welcome message" or instructions on how to stop receiving messages. You or group members no longer wishing to
                                                                                            receive such messages can opt-out of receiving further messages from Microsoft or Microsoft-controlled affiliates at any time by following the instructions
                                                                                            provided. If you no longer wish to receive such messages or participate in the group, you agree that you will opt out through the instructions provided by
                                                                                            the applicable program or service. If you have reason to believe that a group member no longer wishes to receive such messages or participate in the
                                                                                            group, you agree to remove them from the group. You also represent and warrant to us that you and each person you have instructed us to message
                                                                                            understands that each group member is responsible for the costs of any message charges assessed by his or her mobile carrier, including any international
                                                                                            message charges that may apply when messages are transmitted from US-based numbers.

                                                                                         Top of page



                                                                                                         Skype and GroupMe
                                                                                            e.   Skype and GroupMe.
                                                                                                   i. No Access to Emergency    Services. There are important differences between traditional telephone services and Skype.                                                                                                    Skype is not required to offer
                                                                                                   access to Emergency Services under any applicable local or national rules, regulations, or law. Skype’s software and                                                                                                       products are not intended to
                                                                                                   support or carry emergency calls to any type of hospitals, law enforcement agencies, medical care units or any other kind                                                                                                  of services that connect a user
                                                                                                   to emergency services personnel or public safety answering points ( "Emergency Services" ). You acknowledge and agree                                                                                                      that: (i) it is your responsibility
                                                                                                   to purchase traditional wireless (mobile) or fixed-line telephone services that offer access to Emergency Services, and (ii)                                                                                               Skype is not a replacement for
                                                                                                   your primary telephone service.
                                                                                                   ii.APIs or Broadcasting. If you want to use Skype in connection with any broadcast, you must comply with the "Broadcast TOS" at
                                                                                                   https://www.skype.com/go/legal.broadcast If you want to use any application program interface ( "API" ) exposed or made available by Skype you must
                                                                                                                                                                     .


                                                                                                   comply with the applicable licensing terms, which are available at www.skype.com/go/legal                                                               .




                                                                                                      Fair Use Policies. Fair usage policies may apply to your use of Skype. Please review these policies which are designed to protect against fraud and
                                                                                                   iii.

                                                                                                   abuse and may place limits on the type, duration or volume of calls or messages that you are able to make. These policies are incorporated in these
                                                                                                   Terms by reference. You can find these policies at: https://www.skype.com/en/legal/fair-usage/                                                                   .




                                                                                                   iv. Mapping. Skype contains features that allow you to submit information to, or plot yourself on a map using, a mapping service. By using those
                                                                                                   features, you agree to these Terms and the Google Maps terms available at https://www.google.com/intl/en_ALL/help/terms_maps.html                                                                                                           .




                                                                                                   v. Government Users. If you wish to use a business account or Skype Manager on behalf of the U.S. Government or an agency of the U.S. Government,
                                                                                                   these Terms do not apply to that use. For applicable terms or further information, please contact usgovusers@skype.net                                                                                             .




                                                                                                   vi.Personal/Noncommercial Use. The use of Skype                                          is   for your personal and noncommercial use. You are permitted to use Skype                                                                at   work for your own
                                                                                                   business communications.
                                                                                                   vii.Skype Number/Skype To Go. If Skype provides you with                                                a   Skype Number or Skype To Go number, you agree that you do not own the number or
                                                                                                   have a right to retain that number forever.
                                                                                                   viii.Skype Manager. A "Skype Manager Admin Account" is created and managed by you, acting as an individual administrator of a Skype Manager
                                                                                                   group and not as a business entity. You may link your individual Microsoft account to a Skype Manager group ( "Linked Account" ). You may appoint
                                                                                                   additional administrators to your Skype Manager group subject to their acceptance of these Terms. If you allocate Skype Numbers to a Linked Account,
                                                                                                   you are responsible for compliance with any requirements related to the residency or location of your Linked Account users. If you choose to unlink a
                                                                                                   Linked Account from a Skype Manager group, any allocated subscriptions, Skype Credit or Skype Numbers will not be retrievable and Your Content or
                                                                                                   material associated with the unlinked account will no longer be accessible by you. You agree to process any personal information of your Linked
                                                                                                   Account users in accordance with all applicable data protection laws.
                                                                                                   ix. Skype Charges. Skype paid products are sold to you by Skype Communications S.à.r.l, however the seller-of-record accountable for taxes is Skype
                                                                                                   Communications US Corporation. Taxes means the amount of taxes, regulatory fees, surcharges or other fees that we are required to collect from you
                                                                                                   and must pay to any United States (federal, state or local) or foreign government, agency, commission or quasi-governmental body as a result of our
                                                                                                   provision of Skype paid products to you. These taxes are listed at www.skype.com/go/ustax All prices for Skype paid products are inclusive of a charge      .


                                                                                                   for your product and a charge for taxes, unless otherwise stated. The charges payable for calling phones outside of a subscription consist of a
                                                                                                   connection fee (charged once per call) and a per-minute rate as set out at www.skype.com/go/allrates Call charges will be deducted from your Skype                                     .


                                                                                                   Credit balance. Skype may change its calling rates at any time by posting such change at www.skype.com/go/allrates The new rate will apply to your                                                             .


                                                                                                   next call after publication of the new rates. Please check the latest rates before you make your call. Fractional call minutes and fractional cent charges
                                                                                                   will be rounded up to the next whole unit.

                                                                                                   x. Skype Credit. Skype does not guarantee that you will be able to use your Skype Credit balance to purchase all Skype paid products. If you do not use
                                                                                                   your Skype Credit for a period of 180 days, Skype will place your Skype Credit on inactive status. You can reactivate the Skype Credit by following the
                                                                                                   reactivation link at https://www.skype.com/go/store.reactivate.credit You can enable the Auto Recharge feature when you buy Skype Credit by ticking
                                                                                                                                                                                                                     .


                                                                                                   the appropriate box. If enabled, your Skype Credit balance will be recharged with the same amount and by your chosen payment method every time
                                                                                                   your Skype balance goes below the threshold set by Skype from time to time. If you purchased a subscription with a payment method other than credit
                                                                                                   card, PayPal or Moneybookers (Skrill), and you have enabled Auto-Recharge, your Skype Credit balance will be recharged with the amount necessary to
                                                                                                   purchase your next recurring subscription. You can disable Auto-Recharge at any time by accessing and changing your settings in your account portal in
                                                                                                   Skype. If your Microsoft Account is closed, for any reason, any unused Skype credit associated with your Microsoft account will be lost and cannot be
                                                                                                   retrieved.
                                                                                                   xi.International Message Fees. GroupMe currently uses US-based numbers for each group created. Every text message sent to or received from a
                                                                                                   GroupMe number will count as an international text message sent to or received from the United States. Please check with your provider for the
                                                                                                   associated international rates.
                                                                                                   xii. Send and receive money. By using the send and receive money feature (if available), you acknowledge that Skype uses third parties to provide
                                                                                                   payment services and effect transfers. Skype does not provide payment services or effect transfers and is not a money services business. Sending and
                                                                                                   receiving money on Skype may only be available to users who are 18 years old and over (or otherwise in accordance with the third parties’ terms) and
                                                                                                   who register and are approved for an account with the third party provider. To use the send money feature, you may be required to sign up to the third
                                                                                                   parties’ terms and conditions and to provide permissions to share data with these third parties for the purposes of providing the service. If Skype
                                                                                                   receives notice that your use of the send money feature violates a third party’s terms and conditions, Skype may have to take action against your
                                                                                                   account, such as cancelling or suspending your account. Skype, or Microsoft, will not be liable for payment services provided by third parties or any
                                                                                                   actions taken under third parties’ terms and conditions. Skype makes no guarantees, representations or warranties that the send and receive money
                                                                                                   feature will be available or continue to be available.

                                                                                         Top of page



                                                                                                         Bing and MSN
                                                                                            f.   Bing and MSN.
                                                                                                    i. Bing and MSN   Materials. The articles, text, photos, maps, videos, video players, and third-party material available on Bing and MSN, including through
                                                                                                    Microsoft bots, applications and programs, are for your noncommercial, personal use only. Other uses, including downloading, copying, or
                                                                                                    redistributing these materials, or using these materials or products to build your own products, are permitted only to the extent specifically authorized
                                                                                                    by Microsoft or rights holders, or allowed by applicable copyright law. Microsoft or other rights holders reserve all rights to the material not expressly
                                                                                                    granted by Microsoft under the license terms, whether by implication, estoppel, or otherwise.
                                                                                                   ii.Bing Maps. You may not use Bird’s eye imagery of the United States, Canada, Mexico, New Zealand, Australia or Japan for governmental use without
                                                                                                   our separate written approval.
                                                                                                   iii.Bing Places and Bing Manufacturer Center. When you provide your Data or Your Content to Bing Places or Bing Manufacturer Center, you grant
                                                                                                   Microsoft a worldwide, royalty-free intellectual property license to use, reproduce, save, modify, aggregate, promote, transmit, display or distribute as
                                                                                                   part of a service, and sub-license those rights to third parties.

                                                                                         Top of page



                                                                                                         Cortana
                                                                                            g.   Cortana.
                                                                                                   i. Personal Noncommercial     Use. Cortana is Microsoft’s personal assistant Service. The features, services and content provided by Cortana (collectively
                                                                                                   "Cortana Services" ) are only for your personal and noncommercial use.
                                                                                                   ii.Functionality and Content. Cortana provides a range of features, some of which are personalized. Cortana Services may allow you to access services,
                                                                                                   information or functionality provided by other Microsoft Services or Third-Party Apps and Services. The service-specific Terms of section 14 also apply
                                                                                                   to your use of applicable Microsoft Services accessed through Cortana Services. Cortana provides information for your planning purposes only and you
                                                                                                   should exercise your own independent judgment when reviewing and relying on this information. Microsoft does not guarantee the reliability,
                                                                                                   availability or timeliness of personalized experiences provided by Cortana. Microsoft is not responsible if a Cortana feature delays or prevents you from
                                                                                                   receiving, reviewing or sending a communication or notification, or obtaining a service.
                                                                                                      Third-Party Apps and Services. As part of delivering the Cortana Services, Cortana may suggest and help you interact with Third-Party Apps and
                                                                                                   iii.

                                                                                                   Services (third-party skills or connected services). If you choose, Cortana may exchange information with Third-Party Apps and Services, such as your zip
                                                                                                   code and queries and responses returned by the Third-Party App and Services, to help you obtain requested services. Cortana may enable you to make
                                                                                                   purchases through Third-Party Apps and Services using the account preferences and settings you have established directly with those Third-Party Apps
                                                                                                   and Services. You can disconnect your Cortana Service from Third-Party Apps and Services at any time. Your use of Cortana Services to connect with
                                                                                                   Third-Party Apps and Services is subject to section 5 of these Terms. Publishers of Third-Party Apps and Services may change or discontinue the
                                                                                                   functionality or features of their Third-Party Apps and Services or integration with Cortana Services. Microsoft is not responsible or liable for
                                                                                                   manufacturer provided software or firmware.
                                                                                                   iv.Cortana-Enabled Devices. Cortana-enabled devices are products or devices that are enabled to access Cortana Services, or products or devices that
                                                                                                   are compatible with Cortana Services. Cortana-enabled devices include third-party devices or products that Microsoft does not own, manufacture, or
                                                                                                   develop. Microsoft is not responsible or liable for these third-party devices or products.
                                                                                                   v. Software Updates. We may automatically check your version of Cortana Services software and download software updates or configuration change or
                                                                                                   require any manufacturers of Cortana enabled devices to keep the Cortana Services software up to date.

                                                                                         Top of page



                                                                                                         Outlook.com
                                                                                            h. Outlook.com. The Outlook.com (or @msn, @hotmail, or @live) email address that you use to create your Microsoft account will be unique to you for as
                                                                                            long as your Outlook.com inbox or Microsoft account is still active. In the event your Outlook.com inbox or Microsoft account is closed either by you or by
                                                                                            Microsoft pursuant to these Terms, the email address or username may be recycled into our system and assigned to another user.

                                                                                         Top of page



                                                                                                         Office Services
                                                                                            i.Office Services. Microsoft 365 Home, Microsoft 365 Personal, Office Online, Sway, OneNote.com and any other Microsoft 365 subscription or Office-
                                                                                            branded Services are for your personal, noncommercial use, unless you have commercial use rights under a separate agreement with Microsoft. Use of apps
                                                                                            such as Word, Excel, PowerPoint, Outlook, OneDrive, Access, and Publisher in Microsoft 365 Family, Microsoft 365 Personal, and any other Microsoft 365
                                                                                            subscription Services is governed by supplemental license terms located at https://aka.ms/useterms together with these Terms.

                                                                                         Top of page



                                                                                                         Microsoft Health Services
                                                                                            j.   Microsoft Health Services.
                                                                                                   i.Microsoft Band. Microsoft Band device and application are not medical devices and are intended for fitness and wellness purposes only. They are not
                                                                                                   designed or intended for use in the diagnosis of disease or other conditions, or in the cure, mitigation, treatment, or prevention of disease or other
                                                                                                   conditions. Microsoft is not responsible for any decision you make based on information you receive from Microsoft Band.
                                                                                                   ii.Health Bots. Health bots, which may include action plans, insights, reminders and other features, are not medical devices and are only intended for
                                                                                                   fitness and wellness purposes with a program issued by a care provider. They are not designed or intended as substitutes for professional medical
                                                                                                   advice or for use in the diagnosis, cure, mitigation, prevention, or treatment of disease or other conditions. You assume full responsibility for your use of
                                                                                                   health bots. Microsoft is not responsible for any decision you make based on information you receive from health bots. You should always consult a
                                                                                                   doctor with any questions you may have regarding a medical condition, diet, fitness, or wellness program before using health bots. Never disregard
                                                                                                   professional medical advice or delay in seeking it because of information you accessed on or through the Services. As with any technology, health bots
                                                                                                   may not work as intended for a variety of reasons including loss of power connectivity.

                                                                                         Top of page



                                                                                                         Digital Goods
                                                                                            k. Digital Goods. Through Microsoft Groove, Microsoft Movies & TV, Store, Xbox Services and any other related and future services, Microsoft may enable
                                                                                            you to obtain, listen to, view, play or read (as the case may be) music, images, video, text, books, games or other material ( "Digital Goods" ) that you may get
                                                                                            in digital form. The Digital Goods are only for your personal, noncommercial entertainment use. You agree not to redistribute, broadcast, publicly perform or
                                                                                            publicly display or transfer any copies of the Digital Goods. Digital Goods may be owned by Microsoft or by third parties. In all circumstances, you
                                                                                            understand and acknowledge that your rights with respect to Digital Goods are limited by these Terms, copyright law, and the Usage Rules located at
                                                                                            https://go.microsoft.com/fwlink/p/?LinkId=723143 You agree that you will not attempt to modify any Digital Goods obtained through any of the Services
                                                                                                                                                                           .


                                                                                            for any reason whatsoever, including for the purpose of disguising or changing ownership or source of the Digital Goods. Microsoft or the owners of the
                                                                                            Digital Goods may, from time to time, remove Digital Goods from the Services without notice.

                                                                                         Top of page



                                                                                                         OneDrive
                                                                                            l.   OneDrive.
                                                                                                   i.Storage Allocation. If you have more content stored in your OneDrive account than is provided to you under the terms of your free or paid
                                                                                                   subscription service for OneDrive and you do not respond to notice from Microsoft to fix your account by removing excess content or moving to a new
                                                                                                   subscription plan with more storage, we reserve the right to close your account and delete or disable access to Your Content on OneDrive.
                                                                                                   ii.Service Performance. Depending on factors such as your equipment, internet connection and Microsoft’s efforts to maintain the performance and
                                                                                                   integrity of its service, you may occasionally experience delays in uploading or syncing content on OneDrive.

                                                                                         Top of page



                                                                                                         Microsoft Rewards
                                                                                            m. Microsoft Rewards.
                                                                                                 i. Microsoft Rewards   (the " Program ") enables you to earn redeemable points for activities such as qualified searches, acquisitions, and other offers from
                                                                                                 Microsoft. Offers may vary by market. A search is the act of an individual user manually entering text for the good faith purpose of obtaining Bing
                                                                                                 search results for such user’s own research purposes and does not include any query entered by a bot, macro, or other automated or fraudulent means
                                                                                                 of any kind (" Search "). An acquisition is the process of purchasing goods or downloading and acquiring a license for digital content from Microsoft,
                                                                                                 whether free or paid (" Acquisition "). Rewards points are not offered for every purchase from Microsoft. Microsoft may offer additional opportunities to
                                                                                                 earn points from time to time, and each points-earning offer will not be available in perpetuity. Your earned points can be redeemed for rewards listed
                                                                                                 on the redeem page at https://aka.ms/redeemrewards (" Rewards "). For more information see the Rewards section at support.microsoft.com (" FAQ ").
                                                                                                       1. Program Requirements. You need a valid Microsoft account and your devices must meet the minimum                                system requirements
                                                                                                       (https://account.microsoft.com/rewards/). The Program is open to users who reside in the markets listed in the FAQ. Individuals can have no more
                                                                                                       than one Program account, even if an individual has multiple email addresses, and households are limited to six accounts. The Program is solely for
                                                                                                       your personal and noncommercial use.
                                                                                                            2. Points. Except for sharing points within your Microsoft family (limits may apply) or donating your points to a nonprofit organization listed on the
                                                                                                            redeem page, you cannot transfer points. Points are not your personal property, and you may not obtain any cash or money in exchange for them.
                                                                                                            Points are awarded to you on a promotional basis. You cannot purchase points. Microsoft may limit the quantity of points or Rewards per person,
                                                                                                            per household, or over a set period (e.g., a day) provided that you are not disadvantaged in breach of good faith. You may redeem no more than
                                                                                                            550,000 points per calendar year in the Program. Points earned in the Program are not valid in, and may not be used in combination with, any
                                                                                                            other program offered by Microsoft or third parties. Unredeemed points expire if you do not earn or redeem any points for 18 months.
                                                                                                            3.  Rewards. You may redeem your points or you may contribute points to a listed nonprofit organization by visiting the redeem page
                                                                                                            (https://aka.ms/redeemrewards). There may be a limited number of a particular Reward available, and those Rewards will be delivered on a first-
                                                                                                            come, first-served basis. You may be required to provide additional information, like your mailing address and a telephone number (other than a
                                                                                                            VOIP or toll-free number), and you may also be asked to enter a fraud-prevention code or sign additional legal documents to redeem points for
                                                                                                            Rewards. Once you order a Reward, you cannot cancel it or return it for a refund of points except in the case of defective products or as required by
                                                                                                            applicable law. If you order a Reward that is out of stock or unavailable for other reasons, we may substitute a Reward of comparable value or
                                                                                                            refund your points. Microsoft may update the Rewards offered on the redeem page or discontinue offering specific Rewards. Some Rewards may
                                                                                                            have age eligibility requirements. Any such requirements will be included in the relevant offer. You are responsible for all federal, state, and local
                                                                                                            taxes and any other costs of accepting and using the Reward. Rewards will be emailed to the email address associated with your Microsoft account,
                                                                                                            so keep your email address up to date. Rewards that are undeliverable will not be reissued and are therefore forfeited. Rewards are not for resale.
                                                                                                            4. Cancelling Your Participation in the Program. If you no longer wish to participate in the Microsoft Rewards program, follow the instructions on
                                                                                                            the opt out page (https://account.microsoft.com/rewards/optout?confirm=false). If you opt out, you will immediately lose all of your available
                                                                                                            points. Your Program account may be cancelled if you do not log in at least once in an 18-month period. Additionally, Microsoft reserves the right
                                                                                                            to cancel the Program account of a specific user for tampering with, abusing, or defrauding the Program, or for breach of these terms. Upon
                                                                                                            Program cancellation (by you or us) or if the Program is suspended, you will have 90 days to redeem your points; otherwise, those points will be
                                                                                                            forfeited. At the point of cancellation, your right to use the Program and accrue future points ends.
                                                                                                            5. Other Conditions. Microsoft reserves the right to disqualify you; disable your access to the Program or your Rewards account; and/or withhold
                                                                                                            points, Rewards and charitable contributions, if Microsoft believes you are tampering with or abusing any aspect of the Program, ineligible to
                                                                                                            receive a Reward for legal reasons (such as export laws), or may be engaging in activities that violate these Terms.

                                                                                         Top of page



                                                                                                         Azure
                                                                                            n. Azure. Your use of the Azure service is governed by the terms and conditions of the separate agreement under which you obtained the services, as
                                                                                            detailed on the Microsoft Azure Legal Information page at https://azure.microsoft.com/en-us/support/legal/                                                                                    .




                                                                                         Top of page



                                                                                                         Binding Arbitration and Class Action Waiver
                                                                                    15. Binding Arbitration and Class Action Waiver If You Live In (or, If a Business, Your Principal Place of Business Is In) the United States. We hope we never have a
                                                                                    dispute, but if we do, you and we agree to try for 60 days to resolve it informally. If we can’t, you and we agree to binding individual arbitration before the
                                                                                    American Arbitration Association ("AAA") under the Federal Arbitration Act ("FAA"), and not to sue in court in front of a judge or jury Instead, a neutral arbitrator                                                                       .


                                                                                    will decide and the arbitrator’s decision will be final except for a limited right of review under the FAA. Class action lawsuits, class-wide arbitrations, private
                                                                                    attorney-general actions, and any other proceeding where someone acts in a representative capacity aren’t allowed. Nor is combining individual proceedings
                                                                                    without the consent of all parties. "We," "our," and "us" includes Microsoft, Skype (see section 10) and Microsoft’s affiliates.
                                                                                         a. Disputes Covered—Everything Except IP. The term "dispute" is as broad as it can be. It includes any claim or controversy between you and us concerning
                                                                                         the Services, the software related to the Services, the Services’ or software’s price, your Microsoft account, advertising, marketing, communications, your
                                                                                         purchase transaction, billing, or these Terms, under any legal theory including contract, warranty, tort, statute, or regulation, except disputes relating to the
                                                                                         enforcement or validity of your, your licensors’, our, or our licensors’ intellectual property rights                                                         .




                                                                                            b. Mail a Notice of Dispute First. If you have a dispute and our customer service representatives can’t resolve it, send a Notice of Dispute by U.S. Mail to
                                                                                            Microsoft Corporation, ATTN: CELA Arbitration, One Microsoft Way, Redmond, WA 98052-6399, U.S.A. Tell us your name, address, how to contact you, what                            .


                                                                                            the problem is, and what you want. A form is available at https://go.microsoft.com/fwlink/?LinkId=245499 We’ll do the same if we have a dispute with you.                                 .


                                                                                            After 60 days, you or we may start an arbitration if the dispute is unresolved.
                                                                                            c. Small Claims Court Option. Instead of mailing a Notice of Dispute, you may sue us in small claims court                                                                                        if    you meet the court’s requirements                       in    your
                                                                                            county of residence (or, if a business, your principal place of business) or King County, Washington, U.S.A..
                                                                                            d. Arbitration Procedure. The AAA will conduct any arbitration under its Commercial Arbitration Rules (or if you are an individual and use the Services for
                                                                                            personal or household use, or if the value of the dispute is $75,000 or less whether or not you are an individual or how you use the Services, its Consumer
                                                                                            Arbitration Rules). For more information, see www.adr.org or call 1-800-778-7879. To start an arbitration, submit the form available at
                                                                                            https://go.microsoft.com/fwlink/?LinkId=245497 to the AAA and mail a copy to us. In a dispute involving $25,000 or less, any hearing will be telephonic
                                                                                            unless the arbitrator finds good cause to hold an in-person hearing instead. Any in-person hearing will take place in your county of residence (or, if a
                                                                                            business, your principal place of business) or our principal place of business—King County, Washington if your dispute is with Microsoft. You choose. The
                                                                                            arbitrator may award the same damages to you individually as a court could. The arbitrator may award declaratory or injunctive relief only to you
                                                                                            individually to satisfy your individual claim. Under AAA Rules, the arbitrator rules on his or her own jurisdiction, including the arbitrability of any claim. But a
                                                                                            court has exclusive authority to enforce the prohibition on arbitration on a class-wide basis or in a representative capacity.
                                                                                            e.   Arbitration Fees and Payments.
                                                                                                   i. Disputes Involving $75,000 or Less. We will promptly reimburse your filing fees and pay the AAA’s and arbitrator’s fees and expenses. If you reject our

                                                                                                   last written settlement offer made before the arbitrator was appointed, your dispute goes all the way to an arbitrator’s decision (called an “award”), and
                                                                                                   the arbitrator awards you more than this last written offer, we will: (i) pay the greater of the award or $1,000; (ii) pay your reasonable attorney’s fees, if
                                                                                                   any; and (iii) reimburse any expenses (including expert witness fees and costs) that your attorney reasonably accrues for investigating, preparing, and
                                                                                                   pursuing your claim in arbitration.
                                                                                                   ii.    Disputes Involving More than $75,000. The AAA rules                                      will   govern payment of filing fees and the AAA’s and arbitrator’s fees and expenses.
                                                                                            f.   Conflict with AAA Rules. These Terms govern to the extent they conflict with the AAA’s Commercial Arbitration Rules or Consumer Arbitration Rules.
                                                                                            g. Must File Within One Year. You and we must file in small claims court or arbitration any claim or dispute (except intellectual property disputes—see
                                                                                            section 15.a) within one year from when it first could be filed. Otherwise, it’s permanently barred.
                                                                                            h. Rejecting Future Arbitration Changes. You may reject any change we make to section 15 (except address changes) by sending us notice within 30 days of
                                                                                            the change by U.S. Mail to the address in section 15.b. If you do, the most recent version of section 15 before the change you rejected will apply.
                                                                                            i. Severability. If any part of section 15 (Binding Arbitration and Class Action Waiver) is found to be illegal or unenforceable, the remainder will remain in
                                                                                            effect (with an arbitration award issued before any court proceeding begins), except that if a finding of partial illegality or unenforceability would allow
                                                                                            class-wide or representative arbitration, section 15 will be unenforceable in its entirety.

                                                                                         Top of page



                                                                                                         Miscellaneous
                                                                                    16. Miscellaneous. This section, and sections 1, 9 (for amounts incurred before the end of these Terms), 10, 11, 12, 13, 15, 18 and those that by their terms apply
                                                                                    after the Terms end will survive any termination or cancellation of these Terms. We may assign these Terms, in whole or in part, at any time without notice to you.
                                                                                    You may not assign your rights or obligations under these Terms or transfer any rights to use the Services. This is the entire agreement between you and
                                                                                    Microsoft for your use of the Services. It supersedes any prior agreements between you and Microsoft regarding your use of the Services. All parts of these Terms
                                                                                    apply to the maximum extent permitted by relevant law. If a court or arbitrator holds that we can't enforce a part of these Terms as written, we may replace those
                                                                                    terms with similar terms to the extent enforceable under the relevant law, but the rest of these Terms won't change. Section 15.i says what happens if parts of
                                                                                    section 15 (arbitration and class action waiver) are found to be illegal or unenforceable. Section 15.i prevails over this section if inconsistent with it. Except for
                                                                                    section 15 (arbitration and class action waiver) these Terms are solely for your and our benefit; they aren’t for the benefit of any other person, except for
                                                                                    Microsoft’s successors and assigns.
                                                                                    17. Export Laws. You must comply with all domestic and international export laws and regulations that apply to the software and/or Services, which include
                                                                                    restrictions on destinations, end users, and end use. For further information on geographic and export restrictions, visit https://go.microsoft.com/fwlink/?
                                                                                    linkid=868968 and https://www.microsoft.com/exporting                                          .




                                                                                    18. Reservation of Rights and Feedback. Except as expressly provided under these Terms, Microsoft does not grant you a license or any other rights of any type
                                                                                    under any patents, know-how, copyrights, trade secrets, trademarks or other intellectual property owned or controlled by Microsoft or any related entity,
                                                                                    including but not limited to any name, trade dress, logo or equivalents. If you give to Microsoft any idea, proposal, suggestion or feedback, including without
                                                                                    limitation ideas for new products, technologies, promotions, product names, product feedback and product improvements (" Feedback "), you give to Microsoft,
                                                                                    without charge, royalties or other obligation to you, the right to make, have made, create derivative works, use, share and commercialize your Feedback in any
                                                                                    way and for any purpose. You will not give Feedback that is subject to a license that requires Microsoft to license its software, technologies or documentation to
                                                                                    any third party because Microsoft includes your Feedback in them.

                                                                                         Top of page



                                                                                                         NOTICES
                                                                                    Notices and procedure for making claims of intellectual property infringement. Microsoft respects the intellectual property rights of third parties. If you wish to
                                                                                    send a notice of intellectual property infringement, including claims of copyright infringement, please use our procedures for submitting Notices of Infringement
                                                                                    (https://www.microsoft.com/info/cpyrtInfrg.html). ONLY INQUIRIES RELEVANT TO THIS PROCEDURE WILL RECEIVE A RESPONSE.
                                                                                    Microsoft uses the processes set out in Title 17, United States Code, Section 512 to respond to notices of copyright infringement. In appropriate circumstances,
                                                                                    Microsoft may also disable or terminate accounts of users of Microsoft services who may be repeat infringers.
                                                                                    Notices and procedures regarding intellectual property concerns in advertising. Please review our Intellectual Property Guidelines
                                                                                    (https://go.microsoft.com/fwlink/?LinkId=243207) regarding intellectual property concerns on our advertising network.
                                                                                    Copyright and trademark notices. The Services are copyright © Microsoft Corporation and/or its suppliers, One Microsoft Way, Redmond, WA 98052, U.S.A. All
                                                                                    rights       reserved.      The      Terms       incorporate       Microsoft      Trademark        &       Brand       Guidelines      (https://www.microsoft.com/en-
                                                                                    us/legal/intellectualproperty/trademarks/usage/general.aspx) (as amended from time to time). Microsoft and the names, logos, and icons of all Microsoft
                                                                                    products, software, and services may be either unregistered or registered trademarks of the Microsoft group of companies in the United States and/or other
                                                                                    jurisdictions. The following is a non-exhaustive list of Microsoft’s trademarks (https://www.microsoft.com/en-us/legal/intellectualproperty/trademarks/en-
                                                                                    us.aspx). The names of actual companies and products may be the trademarks of their respective owners. Any rights not expressly granted in these Terms are
                                                                                    reserved. Certain software used in certain Microsoft website servers is based in part on the work of the Independent JPEG Group. Copyright © 1991-1996
                                                                                    Thomas G. Lane. All rights reserved. "gnuplot" software used in certain Microsoft website servers is copyright © 1986-1993 Thomas Williams, Colin Kelley. All
                                                                                    rights reserved.
                                                                                    Medical notice. Microsoft does not provide medical or any other health care advice, diagnosis, or treatment. Always seek the advice of your physician or other
                                                                                    qualified health care provider with any questions you may have regarding a medical condition, diet, fitness, or wellness program. Never disregard professional
                                                                                    medical advice or delay in seeking it because of information you accessed on or through the Services.
                                                                                    Stock quotes and index data (including index values). You may not use any of the Dow Jones Indexes SM index data, or the Dow Jones marks in connection with                         ,


                                                                                    the issuance, creation, sponsorship, trading, marketing, or promotion of any financial instruments or investment products (for example, derivatives, structured
                                                                                    products, investment funds, exchange-traded funds, investment portfolios, etc., where the price, return and/or performance of the instrument or investment
                                                                                    product is based on, related to, or intended to track any of the Indexes or a proxy for any of the Indexes) without a separate written agreement with Dow Jones.
                                                                                    Financial notice. Microsoft isn't a broker/dealer or registered investment advisor under United States federal securities law or securities laws of other jurisdictions
                                                                                    and doesn't advise individuals as to the advisability of investing in, purchasing, or selling securities or other financial products or services. Nothing contained in
                                                                                    the Services is an offer or solicitation to buy or sell any security. Neither Microsoft nor its licensors of stock quotes or index data endorse or recommend any
                                                                                    particular financial products or services. Nothing in the Services is intended to be professional advice, including without limitation, investment or tax advice.
                                                                                    Tax Notices. Please review our tax notification page ( https://aka.ms/taxservice ) for U.S. state and local sales/use tax information.
                                                                                    Notice about the H.264/AVC, MPEG-4 Visual, and VC-1 Video Standards. The software may include H.264/AVC, MPEG-4 Visual and/or VC-1 codec technology
                                                                                    that may be licensed by MPEG LA, L.L.C. This technology is a format for data compression of video information. MPEG LA, L.L.C. requires this notice:
                                                                                    THIS PRODUCT IS LICENSED UNDER THE H.264/AVC, MPEG-4 VISUAL, AND THE VC-1 PATENT PORTFOLIO LICENSES FOR THE PERSONAL AND
                                                                                    NONCOMMERCIAL USE OF A CONSUMER TO (A) ENCODE VIDEO IN COMPLIANCE WITH THE STANDARDS ("VIDEO STANDARDS") AND/OR (B) DECODE
                                                                                    H.264/AVC, MPEG-4 VISUAL, AND VC-1 VIDEO THAT WAS ENCODED BY A CONSUMER ENGAGED IN A PERSONAL AND NONCOMMERCIAL ACTIVITY AND/OR
                                                                                    WAS OBTAINED FROM A VIDEO PROVIDER LICENSED TO PROVIDE SUCH VIDEO. NONE OF THE LICENSES EXTEND TO ANY OTHER PRODUCT REGARDLESS OF
                                                                                    WHETHER SUCH PRODUCT IS INCLUDED WITH THIS SOFTWARE IN A SINGLE ARTICLE. NO LICENSE IS GRANTED OR SHALL BE IMPLIED FOR ANY OTHER USE.
                                                                                    ADDITIONAL INFORMATION MAY BE OBTAINED FROM MPEG LA, L.L.C. SEE THE MPEG LA WEBSITE (http://www.mpegla.com).
                                                                                    For clarification purposes only, this notice does not limit or inhibit the use of the software provided under these Terms for normal business uses that are personal
                                                                                    to that business which do not include (i) redistribution of the software to third parties, or (ii) creation of material with the VIDEO STANDARDS compliant
                                                                                    technologies for distribution to third parties.

                                                                                         Top of page



                                                                                                         STANDARD APPLICATION LICENSE TERMS
                                                                                                                                                STANDARD APPLICATION LICENSE TERMS
                                                                                                                                           FOR APPLICATIONS OFFERED IN THE UNITED STATES
                                                                                                                       MICROSOFT STORE, MICROSOFT STORE ON WINDOWS, AND MICROSOFT STORE ON XBOX
                                                                                    These license terms are an agreement between you and the application publisher. Please read them. They apply to the software applications you download from
                                                                                    the Microsoft Store, the Windows Store or the Xbox Store (each of which is referred to in these license terms as the " Store "), including any updates or
                                                                                    supplements for the application, unless the application comes with separate terms, in which case those terms apply.
                                                                                    BY DOWNLOADING OR USING THE APPLICATION, OR ATTEMPTING TO DO ANY OF THESE, YOU ACCEPT THESE TERMS. IF YOU DO NOT ACCEPT THEM, YOU
                                                                                    HAVE NO RIGHT TO AND MUST NOT DOWNLOAD OR USE THE APPLICATION.
                                                                                    The application publisher means the entity licensing the application to you, as identified in the Store.
                                                                                    If you comply with these license terms, you have the rights below.

                                                                                          1. INSTALLATION AND USE RIGHTS; EXPIRATION. You may install and use the application on Windows devices or Xbox consoles as described in Microsoft’s
                                                                                          Usage Rules (https://go.microsoft.com/fwlink/p/?LinkId=723143).           Microsoft reserves the right to modify Microsoft’s Usage Rules
                                                                                          (https://go.microsoft.com/fwlink/p/?LinkId=723143) at any time.
                                                                                            2.   INTERNET-BASED SERVICES.
                                                                                                   a. Consent for Internet-based or wireless services. If the application connects to computer systems over the Internet, which may include via a wireless
                                                                                                   network, using the application operates as your consent to the transmission of standard device information (including but not limited to technical
                                                                                                   information about your device, system, and application software, and peripherals) for Internet-based or wireless services. If other terms are presented in
                                                                                                   connection with your use of services accessed using the application, those terms also apply.
                                                                                                   b. Misuse of Internet-based services. You may not use any Internet-based service in any way that could harm it or impair anyone else’s use of                                                                                                           it   or the
                                                                                                   wireless network. You may not use the service to try to gain unauthorized access to any service, data, account, or network by any means.
                                                                                            3. SCOPE OF LICENSE. The application is licensed, not sold. This agreement only gives you some rights to use the application. If Microsoft disables the ability
                                                                                            to use the applications on your devices pursuant to your agreement with Microsoft, any associated license rights will terminate. The application publisher
                                                                                            reserves all other rights. Unless applicable law gives you more rights despite this limitation, you may use the application only as expressly permitted in this
                                                                                            agreement. In doing so, you must comply with any technical limitations in the application that only allow you to use it in certain ways. You may not:
                                                                                                 a. Work around any technical limitations in the application.
                                                                                                 b. Reverse engineer, decompile, or disassemble the application, except and only to the extent that applicable law expressly permits, despite this
                                                                                                 limitation.
                                                                                                 c. Make more copies of the application than specified in this agreement or allowed by applicable law, despite this limitation.
                                                                                                 d. Publish or otherwise make the application available for others to copy.
                                                                                                 e. Rent, lease, or lend the application.
                                                                                                 f. Transfer the application or this agreement to any third party.



                                                                                            4.   DOCUMENTATION.                    If   documentation   is   provided with the application, you may copy and use the documentation for personal reference purposes.
                                                                                            5. TECHNOLOGY AND EXPORT RESTRICTIONS. The application may be subject to United States or international technology control or export laws and
                                                                                            regulations. You must comply with all domestic and international export laws and regulations that apply to the technology used or supported by the
                                                                                            application. These laws include restrictions on destinations, end users, and end use. For information on Microsoft branded products, go to the Microsoft
                                                                                            exporting website (https://go.microsoft.com/fwlink/?LinkId=868967).
                                                                                            6. SUPPORT SERVICES. Contact the application publisher to determine if any support services are available. Microsoft, your hardware manufacturer and your
                                                                                            wireless carrier (unless one of them is the application publisher) aren’t responsible for providing support services for the application.
                                                                                            7. ENTIRE AGREEMENT. This agreement, any applicable privacy policy, any additional terms that accompany the application, and the terms for supplements
                                                                                            and updates are the entire license agreement between you and application publisher for the application.
                                                                                            8.   APPLICABLE           LAW.
                                                                                                   a. United         States and Canada. If you acquired the application in the United States or Canada, the laws of the state or province where you live (or, if a
                                                                                                   business,         where your principal place of business is located) govern the interpretation of these terms, claims for breach of them, and all other claims
                                                                                                   (including         consumer protection, unfair competition, and tort claims), regardless of conflict of laws principles.
                                                                                                   b.     Outside the United States and Canada.                 If       you acquired the application                      in   any other country, the laws of that country apply.
                                                                                            9.LEGAL EFFECT This agreement describes certain legal rights. You may have other rights under the laws of your state or country. This agreement doesn’t
                                                                                                                         .


                                                                                            change your rights under the laws of your state or country if the laws of your state or country don’t permit it to do so.
                                                                                            10. DISCLAIMER OF WARRANTY. The application is licensed "as is," "with all faults," and "as available." You bear the entire risk as to its quality, safety,
                                                                                            comfort, and performance. Should it prove defective, you assume the entire cost of all necessary servicing or repair. The application publisher, on behalf of
                                                                                            itself, Microsoft, wireless carriers over whose network the application is provided, and each of our respective affiliates, vendors, agents, and suppliers
                                                                                            ("Covered Parties"), gives no express warranties, guarantees, or conditions in relation to the application. You may have additional consumer rights under
                                                                                            your local laws that this agreement can't change. To the extent permitted under your local laws, Covered Parties exclude any implied warranties or
                                                                                            conditions, including those of merchantability, fitness for a particular purpose, safety, comfort, and non-infringement. If your local laws impose a warranty,
                                                                                            guarantee or condition even though these terms do not, its duration is limited to 90 days from when you download the application.
                                                                                            11. LIMITATION ON AND EXCLUSION OF REMEDIES AND DAMAGES. To the extent not prohibited by law, if you have any basis for recovering damages, you
                                                                                            can recover from the application publisher only direct damages up to the amount you paid for the application or $1.00, whichever is greater. You will not,
                                                                                            and waive any right to, seek to recover any other damages, including lost profits and consequential, special, direct, indirect, or incidental damages, from the
                                                                                            application publisher.

                                                                                    This limitation applies                  to:

                                                                                          Anything related to the application or services made available through the application; and
                                                                                          Claims for breach of contract, warranty, guarantee or condition; strict liability, negligence, or other                                                                                     tort;        violation of           a    statute or regulation; unjust
                                                                                          enrichment; or under any other theory; all to the extent permitted by applicable law.
                                                                                    It also applies even if:

                                                                                          This remedy doesn’t fully compensate you for any losses; or
                                                                                          The application publisher knew or should have known about the possibility of the damages.

                                                                                         Top of page



                                                                                                         Covered Services
                                                                                    The following products, apps and services are covered by the Microsoft Services Agreement, but may not be available                                                                                             in   your market.
                                                                                        Account.microsoft.com
                                                                                        Ask Cortana
                                                                                        Bing App for Android
                                                                                        Bing Apps
                                                                                        Bing Bots
                                                                                        Bing Dictionary
                                                                                        Bing for Business
                                                                                        Bing Image and News (iOS)
                                                                                        Bing Maps
                                                                                        Bing Search APIs/SDKs
                                                                                        Bing Search app
                                                                                        Bing Translator
                                                                                        Bing Webmaster
                                                                                        Bing.com
                                                                                        Bing
                                                                                        Bingplaces.com
                                                                                        Cortana skills by Microsoft
                                                                                        Cortana
                                                                                        Default Homepage and New Tab Page on Microsoft Edge
                                                                                        Dev Center App
                                                                                        Device Health App
                                                                                        Dictate
                                                                                        Education.minecraft.net
                                                                                        Experts for PowerPoint (Preview)
                                                                                        Face Swap
                                                                                        Feedback Intake Tool for Azure Maps (aka “Azure Maps Feedback”)
                                                                                        Forms.microsoft.com
                                                                                        Forzamotorsport.net
                                                                                        Groove Music Pass
                                                                                        Groove
                                                                                        GroupMe
                                                                                        LineBack
                                                                                        Maps App
                                                                                        Microsoft 365 Consumer
                                                                                        Microsoft 365 Family
                                                                                        Microsoft 365 Personal
                                                                                        Microsoft Academic
                                                                                        Microsoft account
                                                                                        Microsoft Add-Ins for Skype
                                                                                        Microsoft Bots
                                                                                        Microsoft Educator Community
                                                                                        Microsoft Family
                                                                                        Microsoft Health
                                                                                        Microsoft Launcher
                                                                                        Microsoft Movies & TV
                                                                                        Microsoft Pay
                                                                                        Microsoft Research Interactive Science
                                                                                        Microsoft Research Open Data
                                                                                        Microsoft Soundscape
                                                                                        Microsoft Support and Recovery Assistant for Office 365
                                                                                        Microsoft Teams
                                                                                        Microsoft Translator
                                                                                        Microsoft Wallpaper
                                                                                        Microsoft XiaoIce
                                                                                        MileIQ
                                                                                        Minecraft Realms Plus and Minecraft Realms
                                                                                        Mixer
                                                                                        MSN Dial Up
                                                                                        MSN Explorer
                                                                                        MSN Food & Drink
                                                                                        MSN Health & Fitness
                                                                                        MSN Money
                                                                                        MSN News
                                                                                        MSN Premium
                                                                                        MSN Sports
                                                                                        MSN Travel
                                                                                        MSN Weather
                                                                                        MSN.com
                                                                                        Next Lock Screen
                                                                                        Office 365 Pro Plus optional connected experiences
                                                                                        Office for the web (formerly Office Online)
                                                                                        Office in Microsoft 365 Consumer
                                                                                        Office in Microsoft 365 Family
                                                                                        Office in Microsoft 365 Personal
                                                                                        Office Store
                                                                                        Office Sway
                                                                                        Office.com
                                                                                        OneDrive.com
                                                                                        OneDrive
                                                                                        OneNote.com
                                                                                        Outlook.com
                                                                                        Paint 3D
                                                                                        Presentation Translator
                                                                                        Rinna
                                                                                        rise4fun
                                                                                        Seeing AI
                                                                                        Send
                                                                                        Skype in the Classroom
                                                                                        Skype Manager
                                                                                        Skype.com
                                                                                        Skype
                                                                                        Smart Search
                                                                                        Snip Insights
                                                                                        Spreadsheet Keyboard
                                                                                        Store
                                                                                        Sway.com
                                                                                        to-do.microsoft.com
                                                                                        Translator for Microsoft Edge
                                                                                        Translator Live
                                                                                        UrWeather
                                                                                        Video Breakdown
                                                                                        Visio Online
                                                                                        Web Translator
                                                                                        Windows games, apps and websites published by Microsoft
                                                                                        Windows Movie Maker
                                                                                        Windows Photo Gallery
                                                                                        Windows Store
                                                                                        Windows Live Mail
                                                                                        Windows Live Writer
                                                                                        Word Flow
                                                                                        Xbox Game Pass
                                                                                        Xbox Game Studios games, apps and websites
                                                                                        Xbox Live Gold
                                                                                        Xbox Live
                                                                                        Xbox Music
                                                                                        Xbox Store
                                                                                        Zo

                                                                                         Top of page




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 133
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 134 of 145




                 Exhibit G




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 134
                    Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 135 of 145




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 135
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 136 of 145




                 Exhibit H




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 136
           Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 137 of 145




From:                                Microsoft <msa@communication.microsoft.com>
Sent:                                Monday, August 03, 2020 1:43 PM
To:
Subject:                             Updates to our terms of use




                           Your Services Agreement made clearer


            Hello,


            You’re receiving this email because we are updating the Microsoft Services Agreement, which applies to
            one or more Microsoft products or services you use. We’re making these updates to clarify our terms
            and ensure that they remain transparent for you, as well as to cover new Microsoft products, services
            and features.


            The Microsoft Services Agreement is an agreement between you and Microsoft (or one of its affiliates)
            that governs your use of Microsoft consumer online products and services.


            You can read the entire Microsoft Services Agreement here. You can also learn more about these
            updates on our FAQs page here, including a summary of the most notable changes. The updates to the
            Microsoft Services Agreement will take effect on 1 October 2020. If you continue to use our products
            and services on or after 1 October 2020, you are agreeing to the updated Microsoft
            Services Agreement.


            If you do not agree, you can choose to discontinue using the products and services, and close your
            Microsoft account before these terms become effective. If you are a parent or guardian, you are
            responsible for your child’s or teenager’s use of Microsoft products and services, including purchases.


            Thank you for using Microsoft products and services.




            This email was sent from an unmonitored mailbox.
            Privacy Statement

            Microsoft Corporation, One Microsoft Way, Redmond, WA 98052 USA




       DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
       ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 137
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 138 of 145




                    Exhibit I




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 138
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 139 of 145




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 139
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 140 of 145




                    Exhibit J




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 140
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 141 of 145




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 141
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 142 of 145




                 Exhibit K




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 142
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 143 of 145




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 143
   Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 144 of 145




                  Exhibit L




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 144
                    Case 2:20-cv-00640-RSM-SKV Document 37 Filed 11/24/20 Page 145 of 145




DECL. OF. A. HOLBROOK ISO MOT. TO COMPEL
ARBITRATION & STAY - (20-cv-00640-RSM-MAT) - 145
